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                   Thomas-Jensen
                    Affirmation



                       Exhibit # 40
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK; STATE OF
  CALIFORNIA; STATE OF ILLINOIS; STATE OF
  RHODE ISLAND; STATE OF NEW JERSEY;
  COMMONWEALTH OF MASSACHUSETTS;
  STATE OF ARIZONA; STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF              C.A. No. 25-cv-39-JJM-PAS
  DELAWARE; THE DISTRICT OF COLUMBIA;
  STATE OF HAWAI'I; STATE OF MAINE; STATE
  OF MARYLAND; STATE OF MICHIGAN; STATE
  OF MINNESOTA; STATE OF NEVADA; STATE
  OF NORTH CAROLINA; STATE OF NEW
  MEXICO; STATE OF OREGON; STATE OF
  VERMONT STATE OF WASHINGTON; STATE
  OF WISCONSIN,

              Plaintiffs,

        V.


  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES; U.S.
  OFFICE OF MANAGEMENT AND BUDGET;
  MATTHEW J. VAETH, IN HIS OFFICIAL
  CAPACITY AS ACTING DIRECTOR OF THE
  U.S. OFFICE OF MANAGEMENT AND
  BUDGET; U.S. DEPARTMENT OF THE
  TREASURY; SCOTT BESSENT, IN HIS
  OFFICIAL CAPACITY AS SECRETARY OF THE
  TREASURY; PATRICIA COLLINS IN HER
  OFFICIAL CAPACITY AS TREASURER OF THE
  U.S.; U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; DOROTHY A. FINK, M.D.,
  IN HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF HEALTH AND HUMAN
  SERVICES; U.S. DEPARTMENT OF
  EDUCATION; DENISE CARTER, IN HER
  OFFICIAL CAPACITY AS ACTING SECRETARY
  OF EDUCATION; U.S. FEDERAL EMERGENCY
  MANAGEMENT AGENCY; CAMERON
  HAMILTON, IN HIS OFFICIAL CAPACITY AS
  ACTING ADMINISTRATOR OF THE U.S.
  FEDERAL EMERGENCY MANAGEMENT


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   AGENCY; U.S. DEPARTMENT OF
   TRANSPORTATION;
   JUDITH KALETA, IN HER OFFICIAL
   CAPACITY AS ACTING SECRETARY OF
   TRANSPORTATION;
   U.S. DEPARTMENT OF LABOR; VINCE
   MICONE, IN HIS OFFICIAL CAPACITY AS
   ACTING SECRETARY OF LABOR; U.S.
   DEPARTMENT OF ENERGY; INGRID KOLB, IN
   HER OFFICIAL CAPACITY AS ACTING
   SECRETARY OF THE U.S. DEPARTMENT OF
   ENERGY; U.S. ENVIRONMENTAL
   PROTECTION AGENCY; JAMES PAYNE, IN HIS
   OFFICIAL CAPACITY AS ACTING
   ADMINISTRATOR OF THE U.S.
   ENVIRONMENTAL PROTECTION AGENCY;
   U.S. DEPARTMENT OF HOMELAND
   SECURITY; KRISTI NOEM, IN HER CAPACITY
   AS SECRETARY OF THE U.S. DEPARTMENT
   OF HOMELAND SECURITY; U.S.
   DEPARTMENT OF JUSTICE; JAMES R.
   McHENRY III, IN HIS OFFICIAL CAPACITY AS
   ACTING ATTORNEY GENERAL OF THE U.S.
   DEPARTMENT OF JUSTICE; THE NATIONAL
   SCIENCE FOUNDATION and DR.
   SETHURAMAN PANCHANATHAN, IN HIS
   CAPACITY AS DIRECTOR OF THE NATIONAL
   SCIENCE FOUNDATION,

                  Defendants.



                           DECLARATION OF DAMIEN MIMNAUGH


                 I, Damien Mimnaugh, declare as follows:

         1.      I am a resident of the State of California. I am over the age of 18 and have

  personal knowledge of all the facts stated herein, except to those matters stated upon information

  and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

  testify competently to the matters set forth below.



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         2.      I am currently employed by the California Energy Commission (CEC) as Director

  of the Administrative and Financial Management Services Division.

         3.      The CEC is responsible for advancing California's energy policy, overseeing

  California's energy infrastructure, and preparing for energy emergencies.

         4.      As Director of the Administrative and Financial Management Services Division, I

  oversee CEC's activities relating to budgets, accounting, contracting, human resources, and

  information technology.

         5.      Between 2021 and the present, the CEC applied for and received federal grants,

  including:

                    a. Grant number DE-SE0000080 from the Home Electrification and

                        Appliance Rebates (HEEHRA) Program, last modified on June 12, 2024

                    b. Grant number SE0000299 from the Energy Efficiency & Conservation

                        Block Grant (EECBG) Program, executed on May 29, 2024

                    c. Grant number DE-EE0010060 from the State Energy Program (SEP),

                        executed on May 24, 2023

         6.      I understand that the funds for these grant programs were appropriated by

  Congress as part of the Infrastructure Investment and Jobs Act (P.L. 117-58) ("IIJA") or Inflation

  Reduction Act of2022 (P.L. 117-169) ("IRA").

         7.      True and accurate copies of the documents comprising the final grant agreements

  for CEC's HEEHRA awards are attached hereto as Exhibit A. True and accurate copies of the

  documents comprising the final grant agreement for CEC's EECBG award are attached hereto as

  Exhibit B. True and accurate copies of the documents comprising the final grant agreements for

  CEC's SEP award are attached hereto as Exhibit C.



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         8.      The U.S. Department of Energy (DOE) awarded about $290 million to California

  for the program administration of the HEEHRA Program, a part of the IRA to help fund energy

  retrofits in homes across the United States.

         9.      To move funds to consumers quickly, California segmented the HEEHRA

  program into two phases - the first phase leveraging the California Public Utilities

  Commission's existing Technology and Equipment for Clean Heating (TECH) Clean California

  electrification rebate program, and the second phase providing a point-of-sale program through

  retail stores and do-it-yourself options. DOE's HEEHRA funding to California includes $99.4

  million for Phase I and $190.8 million for Phase II. The DOE approved CEC to launch HEEHRA

  Phase I on October 4, 2024, with $99,438,580: $80,000,000 for rebates and $19,438,580 for CEC

  and the program implementor's administrative costs. The CEC entered into an agreement with

  Cohen Ventures, Inc. dba Energy Solutions to implement the HEEHRA Phase I Program. To

  complete the necessary program requirements, implement the program, and process rebates,

  Energy Solutions entered into at least eight sub agreements totaling approximately $7 .5 million.

  HEEHRA Phase II is currently under development.

         10.     The HEEHRA Phase I program provides rebates through contractors to low- and

  moderate-income households to defray the costs of new, energy-efficient electric equipment and

  appliances. Rebated equipment in single family homes includes heat pump heating, ventilation

  and air conditioning (HV AC) equipment and in multi-family buildings includes heat pump

  HVAC, heat pump water heaters, heat pump clothes dryers, electric cooking, and electrical panel

  and wiring upgrades. This equipment helps Californians save money and energy, reduce

  greenhouse gas emissions, and improve indoor air quality. Multifamily rebates became available

  in California on October 7, 2024 offering up to $14,000, with single family rebates becoming



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  available on November 12, 2024 offering up to $8,000. California allocated rebate funds across

  three regions of the state (Northern, Central, and Southern) to ensure geographical distribution

  and accessibility. The CEC estimates that up to 9,500 households could benefit from the

  HEEHRA Phase I program.

         11.     As of February 4, 2025, California's HEEHRA program had over 4,860 single-

  family households seek income eligibility with 2,693 of these having submitted rebate

  reservation requests of over $19.7 million. 1,348 of those single-family rebate reservation

  requests, totaling $9,820,200, have been approved and contractors/homeowners are now in the

  process of installation or submitting final documentation to obtain their rebate. The Northern

  California region funding allocation is 90 percent reserved for single-family rebate and has

  closed to new reservations. CEC is expecting the Southern California region to be fully reserved

  in March and Central California in June 2025.

         12.     Multi-family buildings have a different application process due to different

  ownership structures, longer retrofit time periods, higher retrofit costs, time needed to access

  financing, more occupants for obtaining permissions and scheduling, and specific program

  requirements. The HEEHRA Phase I implementer has completed pre-application eligibility

  reviews and identified 53 multi-family buildings with 5,519 units as "qualified" to apply for

  rebate reservations and move to the next phase of the application process. The total potential

  multi-family rebate value of $77 million for these 53 buildings is much higher than the $35

  million allocated to multi-family buildings in California's HEEHRA Phase I program but is

  indicative of the demand for the funds. Forecasts show multi-family reservations to be fully

  reserved by August 2025.




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         13.     CEC has drawn down approximately $15 million for HEEHRA Phase I, with the

  majority being for advanced rebate funds, from the federal Automated Standard Application for

  Payments (ASAP) system. While rebate funds are allowed to be requested and drawn down in

  advance, administrative activities needed to process the rebates and fulfill federal award

  requirements are paid in arrears. CEC submitted on January 31 a request for about $1. 7 million

  in administrative costs that are not yet secured. CEC estimates that its third-party implementer

  and their subcontractors will bill the CEC for about $8. 7 million in administrative costs through

  May 2025 to process the existing single-family reservations. The multi-family building

  administrative costs are estimated at an additional approximately $4.5 million but cover the

  length of the multi-family retrofit term. However, these administrative amounts could change if

  additional rebates are reserved more quickly or slowly, the implementer's scope of work is

  amended, contractors leave the program due to funding uncertainty, the federal award agreement

  changes, and/or federal funding is not provided as expected.

         14.        The HEEHRA Phase I program is also expected to bolster workforce training

  and job creation through the training of new contractors across the state, technical assistance and

  guidance on meeting the unique challenges of installing equipment in multi-family homes, and

  information on how to appropriately recycle used appliances and refrigerants. Since the single-

  family program launched in November, more than 600 contractors have been certified and

  trained as HEEHRA TECH Clean California installers, and another 163 contractors are in the

  enrollment and training process.

         15.     The DOE has awarded $4,522,300 to the CEC for the Energy Efficiency and

  Conservation Block Grant (EECBG) Program under the IIJA.




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         16.     The EECBG Program assists states in implementing strategies to reduce energy

  use, reduce fossil fuel emissions, and improve energy efficiency. The CEC used the EECBG

  award, executed on May 29, 2024, to establish the Local Government Building Decarbonization

  Challenge grant. This grant provides funds to local governments to advance building

  decarbonization in their community. This grant was established to direct 60 percent of the state's

  EECBG formula allocation to local governments that were not eligible for a direct allocation of

  EECBG funds per DOE requirements and prioritized rural, low income, and disadvantaged

  communities. California has set ambitious goals to reduce greenhouse gas (GHG) emissions to

  40 percent below 1990 levels by 2030 (Cal. Health & Saf. Code section 38566), achieve carbon

  neutrality by 2045 (Cal. Health & Saf. Code section 38562.2(c)(l)), and reduce GHG emissions

  to 85 percent below 1990 levels by 20450 (Cal. Health & Saf. Code section 38562.2(c)(2)). The

  EECBG funds will be used for local government planning in the areas of community building

  decarbonization and municipal building decarbonization; improving municipal operations to

  support building decarbonization; developing local codes, ordinances, and voluntary

  decarbonization measures; and supporting building decarbonization related workforce

  development activities. Buildings account for 25 percent of the state's GHG emissions, making

  building decarbonization a critical path to reducing emissions and meeting the state's climate and

  energy goals. The local governments that were awarded funding are smaller jurisdictions that did

  not receive a direct allocation from the EECBG program and have limited resources and capacity

  to complete the planning activities mentioned. This funding is vital to these local governments

  that would otherwise not be able to complete these projects that benefit their community. The

  awarded local governments contain disadvantaged communities within their jurisdiction that

  would not see benefits or improvements from decarbonization without this funding.



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         17.    The CEC awarded $2,800,000 in grants August 9, 2024, and is pending

  $1,050,000 in payments to subrecipients as of January 29, 2025. The following EECBG

  agreements have been approved by the CEC:

               a. EECBG-24-001 with County of Nevada for a $700,000 grant. This agreement

                  will support development of an educational campaign for zero-emission

                  vehicles (ZEV s), design of ZEV charging infrastructure at 16 county and

                  community partner facilities, and adjustment of county agency permitting

                  processes, codes, and statutes.

               b. EECBG-24-002 with Town of Truckee for a $700,000 grant. This agreement

                  will support the development of an Energy Resilience Plan, Municipal

                  Building Decarbonization Plan, Municipal Electric Vehicle Charging

                  Infrastructure Plan, and Building Decarbonization Program.

               c. EECBG-24- 003 with County of Santa Clara for a $700,000 grant. This

                  agreement will support development of the Neighborhood Electrification

                  Planning Pilot Program, Permit Support Pilot and Modernization Program, and

                  planning for the replacement of county domestic hot water heaters and gas heat

                  packaged units with more sustainable alternatives.

               d. EECBG-24-004 with City of Pinole for a $700,000 grant. This agreement will

                  support the Pinole Energy Enhancement Rebate Pilot Program and

                  development of a virtual all-electric building resource center, draft building

                  performance standard program, municipal building decarbonization plan,

                  permitting compliance program, water heater loaner program, green workforce




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                  training program, and photovoltaic microgrid system design for the City of

                  Pinole's wastewater treatment plant.

       18.     The DOE has awarded $30,304,000 to the CEC for the State Energy Program

(SEP) under the IIJA.

       19.     The SEP provides funds for states to implement energy programs that promote

efficient energy use and reduce the rate of growth of energy demand. SEP funding is critical to

the success of the California's Appliance Efficiency Standards and Building Energy Efficiency

Standards, administered by the CEC. With SEP support, the CEC establishes and enforces

minimum efficiency levels for energy and water use in consumer electronics, household

appliances, and plumbing equipment, ensuring alignment with federal standards. These appliance

standards drive the market toward more efficient products, resulting in significant energy and

water savings without compromising performance. SEP funding also enables the CEC to enforce

compliance, imposing penalties on manufacturers and retailers that sell non-compliant

appliances, thereby maintaining the integrity and effectiveness of these regulations.

       20.     SEP funding is also essential for strengthening California's Building Energy

Efficiency Standards, which govern newly constructed buildings and modifications to existing

structures under the state's Energy Code (Title 24, Part 6). The recently adopted 2025 Energy

Code-made possible through SEP support-advances efficient electric heat pumps, expands

electric-ready requirements for new homes, enhances solar photovoltaic and battery storage

standards, and strengthens ventilation requirements. These updates are projected to save

Californians $4.8 billion in energy costs while significantly reducing greenhouse gas emissions.

By funding regulations development, policy development, enforcement, and education, SEP




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ensures that California's Energy Code continues to drive innovation, transform construction

practices, and set a global benchmark for energy efficiency.

       21.     I have reviewed President Trump's executive order titled "Unleashing American

Energy," dated January 20, 2025 ("Energy EO"). It is my understanding that Section 7 of the

Energy EO orders all agencies to "immediately pause the disbursement of funds appropriated

through the Inflation Reduction Act of2022 (Public Law 117-169) or the Infrastructure

Investment and Jobs Act (Public Law 117-58)." I understand that the funds and disbursements

targeted in the Energy EO include disbursements to CEC under our current federal funding

sources, described above.

       22.     I have reviewed the Memorandum for Heads of Executive Departments and

Agencies, M-25-13, dated January 27, 2025, issued by the Executive Office of the President of

the United States, Office of Management and Budget, Matthew J. Vaeth, Acting Director,

regarding "Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs"

("OMB Memo"). It is my understanding that the 0MB Memo requires all federal agencies to

"pause" all activities related to disbursement of all federal financial assistance, which I

understand would include disbursements to the CEC under our current federal funding sources,

described above.

       23.     The CEC's budget for this year has relied on funding from the HEEHRA, and

EECBG, SEP. The CEC has designed programs, allocated funding for staffing, hired staff, and in

some cases has entered into contractual agreements with subrecipients based on the anticipated

receipt of the federal funding promised in these awards. For example:
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                  a. For EECBG, we have entered into the four awards described above:

                      EECBG-24-001, EECBG-24-002, EECBG-24-003, and EECBG-24- 004.

                      The total funding in the three agreements is $2.8 million.

                  b. For the HEEHRA Program, we have entered into award 500-23-003 with

                      Cohen Ventures, Inc. DBA Energy Solutions. The contract amount is

                      $96,685,000.

         24.   The CEC has already been unable to access disbursements to which it is entitled

under the IRA and IJA. On January 31, 2025, at approximately 3 pm Pacific Time, the CEC's

Accounting team initiated drawdown processes for HEEHRA, EECBG, and SEP IIJA funds

using the Automated Standard Application for Payments (ASAP), the federal government's

electronic system for transferring money to grant recipients. For the first time, the ASAP system

showed a flag stating "Holding for Agency Review" on drawdowns for IIJA and IRA funding.

         25.   On February 3, 2025, at approximately 9:30am Pacific Time, the CEC's

Accounting team initiated 2 drawdown requests for HEEHRA funds using ASAP. The ASAP

system showed a flag stating "Holding for Agency Review" on drawdowns.

         26.   In the coming months, we anticipate requesting disbursements of about $13

million for HEEHRA administrative costs. For EECBG, $1,050,000 was scheduled for payment

January 29, 2025. For the SEP, the CEC uses approximately $500,000 per month on staffing

costs.

         27.   Any further pause in our federal funding would materially impact the ability of

the CEC to meet the obligations of its agreements with the federal government.

         28.   If the HEEHRA Phase I program is not funded as expected under the award, low-

and moderate-income homeowners could choose to not participate due to rebate uncertainty thus



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providing a lost opportunity to advance energy benefits to under-resourced communities and

make an energy improvement to a home; similar and future building efficiency and

electrification incentive programs could be harmed by the distrust and uncertainty created by the

federal government; the state's ability to recruit and train needed contractors to sell and install

efficient electric equipment and appliances could be harmed by this distrust; and the state's

ability to attract qualified energy program implementers would decrease and costs to cover

perceived funding risk would grow.

       29.     If HEEHRA Phase I program funding for reservations is not honored, further

harm would accrue by homeowners who relied on the rebates and already undertook home

retrofits in reliance on receiving them. Most of these affected people are low-income and would

be left with an extra expense of up to $8,000 that they would need to provide their contractor.

This could lead to around $9.8 million in disputes between contractors and low-to-moderate

income homeowners due to a sudden reversal of state and federal commitments. The distrust and

lack of confidence created by the lack of program funding would likely require the state to invest

even more resources if and when the pause and suspension has been lifted to regain the trust of

contractors and homeowners.

       30.      Ifwe do not receive federal disbursements, EECBG subrecipients will not be able

to begin their projects as they are depending on a 50 percent advance payment of their total grant

amount. This could make it impossible for them to complete their work before the project

deadline. These local governments would not otherwise pursue these projects without the

funding and especially the advance payment. The CEC is providing advance payments to begin

work as these local governments are unable to fund the staff, vendors, and other necessary

elements needed for these planning projects. In addition, the CEC would not be able to complete



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the intended purpose of the Local Government Building Decarbonization Challenge as it is

funded entirely by the EECBG. The CEC's ability to reimburse subrecipients is dependent on the

availability of federal funds. Without reimbursements available, local governments would be

forced to pause work on their projects.

        31.     CEC uses the funding from the EECBG, HEEHRA, and SEP IIJA programs to

fund approximately 36 positions. If CEC does not receive federal disbursements, CEC will face

challenges in its ability to pay its staff. This could lead to staff leaving.

        32.     Since January 20, 2025, the date of the Energy EO, and January 27, 2025, the date

of the 0MB Memo to pause funding, the CEC has been unable to provide clear direction to

anyone involved with EECBG, HEEHRA, and SEP IIJA. This situation is causing reputational

harm to the CEC in the energy industry because the pause has led to financial uncertainty among

CEC's project partners and other program participants. The CEC's future programs may

experience increased costs in outreach and training because our current project partners may be

less likely to work with CEC again.

        33.     The confusion and uncertainty resulting from the interruption in HEEHRA,

EECBG, and SEP funding is harmful and interfering with the CEC's ability to carry out its

mission to improve energy efficiency, invest in renewable energy and properly serve the citizens

of California. Specifically, this budget uncertainty is creating unnecessary work for the CEC,

which is taking away staff and resources to move these programs forward. For example, the

CEC has fielded multiple inquiries from those involved with these programs asking if funding is

still available. In addition, extensive internal and external communications are occurring trying

to keep up with latest developments and discuss what actions the CEC may need to take.

Furthermore, due to the questionable legality of pausing grant funding, the CEC is being forced



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to consider taking steps to mitigate the risk of losing millions of dollars in HEEHRA, EECBG,

and SEP funding, which could result in cuts to program services and staffing issues. CEC

generally hires staff to administer its programs as full-time, permanent employees. The

uncertainty about whether federal funding will be available to support these staff members

requires CEC to reallocate resources to ensure CEC will have adequate funding available to pay

the staff it has hired. This situation can result in delays, reductions, or cancellations of CEC's

plans to enter into contracts or hire staff to perform CEC's other primary functions.

       34.     The CEC sent an email on February 3, 2025, at 7:30 pm Pacific Time to the

relevant U.S. Department of Energy's (DOE) officials inquiring about the CEC's disbursement

under HEEHRA that had been requested but not paid. A true and correct copy of this February 3,

2025, email to DOE is attached hereto as Exhibit D. On February 4, 2025, at 4:29 am Pacific

Time, the CEC received a return email from DOE, which is attached hereto as Exhibit E.

       35.     The CEC sent an email on February 3, 2025, at 8:20 pm Pacific Time to the

relevant U.S. Department of Energy's (DOE) officials inquiring about the CEC's disbursement

under SEP that had been requested but not paid. A true and correct copy of this February 4,

2025, email to DOE is attached hereto as Exhibit F. On February 4, 2025, at 12:29 pm Pacific

Time, the CEC received a return email from DOE, which is attached hereto as Exhibit G.

       36.     The CEC sent an email on February 4, 2025, at 8:38 am Pacific Time to the

relevant U.S. Department of Energy's (DOE) official inquiring about the CEC's disbursement

under EECBG that had been requested but not paid. A true and correct copy of this February 4,

2025, email to DOE is attached hereto as Exhibit H. On February 4, 2025, at 12:29 pm Pacific

Time, the CEC received a return email from DOE, which is attached hereto as Exhibit I.




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       37.     We continue to be concerned that the funding will again be delayed or denied

because, as of February 5, 2025, funding in the ASAP system for IIJA and IRA programs

remains paused.

      I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


               Executed on February 5, 2025, at Sacramento, California.




                                                     Damien Mmmaugh




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                                                                    

                                                                        
                                                                                                 
                                                                                                            
                               
                                                                                                                                               
                                                                                                  
                                                                                                                                   
                                                                           

                                                                           




                                                                            
                                                                                        
               
     

                                                                                    
                                                                   
                                                         
                                                                                              


                                                                             
                                                                             

                                                             
                                                                                            
                                                                                         
                                                                                                            
                                                                                                            
                                                                                                            


                                                                                  
                                                                                                   












                                                                                             
                                          



                                                                                            
                                                                                                                              
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                                                                           
                                                                                   


                                                                 
                                                                                                   




















































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                                                                           
                                                                                   


                                                                 
                                                                                                   








































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Narrative Document Template
IRA SECTION 50121: Home Efficiency Rebates
IRA SECTION 50122: Home Electrification & Appliance Rebates


                                                            VERSION 1.1
                                     Published on October 13, 2023

 Modification Note: This document re-labels the previous “Section 3.2.5: Post-
 Installation Certificate” as “Section 3.2.6.: Post-Installation Certificate”; adds a word in
 Sections 3.1.1 and 4.1.1 (highlighted in yellow)


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   Introduction
   This is an optional document that is not required by the ALRD. A State may use this to
   submit their ALRD 2 State Application.

   This Narrative Document should demonstrate the State’s ability and intent to implement the
   program in accordance with the requirements of the ALRD and the Program Requirements
   document. The Narrative Document must provide a comprehensive framework and description
   of all aspects of the proposed rebate program(s). States may use existing
   programs/infrastructure to implement this work. States may not provide these funds to existing
   programs to implement non-rebate work.

   The Narrative Document must be succinct, self-explanatory, and well-organized so that DOE
   reviewers can understand program design and delivery. A State must address the following in
   its application package and corresponding Standard Form 424 Application for Federal
   Assistance, Standard Form 424A Budget Information, and Budget Justification Workbook. A
   state may defer some responses to its State Implementation Blueprint, to be provided to DOE
   after award but prior to program launch. The questions are marked as such, and applicants
   should check the appropriate box if deferring their response. All other requirements are
   mandatory within the State application package. If there is no box offering the “Defer response
   to State Implementation Blueprint” option, then it is required as part of the application package.

   Identify whether the application is for a Quick Start program.
             Yes, this is for a Quick Start Program.
             No, this is not for a Quick Start Program.




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   Home Efficiency Rebates State Programs (50121)
   Use of Funds and Rebate Eligibility
   Section 3.1.1: Use of Funds
      1. Provide which types of allowable costs the State proposes within each category of
         administrative funds and rebate funds and within those categories:
          Note: These responses should correspond with the Standard Form 424, Standard Form 424A, and
          Budget Justification Workbook.




                  Provide the total amount of estimated administrative funds to be expended
                  annually:
                   $

                  Provide the total amount of estimated project-related costs as a portion of the
                  rebate funds to be expended annually:
                   $


      2. If requesting additional rebate funds for project-related activities, describe and justify
         each activity and associated budget in the budget justification worksheet.




      3. Describe how the State will manage and ensure that rebate minimums and
         administrative maximums are adhered to over the duration of the program.




   Section 3.1.2: Rebate Conditions and Levels
      4. Provide the maximum rebate amounts that will be offered within the allowances of the
         Home Efficiency Rebates requirements.
          Note: States may increase the maximum rebate amounts available for low-income
          households, but States cannot set lower rebates than specified in Section 3.1.2.



      5. Identify the allowable project costs for determining rebate levels when based on project
         cost.
             Defer response to State Implementation Blueprint.


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      6. List the documentation requirements related to project costs from homeowners,
         contractors, and/or aggregators.
             Defer response to State Implementation Blueprint.




      7. Describe how homeowners and multifamily building owners will be informed of
         additional program funding available from non-Federal funds and grants.
             Defer response to State Implementation Blueprint.




      8. Provide the date after which upgrade projects must be completed for the purposes of
         being eligible for a rebate under the State program.
             Defer response to State Implementation Blueprint.




      9. Identify whether, for low-income multifamily buildings, the State will calculate the “per
         dwelling unit” rebate amount at the less than 80% AMI amount for all units or based on
         the ratio of LMI to non-LMI units.
             At the less than 80% AMI amount for all units
             Based on the ratio of LMI to non-LMI units

      10. Describe how the State plans to value energy savings based on time, location, or
          greenhouse gas emissions. The application must demonstrate a strategy for either
          prioritizing, or requiring in program rules:
              a. Retrofits that will have a disproportionate benefit based on the time or location of
                   energy savings; or
              b. A targeted approach to prioritize reduction in greenhouse gas emissions.
          Valuing savings as part of this plan does not replace or count towards the requirements
          to demonstrate a minimum percentage energy savings for the household on a modeled
          or measured basis.
             Defer response to State Implementation Blueprint.




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      11. Describe how the State plans to ensure and verify ENERGY STAR certification at the time
          of installation for heating, cooling, and water heating products.




      12. A State interested in offering higher rebates amounts than those listed in Tables 2 and 3
          for low-income households must describe (in the below box) the State approach for
          balancing higher rebate amounts (serving fewer households) with the required allocation
          to serve low-income households and must propose the maximum rebate amount that
          would be available to low-income households both in terms of percentage of project
          cost and dollar amount for low-income households. Please provide the amounts below
          or check N/A if not applicable.
             N/A. State will use the maximum rebates listed in Tables 2 and 3.
                      i. Receive an energy upgrade that is modeled to save at least 20% of
                         energy.
                            •      % of project cost:


                             •        $ amount for low-income household:
                                       $

                      ii. Receive an energy upgrade that is modeled to save at least 35% of
                          energy.
                             •      % of project cost:



                             •        $ amount for low-income household:
                                       $




      13. Provide details on what portion(s) of the total rebate will be provided to the
          homeowner/building owner compared with the contractor/aggregator.
             Defer response to State Implementation Blueprint.




          a. Describe what caps the state will place on contractor/aggregators in terms of savings
             exceeding the amount associated with the rebate provided to the homeowner (e.g.,
             allowable percentage above the rebate provided to homeowner).
                 Defer response to State Implementation Blueprint.

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       14. Describe what systems will be put into place to reserve funds for each measured project,
           given the need to remit payment to the contractor/aggregator after 9-12 months of
           usage data post-energy upgrade is available.
              Defer response to State Implementation Blueprint.




       15. For the measured program path, describe how the State will calculate rebate levels
           based on average home energy usage in the State 1.
              Defer response to State Implementation Blueprint.




       16. For the measured program path, within what timeframe will the State provide rebates to
           eligible rebate recipients?
              Defer response to State Implementation Blueprint.




   Section 3.1.3: Low-Income Homes
       17. What portion of the rebate funds will the State reserve for low-income households and
           multifamily households?




       18. Describe how the State will define household income for verification purposes (e.g.,
           using prior year income).




       19. For single-family households, describe what combination of methods will be used for
           claimants to be able to establish their household income for income qualifications.
           States may select the following options.
                  Documentation of household income (for example, 1040)
                  Documentation of enrollment in a pre-qualifying program

   1
    Per statute, the measured energy saving of the home or portfolio of homes must achieve 15% savings, but the
   calculation of the rebate is based on a 20% reduction of average energy use of a home in the state.


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                 Self-attestation of either income level of enrollment in pre-qualifying program




      20. For multifamily buildings, describe what combination of methods will be used to verify
          that at least 50% of dwelling units consist of households with incomes less than 80% AMI.
             Defer response to State Implementation Blueprint.




      21. Please confirm the following:
             Claimant will be required to note the number of individuals who occupy the dwelling
             unit.
             Yes, the State confirms the above statement.
              Claimant will be required to sign an affidavit attesting to the validity of all information
              provided (e.g., enrollment documents, household income, number of full-time
              occupants) irrespective of the method of income qualification (e.g., categorical
              eligibility, self-attestation).
             Yes, the State confirms the above statement.
              State’s intake system for users to provide income information will display the 80%
              AMI value for that household’s ZIP code and household size to assist the household
              in comparing its income with those levels prior to signing statements regarding their
              income.
             Yes, the State confirms the above statement.

      22. Describe how the 80% AMI levels for each location will be kept up-to-date (use DOE-
          provided API, other) and linked to DOE systems. Confirm that these levels will
          correspond to (a) the address of the home at which rebates will be applied and (b) the
          applicable number of household occupants.
             Defer response to State Implementation Blueprint.




      23. Confirm that the State will:
             Review information provided to support income eligibility for all applicants applying
             for higher income-based rebate levels.
             Yes, the State confirms the above statement.

              Take steps to verify income eligibility for at least 50% of those applications that use
              self-attestation to support income eligibility (e.g., confirm enrollment in at least one


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              program that the applicant asserted enrollment in; confirm household income via
              IVES or other methods as applicable).
             Yes, the State confirms the above statement.
                  After 6 months and not longer than 1 year after program launch, report to DOE
                  the percentage and number of applicants that received rebates but were
                  subsequently found to not meet eligibility requirements.
             Yes, the State confirms the above statement.
                  Work with the state's DOE project officer to institute additional safeguards or
                  determine if a lesser level of review for applicants using self-attestation is justified
                  depending on the percentage/number of rebates issued without meeting
                  eligibility requirements.
             Yes, the State confirms the above statement.
          If applicable, propose the types of information that the State will provide to DOE to
          warrant reducing this requirement (e.g., allowing implementers to verify income of a
          subset of claimants through random sampling).
             N/A. The State will not reduce this requirement.




      24. Provide additional information as needed to demonstrate that the proposed approaches
          for income verification will address all types of households; not create undue burden for
          claimants; and include safeguards to minimize error and abuse in the process of
          verifying income.




      25. Describe how the State will verify (confirm legitimacy) of income information for all
          claimants (e.g., verification within 2 days through IRS, cross-check with enrollment
          databases of approved programs, calls to employers). If applicable, propose the types of
          information that the State will provide to DOE to warrant reducing this requirement (e.g.,
          allowing implementers to verify income of a subset of claimants through random
          sampling).
             N/A. The State will not reduce this requirement.
             Defer response to State Implementation Blueprint.




      26. Describe how the State will resolve instances when rebates are provided to those who
          have falsified their incomes.
             Defer response to State Implementation Blueprint.

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      27. If proposing to allow self-attestation as a means for initial income qualification, provide a
          detailed description of how and when this approach will be used. Include statements,
          language, and detailed information regarding follow-up steps that will be used for this
          process. Additional topics to address include:
               Describe how those applying for rebates will be warned of potential liability
               associated with falsifying information.
               Explain how signed statements of self-attestation will be securely stored.
               Identify what level of falsified attestations will signal that the system needs to shut
               down either permanently or be restarted only after sufficient improvements are
               made.
             Defer response to State Implementation Blueprint.
             N/A. The State has chosen not to allow self-attestation.




      28. Describe how the State program will verify applicant information provided to
          substantiate income eligibility, including systems that will be used to verify, where
          applicable, that at least one member of a household has been enrolled in a program
          included within the Federal Programs Approved for Categorical Eligibility document or
          other state-proposed approved by DOE within the prior 12 months.
             Defer response to State Implementation Blueprint.




      29. If applicable, identify the Federal or other programs by which the State plans to allow
          categorical eligibility.
            N/A. The State will not propose additional Federal or other programs to be
          considered for categorical eligibility.




      30. If applicable, propose any additional Federal or other programs to be considered for
          categorical eligibility. For any programs not already approved, describe how the
          program’s eligibility aligns with the Section 50121 income requirements.
            N/A. The State will not propose additional Federal or other programs to be
          considered for categorical eligibility.
            Defer response to State Implementation Blueprint.



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      31. Identify whether the State requests authorization to allow use of categorical eligibility
          determinations based on program participation outside of a one-year period (e.g., proof
          of enrollment within the past 12 months).
            Yes, the State requests authorization to allow use of categorical eligibility
          determinations based on program participation outside of a one-year period.
            N/A. The State does not request authorization to allow use of categorical eligibility
          determinations based on program participation outside of a one-year period.
          If yes, explain the State’s proposal and describe the rationale.
             Defer response to State Implementation Blueprint.




      32. Identify whether the State requests authorization to allow categorical eligibility for a
          program in a way that is not consistent with the “level of categorical eligibility” listed in
          the document Federal Programs Approved for Categorical Eligibility. For each deviation
          requested, propose, and provide documentation to justify the requested change.
          Documentation must demonstrate that the State imposes income requirements
          equivalent to or less than 80% AMI.
            Defer response to State Implementation Blueprint.
            N/A. The state will not allow categorical eligibility for a program in a way that is not
          consistent with the “level of categorical eligibility” listed in the document Federal
          Programs Approved for Categorical Eligibility.




      33. Provide a brief description of the procedures and penalties the State will provide to
          ensure that renters are not subject to unjustified rent increases.




      34. Explain how the State will identify eligible contractors or aggregators and what tools will
          be used to pay the $200 disadvantaged community incentive.
             Defer response to State Implementation Blueprint.




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   Section 3.1.4: Community Benefits Plan
       35. Describe how the State program will define a disadvantaged community.
          If not using the default disadvantaged community definition (low-income households
          located in a disadvantaged community identified by the CEJST), a State must explain
          how the proposed definition will meet the following three criteria as described in DOE
          J40 implementation guidance 2:
              The communities of concern identified by the State tool or definition must conform to
              the definition of communities established in U.S. Office of Management and Budget
              (OMB) guidance:
                  o a group of individuals living in geographic proximity to one another that
                     experiences common conditions.
                  o a geographically dispersed set of individuals (such as migrant workers or
                     Native Americans) that experiences common conditions.
              The State tool or definition must consider two or more of the following indicators
              when identifying communities that should be classified as disadvantaged for the
              purposes of directing Federal investments under Justice40:
                  o Low income, high and/or persistent poverty
                  o High unemployment and underemployment
                  o Racial and ethnic residential segregation, particularly where the segregation
                     stems from discrimination by government entities
                  o Linguistic isolation
                  o High housing cost burden and substandard housing
                  o Distressed neighborhoods
                  o High transportation cost burden and/or low transportation access
                  o Disproportionate environmental stressor burden and high cumulative impacts
                  o Limited water and sanitation access and affordability
                  o Disproportionate impacts from climate change
                  o High energy cost burden and low energy access
                  o Jobs lost through the energy transition
                  o Access to healthcare
              The communities of concern identified by the State tool or definition must be
              currently mapped in software or must be easily overlayed in GIS so that communities
              can be easily identified by stakeholders.




   Section 3.1.5: Processing and Delivering Rebate Funds to Eligible Rebate Recipients
       36. Describe what types of systems will be put into place to allow effective processing of
           rebates.
             Defer response to State Implementation Blueprint.

   2
    See pages 8-9 of https://www.energy.gov/sites/default/files/2022-
   07/Final%20DOE%20Justice40%20General%20Guidance%20072522.pdf for more details.

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      37. Describe how the State will ensure processing of rebates within required timeframes
          (e.g., through a processing company, through program implementers, or other entities
          or methods). Include information on corrective actions that the State will implement in
          the event of lengthier processing times.
             Defer response to State Implementation Blueprint.




      38. Describe how the proposed processing system will be integrated with a system for
          processing rebates under Section 50122. Note if the State plans to use separate systems.
             Defer response to State Implementation Blueprint.




      39. If the State does NOT intend to use a federally provided web-based tool to determine
          whether a home is in a disadvantaged community, confirm that the State will provide the
          ZIP codes with all disadvantaged communities as defined by the State to the DOE
          system.
              Yes, the State confirms the above statement.
              N/A. The State will use a DOE-provided web-based tool to determine whether a home
          is in a disadvantaged community.

      40. Confirm that the State system will link to DOE-provided systems via Application
          Programming Interface (API).
             Yes, the State confirms the above statement.


   Section 3.1.6: Data Collection and Evaluation
      41. Confirm that the State will submit a Privacy and Security Risk Assessment in the State
          Implementation Blueprint.
            Yes, the State confirms the above statement and will include it with this narrative
          document.
            Yes, the State confirms the above statement but defers a response to State
          Implementation Blueprint.

      42. Explain how data will be protected, specifically addressing security measures and privacy
          measures.
             Defer response to State Implementation Blueprint.


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      43. Provide documentation of the processes to monitor, identify, and address security and
          privacy threats.
             Defer response to State Implementation Blueprint.




      44. Confirm that the State will require billing data release and describe how the State will
          gain access to billing data for program requirements and program evaluation.
             Yes, the State confirms the above statement.
             Defer response to State Implementation Blueprint.




      45. Confirm that the State will collect the required data and cooperate in program evaluation
          processes as listed in section 3.1.6.3.
             Yes, the State confirms the above statement.

      46. Confirm if the State is planning to conduct its own evaluation, and if so, what type(s) of
          evaluations.
            Yes, the State is planning to conduct its own evaluation. (Describe types of
          evaluations).




          If yes, confirm that the State will:
                  Cooperate with DOE to meet all the requirements listed in section 3.1.6.3.
                 Yes, the State confirms the above statement.
                  Submit an evaluation plan for DOE review within three months of program
                  launch.
                 Yes, the State confirms the above statement.

                  Provide results to DOE.
                 Yes, the State confirms the above statement.
             N/A. The State does not plan to conduct its own evaluation.



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      47. If the State plans to conduct evaluations on its programs, describe the evaluation
          objectives, high level work plan, and timing of the evaluations and whether the State
          would request to be excluded from DOE-led evaluations.
             Defer response to State Implementation Blueprint.
             N/A. The State does not plan to conduct its own evaluation.




   Consumer Experience
   Section 3.2.1: Outreach and Education Strategy
      48. Confirm that the State will develop and submit an outreach and education strategy
          consistent with section 3.2.1
            Yes, the State confirms the above statement and will include it with this narrative
          document.
            Yes, the State confirms the above statement but defers a response to State
          Implementation Blueprint.


   Section 3.2.2: Home Assessments
      49. Describe the processes and procedures for conducting home assessments that meet
          program requirements.
             Defer response to State Implementation Blueprint.




      50. Describe how home assessment data and results will be verified for accuracy.
             Defer response to State Implementation Blueprint.




      51. Describe what processes will be put in place for home assessments for multifamily
          buildings, including for energy used by common areas.
             Defer response to State Implementation Blueprint.




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   Section 3.2.3: Access to Residential Utility Data
      52. Confirm that the state will develop and submit a Utility Data Access Plan consistent with
          the program requirements in Section 3.2.3.
            Yes, the State confirms the above statement and will include the plan with this
          narrative document.
            Yes, the State confirms the above statement but defers a response to State
          Implementation Blueprint.


   Section 3.2.4: Project-Specific Energy Savings Calculations
      53. Confirm if the State will implement the modeled path, measured path, or both.
             The State will implement the Modeled program path.
             The State will implement the Measured program path.
             The State will implement both the Modeled and Measured program paths.


   Section 3.2.4.1: Calculating Modeled Energy Savings
      54. Describe the energy savings objectives and overall approach for estimating energy
          savings for the modeled program path.
             N/A. The State is not implementing the modeled program path.




      55. Identify what factors the State will use to calculate kWh equivalent, consistent with
          section 3.2.4.1.
             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the modeled program path.




      56. Describe which upgrades may be included in the modeled savings estimate, including at
          least one major upgrade as defined in section 2.1, including a brief description of if the
          state will or will not require the installation of envelope prior to other upgrades.
             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the modeled program path.




      57. Identify which modeling tools the State proposes to authorize for its program. Identify
          whether any proposed tools have not yet received DOE approval.



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             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the modeled program path.




      58. Describe how the State will monitor the energy savings reliability of models and tools for
          the modeled program path.
             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the modeled program path.




      59. If the State plans to allow modeling for homes for which BPI-2400 is not applicable or
          that are not eligible for BPI-2400, request alternative modeled path(s) by:
              Detailing for which exceptions the State plans to apply the alternative approach (e.g.,
              multifamily, lack of delivered fuel bills, etc.).
              Providing a detailed description of the method(s) that the State will use to estimate
              energy savings for each exception and how the State will ensure consistency
              between the alternative method and the results of BPI-2400 such as a realization rate
              adjustment to be used in reported savings estimates.
              Commit to carrying out evaluations upon thresholds listed in section 3.2.3.1.
              Describe how the State will use any evaluation results or new information to update
              and adjust its alternate savings modeling method.
             Defer response to State Implementation Blueprint.
             N/A. The State will not allow modeling for homes for which BPI-2400 is not applicable
          or that are not eligible for BPI-2400.




      60. For multifamily, describe the methods used for modeling energy savings for multifamily
          buildings, including energy used in common areas.
             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the modeled program path.




   Section 3.2.4.2: Calculating Measured Energy Savings
      61. Describe the energy savings objectives and overall approach for estimating and
          measuring energy savings at the home and if applicable, portfolio of homes.



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             N/A. The State is not implementing the measured program path.




      62. Identify what factors the State will use to calculate kWh equivalent, consistent with
          section 3.2.4.1.
             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the measured program path.




      63. List the open-source advanced M&V software(s) the State requests to use and confirm
          that each meets program requirements.
             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the measured program path.




      64. Describe how the State will monitor and ensure that aggregator portfolios meet the
          program requirements and minimum savings thresholds for the measured program
          path.
             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the measured program path.




      65. If measuring energy savings within a period of less than 12 months, describe how the
          State will define and enforce the inclusion of peak seasons.
             Defer response to State Implementation Blueprint.
             N/A. The State will measure energy savings over at least 1 year or the State is not
          using the measured savings approach.




      66. Describe the State’s processes for measuring savings for multifamily buildings, including
          for energy used by common areas.
             Defer response to State Implementation Blueprint.
             N/A. The State is not implementing the measured program path.



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   Section 3.2.5: Consumer Protection through Quality Assurance
      67. Certify that the State will prepare and implement a Consumer Protection Plan in
          accordance with the requirements (Section 3.2.5) and that the State rebate program will
          not launch until receiving DOE approval.
             Yes, the State confirms the above statement.


   Section 3.2.6: Post-Installation Certificate
      68. Describe how each of the certification requirements (Section 3.2.5) will be met for single-
          family homes.
             Defer response to State Implementation Blueprint.




      69. Describe how each of the certification requirements (Section 3.2.5) will be met for
          multifamily buildings.
             Defer response to State Implementation Blueprint.




      70. Identify which third-party certificate(s) the State program will offer to homeowners that
          receive a rebated home energy upgrade.
             Defer response to State Implementation Blueprint.




   Maximizing Rebate Impact
   Section 3.3.1: Supporting the Clean Energy Economy Through Market Transformation
      71. Certify that the State will develop and implement a Market Transformation Plan within
          the first year after receiving the financial assistance award.
            Yes, the State confirms the above statement and will provide the plan with this
          narrative document.




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   Section 3.3.2: Integrating with Other Programs
      72. Identify whether the State plans to take proactive steps to encourage integration with
          other programs. If so, identify with which programs the State will actively seek to
          integrate. The State may include letters of support or other indicators of commitment
          from existing program partners. Applications should identify whether programs will be
          integrated in any or the following areas:
              Integration into existing program administration, website, materials.
              Adoption of existing program standards, QA, workforce standards, or other
              practices.
              Braiding or co-funding of upgrades within individual households.
              Other integration elements, as applicable.
             N/A. The State does not plan to integrate the rebates into any existing programs.




      73. Describe how the State program will support households, contractors, aggregators, and
          other stakeholders in understanding how the State program may leverage other
          program resources.
             Defer response to State Implementation Blueprint.




      74. Describe the method(s) the State will use to ensure the total combination of all
          immediate upfront funding sources (Federal grants, Federal loans, and non-Federal
          funding) provided to a project does not exceed the total project cost.
             Defer response to State Implementation Blueprint.




      75. Describe how the State program will support contractors and retailers in preparing
          acceptable invoices that may be kept as program records.
             Defer response to State Implementation Blueprint.




      76. Describe how the State implementer(s) will produce invoice documentation in a timely
          manner upon request in the event of an audit by DOE, the DOE’s Inspector General, a
          State’s inspector general, or another entity.
             Defer response to State Implementation Blueprint.



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      77. Describe how the State will ensure rebate recipients will be made aware of the portion of
          the funding received from the DOE Home Efficiency Rebates.
             Defer response to State Implementation Blueprint.




   Section 3.3.3: Quick Starts
      78. Identify whether the application is for a Quick Start program. For Quick Start programs,
          identify the timeline for program launch.
             Yes, this is for a Quick Start Program (provide timeline below).
             No, this is not for a Quick Start Program.




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   Home Electrification and Appliance Rebates State Programs
   (50122)

   Use of Funds and Rebate Eligibility
   Section 4.1.1 Use of Funds
         1. Please provide the types of allowable costs the State proposes within each category of
            administrative funds and rebate funds within those categories.
          Note: These responses should correspond with the Standard Form 424, Standard Form 424A, and
          Budget Justification Workbook.




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           California’s program implementation is managed by primary 50122 recipient, the
           California Energy Commission, and is split into two phases:

           Phase I: approximately $100,000,000
           “Sprint” statewide deployment focused on low income, single-family, high-impact
           electrification through air source heat pumps deployments and acceleration of
           electrification for affordable and LMI multifamily homes. The program will be
           administered via CEC personnel working with primary contractor Cohen Ventures,
           Inc., DBA Energy Solutions.

           Phase II: approximately $190,252,580
           Phase II will support the broader range of measures and emphasis on low-income
           single-family success required in the 50122 Home Electrification and Appliance
           Rebates, referred to as HEEHRA for California. Details for Phase II are still being
           developed and will be submitted at a later date under separate application.

           Full Budget Estimates for both Phase I and II:
           $290,252,580 CA Allocation
           (Note: Full Budget Estimate includes Early Admin Award of $2,486,180)
               20% Administration Costs: $58,038,320.17
               80% Rebate Reimbursement: $232,214,259.83

                   Administration Details: 20% of Full Allocation
                   Total for Phase I and Phase II: $58,038,320.17

                   Staff: CEC / California State program staff for Phase I and Phase II:
                   The State plans to hire nine full time staff members to work on the 50122
                   award for both Phase I and Phase II: TOTAL $11,430,227.80
                           Personnel (compensation): $6,883,922.26
                           Fringe (direct benefits per employee @ 46% estimate): $3,090,093.36
                           Travel: $52,500
                           Equipment: $0
                           Supplies: $0
                           Indirect (14% per new NICRA May 2024): $1,403,712.18

                   Contractual and/or Subrecipient:
                   Phase I Contractual Administration: $16,685,000
                   Separate from and in addition to the CEC/California State Program Staff
                   Budget, the TECH Clean California (TECH) Program, and prime contractor
                   Cohen Ventures, Inc., DBA Energy Solutions, will coordinate with the CEC on
                   all program documentation, help complete all necessary Program plans,
                   oversee subcontractors, manage day to day operations and integration
                   requirements for the program, provide monthly progress reports, invoices,
                   delivery schedules, and a final report.

                   Phase II Contractual and/or Subrecipient Administration: $29,923,092.38
                   (Phase II Estimate, to be detailed with Phase II application and start in



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                   Tranche 2)


                   Rebate Reimbursement: 80% of Allocation
                   Total Phase I and Phase II: $232,214,259.83

                   Phase I Rebates Reimbursement for allowable products, spanning Tranches
                   1 and 2: $80,000,000
                   Phase II Rebates Reimbursement for allowable products: $152,214,259.83
                   Phase II implementation begins in Tranche 2 and will address any additional
                   requirements for the 50122 grant.


              a. The total amount of estimated administrative funds to be expended annually.
                 Annual Administrative Funds budgeted across both Phase I and Phase II are an
                 estimated total of $58,038,320.18 spanning 8 years, as recommended by DOE,
                 and for full California 50122 allocation.
                   $7,254,790.02

              b. The total amount of estimated project-related costs as a portion of the rebate
                 funds to be expended annually.
                                   No project related costs per DOE May 2024
                   $0


         2. If requesting additional rebate funds for project-related activities, describe and justify
            each activity and associated budget in the budget justification worksheet.




   Section 4.1.2 Rebate Conditions and Levels
         3. Describe how the State will manage and ensure that rebate minimums and
            administrative maximums are adhered to over the duration of the program.
           Phase I: Rebate minimums and rebate caps will be programmed into the
           Energy Solutions online application system, Iris, that will only provide rebates
           for eligible equipment at proposed rebate amounts. Rebate minimums will
           be reviewed during the application approval process, and also inspected
           when invoices are submitted to the CEC. Only Trade Professionals, such as
           contractors or their designated eligible entities, that have signed Trade
           Professional Participation Agreements will be given access to the Iris
           Platform to submit applications (also referred to as claims). The Trade
           Professionals (also referred to as Participants) will receive the rebate
           payments, which will be passed onto customers at the point of sale.



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           All customers (eligible entities) will go through income verification as
           discussed in Question 30. The income brackets will be provided in the online
           application system, Iris, and data submitted in the application will be verified
           against data provided through the low-income verification tool to ensure that
           customers receive the rebate amounts accorded to them.

           In Phase I, California through Energy Solutions is not offering all measures at
           the maximum allowable costs. For Phase I, the maximum rebate a customer
           can receive is $8,000 for a single-family dwelling and $8,930 for a multifamily
           dwelling, if the eligible customer choses to do all measures at the maximum
           rebate/incentive amounts. The online application system flags applications
           that are suspected to either represent similar addresses or similar serial
           numbers to ensure that a household does not receive more than one rebate
           for the same measure, and therefore exceed total rebates. The online
           application system will have automated processes in place to ensure that the
           $14,000 cap is not exceeded. California through Energy Solutions will offer
           single family rebates for heating, ventilation, and air conditioning (HVAC)
           heat pumps only, resulting in a maximum of $8,000. California through
           Energy Solutions will offer multifamily rebates for HVAC heat pumps, heat
           pump water hears, and electrical upgrades, resulting in a maximum rebate of
           $8,930. The online application process will limit participants to receiving the
           maximum rebate and will prevent duplicates. Because the maximum rebate
           is $8,000 and $8,930 for single family and multifamily dwellings, respectively,
           the $14,000 cap will not be reached with measures offered.

           For administrative limits, the CEC will closely track and report spending both
           within this category as well as funds that are provided as rebates and as
           rebate/incentives to contractors. The CEC will also follow Generally
           Accepted Accounting Principles (GAAP) and conduct audits every 2-3 years.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         4. Describe how the State will monitor contractor costs and ensure that costs are not
            artificially inflated compared with market averages.
           Phase I: As the Program Implementer for TECH Clean California, Energy Solutions
           requires the total project cost to be listed with pre-rebate pricing with the rebates
           noted where they apply on a line-item basis. The contractor will be required to
           submit itemized invoices with labor and equipment/materials costs broken out. If
           contractor’s invoicing systems cannot be configured to provide this information, the
           program will provide a template where contractors can provide costs broken down
           by applicable categories. The Program team will provide training to contractors
           how to categorize costs and will ensure that the template provides details on
           allowable costs. For single family units, TECH will ensure that costs are broken down


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           separately for the HP HVAC QEP and any other products installed as part of the
           project (only HP HVAC will be incentivized for single-family homes). For multifamily
           buildings, final invoices will need to apply specific rebates against each QEP that is
           installed. The rebate paid will not be able to exceed to total price of the QEP. At
           Program launch, all invoices will be reviewed to ensure pricing information is
           correctly entered. If application volume becomes unmanageable to meet the 4-
           week payment timing, the TECH program has also developed a sampling
           procedure that can be leveraged in periods of high claim volume to ensure
           that submission to payment timelines remain within allowable bounds. This
           procedure ensures that applications from all new contractors are reviewed,
           but only a percent of applications from contractors that consistently provide
           information in the correct format will be reviewed.

           Furthermore, the customer participation agreement makes clear that the
           entire rebate must be passed off to the customer, creating clear
           transparency into what the market price is.

           TECH monitors market costs for heat pumps and other technologies on an
           ongoing basis and publishes project cost in a public online portal at
           https://techcleanca.com/public-data/data-visualizations/, enabling
           customers and other stakeholders to compare project cost data and get
           multiple quotes from qualified contractors. Energy Solutions will analyze
           program data on an ongoing basis to look for anomalies. Depending on the
           identified trends the Program may take several actions including but not
           limited to ramping up efforts to promote online tools and the public
           reporting website data, following up with individual contractors where
           pricing is higher than average, or adding additional program rules or
           information on customer agreements.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         5. Identify the maximum rebate amounts that will be offered to eligible entities and
            eligible entity representatives if lower than the allowed amounts.
           Below are the maximum rebate amounts and maximum percentage of costs
           that the State will apply during Phase I. Phase II will incorporate full Statutory
           Limits/Rebates:

           Single-Family
            Qualified                 Statutory        State          Reasoning
            Product                   Limit/Rebate     Proposed Limit
                                      Amount not to    Single-Family
                                      Exceed



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             Heat Pump                $1,750            $0              Current California
             Water Heater                                               Programs provides
             (<55 Gallons)                                              current incentives
             Heat Pump                $1,750            $0              for HPWHs for
             Water Heater                                               equity communities
             (>=55 Gallons)                                             in excess of $5,800
             Heat Pump for            $8,000            $8,000          The Program will
             Space Heating                                              maximize incentives
             or Cooling (HP                                             offered to Low
             HVAC)                                                      Income customers
             (<80% AMI)                                                 for HVAC.
             Heat Pump for            $8,000            $4,000          The Program would
             Space Heating                                              like to encourage
             or Cooling (HP                                             more participation
             HVAC)                                                      for Low Income
             (80%-150% AMI)                                             Customers, but still
                                                                        finds value in
                                                                        incentives for
                                                                        medium income
                                                                        customers. Based on
                                                                        previous TECH
                                                                        participation, $4,000
                                                                        should still
                                                                        encourage high
                                                                        participation at this
                                                                        income level.
             Electric Stove,          $840              $0              PHASE I: TECH does
             Cooktop, Range,                                            not offer these
             or Oven                                                    measures for Single-
             Heat Pump                $840              $0              Family. These may
             Clothes Dryer                                              be a part of Phase II.
             Electric Load            $4,000            $0
             Service Center
             Electric Wiring          $2,500            $0
             Weatherization           $1,600            $0
             (Insulation, Air
             Sealing, and
             Ventilation)
             Maximum                  $14,000           $8,000
             Rebate


           Multifamily


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             Qualified                Statutory         State          Reasoning
             Product                  Limit/Rebate      Proposed Limit
                                      Amount not to     Multifamily
                                      Exceed
             Heat Pump                $1,750            $1,400          TECH aims to match
             Water Heater                                               previously released
             (<55 Gallons)                                              TECH incentives
             Heat Pump                $1,750            $1,750          wherever possible.
             Water Heater                                               High demand gives
             (>=55 Gallons)                                             us assurances these
             Central HPWH             $1,750            $1,200          rebates will be
             (<15 Gallons per                                           enough to commit a
             bedroom)*                                                  high volume of
             (>=15 Gallons            $1,750            $1,750          projects. Please see
             per bedroom)*                                              previous TECH
                                                                        incentive levels in
                                                                        Appendix.
                                                                        *Central HPWHs are
                                                                        not listed on Energy
                                                                        Star and therefore
                                                                        won’t be offered
                                                                        until Energy Star
                                                                        units are available.
             Heat Pump for            $8,000            $1,000          TECH aims to match
             Space Heating                                              previously released
             or Cooling (HP                                             TECH incentives
             HVAC)                                                      wherever possible.
             Variable Speed           $8,000            $1,500          High demand gives
             Heat Pump for                                              us assurances these
             Space Heating                                              rebates will be
             or Cooling (HP                                             enough to commit a
             HVAC)                                                      high volume of
                                                                        projects. Please see
                                                                        previous TECH
                                                                        incentive levels in
                                                                        Appendix.
             Electric Stove,          $840              $840            And/or appliances
             Cooktop, Range,                                            not to exceed $840
             or Oven                                                    per qualified unit.
             Heat Pump                $840              $840            New measure for
             Clothes Dryer                                              TECH that will
                                                                        maximize fully
                                                                        electrified homes.


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             Electric Load             $4,000                   $3,000                Average costs can
             Service Center                                                           be lower than total
             Electric Wiring           $2,500                   $1,000                proposed amounts
                                                                                      in many cases.
                                                                                      Projects will be
                                                                                      analyzed for the
                                                                                      need for upgrades.
             Weatherization            $1,600                   $0                    PHASE I: TECH does
             (Insulation, Air                                                         not offer these
             Sealing, and                                                             measures. These
             Ventilation)                                                             may be a part of
                                                                                      Phase II.
             Maximum                   $14,000                  $8,930
             Rebate

           See Question 11 for more information on single-family vs. multifamily
           designations for incentive levels.

           Phase I estimated rebates broken out by home type and number of rebates:
             Single-Family
             Heat Pump for Space Heating or Cooling (HP
             HVAC)
             (<80% AMI)                                              $23,432,000      2,929 rebates of $8,000 each
             Installation Incentive for single-family, low-income                     2,929 installer incentives of $200
             Heat Pump for space Heating or Cooling                       $585,800
             Heat Pump for Space Heating or Cooling (HP
             HVAC)
             (80%-150% AMI)                                          $21,000,000      5,250 rebates of $4,000 each
             Multifamily
             Heat Pump for Space Heating or Cooling (HP
             HVAC)                                                       $1,995,000   1,995 rebate of $1,000 each
             Variable Speed Heat Pump for Space Heating or
             Cooling (HP HVAC)                                           $5,997,000   3,998 rebate of $1,500 each
             Heat Pump Water Heater (Electric to Electric)                $350,000    500 rebate of $700 each
             Heat Pump Water Heater (<55 Gallons)                        $4,893,000   3,495 rebate of $1,400 each
             Heat Pump Water Heater (>=55 Gallons)                       $3,570,000   2,040 rebate of $1,750 each
             Central HPWH (<15 Gallons per bedroom) *
                                                                         $1,800,000   1,500 rebate of $1,200 each
             (>=15 Gallons per bedroom) *
                                                                         $2,275,000   1,300 rebate of $1,750 each
             Electric Load Service Center                                $5,994,000   1,998 rebate of $3,000 each
             Electric Wiring                                             $6,298,000   6,298 rebate of $1,000 each
             Electric Stove, Cooktop, Range, or Oven                     $1,628,760   1,939 rebate of $840 each
             Heat Pump Clothes Dryer                                      $181,440    216 rebate of $840 each




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           Phase II implementation will address any additional requirements for the 50122
           grant.


         6. Identify the maximum allowable project costs for determining project cost rebate
            levels.
           Per the Program Requirements & Application Instructions, the State will follow the
           maximum project costs allowed by the federal law. This includes costs associated
           with purchase and installations of the qualified electrification project.

                                                      Rebate Amount
             Building Type      Income Level
                                                      Not to Exceed
                                Less than 80% Area
                                                      100% of qualified
                                Median Income
                                                      project costs
             Single-Family      (AMI)
                                                      50% of qualified
                                80-150% AMI
                                                      projects
                                At least 50% of
                                residents with        100% of qualified
                                income less than      project costs
                                80% AMI
             Multifamily
                                At least 50% of
                                residents with        50% of qualified
                                income of 80-150%     projects
                                AMI




         7. Describe the documentation requirements related to project costs from eligible
            entities and eligible entity representatives.
           As shown here (https://frontierenergy-
           tech.my.site.com/contractorsupport/s/article/Contractor-Invoice-Customer-
           Agreement ), Phase I TECH currently requires the following be listed on the
           invoice:
                  Site address
                  Equipment information, including manufacturer and model number of
                  installed equipment.
                  Total cost pre-rebate (Labor and material combined)
                  TECH incentive amount
                  TECH incentive must be listed as a line item on the invoice either
                  directly reducing the cost (recommended) or specified to be supplied
                  to the customer after being received by a participating contractor.


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           For the HEEHRA Program Phase I implementation, we will also require
           contractors to provide separate pricing information for each upgrade or QEP
           component as a separate line item on the invoice of the home energy
           upgrade package with subdivided labor costs associated with each line item.
           In the case that the contractors invoicing platform cannot be updated to
           provide this breakdown, the program will provide a template where
           contractors will be able to provide this information and submit it as part of
           the program details. This will allow the program to ensure that only eligible
           project costs are covered, and the total rebate does not exceed eligible
           project costs.

           Projects funded through the HEEHRA Program will not be eligible for
           funding from other federal sources.

           For both single-family and multifamily Projects, Contractors will submit a
           digital copy of their invoice through the incentive claim process through Iris,
           TECH’s online application platform. Contractors will upload a copy of their
           invoice on the claim, and they will also manually enter in the total projects
           costs as well as total incentives, including applicable Installer Incentive if any,
           or rebates they are receiving from other projects not supported in Iris, such
           as TECH. Iris will automatically apply any project capping requirements to
           the calculated incentive based on the measure installed. More information
           on Iris is also provided in question 21.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         8. List the installation incentives the State will provide eligible entity representatives for
            each eligible product or service up to $500 (in total).
           During Phase I, California will provide Installer Incentives of $200 for installation of
           eligible heat pump equipment (ducted or unducted) for low-income, single-family
           QEPs as part of the TECH HEEHRA Phase I implementation. Balance of measures
           will have $0 Installer Incentive in HEEHRA Phase I.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         9. Describe the approach for ensuring that eligible entities will not receive Federal
            rebates or grants for the same QEP.
           In Phase I, the CEC will make it clear in program rules that eligible entities
           cannot receive additional rebates and grants for the QEPs installed in the
           program. The information reported by homeowners on other Federal
           Rebates will be manually documented until automated systems are


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           developed by the DOE (PNNL) or other Federal programs, such as
           Weatherization Assistance Program (WAP), to enable automated tracking of
           Federal programs by house address. As more automated federal systems for
           cross-checking Federal rebates or grants for the same QEP are developed
           by the DOE (PNNL) or other Federal programs, to enable tracking by house
           address, the CEC and its primary contractor Energy Solutions for Phase I will
           determine which API interface is most effective in reporting program data.
           Once an API interface is selected, potentially not until Phase II, the CEC will
           facilitate a data exchange between federally implemented programs in order
           to ensure that implementers can check for overlap in participation during the
           reservation phase of the application. If there is overlap then the system will
           notify all homeowners or building owners, and others if applicable (e.g.,
           contractor), that the rebate cannot be combined with other federal grants
           and rebates, but the household may still be eligible for a federal tax credit
           per Internal Revenue Service (IRS) guidelines.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         10. Confirm that the State will provide information via API or DOE-provided spreadsheet
             to the DOE central database to ensure that rebates limited to a single or a
             combination of products are tracked and managed, and no duplicate rebates are
             awarded.
             State will provide information via API.
             State will provide information via a DOE-provided spreadsheet.

         11. Describe how the State will approach providing rebates to multifamily building
             owners and qualified households who live in multifamily units.
             Defer response to State Implementation Blueprint.
           Phase I: For the purposes of the incentive levels California requests DOE
           approval to designate that multifamily houses are referred to as a building
           that has least 5 rental housing units. This would make the definition
           consistent with what is used for TECH. Properties with four or fewer units will
           still meet multifamily measure eligibility as describe in the Program rules
           (including the ability for the building owner to apply for rebates for a central
           HPWH), but income verification will be required for each tenant at the
           property receiving an upgrade (rather than only 50% of the households).
           This designation will allow apartment owners, and tenants or building
           owners for smaller multifamily units to receive the higher rebate amounts
           eligible for single-family, while also ensuring that all tenants receiving the
           benefit are low-income (rather than having one low-income tenant make two
           dwelling units eligible for an incentive).


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           TECH has released several tranches of funding for multifamily projects that
           building owners and contractors have followed closely. They understand the
           current multifamily designation, and the current designation of Equity
           Incentives used for the latest tranche of SGIP HPWH funding. The Program
           will plan to release a new tranche of multifamily funding using HEEHRA
           funds. Whenever possible this new tranche will currently mimic program
           rules that applicants are familiar with. We will align Program requirements
           with the current Equity Requirements released for the latest Tranche of
           funding. Therefore, multifamily projects will be eligible for 50122 rebates if
           they meet the following criteria:

                   Building has least 5 rental housing units and meets one of the
                   following criteria:
                       o Located in an SB535 disadvantaged community (DAC)
                          (classified as 80-150% AMI for reporting purposes); or
                       o A property where at least 80% of the households have incomes
                          at or below 80% of the area median income in accordance with
                          the terms of their deed restriction (classified as <80% AMI for
                          reporting purposes).
                       o At least 66% of living units are <80% AMI. This information will
                          be verified by one of the following documents (rent rolls,
                          income documentation, evidence of Section 8, and/or proxy
                          documentation of categorical eligibility (classified as <80% AMI
                          for reporting purposes).

           Phase II implementation will address any additional requirements for the
           50122 grant.

         12. Identify the date after which upgrade projects must be completed for the purposes of
             being eligible for a rebate under the State program.
             Defer response to State Implementation Blueprint.
           Any project sold on or after the date of program launch will be deemed eligible for
           a rebate under the State program. For single-family projects, a “sold” job is defined
           as a job where the customer has entered into an installation contract with the
           installing contractor. Participants will be asked to provide an upload of the
           customer/contractor agreement, with date clearly noted, to ensure the job qualifies.

           No Program funds or rebates will be paid out to contractors for individual jobs until
           the project has been completed and final claim has been submitted and approved.

           For multifamily, a Home Assessment will be performed in one of two ways. 1)
           Contractors or building owners will perform their own home assessments at their


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           own cost prior to submitting a reservation for their project or 2) the Program will
           perform a Home Assessment for the building owner to help assist with project
           scoping and identifying the needed type of contractor (e.g., general contractor,
           HVAC contractor, or other) for their job. A Home Assessment for the Program will
           be classified as a project related cost.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         13. Describe how eligible rebate recipients will be informed of additional program
             funding available from non-Federal funds and grants.
             Defer response to State Implementation Blueprint.
           The “Switch is On” (https://switchison.org/) website maintained for TECH in
           California includes a rebate finder, which allows customers or contractors to
           input a project site zip code to determine what incentives may be available
           for their project. The customer terms and conditions agreement will include
           a QR code that the customer can use to navigate directly to the site.

           Phase II implementation will address any additional requirements for the
           50122 grant.

   Section 4.1.3 Low-Income Households
         14. Identify the portion of the rebate funds the State will reserve for low-income and low-
             income multifamily households.
           For the full award and across both Phases, California plans to allocate a
           minimum of $94,411,568 of rebates to low-income households (i.e.,
           households with less than 80% of AMI). This is consistent with the percentage
           of low-income households in the State, which is 40.7%. California plans to
           allocate a minimum of 10% of full allocation over both Phases or
           $23,220,206 of rebates to low-income multifamily housing.



         15. Provide a brief description of the procedures and penalties the State will provide to
             ensure that renters are not subject to unjustified rent increases.
             Defer response to State Implementation Blueprint.
           Phase I: All applicable terms and conditions, including those on the
           reservation form and as part of the customer program agreement, will
           include stipulations that all applicable tenant laws must be followed. In the
           event the owner does not wish to comply by local laws, their reservation will
           not be accepted. In addition, if determined after rebate receipt that the
           owner violated any applicable laws, they must refund the rebate.

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           The Program will also incorporate the following 50122 requirements in the
           multifamily terms and agreement:
           o The owner agrees to rent the dwelling unit to a low-income tenant. This is a
           minimum requirement and affordability requirements should be
           commensurate with total rebate amount awarded.
           O The owner agrees not to evict a tenant to obtain higher rent tenants based
           upon the improvements.
           O The owner agrees not to increase the rent of any tenant of the building as
           a result of the energy improvements with exception of increases to recover
           actual increases in property taxes and/or specified operating expenses and
           maintenance costs.
           O The owner agrees that if the property is sold within two years of receipt of
           the rebates, the aforementioned conditions apply to the new owner and
           must be part of the purchase agreement.
           O In the event the owner does not comply, the owner must refund the rebate
           o Enforcement and penalties are clear and sufficient to act as a deterrent for
           owner violations and provide for damages and attorney’s fees recoverable
           by tenants.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         16. Describe how the State program will define a disadvantaged community. If not using
             the default disadvantaged community definition of low-income households located in
             a disadvantaged community identified by the CEJST, a State must explain how the
             proposed definition will meet the following three criteria as described in DOE J40
             implementation guidance 3:
              The communities of concern identified by the State tool or definition must conform to
              the definition of communities established in U.S. Office of Management and
              (OMB) guidance:
                      o a group of individuals living in geographic proximity to one another that
                           experiences common conditions.
                      o a geographically dispersed set of individuals (such as migrant workers or
                           Native Americans) that experiences common conditions.
              The State tool or definition must consider two or more of the following indicators
              when identifying communities that should be classified as disadvantaged for the
              purposes of directing Federal investments under Justice40:
                   o Low income, high and/or persistent poverty
                   o High unemployment and underemployment
                   o Racial and ethnic residential segregation, particularly where the segregation
                      stems from discrimination by government entities
                   o Linguistic isolation

   3
    See pages 8-9 of https://www.energy.gov/sites/default/files/2022-
   07/Final%20DOE%20Justice40%20General%20Guidance%20072522.pdf for more details.


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                   o  High housing cost burden and substandard housing
                   o  Distressed neighborhoods
                   o  High transportation cost burden and/or low transportation access
                   o  Disproportionate environmental stressor burden and high cumulative
                      impacts
                  o Limited water and sanitation access and affordability
                  o Disproportionate impacts from climate change
                  o High energy cost burden and low energy access
                  o Jobs lost through the energy transition
                  o Access to healthcare
              The communities of concern identified by the State tool or definition must be
              currently mapped in software or must be easily overlayed in GIS so that communities
              can be easily identified by stakeholders.
           Phase I: TECH uses the CalEnviroScreen 4.0 definition of a DAC, which is based on
           the Census tract in which a project occurred. In the TECH Working Dataset, each
           TECH project is labeled via the “Disadvantaged Community” column as either TRUE
           or FALSE. The California Environmental Protection Agency identifies Disadvantaged
           Communities through CalEnviroScreen, created by the Office of the Environmental
           Health Hazard Assessment (OEHHA). CalEnviroScreen’s census tract scoring
           methodology assesses cumulative impacts by multiplying the averages of two
           Pollution Burden components and two Population Characteristics component.

           Each component has a set of indicators. The Pollution Burden component
           encompasses Exposures (indicators include ozone concentrations, PM2.5
           concentration, children’s lead risks from housing, diesel PM emissions, drinking
           water contaminants, pesticide use, toxic releases from facilities, and traffic density)
           and Environmental Effects (indicators include solid waste sites and facilities,
           groundwater threats, hazardous waste, impaired water bodies, and cleanup sites).
           The Population Characteristics component encompasses Exposures (indicators
           include asthma, cardiovascular disease, and low birth weight infants) and
           Socioeconomic Factors (indicators include educational attainment, housing
           burdened low income households, linguistic isolation, poverty, and
           unemployment).Visit the California Office of Environmental Health Hazard
           Assessment (OEHHA)’s CalEnviroScreen page to learn more:
           https://oehha.ca.gov/calenviroscreen

           After receiving public input at workshops and in written comments, in May 2022,
           CalEPA released its updated designation of disadvantages communities for the
           purpose of SB 535. In this designation, CalEPA formally designated four categories
           of geographic areas as disadvantaged:

           1) Census tracts receiving the highest 25% of overall scores in CalEnviroScreen 4.0
           (1,984 tracts).
           2) Census tracts lacking overall scores in CalEnviroScreen 4.0 due to data gaps, but
           receiving the highest 5% of CalEnviroScreen 4.0 cumulative pollution burden scores
           (19 tracts).
           3) Census tracts identified in the 2017 DAC designation as disadvantaged,


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           regardless of their scores in CalEnviroScreen 4.0 (307 tracts).
           4) Lands under the control of federally recognized Tribes. For purposes of this
           designation, a Tribe may establish that a particular area of land is under its control
           even if not represented as such on CalEPA’s DAC map and therefore should be
           considered a DAC by requesting a consultation with the CalEPA Deputy Secretary
           for Environmental Justice, Tribal Affairs and Border Relations at
           TribalAffairs@calepa.ca.gov.
           The designation takes into account the latest and best available data and considers
           factors related to data unavailability.

           TECH’s current DAC definition is: “A census tract that scores in the top 25% of
           CalEnviroScreen 4.0, along with those that score within the highest 5% of
           CalEnviroScreen 4.0’s Pollution Burden but do not receive an overall
           CalEnviroScreen score; all Tribal lands; low-income households; and low-income
           census tracts.” https://techcleanca.com/public-data/equity-budget-and-spending/

           Phase II implementation will address any additional requirements for the
           50122 grant.

         17. Identify the tool(s) the State will provide for eligible entity representatives to identify
             households that qualify for the installer incentive available for work in disadvantaged
             communities.
             Defer response to State Implementation Blueprint.
           Phase I: California will provide installer incentives of $200 for installation of
           eligible heat pump equipment (ducted or unducted) for low-income, single-
           family QEPs as part of the TECH HEEHRA Phase I implementation, including
           those within DACs communities. In addition, Energy Solutions will work to
           increase uptake in DAC through focused outreach efforts. The Program will
           have a specific DAC Delivery Plan as part of the implementers scope of work,
           which will explain how the implementer plans to increase uptake in DAC.
           These activities will include translation of marketing materials, outreach to
           CBO’s and a broader list of other engagement strategies.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         18. Confirm that the State’s intake system for users to provide income information will
             compare household income to 80% and 150% AMI values associated with that
             household's county and household size to determine rebate levels prior to signing
             statements regarding their income.
           Phase I: Yes, the low-income verification tool used by the program will
           compare values household income to 80% and 150% AMI values associated
           with that household's county and household size to determine rebate levels
           prior to signing statements regarding their income.


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           Phase II implementation will address any additional requirements for the
           50122 grant.

         19. If the State does NOT intend to use a federally provided web-based tool to determine
             whether a home is in a disadvantaged community, confirm that the State will provide
             the ZIP codes or a preferred more granular geography (e.g., census tract) with all
             disadvantaged communities as defined by the State to the DOE system.
            Yes, the State confirms the above statement.
            N/A. The State will use a federally provided web-based tool to determine whether a
          home is in a disadvantaged community.


   Section 4.1.4 Community Benefits Plan
         20. Confirm that the State will develop and submit a Community Benefits Plan prior to
             program launch.
             Yes, the State confirms the above statement.


   Section 4.1.5 Processing and Delivering Rebate Funds to Eligible Rebate Recipients
         21. Describe what types of systems will be put into place to allow effective processing of
             rebates, including ensuring the ability to apply rebates at point of sale and/or as part
             of an invoice. And confirm that the system will link to federally provided systems via
             API.
             Yes, the system will link to federally provided systems via API.
             Defer response to State Implementation Blueprint.
           Phase I; The State will ensure effective and efficient rebate processing by
           allowing contractors to submit rebate applications via the same rebate
           processing system, Iris, that is currently used for TECH Clean California. Iris is
           a proprietary rebate processing system that accepts contractor reservations
           and rebate claims, and which enables contractors to track payments and
           access information about product and program eligibility requirements. Iris
           is able to accept one claim that can be used to calculate incentive values for
           multiple programs. For example, a contractors applying for single-family
           incentives may submit one claim that will create two subclaims one for
           TECH’s HP HVAC incentive and one for the 50122 HP HVAC rebate. Once
           the claim is submitted two different process flows will be applied to each
           subclaim for review, approval, payment, and reporting purposes. Within its
           claim submission and processing workflows, Iris includes multiple levels
           automated and manual quality control including options for customer
           eligibility and product validation and the ability to implement custom quality
           control checks.



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           To allow for effective processing of rebates, the State’s implementers will
           configure the Iris system to collect all data needed for reservation and claim
           eligibility verification and will ensure that all desired DOE reporting outputs
           are present in or can be inferred from data collected in Iris. A minimum set of
           required fields, including but not limited to physical address information and
           equipment installed, will be collected from contractors upon claim
           submission. These fields will be validated automatically against appropriate
           data sets – for example, submitted equipment will be validated against
           ENERGY STAR qualified products lists and specifications – at the time of
           claim submission. Approved payments will undergo a series of additional
           checks prior to payment, and claims will be paid within an average of 20
           days.

           Claim details will be reported to DOE after the State’s payments, and
           reported data will include all data required by DOE. For example, a
           complete address will be reported so that DOE’s systems can generate the
           corresponding address ID. Real-time reporting options are available for
           urgent data requests, and the State will plan to submit claim and payment
           details to DOE on requested basis. While reservation details will not be
           reported to DOE prior to claim payment, the State’s implementers will
           monitor submitted contractor reservations to ensure the budget is not
           exceeded. In phase 1, reports will be provided in through DOE-approved
           spreadsheets via a secure file transfer mechanism while the API undergoes
           security review.

           The State intends to use DOE’s API for reporting beginning in Phase II, after
           security review is complete.

         22. Describe how the State will ensure processing of rebates within 4 weeks of receipt
             (e.g., through a processing company, through program implementers, or other
             entities or methods). Include information on corrective actions that the State will
             implement in the event of lengthier processing times.
             Defer response to State Implementation Blueprint.
           Phase I: TECH is currently reviewing submitted rebate claims within 9 days of
           submission and paying out incentives within 20 days on average. While the
           program team will ensure claims are reviewed within the first 2-3 weeks of
           submission, the final payment timeline will depend upon contractor input
           and availability of project funds. Some claims may exceed a 4-week payment
           timeline if they are waiting for contractors to make necessary corrections. If
           payment timing starts to exceed 3 weeks, the TECH program will utilize a
           sampling procedure to expedite application review and payment timing.
           Sampling will reduce the total manual checks for applications, by allowing a



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           percent of application fields to be reviewed for contractors that have
           consistently submitted correct application in the past.

           TECH will make every attempt to make prompt payment to contractors;
           however, the State payment system is outside of the CEC and conducted by
           the California State Controller’s Office. California is evaluating an option to
           advance pay TECH so that incentive funds are available to contractors
           immediately after service. Any delay in available funds from DOE or CEC
           may inhibit the ability for TECH to reimburse/pay rebates to contractors
           within 4 weeks.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         23. Describe how the proposed processing system will be integrated with a system for
             processing rebates under Section 50121. Note if the State plans to use separate
             systems.
             Defer response to State Implementation Blueprint.
           The CEC will have two separate processing systems and workflows for 50121
           and 50122. The CEC will work with the implementers for both programs to
           ensure that reservations and applications for each program, and common
           data such as income verification, address, measures installed or reserved,
           are available to the other implementers so that the implementer can cross
           reference addresses and incorporate checks into their application
           verification procedures. This will provide a way for implementers of both
           systems to cross reference the addresses that were served by 50121 and
           50122 to avoid applicants receiving both rebates for the same qualified
           measure.

           In Phase I, the CEC plans to leverage the DOE's PNNL system when live to
           track 50121 and 50122 home and homeowner details. Until the PNNL tool
           system is fully released, CA will work with its implementation/administration
           contractors and/or subrecipients to manually verify between its 50121 and
           50122 details. CA understands it bears the responsibility to ensure the
           correct outcome in administering rebates for eligible Californians.

           Phase I: Rebate processing for DOE will leverage the pre-existing Iris system,
           the rebate processing system currently used for TECH Clean California. Iris
           will “stack” TECH and federal rebates to streamline contractor and customer
           access to equipment and efficiency benefits.
           Once a contractor makes a sale, the Iris workflow is as follows:


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                  1. Contractor submits an initial “pre-approval” claim to Iris to reserve a
                 HEEHRA rebate. This claim contains enough information to allow for
                 the reservation of funds but will not contain all information required
                 for claim processing and payment.
                  2. Contractor receives confirmation via Iris that their funding is
                 reserved, in the form of a unique pre-approval code to be entered on
                 a claim when the project is completed and submitted for payment.
                 The contractor can access this code via Iris at any time.
                  3. Once the sale and installation are complete, contractor submits a
                 single claim to Iris containing complete project information along with
                 their preapproval code.
                  4. The submitted claim is updated with “stacked” TECH and HEEHRA
                 rebates. If the claim is ineligible for a HEEHRA rebate (e.g., the
                 customer did not submit income eligibility, equipment was not Energy
                 Star Certified), only the TECH rebate will be applied.
                  5. The submitted claim is processed according to a standard Iris
                 workflow that includes automated Quality Control, initial processor
                 review, and payment review. TECH and HEEHRA rebates may be
                 processed and issued independently once the claim is submitted.
                 6. Once approved for a HEEHRA rebate, payment is issued to the
                 contractor and recorded in Iris.
           Adjustments to TECH or HEEHRA rebates are not anticipated to disrupt this
           workflow. Likewise, because TECH and HEEHRA rebate eligibility processing
           may move forward independently after claim submission. This integration
           option simplifies the application process for contractors while honoring the
           separate requirements of HEEHRA and TECH.

           Phase II implementation will address any additional requirements for the
           50122 grant.

   Section 4.1.6 Verify Income Eligibility
         24. Describe how the State will define household income for verification purposes.
           For households that provide income information, the State will request a sum
           of the income of all adult occupants over the past 12 months. A variety of
           documents can be used to prove this information including but not limited to
           tax filings, workers compensation, child support, disability or unemployment,
           bank statements, etc. As long as the income requirements of identified
           federal programs fall below 80% AMI and/or 150% AMI, applicants enrolled
           in a program that qualifies them as categorically eligible do not need to
           provide this income information.

         25. For single-family households, how will claimants be able to establish their household
             income for income qualification? States may select from the following options:

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             Documentation of household income (for example, 1040)
             Documentation of enrollment in a pre-qualifying program
             Self-attestation of either income level of enrollment in pre-qualifying program

         26. For multifamily buildings, describe what combination of methods will be used to verify
             that at least 50% of dwelling units consist of households with incomes less than 80%
             AMI.
           Phase I: For multifamily installations qualifying for <80% AMI, the party submitting
           the reservation must provide proof of eligibility for the whole multifamily building
           such that 50% of dwelling units fall under 80% AMI. Such proof can include, but is
           not limited to, individual tenant income documentation, evidence of Section 8,
           and/or proxy documentation for categorical eligibility. A complete list of eligible
           supporting documentation will be published prior to program launch and
           participants will be required to submit during the reservation review phase to
           determine qualification.

           Phase I: Units of 4 or less would fall under the single-family program definition and
           each household being affected would need to submit proof of income eligibility
           separately.

           Phase II implementation will address any additional requirements for the 50122
           grant.




              a. For multifamily buildings, describe what combination of methods will be used to
                 verify that at least 50% of dwelling units consist of households with incomes less
                 than 150% AMI (but not less than 80% AMI).
           Phase I: California will allow Multifamily buildings to qualify for the 80-150% AMI
           category, via the submission and verification of proof of eligibility for the whole
           multifamily building such that 50% of dwelling units falls under 150% AMI (but not
           less than 80% AMI). Additional documentation for the whole building such as deed
           restrictions tied to income of households, individual tenant income documentation,
           or other proof of enrollment in programs deemed as categorically eligible could
           also be provided to verify that at least 50% of dwelling units consist of household
           with income less than 150% AMI. A complete list of eligible supporting
           documentation will be published prior to program launch and participants will be
           required to submit during the reservation review phase to determine qualification.

           Phase II implementation will address any additional requirements for the 50122
           grant.



         27. Confirm the following:
              Claimant will be required to note the number of individuals who occupy the dwelling


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              unit.
              Claimant will be required to sign an affidavit attesting to the validity of all information
              provided (e.g., enrollment documents, household income, number of full-time
              occupants) irrespective of the method of income qualification (e.g., categorical
              eligibility, self-attestation).
                 Yes, the State confirms the above statements.

         28. Describe how the 80% AMI and 150% AMI levels for each location will be kept up-to-
             date and linked to DOE systems. Provide additional information if proposing NOT to
             use a federally provided link or API.
             Defer response to State Implementation Blueprint.
          Confirm that these levels will correspond to:
                  The address of the home at which rebates will be applied
                  The applicable number of household occupants
                          Yes, the State confirms the above statements.
           The Program will use a federally provided link to download a flat table of
           AMI ranges provided by the DOE in December 2023 and updated as the
           DOE provides. Those ranges will be uploaded into the Phase I low-income
           verification tool when tables are updated by the DOE, but no more
           frequently than monthly.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         29. Confirm that the State will do the following:
              Review information provided to support income eligibility for all applicants applying
              for rebates.
             Yes, the State confirms the above statement.
              Take steps to verify income eligibility for at least 50% of those applicants that use self-
              attestation to support income eligibility (e.g., confirm enrollment in at least one
              program that the applicant asserted enrollment in; confirm household income via
              IVES; calls to employers).
             Yes, the State confirms the above statement.
              After 6 months and not longer than 1 year after program launch, report to DOE the
              percentage and number of applicants that received rebates but were subsequently
              found to not meet eligibility requirements; and
             Yes, the State confirms the above statement.


              Work with the state's DOE project officer to institute additional safeguards or
              determine if a lesser level of review for applicants using self-attestation is justified


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              depending on the percentage/number of rebates issued without meeting eligibility
              requirements.
                 Yes, the State confirms all the statement.
          If applicable, propose the types of information that the State will provide to DOE to
          warrant reducing these requirements (e.g., allowing implementers to verify income of a
          subset of claimants through random sampling).
             N/A. The State will not reduce this requirement.
             Defer response to State Implementation Blueprint.

           The Program does not plan to use self-attestation at the launch of the Phase I
           Program and will evaluate based on Phase I whether required for Phase II
           implementation.

         30. Provide additional information as needed to demonstrate that the proposed
             approaches for income verification will address all types of households; not create
             undue burden for claimants; and include safeguards to minimize error and abuse in
             the process of verifying income.
             Defer response to State Implementation Blueprint.
           Phase I: TECH Clean California will use the existing income eligibility
           methods consistent with DOE guidelines. The Program will work with local
           community-based organization partners and provide information to them
           and other advocacy groups in order to ease the process and provide a
           different means of assistance.

           Currently, TECH offers Equity incentives – higher incentives that are available
           to residential customers who meet certain income thresholds in both single-
           family and multifamily homes -- that are paid through other programs and do
           not leverage HEEHRA Phase I funds. At launch the current TECH process that
           uses an online tool and manual document review will be used for single-
           family homes (four dwelling units or less), to verify income is either <80%
           AMI or 80-150% AMI, but the Program will work to release a more scalable
           solution that can return a high volume of applications within 2 days that
           further reduces PII risks through an API solution. The solutions that will be
           available to customers are listed below:

           1) Customers will be able to provide details to inform categorical eligibility
           for a limited number of approved programs that best align with the program
           requirements and are accessible to a reasonable volume of potentially
           eligible customers through an online application tool. The Program team will
           have set up an API or other digital connection with the applicable
           participating program databases to confirm participation and will return


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           qualification in near real time. This process will be the quickest and easiest to
           participate in but may have limitations on the programs available for
           categorical eligibility, for example, it may only be able to connect with the
           SNAP database. By using already established databases we are minimizing
           the impacts to customer participation, ensuring that we are getting
           information directly from the latest database (rather than from a manually
           uploaded file that could be out of date) as well ensuring secure transmission
           of approval and confirmation of participation without disclosing sensitive
           customer information.
           2) Customers can submit income data through the same online tool as
           above. Customer can provide income and household data when confirming
           their eligibility for participation in the program. During this process, the
           customer will be interacting with the same online tool as above and will
           provide this detail necessary to verify their eligibility. If the customer is not
           confirmed through existing methodologies, such as categorical eligibility,
           the customer can provide additional data point to go through the IRS
           process (such as 4506-C). This approach does require additional support
           and IRS documents to be securely transmitted however it allows for higher
           confidence in income related data accuracy.
           3) At launch and as a double check throughout the process, the TECH team
           will use an online tool that where documents can be submitted for manual
           review. This process will allow the widest range of documents but can take
           from 2 days to 10 days depending on the volume of claims. This timeframe is
           not desirable based on the volume of applications that we expect and will
           create additional burden for participants that will decrease customer
           satisfaction. Under this process, customers can either submit documents for
           income verification or categorical eligibility. To ease burden, we will accept a
           wide variety of forms for income verification such as tax filings, workers
           compensation, child support, disability or unemployment, bank statements,
           etc., and a wide variety of categorical eligibility as described in Application
           Response 35. All information will need to be from the last 12 months in order
           to ensure records are recent.

           As a safeguard to discourage applicants from falsifying income information,
           all applicants, when submitting income verification information, will be
           required to the customer will be required to accept participation terms and
           conditions to participate as well as check a statement acknowledging they
           are accurately representing their household income details. as well as
           confirm that they understand the following:
                  If the information provided is invalid and warrants you ineligible for
                  this rebate, the rebate reservation, if not yet processed, will be
                  canceled. If the rebate has already been applied to a purchase or
                  service, the applicant will be responsible for repaying the State for the
                  rebated amount. The State reserves the right to engage a bill

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                   collection agency should repayment not be made within a stated
                   period.

           A manual document review process will be used for all multifamily projects.
           Because of the length of time for these projects to be completed, there is
           less need for an immediate turnaround.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         31. Describe how the State will verify (confirm legitimacy) of income information for all
             claimants (e.g., verification within 2 days through IRS, cross-check with enrollment
             databases of approved programs, calls to employers). If applicable, a State may
             propose the types of information that it will provide to DOE to warrant reducing this
             requirement (e.g., allowing implementers to verify income of a subset of claimants
             through random sampling).
             Defer response to State Implementation Blueprint.
           As specified above in Question 30, through the different methodologies, the
           Program will use known sources of information.
           Method 1) All categorical eligibility will be approved via a cross check of
           enrollment with approved programs.
           Method 2) the existing IRS process 4506-C will be used for verification.
           Method 3) This method uses an existing established process from a LIHEAP
           provider. In this methodology, the subcontractor will manually review all
           submitted documentation in order to ensure income information and
           categorical eligibility information is sufficient. The subcontractor will validate
           the documentation as submitted and will not be checking against a database
           nor contacting employers.

         32. Identify how the State will resolve instances when rebates are provided to those who
             have falsified their incomes.
             Defer response to State Implementation Blueprint.
           All customers will be required to sign a program specific terms and
           conditions, which will include stipulations they have to agree to confirming
           that the information they provided for qualification purposes is true and valid
           to their understanding. The Trade Professional Participation Agreement will
           also have terms on refunds and adjustments. Current terms read:
                  “Program Implementer is entitled to a prompt refund from Payee of
                  any and all equipment returns processed by Payee for which the
                  Program Implementer has paid a rebate reimbursement to the Payee.
                  Any refund of rebate amounts paid to Participating Trade Professional
                  to which Program Implementer becomes entitled will be deducted


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                   and offset as an adjustment from Payee’s future invoices. If Program
                   Implementer cannot offset the refund in a timely manner, then, if
                   requested by Program Implementer or the CPUC, the Payee must
                   promptly refund to Program Implementer the rebate amounts due.
                   Any written notice, demand, or request required or authorized
                   in connection with this Agreement shall be deemed properly
                   given if delivered in person, sent electronically via email, a
                   nationally recognized overnight courier, or first-class mail,
                   postage prepaid, to the addresses specified below or to other
                   addresses specified in writing by Energy Solutions. An
                   originally executed version of this Agreement, delivered
                   electronically via email by one party to the other party as
                   evidence of signature shall for all purposes hereof be deemed
                   an original. When any of the above methods of execution of
                   this Agreement is utilized in accordance with the terms set
                   forth in this Section, then neither party shall have the right to
                   object to the manner in which the Agreement was executed as
                   a defense to the enforcement of this Agreement. “

           The Program will also add language to deter customers and contractors from
           falsifying information the customers and contractor terms and conditions will
           contain language such as:
                   "By signing this certification, I am representing on my own behalf that
                   the information provided in this certification, the application, and all
                   other information submitted in connection with this application, is true
                   and correct as of the date of submission. I acknowledge that any
                   intentional or negligent misrepresentation of the information
                   contained in this certification may result in criminal, civil or
                   administrative sanctions, including but not limited to: (1) fines,
                   restitution and/or imprisonment under 18 U.S.C. § 1001; (2) treble
                   damages and civil penalties under the False Claims Act (31 U.S.C. §
                   3729 et seq); (3) double damages and civil penalties under the
                   Program Fraud Civil Remedies Act (31 U.S.C. §3801 et seq); (4) civil
                   recovery of award funds; (5) suspension and/or debarment from all
                   Federal procurement and non-procurement transactions (FAR Subpart
                   9.4 or 2 CFR part 180.”
           If customers are found to have falsified information, the Program will work to
           take back the paid rebates. If it is discovered that an “eligible entity
           representative” or EER was involved in or encouraging falsifying information,
           the EER will be barred from future program participation. Information on
           these terms will be provided in both the customer terms and conditions and
           the Trade Professionals Participation Agreement.

         33. If proposing to allow self-attestation as a means for initial income qualification,


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             provide a detailed description of how and when this approach will be used. Include
             statements, language, and detailed information regarding follow-up steps that will be
             used for this process. Additional topics to address include:
              Describe how those applying for rebates will be warned of potential liability
              associated with falsifying information.
              Explain how signed statements of self-attestation will be securely stored.
              Identify what level of falsified attestations will signal that the system needs to shut
              down either permanently or be restarted only after sufficient improvements.
             Defer response to State Implementation Blueprint.
           The Program does not plan to use self-attestation.

         34. Describe how the State program will verify, where applicable, that at least one
             member of a household has been enrolled in a program within the Federal Programs
             Approved for Categorical Eligibility document, or other state-proposed program
             approved by DOE, within the prior 12 months.
             Defer response to State Implementation Blueprint.
           For Income Verification Method 1) an API connection will be used to cross
           check enrollment with existing programs. For Method 3) the program will
           collect documentation of the award of the Program and do a manual review
           to ensure that the data of award is within the prior 12 months.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         35. Identify the Federal or other programs by which the State plans to allow categorical
             eligibility.
             Defer response to State Implementation Blueprint.
           California plans to offer categorical eligibility for the following programs listed in:

           Federal programs approved for categorical eligibility for DOE Home Energy
           Rebates (“recognized programs”), found here:
           https://www.energy.gov/scep/articles/ira-50121-50122-home-energy-rebates-
           categorical-eligibility-list

           In addition to the Federal programs approved for categorical eligibility for DOE
           Home Energy Rebates, TECH will allow categorical eligibility in the following
           programs that have an 80% AMI requirement:
               Self-Generation Incentive Program (SGIP) Equity Eligible (80% AMI)
                   o Requires: Documentation showing the host customer’s household
                      income is 80 percent of the area median income or less based upon a
                      copy of the most recently available federal income tax documentation.
                      Area Median Income is subject to annual changes based upon Housing



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                       and Urban Development's income guidelines
                       (https://www.huduser.gov/portal/datasets/il.html).

           If an applicant has received benefits from these services and has an award letter
           dated within the last 12 months, the household is considered income-eligible and
           can present this award letter as proof of income documentation. A copy of the
           award letter must be included with the income application.

           Phase II implementation will address any additional requirements for the 50122
           grant.

         36. If applicable, propose any additional Federal and other programs to be considered
             for categorical eligibility. For any programs not already approved, describe how the
             program’s eligibility aligns with the Section 50122 income requirements (Section
             4.1.6).
            Defer response to State Implementation Blueprint.
            N/A. The State will not propose additional Federal or other programs to be
          considered for categorical eligibility.
           The income requirements for the State programs are described below:
           1. Self-Generation Incentive Program (SGIP) (Equity Eligible = <80% AMI)


         37. Identify whether the State requests authorization to allow use of categorical eligibility
             determinations based on program participation outside of a one-year period (e.g.,
             proof of enrollment within the past 12 months). If so, explain the State’s proposal and
             describe the rationale.
            Yes, the State requests authorization to allow use of categorical eligibility.
          determinations based on program participation outside of a one-year period. (Explain
          the State’s proposal and describe the rationale.)
            No, the state will follow the categorical eligibility and proof of enrollment timeline
          requirements followed in our DOE approved WAP.
            Defer response to State Implementation Blueprint.




         38. Identify whether the State requests authorization to allow categorical eligibility for a
             program in a way that is not consistent with the “level of categorical eligibility” listed in
             the document Federal Programs Approved for Categorical Eligibility. For each
             deviation requested, propose, and provide documentation to justify the requested
             change. Documentation must demonstrate that the State imposes income
             requirements equivalent to or less than 80% AMI.
             Defer response to State Implementation Blueprint.



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            N/A. The state will not allow categorical eligibility for a program in a way that is not
          consistent with the “level of categorical eligibility” listed in the document Federal
          Programs Approved for Categorical Eligibility.




   Section 4.1.7 Data Collection and Evaluation
         39. Explain how data will be protected, specifically addressing security measures and
             privacy measures.
             Defer response to State Implementation Blueprint.
           The CEC has standard contract Terms and Conditions for its contractors such as
           Energy Solutions that include: “RECEIPT OF Confidential Information and
           Personal Information” (full terms included in the Appendix). Within those terms
           there is an Information Security plan that outlines how contractors will follow the
           California State Administrative Manual Chapter 5300, Information Security
           (https://www.dgs.ca.gov/Resources/SAM),” See text below:

           Information Security Program Plan:
               1. Attestation and Review. Before Contractor is provided access to Confidential
                  Information or Personal Information, Contractor must attest, using a form
                  provided by the Energy Commission, it has in place an Information Security
                  Program Plan (ISPP) that meets or exceeds the minimum requirements as stated
                  in the California State Administrative Manual Chapter 5300, Information Security
                  (https://www.dgs.ca.gov/Resources/SAM), and any other applicable law.
                  Further, the Energy Commission may, at its discretion, also request a copy of
                  Contractor’s ISPP for review. After the Energy Commission’s review, the Energy
                  Commission may choose whether to direct Contractor to perform work that
                  involves Confidential Information or Personal Information.
               2. Content. Contractor’s ISPP can be represented in a single document or a
                  compilation of documents.
               3. Implementation. Contractor must implement and maintain appropriate
                  procedural safeguards to secure Confidential Information and Personal
                  Information from Security Incidents and unauthorized use for the term of this
                  Agreement. Contractor is responsible for the security and confidentiality of the
                  Confidential Information and Personal Information under its control and the
                  control of its employees, agents, subcontractors, and other project partners and
                  follow the requirements of its ISPP.


           In addition, for Phase I: Energy Solutions has a comprehensive set of security
           controls to monitor, detect, and respond to threats to IS and IT systems.
           Energy Solutions undergoes an annual 3rd party SOC 2 Type 2 audit, and its
           controls are validated to be in place and working by the 3rd party audit firm.
           The SOC 2 report provides all the detail on its security controls and is
           available upon request. These systems meet the ISPP controls outlined by

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           the CEC. Any violations of the SOC 2 audit will be flagged during the annual
           audit. Some of the ways that Energy Solutions ensures that we follow these
           procedures include:
                           Confidential information being collected via Energy Solutions' secure
                           software platform for consumer rebate application management.
                           Confidential information being stored within this platform and on a
                           password protected Microsoft SharePoint site.
                           Confidential information being kept confidential for 5 years.
                           Confidential information may be shared with a regulatory authority
                           having jurisdiction over the program (including the DOE, CEC, or
                           their representatives) for the specific purposes of administering or
                           evaluating the program.


           Phase II implementation will address any additional requirements for the
           50122 grant.

         40. Include documentation of the processes to monitor, identify, and address security and
             privacy threats.
             Defer response to State Implementation Blueprint.
           Phase I: Energy Solutions has a comprehensive set of security controls to
           monitor, detect, and respond to threats to IS and IT systems. Energy
           Solutions undergoes an annual 3rd party SOC 2 Type 2 audit, and its
           controls are validated to be in place and working by the 3rd party audit firm.
           The SOC 2 report provides all the detail on its security controls and is
           available upon request.

           The CEC has same for both Phase I and Phase II implementation to address
           any additional requirements for the 50122 grant.

         41. Certify that the State will submit a Privacy and Security Risk Assessment in the State
             Implementation Blueprint.
            Yes, the State confirms the above statement and will include it with this narrative
          document.
            Yes, the State confirms the above statement but defers a response to State
          Implementation Blueprint.

         42. Confirm that the State will collect required data and cooperate in program evaluation
             processes as listed in section 4.1.7.2.
             Yes, the State confirms the above statement.


         43. Confirm that the State will gain access to billing data when requested by DOE for
             program requirements and program evaluation.


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             Yes, the State confirms the above statement.
          Describe how the state will gain access to billing data when requested by DOE for
          program evaluation.
           The CEC has assembled an Amazon Snowflake data warehouse storing
           electricity and natural gas energy consumption interval data, electricity, and
           natural gas billing data, and associated customer account and meter
           identification data for the six largest California utilities.

           This data warehouse includes records beginning in 2018 and is currently
           updated quarterly by the six utilities under the purview of California Title 20,
           Section 1353. Through its Phase I implementation of TECH Clean California,
           Energy Solutions has acquired read-only access to this data warehouse in
           order to calculate meter-based energy impacts for TECH participants.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         44. Confirm whether the State is planning to conduct its own evaluation, and if so, what
             type(s) of evaluations.
                 Yes, the State will conduct its own evaluation. (Describe below).
                 No, the state will participate in the DOE-led impact and evaluation process.
           If yes, what type(s) of evaluations. If no, leave blank.




          If the State plans to conduct evaluations on its programs, confirm that the State will:
               Cooperate with DOE to meet the requirements listed in section 4.1.7.2.
                 Yes, the State agrees to meet the evaluation requirements.
              Submit an evaluation plan for DOE review within three months of program launch.
                 Yes, the State will submit an evaluation plan within three months of program
              launch.
              Provide results to DOE.
                 Yes, the State will provide results to DOE.

         45. If the State plans to conduct evaluations on its programs, describe the evaluation
             objectives, high level work plan, and timing of the evaluations and whether the State
             would request to be excluded from DOE-led evaluations.
                 Yes, the State agrees to meet the evaluation requirements.
                 N/A. The State will not conduct its own evaluation.



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   Consumer Experience
   Section 4.2.1: Education and Outreach Strategy
         46. Confirm that the State will develop and submit an outreach and education strategy
             consistent with section 4.2.1.
             Yes, the State confirms the above statement.
             Defer response to State Implementation Blueprint.


   Section 4.2.2 Qualified Electrification Projects
         47. Describe how the State will verify that rebates are provided only for qualified
             electrification projects, including that each of the following conditions are met for
             each project:
              Project includes the purchase and installation of a qualifying product, as described in
              section 4.2.2
              The qualifying product is installed as part of new construction; or to replace a non-
              electric appliance; or as a first-time purchase with respect to that appliance.
              The installation occurs at a single-family home or eligible multifamily building.
           Phase I: The claim submission process is handled through Energy Solution’s
           online application tool Iris, which includes a step for participants
           (contractors) to choose the equipment installed from a pre-approved list. If
           the equipment is not listed, then participant can request it to be reviewed for
           compliance and manually added to the list. This ensures that participants are
           only able to select equipment that has been already qualified by the
           program team. The qualified products list in Iris is built using publicly
           available ENERGY STAR certified product list, which is uploaded into the Iris
           system on a monthly or quarterly basis.

           The program application will also require contractors to select the previous
           installation scenario (retrofit vs. new construction vs. addition) along with
           previous equipment type for retrofit scenarios. Participants are also required
           to include a photo of the previous equipment and a photo of the capped gas
           line where applicable. The TECH program's existing quality assurance (QA)
           procedures will assess a sample of homes post-installation.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         48. Describe how the State will collect and retain documentation to demonstrate how


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             each criterion in section 4.2.2 was met for each installation.
             Defer response to State Implementation Blueprint.

           Phase I: Per pre-existing, in production TECH program operations, data will
           be collected via an online application system. The online application will
           collect all information about the project required by 50122, including but not
           limited to photos of the site, permit number, a HERS report (if required), and
           the invoice. All applications will undergo a verification process. Iris uses a
           number of automated and manual checks to verify information for the
           application. At Program launch, the verification process will include manual
           review of all application documentation, and the Program may move to a
           sampling approach as Program volume grows. All documentation, either
           submitted online or via paper form, will be maintained for public record for
           the required amount of time and can be reported on at agreed upon
           cadences.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         49. If applicable, identify any additional types of “materials to improve ventilation” that the
             State plans to make eligible for rebates.
            Defer response to State Implementation Blueprint.
            N/A. The State will not include any additional types of “materials to improve
          ventilation” in the rebates.




   Section 4.2.3 Installation Incentives
         50. Describe how eligible entity representatives will be determined to be eligible for
             installation incentives, and how and when incentives will be paid.
             Defer response to State Implementation Blueprint.
           Phase I: California will provide installer incentives of $200 for installation of
           eligible heat pump equipment (ducted or unducted) for low-income, single-
           family QEPs as part of the TECH HEEHRA Phase I implementation. Balance of
           measures will have $0 installer incentive HEEHRA Phase I.

           The “eligible entity representatives” or EERs will need to execute a contractor
           participation agreement with the TECH program to be eligible for rebates.
           Only entities signing a participation agreement will be given a login to the
           application processing system where they can submit applications for
           rebates. All contractors executing a participation agreement will be listed on
           the “Switch is On” “Find a Contractor” tool, so that eligible contractors will be

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           listed and searchable for the potential customers. EERs that are not
           contractors can apply to be a Designated Applicant. The program will make
           available a joint Designated Application/installation contractor enrollment
           form which ensures the program is only paying rebates to approved EERs
           and is for work completed by licensed contractors that have signed
           contractor participation agreements, while also ensuring the EER is aware of
           key program requirements, including but not limited to, data collection and
           rebate pass-through requirements.
           After installation is complete the eligible entity representative will submit an
           application, which includes all necessary Program and Incentive
           documentation, through Iris. The application will be reviewed and either
           approved, rejected, or flagged for the contractor to provide additional
           information. Rebates are typically paid today, for example, within 3 weeks of
           receiving the rebate claim.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         51. Confirm that the State program will provide a clear incentive schedule commensurate
             with the scale of the upgrades installed not to exceed the maximum allowable values.
             Yes, the State confirms the above statement.

         52. Describe what tool(s) the State will provide for eligible entity representatives to
             identify households that qualify for an installer incentive for substantial installation
             located within a disadvantaged community.
             Defer response to State Implementation Blueprint.
           For Phase I, California will provide installer incentives of $200 for installation
           of eligible heat pump equipment (ducted or unducted) for low-income,
           single-family QEPs as part of the TECH HEEHRA Phase I implementation,
           which may or may not fall within state-designated DAC . California currently
           provides public mapping tools to determine DAC communities available at
           https://oehha.ca.gov/calenviroscreen/report/calenviroscreen-40, but no
           additional tools will be developed to installers to identify these households.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         53. Confirm that the State program will automatically provide the incentive to eligible
             entity representatives in an amount not to exceed $500 per dwelling unit or
             multifamily building in a 12-month period.
             Yes, the State confirms the above statement.




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   Section 4.2.4 Home Assessments
         54. Determine and describe a pre-defined set of home pre-condition(s) and/or scope of
             work scenario(s) that will constitute unacceptable risk of raising utility bills.
             Defer response to State Implementation Blueprint.
           Phase I: For single-family homes, TECH will only incentivize qualified HVAC
           heat pump units. According to most bill calculators and early results from the
           TECH bill analysis, HP HVAC systems will have bill savings for almost all homes
           in California, especially when meeting ENERGY STAR requirements. The results
           of the analysis from real bill data for TECH show that median bill savings for
           more than 75% of users are positive and that the bottom quartile of HP HVAC
           scenarios only saw an $18 annual increase in bills. This TECH analysis includes
           homes that did not previously have air conditioning. (Note: this is currently an
           internal analysis and should not be shared publicly).




           Additionally using the California eTRM, which models fuel substitution impacts
           amongst all climate zones find that 81% of all combinations of climate zones
           and building types replacing existing AC plus furnaces would experience
           positive bill impacts. The 19% of homes having negative bill impacts would see
           approximately a $30 increase bill increase annually. A copy of the eTRM data
           and the analysis are included in the appendix. he analysis are included in the
           appendix.

           The only time there will be a significant risk of bill impacts is if they do not
           currently have air conditioning. In this case the risk will be known, and the
           benefit will be that the customer will now have air conditioning, a known
           tradeoff. All customers will sign information during the reservation phase
           confirming that they are aware of changing bills due when installing a fuel


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           substitution measure. With these safeguards in place, we do not see scenarios
           that constitute unacceptable risk of raising utility bills.

           In all cases, if the upgrade includes a fuel switch, an estimate of utility bill
           impacts and written acknowledgement by the consumer will be provided on
           the application.

           For multifamily, there are too many variables for multifamily installations to
           definitively say which mix of measures will or will not increase utility bills.
           Therefore, multifamily resources will include language informing the customer
           about potential bill impacts, user behavior impacts, and all projects will be
           encouraged to include a broader set of measures beyond just the appliance,
           such as solar, storage, weatherization, and others to reduce potential of bill
           increases. This approach aligns with California adoption in 2021 of Total
           System Benefits methodologies as better means to measure the value of
           efficiency by combining energy and cost savings, time of use, and demand
           charge savings with greenhouse gas reduction benefits.

           In addition for Phase I, California's Consumer Protection Plan will address:
                  How California will focus on the specific homes with potential for bill-
                  increases and evaluate under what circumstances bills may go up by a
                  larger amount than the median.
                  How California will leverage multifamily case studies to help educate
                  renters on risk factors for increased bills, with particular emphasis for
                  low-income units where renters pay for utilities and units that are
                  individually metered.
                  How California will help contractors communicate bill increase risks,
                  including details on how a contractor will complete the requirement for
                  50122 mini home assessment for HVAC heat pump.

           Phase II implementation will address any additional requirements for the 50122
           grant.

         55. Identify if the State will allow remote or virtual assessments in place of field-based
             assessments in cases of limited home assessments and if so, describe process.
             Yes, the State will allow remote or virtual assessments (describe below).


             No, the State will not allow remote or virtual assessments in Phase I
             Defer response to State Implementation Blueprint.

         56. Describe what processes will be put in place for home energy assessments for
             multifamily buildings, including for energy used by common areas.



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             Defer response to State Implementation Blueprint.
           Phase I: As with single-family buildings, prior to launching the program, the
           State will develop requirements for what must be included at a minimum in
           all multifamily assessments for 50122 HEEHRA. The Program will require
           contractors to submit home assessments and pull permits. After project
           completion a third-party installation verification will occur through the
           existing California Home Energy Rating System (HERS) program. The State
           will publish the multifamily building assessment requirements and provide
           these to all contractors on the qualified contractor list. The Program will also
           perform their own Home Energy Assessments for some multifamily projects
           prior to selecting a project or contractor. This additional service will help to
           serve LI communities and allow project owners to better narrow down the
           project scope and needed contractors prior to engaging their own
           contractor and expending their own money to provide a home assessment.

           Phase II implementation will address any additional requirements for the
           50122 grant.

   Section 4.2.5 Consumer Protection Through Quality Assurance
         57. Confirm that the State will prepare and implement a Consumer Protection Plan in
             accordance with these requirements in section 4.2.5.
             Yes, the State confirms the above statement.


   Requirements to Maximize Rebate Impact
   Section 4.3.1 Supporting the Clean Energy Economy Through Market Transformation
         58. Certify that the State will prepare and implement a Market Transformation Plan within
             the first year after receiving the financial assistance award.
            Yes, the State confirms the above statement and will provide the plan with this
          narrative document.


   Section 4.3.2 Integrating with Other Programs
         59. Identify whether the State plans to take proactive steps to encourage integration with
             other programs. If so, identify with which programs the State will actively seek to
             integrate. The State may include letters of support or other indicators of commitment
             from existing program partners. If the State does not plan to integrate the rebates into
             any existing programs, note this as “not applicable” within the application.
             Applications should identify whether programs will be integrated in any or the
             following areas:
              Integration into existing program administration, website, materials.
              Adoption of existing program standards, quality assurance (QA), workforce


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              standards, or other practices.
              Braiding or co-funding of upgrades within individual households.
              Other integration elements, as applicable.
             N/A. The State does not plan to integrate the rebates into any existing programs.

           Phase I: Rebates will be provided through the existing TECH Clean California
           Initiative (branding may vary in final implementation). TECH set up a rebate
           program integration model that can integrate multiple programs together
           on a single claim form. Contractors fill out one application and based on
           their responses, customer eligibility (such as income), and contractors’
           eligibility for different programs, they will receive rebates for multiple
           programs. Checks and verification that combined funding does not exceed
           total project cost of QEP, even as multiple rebates or equipment and
           appliance incentives are layered or stacked for a homeowner, will occur at
           this stage. Currently, TECH’s application is directly integrated with two
           regional programs: BayREN HPWH Contractor Incentive Program and
           Central Coast Community Energy’s Electrify Your Home. These programs
           share the same data collection fields, QA standards for application review,
           base terms for a Trade Professional Participation Agreement, and home
           contractor requirements. These rebates and equipment or appliance
           incentives stack and are layered (not braided) on top of each other, but since
           they are all within the same platform, cost caps are applied across all rebates
           programs and will ensure that we don’t exceed maximum for allowable costs
           or total project cost of QEP across all programs. These programs currently
           cross promote the TECH Program through their program websites and
           materials and will cross promote new HEEHRA rebates in these territories as
           well.

           TECH is working towards additional integrations, including but not limited
           the Statewide QHVAC program.

           TECH also coordinates with other statewide and regional programs, such as
           Comfortably California and Golden State Rebates, to conduct joint
           marketing and outreach. For example, TECH will occasionally send out
           newsletters informing participants and stakeholders about newly launched
           rebates and incentives, or workforce training opportunities not directly
           managed by TECH. TECH works with the “Switch is On” to provide
           information for the "Find Incentive" tool (https://incentives.switchison.org/),
           which lists available incentives in California.

           The customer participation agreement provides notice of additional
           opportunities and provide a QR code to link customers directly to those
           additional opportunities.



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           See answer to question 9 how will address QEPs in homes that receive other
           federal funding for the same QEP.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         60. Describe how the State program will support households, contractors, and other
             stakeholders in understanding how the State program may leverage other program
             resources.
             Defer response to State Implementation Blueprint.
           Phase I: The TECH program maintains two websites, The “Switch is On”
           (switchison.org) and TECH Public Reporting Site (TechCleanCA.com), where
           customers, contractors, and other stakeholders can learn about other
           program resources that may be available for them. Example of such
           resources include, but are not limited to, an incentive and rebate lookup tool
           where stakeholders can identify available rebates and incentives in the
           region, installation cost tracker so customers can compare bids with average
           costs in the region, general information about heat pumps and how they
           operate. HEEHRA Program information will be incorporated into both of
           these public facing websites, and the tools associated with them. In addition,
           we will be providing additional marketing materials such as customer,
           contractor, and distributor flyers. The Program will be putting together a
           specific DAC outreach plan that will outline additional efforts that will be
           used to engage DAC communities, such as working with CBOs. The TECH
           program regularly engages the over 1,000 contractors that have enrolled in
           the Program, plus a number of multifamily partners that participate in the
           Program. Email announcements, webinars and other program engagement
           activities will be directed towards these active participants. TECH also
           continues to engage new contractors through distributor, manufacturer, and
           industry events such as the Flow Expo and IHACI. All new contractors will be
           provided information both about TECH and the HEEHRA Program.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         61. Describe the method(s) the State will use to ensure the total combination of all
             immediate upfront funding sources (Federal grants, Federal loans, and non-Federal
             funding) provided to a project does not exceed the total project cost.
             Defer response to State Implementation Blueprint.
           Phase I: CEC will use the existing controls it has in place in its TECH program to
           ensure total project funding does not exceed project cost. All sources of funding
           are required to be documented on the invoice, which the implementer will not
           approve if those exceed, in total, the total project costs. Additionally, contractor


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           input total project costs of the project into an application field in Iris. Iris uses
           automated logic to cap rebates and equipment or appliance incentives at the
           eligible percent of project costs based on the AMI of the customer and the total
           project cost minus other rebates that were applied for. Total project cost fields are
           manually checked against submitted invoices. The Program will not allow any
           HEEHRA recipients to receive assistance from other federal Programs. The current
           programs that stack with HEEHRA are non-federally funded programs.

           CEC will develop a plan that outlines process the CEC and Program Implementers
           will use to verify that projects/measures funded by HEEHRA are not also funded by
           the federally funded HOMES and weatherization programs.

           Phase II implementation will address any additional requirements for the
           50122 grant.

         62. Describe how the State program will support contractors and retailers in preparing
             acceptable invoices that may be kept as program records. The State must also
             describe how its implementer(s) will produce this documentation in a timely manner
             upon request in the event of an audit by DOE, the DOE’s inspector general, a State’s
             inspector general, or another entity.
             Defer response to State Implementation Blueprint.
           Phase I: All contractors will need to be approved by the State, which includes
           signing a participation agreement which will clearly state what information
           must be included on an invoice for it to be accepted by the program.
           Currently TECH is requiring the following information is included on the
           invoice:
                     Site address
                     Equipment information, including manufacturer and model
                     number of installed equipment
                     Total cost pre-rebate/incentive
                     TECH rebate/incentive amount
           Invoices must be submitted as part of an incentive claim package and 100%
           of submitted invoices will be reviewed to ensure they include all information
           listed above. The invoices, along with all other claim documentation, will be
           maintained within the claims processing system and can be exported either
           individually or in mass upon request.

           California, through Energy Solutions, will require that contractors/eligible
           entity representatives provide detailed invoices and information identifying
           which distinct and separate upgrades were funded by HEEHRA or other
           Federal program sources. The resulting data will be collected and retained
           when a home/building is using funding from HEEHRA. Each equipment
           upgrade or QEP component will be a line item on the invoice of the home



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           energy upgrade package with subdivided labor costs associated with each
           line item. See response Question 4 for invoice requirement.

           In order to help contractors prepare adequate invoice information we will
           provide templates that show applicable project costs for each upgrade and
           how to separate out information. We will provide training on this template
           during enrollment webinars and have additional training available in TECH’s
           learning management system (LMS).

           Phase II implementation will address any additional requirements for the
           50122 grant.

         63. Describe how the State will ensure rebate recipients will be made aware of the portion
             of the funding received from the DOE Home Electrification and Appliance Rebates.
             Defer response to State Implementation Blueprint.
           Contractors will be required to provide a line item showing the level of
           rebate applied on invoices that must be signed by the homeowner or
           building owner. Without this documentation, contractors will not be
           reimbursed.
           Below are the required fields to be listed on a customer invoice currently:
                      Site address
                      Equipment information, including manufacturer and model
                      number of installed equipment
                      Total cost pre-incentive/rebate
                      TECH rebate/incentive amount Phase I
           Phase I: TECH rebate/incentives and 50122 rebates must be listed as a line
           item on the invoice either directly reducing the cost (recommended) or
           specified to be supplied to the customer after being received by a
           participating contractor (in this case the contractor will write a check to the
           customer after receiving the rebate/incentive from the Program).
           Additionally, the passthrough method that was used must be noted on the
           rebate/incentive claim to assist with resolving any issues where a customer
           claims they never received the rebate/incentive.

           Phase II implementation will address any additional requirements for the
           50122 grant.

   Section 4.3.3 Quick Starts
         64. Identify whether the application is for a Quick Start program. For Quick Start
             programs, identify the timeline for program launch.
             Yes, this is for a Quick Start Program (provide timeline below).
             No, this is not for a Quick Start Program.


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   Please add your name, title, signature, and date.
   Carol Schmitt
   Name (printed)

   California Energy Commission, Energy Resource Specialist III (Supervisory)
   Organization and Title

   Carol Schmitt (esignature)
   Signature

   May 30, 2024
   Date




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      Appendix Information
      Proposed Incentives




      Pre-HEEHRA TECH Multifamily IncentivesFlyer
      (reference example how the program will be promoted based upon existing success)



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             TECH CLEAN CALIFORNIA

             Multifamily Incentives for Heat Pump
             Water Heaters and Heat Pump HVAC

             TECH Clean California is offering substantial incentives direct to contractors to support the installation of heat
             pump technologies in existing single-family and multifamily buildings throughout the state of California. These
             incentives are available only to contractors enrolled in TECH Clean California.

             The following incentives are available for equipment that meets qualifying equipment requirements.

             Multifamily Heat Pump HVAC Incentives
             Incentives for Heat Pump HVAC Systems Serving Individual Apartments
               Previous Space
               Heating Source

                Non-heat pump
                                                  system Type

                                    Split or packaged rooftop/multi-position
                                                                               Ill210/240
                                                                                              Total Incentive Per system


                                                                                                          $2,000
                   systems               heat pump (ducted or ductless)
                                                                                                           $500
                                      PTHP, SPVHP, or unitary through the         310/380,    (Single or two-stage compressor)
               All except PTHPs
                                            wall/ceiling heat pump                  390                   $1,000
                                                                                             (Variable capacity/inverter-driven)


             Incentives for Heat Pump HVAC Systems Serving Multiple Apartments
               Previous Space                                                                        Total Incentive
                                                         system Type
               Heating Source                                                                    (Per Apartment Served)

                Non-heat pump
                                      HP HVAC equipment serving multiple apartments                       $1,000
                   systems


             Incentives for Heat Pump HVAC Systems Serving Common Areas
               Previous Space
                                                         system Type                          Total Incentive Per system
               Heating Source

                                           Split or packaged rooftop/multi-position
                                                                                                          $1 ,800
                                                heat pump (ducted or ductless)
                Non-heat pump                                                                              $300
                   systems             PTHP, SPVHP, or unitary through the wall/ceiling       (Single or two-stage compressor)
                                                        heat pump                                          $800
                                                                                             (Variable capacity/inverter-driven)




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           California Public Utilities Commission.                                                  v06012023       CLEAN CAL I FORNIA




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             Multifamily Heat Pump Water Heating Incentives
             The following incentives are available for unitary HPWHs in apartments and communal spaces, central HPWHs,
             and HPWHs heating spas or pools.

             Incentives for Unitary Heat Pump Water Heaters
                  Previous Water Heater
                                                             HPWH Tank Size                   Total Incentive Per system
                       Heat Source

                                                                < 55 gallons                                $1 ,400
                       Gas or Propane
                                                                2 55 gallons                                $2,100

                      Electric Resistance                            All                                    $700


             Incentives for Central Heat Pump Water Heaters Serving TWo or More Apartments
                  Previous Water Heater                                                             Total Incentive
                                                         HPWH Storage Volume'
                       Heat Source                                                               (Per Apartment Served}

                                                     < 17 gallons per bedroom served                        $1,200
                   Non-heat pump systems
                                                      2 17 gallons per bedroom served                       $1,800


             Incentives for Multifamily Heat Pump Pool or Spa Heating
               Previous Space Heat Source                      system Type                    Total Incentive Per system

                   Non-heat pump systems                  Heat pump pool heating                            $2,500


             Incentives for Electrical Panel upgrades
                                                                                      Total Incentive Per Apartment
                       Previous Equipment                  System Type
                                                                                       Receiving Electrical Upgrade

                  Undersized apartment electrical                                                  $1,400
                                                          Apartment panel
                 infrastructure that is upgraded as                            Apartment unit must have received a TECH-funded
                                                            or subpanel
                part of an apartment's HPWH or HP                               heat pump HVAC system or HPWH , and must be
                                                             upgrades
                          HVAC installation                                          all-electric after the electrical upgrade




                                                                 Be part of TECH Clean California
                                                      To find out more information or sign up as a TECH Clean California
                                                   contractor, please go to switchison.org/contractors/tech-clean-california




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      Attachments Uploaded Separately in PAGE

      1) CEC Contract Terms around Confidential and Personal Information.

      2) eTRM Modeling data for Fuel Substitution




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             ENERGY
                                                                                                                           Attachment 2
1. Award Number: SE-0000080.0002                                                              2. Program/Project Title: SCEP- IRA
                                                                                              50121/50122-ALRD-2022 - Home Efficiency
                                                                                              Rebate and Home Electrification and Appliance
                                                                                              Rebates

3. Recipient: Energy Resources Conservation & Development Commission


4. Reporting Requirements (see also the Special Instructions)                                 Frequency                 Addresses

I.     PROJECT MANAGEMENT REPORTING
C8] A. Performance Report - Narrative                                                             Q         A. PAGE System
C8] B. Performance Report - Quantitative                                                          Q         B. PAGE System
C8] C. Financial Report (SF-425)                                                                F,Q         C. PAGE System
C8] D. Scientific and Technical Reporting                                                       AF,P
        C8] 1. Accepted Manuscript of Journal Article(s)                                        AF,P        D.1. OSTI E-Link
        C8] 2. Conference Product(s)                                                            AF,P        D.2. OSTI E-Link
        C8] 3. Technical Report(s)                                                              AF,P        D.3. OSTI E-Link
        C8] 4. Software & Manual(s)                                                             AF,P        D.4. DOE CODE
        C8] 5. Dataset(s)                                                                       AF,P        D.S. OSTI E-Link Datasets
        C8] 6. Other STI ( Dissertation / Thesis, etc.)                                         AF,P        D.6. OSTI E-Link
C8] E. Intellectual Property Reporting                                                          AF,P
       C8] 1. Intellectual Property Reporting                                                   AF,P        E.1. iEdison
       C8] 2. Invention Utilization Report                                                      AF,P        E.2. iEdison
D F. Project Management Plan (PMP)                                                                          F. PAGE System
C8] G. Special Status Report                                                                     AS         G. See section I.G. for
                                                                                                                instructions and due dates
C8] H. Continuation Application                                                                  AS         H. PAGE System
C8] 1. Other (see Special Instructions)                                                                     I. See Special Instructions
      C8] 1. Deferred Narrative Document Responses                                               AS          i. PAGE System
      C8] 2. Privacy and Risk Assessment of State Systems                                        AS          ii. PAGE System
      C8] 3. Outreach and Education Strategy                                                     AS          iii. PAGE System
      C8] 4. Utility Data Access Plan (Only required for 50121)                                  AS          iv. PAGE System
      C8] 5. Consumer Protection Plan                                                            AS          V. PAGE System

      C8] 6. Market Transformation Plan                                                          AS          vi. Determined_by DOE
      C8] 7. Community Benefits Plan                                                             AS
      C8] 8. Security and Privacy Controls documentation                                         AS          viii. PAGE System
      C8] 9. Evaluation Plan (Not required if participating in DOE-led impact evaluation)         Q          ix. PAGE System
      C8] 10. Pre-Launch Information                                                              Q          x. PNNL
      C8] 11. Rebate Transaction Data (if the DOE/PNNL Rebate Tracker is not used)               AS          xi. PNNL
      C8] 12. Programmatic Data Tracking                                                         AS          xii. PAGE System
      C8] 13. Final Evaluation Results (Not required if participating in DOE-led impact           Q          xiii. PAGE System
        evaluation)



II.    AWARD MANAGEMENT REPORTING
C8] A. Current and Pending Support                                                               AS         A. PAGE System
C8] B. Demographic Reporting                                                                     AS         B. PAGE System
C8] C. Financial Conflict of Interest Report                                                     AS         C. PAGE System
D D. Tangible Personal Property Report - Annual Property Report (SF-428 & SF-428A)                          D. PAGE System
C8] E. Tangible Personal Property Report - Disposition Request/Report (SF-428 & SF-428C)         AS         E. PAGE System
D F. Uniform Commercial Code (UCC) Financing Statements                                          AS         F.   See section II. F. for
                                                                                                                 instructions and due dates
D G. Federal Subaward Reporting System (FSRS)                                                    AS         G. FSRS
C8] H. Annual Incurred Cost Proposal                                                            Y180        H. See section II. H. for
                                                                                                               instructions and due dates
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D I. DOE For-Profit Compliance Audit                                                         I.     See section 11. I. for
                                                                                                    instructions and due dates
C8] J. Single Audit: States, Locals, Tribal Governments, and Non-Profits            0        J.     See section II. J. for
                                                                                                    instructions and due dates
C8] K. Other (see Special Instructions)                                                      K. See Special Instructions
     C8] 1. Invoice documentation                                                   AS            i. Determined_by DOE




Ill.    CLOSEOUT REPORTING
C8] A. Final Summary Report                                                          F       A. OSTI E-Link and PAGE
                                                                                                 System
D B. Invention Certification (DOE F 2050.11)                                                 B. PAGE System
C8] C. Tangible Personal Property Report - Final Report (SF-428 & SF-428B)           F       C. PAGE System
C8] D. Verification of Receipt of Accepted Manuscripts                               F       D. See section 11I.D. for
                                                                                                 instructions and due dates
D E. Other (see Special Instructions)                                                        E. See Special Instructions

IV. POST-PROJECT REPORTING
D A. Scientific and Technical Reporting                                                      A. OSTI E-Link
C8] B. Intellectual Property Reporting                                              AS       B. iEdison




4. Reporting Requirements (see also the Special Instructions)                    Frequency                Addresses


V. Inflation Reduction Act (IRA) 2022 Reporting
                                                                                 AS, Y,F     A. PAGE System
C8] A. Community Benefits Report
                                                                                             B. PAGE System
D B. Boosting Domestic Manufacturing
C8] C. Quality Job Creation
                                                                                             Cl.See Section V.D.I for
        D 1. Direct Jobs                                                                         instructions and due dates
        D 2. Training Outcomes                                                               C.2. PAGE System
        C8] 3. Good Jobs Outcomes
                                                                                             C.3. PAGE System
        D 4. Permanent Jobs                                                                  C.4. PAGE System
                                                                                 AS, Y,F
D D. Equity and Justice                                                                      D.l. PAGE System
     D 1. Community Engagement Process                                                       D.2. PAGE System
     D 2. Engagement Events and Technical Assistance                                         D.3. PAGE System
     D 3. Community Ownership
D E. Pathway to Net-Zero                                                                     E.l. PAGE System
     D 1. Infrastructure Supported                                                           E.2. PAGE System
     D 2. Hydrogen Production                                                                E.3. PAGE System
     D 3. Carbon Capture, Removal, and Storage                                               E.4. PAGE System
     D 4. Energy Saved
  C8] F. Other (see Special Instructions)
                                                                                    y        F.l. PAGE System
        C8] 1. IRA Supplemental Annual Data Report
                                                                                    Q        F.2. PAGE System
        C8] 2. IRA Home Energy Rebates Program Planned Activities




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FREQUENCY CODES AND DUE DATES:

AS -As Specified or within five (SI calendar days after the event.

F - Final; within 120 calendar days after expiration or termination of the award.

O - Other: See instructions for further details.

P - Post-project (after the period of performance); within five (SI calendar days after the event, or as specified .

Q - Quarterly; within 30 calendar days after the end of the federal fiscal year quarter.

S - Semiannually; within 30 days after end of the reporting period.

Y - Yearly; within 90 calendar days after the end of the federal fiscal year.

Y180- Yearly; within 180 calendar days after the close of the recipient's fiscal year.

FULL URLS:

Page Systems: https:ljwww.page.energy.gov
OSTI E-Link: http:ljwww.osti.gov/elink-2413
OSTI E-Link Datasets: https:ljwww.osti.gov/elink/2416-submission.jsp
DOE CODE: https://www.osti.gov/doecode/
iEdison: http:ljwww.iedison.gov
EERE PMC: https:ljwww.eere-pmc.energy.gov/SubmitReports.aspx
FSRS: https:ljwww.fsrs.gov

Special Instructions:
PROJECT MANAGEMENT REPORTING
I.I. Other (Special Instructions)
        1. Deferred Narrative Document Reponses: All Narrative Document responses deferred at the time of application must be
        resubmitted to DOE as part of the State Implementation Blueprint 60 days prior to planned rebate program launch.

  State Implementation Blueprint (found in Home Energy Rebate (HER) Program Requirements & Application Instructions) : The State
  Implementation Blueprint consists of the documents outlined below. Each of these is due 60 days prior to planned rebate program launch,
  unless otherwise noted . All State Implementation Blueprint documents should be submitted through the DOE PAGE system . State
  Implementation Blueprint documents:
      2. Privacy and Risk Assessment of State Systems
      3. Outreach and Education Strategy
      4. Utility Data Access Plan (Only required for 50121)
      5. Consumer Protection Plan (Consumer Protection Plan must be reviewed every 2 years, adjusted based on lessons learned, and
          changes must be shared with DOE, contractors, aggregators, and third-party inspectors.)
      6. Market Transformation Plan - Market Transformation Plan can be submitted up to 1 year after award date.
      7. Community Benefits Plan

      8. Security and Privacy Controls documentation (found in the HER Program Requirements & Application Instructions) is due upon
       DOE request.

      9. Evaluation Plan (found in HER Program Requirements & Application Instructions) is due within three months of rebate program
        launch and submitted through PAGE. The Evaluation Plan is submitted through PAGE. If a state chooses to participate in DOE-led
        impact evaluation an Evaluation Plan is not required .

      10. Pre-Launch Information (found in Data & Tools Requirements Guide) is due at least 60 days before program launch and submitted
       via PNNL Administrative Porta l.
            i. For 50122 only: If the state chooses to submit an alternative workflow instead of the DOE/PNNL workflows, the alternative
                needs to be submitted at least 60 days prior to program launch.
      For states not using the CESJT to designate disadvantaged communities, they must propose an alternative map for DACs and provide a
       shapefile to DOE/PNNL no later than 60 days prior to launch.
      11. Rebate Transaction Data (found in Data & Tools Requirements Guide) is due monthly on the last day of the month if the
       DOE/PNNL Rebate Tracker is not used . Data should be submitted on PNNL Administrative Porta l.

      12. Programmatic Data (found in Data & Tools Requirements Guide) Tracking is due quarterly and submitted through DOE PAGE.

      13. Final Evaluation Results (found in the HER Program Requirements & Application Instructions) are due within 18 months of
       evaluation approval, or the agree-upon timeline in the evaluation plan. DOE may require another evaluation depending on the
       results of their first evaluation. The results are submitted through PAGE. If a state chooses to participate in DOE-led impact
       evaluation, Final Evaluation Results are not required .




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AWARD MANAGEMENT REPORTING
11.K. Other (Special Instructions)
       1. Invoice documentation (found in the HER Program Requirements & Application Instructions) for work performed is as due upon
          request in the event of an audit. Invoice documentation refers to the documentation that provides details about the work that was
          carried out.



I RA 2022 Reporting
V.F. Other (Special Instructions)
      1. The IRA Supplemental Annual Data Report form will be used to uniformly collect data on the outputs and outcomes of IRA-funded
         activities. The IRA Supplemental Annual Data Report shall be submitted annually within 90 days of the end of each IRA Program Year,
         which is a 365-day period upon the day rebates become available to consumers. Grantees should only complete the portions of the
         form that correspond to the grantee's activities. A template report will be provided to grantees by the DOE Project Officer.
      2. IRA Home Energy Rebates Program Planned Activities will be used to collect performance data of IRA Home Energy Rebates Program
         activities and outputs on a quarterly basis. Information is to be submitted via PAGE System at each quarterly reporting period, which
         is within 30 calendar days after the end of the quarterly reporting period (Due dates would thus be January 30, April 30, July 30,
         October 30).




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                                       Reporting Instructions



***
          Throughout the performance of the project, it is important that you mark
          Protected Data/Limited Rights Data as described in Appendix A. It is equally
          important that you not submit Protected Personally Identifiable Information
                                                                                                         ***
          (Protected Pl/} to DOE. See Appendix A for guidance on Protected Pl/.



 I. Project Management Reporting

 A. Performance Report Narrative (PRN)

       Submit to:     htt12s:LLwww.12age.enerml.govL
       Submission     Within 30 calendar days after the end of the quarterly reporting period (January
       deadline:      30, April 30, July 30, October 30)


      Every quarter, the prime recipient is required to submit a Performance Report - Narrative
      (PRN) and a Performance Report Quantitative (PRQ) for the project. Together these two
      documents summarize the entirety of work performed by the prime recipient,
      subrecipients, and contractors. The Performance Report - Narrative contains qualitative
      information on the project progress. The Performance Report - Quantitative captures
      quantitative information on the project progress. The PRN must include the following
      information . Your DOE project team will provide a form for submission.

      1. Cover Page

         a.   Federal Agency and Organization Element to Which Report is Submitted
         b.   Federal Grant or Other Identifying Number Assigned by Agency
         c.   Project Title
         d.   Program Director/Principal Investigator/Lead Project Manager (PD/Pl) Name, Title,
              and Contact Information (e-mail address and phone number)
         e.   Business Contact Name, Title, and Contact Information (e-mail address and phone
              number)
         f.   Submission Date
         g.   Recipient Organization (Name and Address)
         h.   Period of Performance (Start Date, End Date)
         i.   Tranche (Start Date, End Date)
         j.   Reporting Period (Start Date, End Date)
         k.   Certification by the Submitting Official that includes: Signature of Submitting Official
              (electronic signatures (i.e., Adobe Acrobat) are acceptable); date of signature; and
              the following certification statement:




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             By signing this report, I certify to the best of my knowledge and
             belief that the report is true, complete, and accurate. I am aware
             that any false, fictitious, or fraudulent information,
             misrepresentations, half-truths, or the omission of any material
             fact, may subject me to criminal, civil or administrative penalties
             for fraud, false statements, false claims or otherwise. (U.S. Code
             Title 18, Section 1001, Section 287 and Title 31, Sections 3729-
             3730). I further understand and agree that the information
             contained in this report are material to Federal agency's funding
             decisions and I have an ongoing responsibility to promptly update
             the report within the time frames stated in the terms and
             conditions of the above referenced Award, to ensure that my
             responses remain accurate and complete.

  2. Summary
     The purpose of the Summary is to describe a high-level status on the items listed below.
     This section should be a mix of short paragraphs and bullet points.

     Major Goals and Objectives
     Provide a summary of the major project goals and objectives. This should be the same
     from quarter to quarter and align with the Statement of Project Objectives
     (SOPO)/Statement of Work (SOW).

     Technical Achievement(s)
     Provide a summary of all significant technical progress of the project in achieving
     objective and programmatic goals during the life of the project. This should include key
     outcomes or other achievements, such as major findings, developments, or conclusions
     (both positive and negative), information dissemination, etc. This section should be a
     cumulative summary of technical achievements with newly added comments for the
     current reporting period highlighted.

     Impact
     State how the findings, results, or techniques developed in this project will continue to
     make an impact on the specific fields of research in this project and in other disciplines,
     which may include training and educational experiences; human resource development
     in science, engineering, and technology; technology transfer; and societal impacts.

     Project Schedule Status
     Provide a narrative summary of the status of tasks with respect to the plan for the
     quarter and tranche. If deviations from the schedule are noted, describe the impacts
     and mitigation alternatives that are in place or planned in the Changes/Problems section
     below.

     Tranche Status




                                                                                                   9
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      Provide a summary of the project expenditures and costs with respect to the plan for
      the quarter and tranche. If applicable, describe the variance, associated impacts, and
      mitigation alternatives that are in place or planned in the Changes/Problems section
      below.

      Changes/Problems
      Include any planned or anticipated changes to scope, schedule, or budget. Proposed
      award modifications noted solely within a Performance Report do not constitute a
      proposed award modification. Significant changes to the award scope, schedule, and
      budget must be submitted to the Grants Management Specialist/Contract Specialist and
      the Project Officer and must be approved by the Contracting Officer/Grants and
      Agreements Officer. If there is nothing significant to report during this reporting period,
      state "Nothing to Report."

             Key Personnel Changes
             Describe planned or actual changes in principal investigator, business contacts,
             or senior/key personnel and the impact to achieving project objectives.

             Scope Issues
             Describe issues with completing the required project scope identified in the
             SOPO/SOW, the impacts to achieving project objectives and program goals if
             applicable, and proposed mitigation alternatives. The quantitative impact to
             achievement of Technical Milestones and Go/No Go decision points and key
             deliverables should also be addressed.

             Schedule Issues
             Describe issues with achieving the planned activities identified in the project
             schedule and the impact to the award tranche end dates and the overall award
             period of performance. The quantitative impact to the timing of Technical
             Milestones and Go/No Go decision points, and key deliverables should also be
             addressed.

             Budget Issues
             Describe changes during the reporting period that may have a significant positive
             or negative impact on expenditures or the overall budget.



   3. Special Reporting
      Respond to any special reporting requirements specified in the award Terms and
      Conditions, as well as any award specific reporting requirements outlined in the FARC
      Special Instructions.

B. Performance Report Quantitative (PRQ)




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   Submit to:    htt12s:LLwww.12age.energ:t.govL
   Submission    Within 30 calendar days after the end of the quarterly reporting period (January
   deadline:     30, April 30, July 30, October 30)


  Every quarter, the prime recipient is required to submit a Performance Report Narrative
  (PRN) and a Performance Report - Quantitative (PRQ) for the project. Together these two
  documents summarize the entirety of work performed by the prime recipient,
  subrecipients, and contractors. The Performance Report - Narrative contains qualitative
  information on the project progress. The Performance Report - Quantitative captures
  quantitative information on the project progress. The PRQ must include the following
  information. Your DOE project team will provide a form for submission.

  1. Organizations
     Identify all subrecipients, contractors, U.S. National Laboratories, partners, and
     collaborating organizations. Recipients must also include all foreign collaborators as
     outlined in the Foreign Collaboration Considerations term of the award Terms and
     Conditions. For each, provide name, UEI, zip code or latitude/longitude, role in the
     project, contribution to the project, and start and end date.

  2. Tasks and Milestones
     Enter all tasks and milestones identified in your Statement of Project Objectives (SOPO),
     Community Benefits Plan (CBP), and Cybersecurity Plan. Each quarter, update the status
     of the task/milestone, the physical percent complete, and, when applicable, the actual
     month complete.

  3. Contractual Cost Summary
     For each subrecipient and contractor working on the project (excluding FFRDCs),
     provide a summary of the work, approved budget, and actual expenses.

  4. Cost Summary
     Using your approved budget, enter the project costs by budget category and report
     actual expenses each quarter. Also include budgeted and actual recipient cost share.

  5. Spend Plan
     For both federal and recipient cost share, enter the planned spending for the entire
     project period. Planned spend means when the project team anticipates incurring costs.
     Each quarter, update with actual federal and recipient spend.

  6. Earned Value Management
     When required by your DOE project team, complete the table for Earned Value
     Management.

  7. Products

     What has the project produced?



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     List any products resulting from the project during the reporting period. Specific product
     submission instructions can be found in Scientific and Technical Reporting. Examples of
     products include: publications, conference papers, and presentations; website(s);
     technologies or techniques; inventions, patent applications, and/or licenses; and other
     products, such as data or databases, physical collections, audio or video products,
     software or NetWare, models, educational aids or curricula, instruments or equipment,
     research material, interventions (e.g., clinical or educational), new business creation or
     any other public release of information related to the project.

     a. Publications, conference papers, and presentations
        Report the publication(s) resulting from the work under this award.

             Please note: Recipients must use the DOE acknowledgement and legal disclaimer
             language as described in the Special Terms and Conditions.

             The recipient is reminded that all data produced under the award should comply
             with the award's data management plan (DMP). The DMP provides a plan for
             making all research data displayed in publications resulting from the proposed
             work digitally accessible at the time of publication. At a minimum, the DMP (1)
             describes how data sharing and preservation will enable validation of the results
             from the proposed work, how the results could be validated if data are not shared
             or preserved and (2) has a plan for making all research data displayed in
             publications resulting from the proposed work digitally accessible at the time of
             publications.

        i.      Accepted Manuscript(s) of Journal Article
                List peer-reviewed articles or papers that have been submitted for publication in
                scientific, technical, or professional journals. Include any paper submitted for
                peer-reviewed publication in the periodically published proceedings of a
                scientific society, a conference, or the like. A publication in the proceedings of a
                one-time conference, not part of a series, should be reported under "Books or
                other non-periodical, one-time publications."

                Identify for each publication: Author(s); title; journal; volume: year; page
                numbers; status of publication (published; accepted, awaiting publication;
                submitted, under review; other); acknowledgement offederal support (yes/no);
                legal disclaimer language (yes/no). Also see instructions under II.
                Scientific/Technical Reporting regarding the submission of accepted
                manuscripts and other STI as appropriate.

       ii.      Books or other non-periodical, one-time publications
                Report any book, monograph, dissertation, abstract, or the like published as or in
                a separate publication, rather than a periodical or series. Include any significant




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              publication in the proceedings of a one-time conference or in the report of a
              one-time study, commission, or the like.

              Identify for each one-time publication: author(s); title; editor; title of collection,
              if applicable; bibliographic information; year; type of publication (book, thesis or
              dissertation, other); status of publication (published; accepted, awaiting
              publication; submitted, under review; other); acknowledgement of federal
              support (yes/no); legal disclaimer language (yes/no).

       iii.   Other publications, conference papers and presentations
              Identify any other publications, conference papers and/or presentations not
              reported above. Specify the status of the publication as noted above.

     b. Website(s)
        List the URL for any Internet site(s) that disseminates the results of the research
        activities. A short description of each site should be provided. It is not necessary to
        include the publications already specified above in this section.

     c. Technologies or techniques
        Identify technologies or techniques that have resulted from the research activities.
        Describe the technologies or techniques and how they are being shared.

     d. Inventions, patent applications, and/or licenses
        Identify inventions, patent applications with date, and/or licenses that have resulted
        from the research. Submission of this information as part of an interim report or
        Final Technical Report is not a substitute for any other invention reporting required
        under the terms and conditions of an award.

     e. Other products
        Identify any other significant products that were developed under this project.
        Describe the product and how it is being shared. Examples of other products are:
        Data or databases; Physical collections; Audio or video products; Software or
        NetWare; Models; Educational aids or curricula; Instruments or equipment;
        Research material (e.g., germplasm, cell lines, DNA probes, animal models);
        Interventions (e.g. clinical, educational); new business creation; and Other.

  8. Participants
     The following information on participants (individuals) was provided during award
     negotiations. On a quarterly basis, provide updates as needed. For most projects,
     recipients must identify and provide specific information for the following individuals at
     the prime and subrecipient level: (1) all senior and key personnel (including project
     director(s)/principal investigator(s)); and (2) each person who has worked or is expected
     to work at least 160 hours on the project at least one person month per year on the
     project regardless of the source of compensation (a person month equals approximately



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       160 hours of effort). In limited circumstances, typically large-scale construction projects,
       recipients are only required to report on (1) senior and key personnel for the prime
       recipient and subrecipients. Please refer to the Participants and Other Collaborating
       Organizations Term in your award Terms and Conditions to determine what level of
       reporting is required for your specific award.

       a. What individuals have worked on the project?
          Provide the following information for individuals at the prime recipient and
          subrecipient level: (1) all senior and key personnel; and (2) each person who has
          worked or is expected to work at least one person month per year on the project
          regardless of the source of compensation (a person month equals approximately
          160 hours of effort).
              i.  Name
             ii.  Organization
            iii. Job Title
            iv.   Role in the project
             v.  Start and end date (month and year) working on the project
            vi.  State, U.S. territory, and/or country of residence
           vii.  Whether this person collaborated with an individual or entity located in a
                 foreign country in connection with the scope of this Award, and
          viii.   If yes to a.vii, whether the person traveled to the foreign country as part of
                 that collaboration, and, if so, where and what the duration of stay was.

   9. Special Reporting Requirements
      Respond to any special reporting requirements specified in the award terms and
      conditions, as well as any award specific reporting requirements.

C. Financial Report SF-425 Federal Financial Report

     Submit to:     htti;1s:LLwww.i;1age.energ:t.govL
     Submission     Within 30 calendar days after the end of the quarterly reporting period (January 30,
     deadline:      April 30, July 30, October 30) and within 120 calendar days after expiration or
                    termination of the award


   Every quarter, the prime recipient is required to submit a completed SF-425 for the project
   to DOE, covering the entirety of work performed by the prime recipient, sub recipients, and
   contractors - to DOE. A fillable version of the SF-425 is available at Post-Award Reporting
   Forms I GRANTS.GOV.

D. Scientific and Technical Reporting

   The dissemination of scientific and technical information (STI) ensures public access to the
   results of federally funded research. STI refers to information products in any medium or
   format used to convey results, findings, or technical innovations from research and
   development or other scientific and technological work that are prepared with the intention



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  of being preserved and disseminated in the broadest sense applicable (i.e., to the public or,
  in the case of controlled unclassified information or classified information, disseminated
  among authorized individuals). By properly submitting STI to DOE Energy Link System (E-
  Link), the information will be made available to the public through OSTI.GOV.

  NOTE: SCIENTIFIC/TECHNICAL PRODUCTS INTENDED FOR PUBLIC RELEASE MUST NOT
  CONTAIN PROTECTED PERSONALLY IDENTIFIABLE INFORMATION (PII). Please refer to
  Appendix A for more information.


  1. Accepted Manuscript of Journal Article

      Submit to:     DOE Energy Link System (E-Link) available at htt~://www.osti.govLelink-2413
      Submission     No later than the published on line date of the article
      deadline:


     Public access to scholarly publications is enabled by providing the Accepted Manuscript
     (AM) of the Journal Article to DOE OSTI and is consistent with the U.S. Government's
     retained license to published results of federally-funded research. If the recipient has a
     journal article accepted for publication which includes information/data produced
     under the award, then the recipient must submit an AN 241.3, as described below, no
     later than the published on line date of the article.

     Content. The recipient is to provide the final peer-reviewed AM, i.e., the version of a
     journal article that has been peer reviewed and accepted for publication in a journal. Do
     NOT submit the journal's published version of the article, i.e., do NOT submit a
     copyrighted reprint.

     DOE will make no additional review of the content of the AM because the AM is the
     version of the journal article with the content to be published (i.e., publicly released) by
     the journal publisher.

     The recipient must self-certify at the time of submission to DOE via E-Link that the
     content is appropriate and that it is not a copyrighted reprint, i.e., the final version of
     the published article. Recipients are reminded that the article is to include an
     acknowledgement of federal support and a legal disclaimer as required in the
     "Publications" Term in the award Special Terms and Conditions.


     The recipient is also reminded that all data produced under the award should comply
     with the award's data management plan (DMP). The DMP provides a plan for making all
     research data displayed in publications resulting from the proposed work digitally
     accessible at the time of publication. At a minimum, the DMP (1) describes how data
     sharing and preservation will enable validation of the results from the proposed work,
     how the results could be validated if data are not shared or preserved and (2) has a




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     plan for making all research data displayed in publications resulting from the proposed
     work digitally accessible at the time of publications.

     Electronic Submission Process. The AM of the Journal Article must be provided
     electronically via the DOE Energy Link System (E-Link) and must be accompanied by a
     completed DOE Announcement Notice (AN) 241.3 (http:ljwww.osti.gov/elink-2413).

  2. Conference Product(s)

      Submit to:     DOE Energy Link System (E-Link) available at htt12:LLwww.osti.govLe1ink-2413
      Submission     Within five (5) calendar days after the event, or as specified
      deadline:


     The recipient must submit a copy of any scientific/technical conference papers,
     proceedings, or presentations.

     Content: The content should_include a copy of the paper, presentation, or proceeding
     and: (1) name of conference; (2) location of conference; (3) date of conference; and (4)
     conference sponsor. Also include an acknowledgement of federal support and a legal
     disclaimer as described in the Special Terms and Conditions.

     Electronic Submission Process: Scientific/technical conference proceedings,
     papers/presentations or must be submitted via the DOE Energy Link System (E-Link)
     with a completed DOE Announcement Notice (AN) 241.3 (https://www.osti.gov/elink-
     2413 ).

     The recipient is responsible for ensuring the suitability of the content for public release.
     The terms and conditions of award provide that submissions must not contain any
     Protected Personally Identifiable Information (PII), limited rights data (proprietary data),
     classified information, information subject to export control classification, or other
     information not subject to release.

  3. Technical Report(s)

      Submit to:     DOE Energy Link System (E-Link) available at htt12:LLwww.osti.govLe1ink-2413
      Submission     Within five (5) calendar days after the event, or as specified
      deadline:


     The recipient must submit a copy of any scientific/technical reports.

     Content: The content should include a copy of the report as well as an
     acknowledgement of federal support and a legal disclaimer as described in the Special
     Terms and Conditions.




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     Electronic Submission Process: Scientific/technical reports must be submitted via the
     DOE Energy Link System (E-Link) with a completed DOE Announcement Notice (AN)
     241.3 (https://www.osti.gov/elink-2413 ).

     The recipient is responsible for ensuring the suitability of the content for public release.
     The terms and conditions of award provide that submissions must not contain any
     Protected Personally Identifiable Information (PII), limited rights data (proprietary data),
     classified information, information subject to export control classification, or other
     information not subject to release.

  4. Software & Manual(s)

      Submit to:     DOE CODE: https :LLwww.osti.govLdoecodeL

      Submission     Within five (5) calendar days after the event, or as specified
      deadline:


     The recipient must submit all software deliverables created under the award, as well as
     any accompanying documentation or manuals.

     DOE CODE is DOE's software services platform for submitting and searching for software
     resulting from DOE-funded research. Through submission to DOE CODE, users have the
     option to obtain a Digital Object Identifier (DOI) for the code, making it more easily
     discoverable, citable, and shared.

     Content. When a recipient submits software to OSTI through DOE CODE, a set of
     required metadata elements and a link to the software repository must be provided.

     Submission Process. Recipients will submit software by going to
     https://www.osti.gov/doecode/. Before submissions can be made, the recipient will be
     required to create an account. The recipient may create an account by visiting the top
     right of the DOE CODE homepage. Once the account is created, submissions may be
     made through the submit software/code link on the homepage. For more information
     about DOE CODE please visit https://www.osti.gov/doecode/fag.

  5. Dataset(s)

      Submit to:    DOE Energy Link System (E-Link) available at https:LLwww.osti.govLe1inkL241-6-
                    submission.jsp
      Submission    Within five (5) calendar days after the event, or as specified
      deadline:


     Scientific/technical datasets (data-streams, data files, etc.) support the technical reports
     and published literature resulting from DOE-funded research. They are also recognized
     as valuable information entities in their own right that, now and in the future, need to



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       be available for citation, discovery, retrieval, and reuse. The assignment and registration
       of a Digital Object Identifier (DOI) is a free service for DOE-funded researchers which is
       provided by OSTI to enhance access to this important resource. In order to obtain a DOI,
       provide to OSTI the specific data elements relevant to the dataset, as specified in DOE
       AN 241.6.

       Content. If the recipient generates publicly available datasets resulting from work
       funded by DOE, they may announce these datasets to OSTI and have them registered
       with DataCite to obtain a DOI, which ensures long-term linkage between the DOI and
       the dataset's location. To register and publicly announce a dataset, the recipient must
       provide an AN 241.6, including the required data elements needed for describing the
       dataset. Note: Do NOT submit the dataset itself, only the metadata for registering the
       dataset, obtaining a DOI, and announcing its availability.

       Electronic Submission Process. Notification of scientific datasets must be submitted
       electronically via the DOE Energy Link System (E-Link) and must be accompanied by a
       completed DOE Announcement Notice (AN) 241.6 (https:llwww.osti.gov/elink/241-6-
       submission.jsp ). Within the AN 241.6, provide relevant information about the dataset as
       well as the URL where the dataset can be accessed.



   6. Other STI (Dissertation/ Thesis, etc.)

        Submit to:    htt12:LLwww.osti.govLe1ink-2413
        Submission    Within five (5) calendar days after the event, or as specified
        deadline:


       Recipients are encouraged to announce other forms of STI especially if they are the
       primary means by which certain research results are disseminated or if they contain
       research results not already announced to DOE by the recipient in technical reports,
       accepted journal articles, conference products, software, and datasets.

       Other types of scientific and technical information produced which may be used for
       public dissemination of project results include: dissertation/thesis, patent, book, or
       other similar products. These types of STI may also be announced using DOE AN 241.3
       by following instructions on the E-Link website (http://www.osti.gov/elink-2413 ).

E. Intellectual Property Reporting

   1. Intellectual Property Reporting

        Submit to:    htt12:LLwww.iEdison.gov
        Submission    Within five (5) calendar days after the event, or as specified
        deadline:




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     iEdison requires a login and password. If the recipient's organization does not already
     have an iEdison administrator account, the recipient may register for one at: iEdison
     Registration .

     In accordance with the patent rights clause of the award, the recipient and
     subrecipient(s), if any, must complete the following intellectual property reports in
     iEdison when applicable:

     Disclosing a subject invention, including anticipated uses and sales (use iEdison's
     Invention Report);

     Reporting publications, manuscript submissions, or other public disclosures concerning
     a subject invention (add documents to the Invention Report);

     If authorized by the award agreement, electing (or declining) to retain title to a subject
     invention (modify the Invention Report and input "Title Election Date" or "Not Elect Title
     Reason");

     Disclosing the filing or termination of patent applications on a subject invention (i.e.,
     patent applications disclosing or claiming a subject invention). Patent disclosures must
     be made (using iEdison's Patent Report) for filing the following patent applications:
         • An initial domestic patent application (including provisional or non-provisional);
         •   A domestic divisional or continuation patent application;
         •   A domestic continuation-in-part application; and
         •   A foreign patent application.

     Discontinuing prosecution of a patent application, maintenance of a patent, or defense
     in a patent reexamination or opposition proceeding, regardless of jurisdiction (modify
     the Patent Report); and,

     Requesting an extension of time to:
        • Elect (or decline) to retain title to a subject invention (modify the Invention
           Report); and
         •   File an initial domestic or foreign patent application (modify the Invention
             Report).

     Failure to submit Intellectual Property Reporting Forms in a timely manner may result in
     forfeiture of the recipient's or subrecipient's rights in the subject inventions and related
     patent applications.




  2. Invention Utilization Report




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         Submit to:       htt(:!:LLwww.iEdison.gov

         Submission       For each subject invention, reports are due annually once the recipient or
         deadline:        subrecipient elects to retain title to the subject invention and must continue to be
                          provided for 10 years thereafter

        The recipient and subrecipient(s) must provide Invention Utilization Reports for each
        subject invention that the recipient or subrecipient retains ownership. Reports are due
        annually starting one year after the recipient or subrecipient elects to take title and must
        continue to be provided for 10 years thereafter or until the recipient or subrecipient
        informs DOE in writing that it no longer wants to retain title in the subject invention.
        Failure to submit Invention Utilization Reports in a timely manner may result in
        forfeiture of the recipient's or subrecipient's rights in the subject inventions.

F.   Project Management Plan (PMP)

      Submit to:      htt(:!s:LLwww.(:!age.energy.gov
      Submission      Within six (6) weeks of the effective date of the award
      deadline:

     Iterations and Maintenance
     The recipient is required to develop, update, and adhere to a project management plan. The
     purpose of the plan is to establish cost, schedule, and technical performance baselines, and
     to formalize the processes by which the project will be managed. These processes include
     considerations such as risk management, change management, and communications
     management. While it is primarily the project recipient's responsibility to maintain the plan,
     federal staff may request changes. The plan is intended to be a living document, modified as
     necessary, and comprising the following iterations:

     Application Draft
     The recipient must submit a draft of the project management plan with the initial
     application for financial assistance.

     Negotiation Draft
     The selected recipient may be required by the selecting Office to revise its project
     management plan during the negotiation phase.

     Active Plan
     Following formal award of the financial assistance agreement, the recipient must submit an
     updated project management plan, to include any changes requested during negotiation
     and a timeline based upon the actual award date.

     1. Revised Plan(s)




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     During the life of the project the recipient must submit a revised project management
     plan based on the following circumstances:

     a. Developments that have a significant favorable impact on the project.

     b. Problems, delays, or adverse conditions which materially impair the recipient's
        ability to meet the objectives of the award or which may require the program office
        to respond to questions relating to such events from the public. Specifically, the
        recipient must update the plan when any of the following incidents occur:

        i.      Any event which is anticipated to cause significant schedule or cost changes,
                such as changes to the funding and costing profile or changes to the project
                timeline.
       ii.      Any change to Technology Readiness Level.
      iii.      Any significant change to risk events {including both potential and realized
                events) or to risk management strategies.
       iv.      Failure to meet a milestone or milestones; any dependencies should be adjusted.
        v.      Any changes to partnerships.
       vi.      Any significant change to facilities or other project resources.
      vii.      Any other incident that has the potential for high visibility in the media.

  2. Content of revised PMP

     Project Title: The DOE award number and project title
     Recipient Organization: Official name of the recipient organization
     Principal Investigator: The name and title of the project director/ principal investigator
     Date of Plan: The date the plan or plan revision was completed

     The revised PMP must describe changes to any of the following sections of the PMP as
     well as provide updated versions of any logs, tables, charts, or timelines.

     a. Executive Summary:
             Provide a description of the project that includes the objective, project goals, and
             expected results. The description should include a high-level description of the
             technology, potential use or benefit of the technology, location of work sites and a
             brief discussion of work performed at each site, along with a description of project
             phases {if the project includes phases).

     b. Technology Readiness Levels (TRLs):
             Identify the readiness level of the technology associated with the project as well as
             the planned progression during project execution. A detailed explanation of the
             rationale for the estimated technology readiness level should be provided. Specific
             entry criteria for the next higher technology readiness level should be identified.




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        c. Risk Management:
Provide a summary description of the proposed approach to identify, analyze, and respond to
potential risks associated with the proposed project. Project risk events are uncertain future
events that, if realized, impact the success of the project. At a minimum, include the initial
identification of significant technical, resource, and management issues that have the potential
to impede project progress and strategies to minimize impacts from those issues. The risk
management approach should be tailored to the TRL. If a project or task is expected to progress
to a higher TRL, then the risk plan should address the retirement of any risks associated with
the first TRL and identify new risks related to moving to the next TRL. Additionally, the risk
management approach should include risk opportunities that if realized, could benefit the
project.
        d. Milestone Log:
            Provide milestones for each tranche (or phase) of the project. Each milestone should
            include a title and planned completion date. Milestones should be quantitative (e.g.,
            a date, a decision to be made, a key event) and show progress toward tranche
            and/or project goals. Milestones should also be important and few. Higher TRL
            projects (Demonstration and Deployment) typically have the most detailed
            milestone logs compared to lower TRL level projects (Research and Development). If
            applicable, milestones chosen should clearly reflect progress through various TRL
            stages.

            Note: The Milestone Status must present actual performance in comparison with the
            Milestone Log, and include:
                • The actual status and progress of the project,
                • Specific progress made toward achieving the project's milestones, and
                • Any proposed changes in the project's schedule required to complete
                   milestones.

       e. Funding and Costing Profile:
          Provide a table (the Project Funding Profile) that shows, by tranche, the amount of
          government funding going to each project team member. Also, a table (the Project
          Costing Profile) which projects, by month, the expenditure of both government and
          recipient funds for the first tranche, at a minimum. The Funding and Costing Profile
          should show the relationships with the Milestone Log (Item d above) and Project
          Timeline (Item f below); for example, Funding and Costing information could be
          shown as an overlay on milestone or timeline charts.

       f.   Project Timeline:
            Provide a timeline of the project (similar to a Gantt chart) broken down by each task
            and subtask, as described in the Statement of Project Objectives. The timeline
            should include a start date and end date for each task, as well as interim milestones.
            The timeline should also show interdependencies between tasks and include the
            milestones that are identified in the Milestone Log (Item d above). The timeline
            should also show the relationship to the Project Costing Profile (Item e above). If



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            applicable, the timeline should include activities and milestones related to achieving
            succeeding TR Ls.

      g. Success Criteria at Decision Points:
            Provide well-defined success criteria for each decision point in the project, including
            go/no-go decision points and the conclusions of tranches and the entire project. The
            success criteria should be objective and stated in terms of specific, measurable, and
            repeatable data. Usually, the success criteria pertain to desirable outcomes, results,
            and observations from the project. Key milestones can be associated with success
            criteria. If applicable, the success criteria should include exit criteria for progressing
            from one TRL to the next.

       h. Key Partnerships, Teaming Arrangements and Team Members:
            Provide a list of key team members in the project as well as the role and contact
            information of each. A hierarchical project organization and structure chart should
            be provided along with a description of the role and responsibilities of each team
            member in terms of contribution to project scope. The section should also include
            key team members who fulfill single or multiple roles within a project as well as the
            contact information for each.

       i.   Facilities and Resources:
            Provide a list of project locations along with a discussion of capabilities and activities
            performed at each site in terms of contribution to project scope. The address of
            each work site should be provided.

      j.    Communications Management:
            Describe the communications needs and expectations for the project team
            members. The communications plan may be simple or detailed, depending on the
            complexity of the project. At a minimum, the plan should include contact
            information, methods of communicating and anticipated frequency.

       k. Change Management:
            Provide a description of the process for managing change on the project. Describe
            how change will be monitored, controlled and documented within the project. This
            includes, but is not limited to, changes to the Scope, Schedule, and Budget. If
            applicable, Change Management should include assessing how changes impact TRLs.

G. Special Status Reports

    Submit to:      Submit by email to Project Officer and to htt1;1s:LL1;1age.energy.gov
    Submission      As specified, see instructions below, submit either in 48 hours or 5 business days.
    deadline:


   Problems, delays, or adverse conditions which materially impair the recipient's ability to
   meet the objectives of the award or which may require DOE to respond to questions


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  relating to such events from the public. The recipient must report any of the following
  incidents and include the anticipated impact and remedial action to be taken to correct or
  resolve the problem/condition.

  Within forty-eight (48) hours, provide notification to the DOE Project Officer by email, with
  a copy to the cognizant Contracting Officer/Grants and Agreements Officer, the following
  events:

  1. Any fatality, injury, or illness that results in loss of consciousness or requires medical
     treatment beyond first aid involving an employee, or member of the public.
  2. An imminent or actual environmental contamination or the need for environmental
     cleanup (including, but not limited to, contamination or cleanup resulting from an
     accident connected to or arising from the presence, leakage or spill of hazardous
     materials) in accordance with National Environmental Policy Act 42 USC §§4321, et seq.
     Examples of due care may include, but are not limited to, visual site inspection of any
     portions of the property where environmental contamination is likely or suspected, or
     other reasonable measures. Such notice must be made to DOE following any immediate
     mitigation efforts, as appropriate, and contacts made to requisite agencies.
  3. Actual physical property damage in excess of $50,000.

  Within 48 hours, the recipient is responsible for reporting cybersecurity incident(s) as
  follows,
  4. The recipient is responsible for identifying a cybersecurity incident. In general, a
      cybersecurity incidents is identified as any incident that may cause financial harm or loss
      of intellectual property created or supported in performance of the award, including
      malware and ransomware attacks; affecting operations or the security of, or access to,
      data, including disruption of both physical operations and business operations for a
      duration greater than one (1) hour or any Cybersecurity incidents that have national
      security implications.

    Once identified, the Recipient is responsible for reporting Cybersecurity incidents to the
    Cyber Incident mailbox within 48 hours of the incident. The recipient sends a password
    protected document via email attachment that includes the date and time of the
    incident, a high-level description ofthe incident, a summary of the known impacts, and
    current and planned mitigation activities. The recipient sends a second email to the
    Cyber Incident mailbox including the password to the protected document.

  Within 5 business days, submit to https:ljpage.energy.gov
  5. If the recipient or project team member receives any other award of federal funds for
     activities that potentially overlap with the activities funded under the DOE award, the
     recipient must promptly notify DOE in writing of the potential overlap and state whether
     project funds from any of those other federal awards have been, are being, or are to be
     used (in whole or in part) for one or more of the identical cost items under the DOE
     award;




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  6. Any change in ownership or control of the recipient or project team member which
     increases the percentage of ownership or control by an entity that is based in, funded by,
     or has a foreign affiliation with a foreign country of risk;
  7. If an individual on the project team is or is believed to be participating in a foreign
     government-sponsored talent recruitment program of a foreign country of risk.
  8. If the recipient is considering new collaborations with foreign entities and governments,
     the recipient must provide written notification to DOE and await further guidance from
      DOE prior to contacting the proposed foreign entity or government regarding the
     potential collaboration or negotiating the terms of any potential agreement. In general, a
     collaboration will involve some provision of a thing of value to, or from, the recipient. A
     thing of value includes but may not be limited to all resources made available to, or from,
     the recipient in support of and/or related to the DOE award, regardless of whether or not
     they have monetary value. Things of value also may include in-kind contributions (such as
     office/laboratory space, data, equipment, supplies, employees, students). In-kind
     contributions not intended for direct use on the DOE award but resulting in provision of a
     thing of value from or to the DOE award must also be reported.
  9. The existence of any joint venture or subsidiary that is based in, funded by, or has a
     foreign affiliation with any foreign country of risk;
  10. Any current or pending contractual or financial obligation or other agreement specific to
     a business arrangement, or joint venture-like arrangement with an enterprise owned by
     a country of risk or foreign entity based in a country of risk;
  11. Any current or pending venture capital or institutional investment by an entity that has
     a general partner or individual holding a leadership role in such entity who has a foreign
     affiliation with any foreign country of risk;
  12. Any current or pending technology licensing or intellectual property sales to a foreign
     country of risk; and
  13. Any current or pending foreign business entity, offshore entity, or entity outside the
      United States related to the Recipient or subrecipient.
  14. Potential or actual violations of environmental, health, or safety laws and regulations,
     any significant environmental permit violation, and any incident which causes a
     significant process or hazard control system failure;
  15. Any incident arising out of or relating to work under the award that has the potential for
     high visibility in the media;
  16. Potential or actual violations of federal, state, and municipal laws arising out of or
     relating to work under the award;
  17. Potential or actual noncompliance with DOE reporting requirements under the award;
  18. Potential or actual bankruptcy/insolvency of the prime recipient or subrecipient;
  19. Potential or actual violation of U.S. export control laws and regulations arising out of or
     relating to the work under the award;
  20. Any notices or claims of patent or copyright infringement arising out of or relating to the
     performance of the DOE award;

  21. Refusal of a subrecipient to accept flow down requirements in the Special Terms and
     Conditions and/or any Attachment to the DOE award;



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     22. Any improper claims or excess payments arising out of or relating to work under the
        award;
     23. Potential or actual violations of the cost share requirements under the award;
     24. Potential or actual violations of the lobbying restrictions in the award;
     25. Any event which is anticipated to cause a significant schedule slippage or cost increase;
        and,
     26. Developments that have a significant favorable impact on the project.

H. Continuation Application

      Submit to:    htti;1s:LLwww.i;1age.energt.gov
      Submission    Within five (5) calendar days after the event, or as specified
      deadline:


     A continuation application is a non-competitive application for an additional tranche of
     funding within a previously approved period of performance. The continuation application
     should be submitted at to DOE 90 days prior to achieving these deliverables and/or
     milestones for review and approval. An awardee not meeting the targets must provide an
     improvement plan in its continuation application for how it will improve program
     performance to meet the next tranche's targets. DOE approval is required to move to the
     next tranche and for funds to be released. As a result of this evaluation, DOE may, at its
     discretion, authorize the following actions: (1) continue to fund the project, contingent
     upon the availability of funds appropriated by Congress for the purpose of this program; (2)
     place a hold on federal funding for the project, pending further supporting data or funding;
     or (3) discontinue funding the project because of insufficient progress, change in strategic
     direction, or lack of funding.

I.   Other (see Special Instructions)

      Submit to:    htti;1s:LLwww.i;1age.energt.govL
      Submission    Within five (5) calendar days after the event, or as specified
      deadline:



II. Award Management Reporting

A. Current and Pending Support

      Submit to:    htti;1s:LLwww.i;1age.energt.gov
      Submission    Within thirty (30) calendar days only when there is a change to Current and
      deadline:     Pending Support (i.e., new Pl or senior/key personnel join the project or there
                    are changes to previously submitted current and pending disclosures for this
                    Award)




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  Applicable for all awards issued after 10/01/2021. For awards issued prior to 10/01/21, refer to your
  award Terms and Conditions for applicability.

  Prior to award, the Recipient was required to provide current and pending support
  disclosure statements for each principal investigator (Pl) and senior/key personnel, at the
  recipient and subrecipient level, regardless of funding source. Throughout the life of the
  award, the Recipient must submit current and pending support disclosure statements and a
  CV or Biosketch for any new Pl and senior/key personnel at the recipient and subrecipient
  level, added to the project funded under this Award within thirty (30) days of the individual
  joining the project. In addition, if there are any changes to current and pending support
  disclosure statements previously submitted to DOE, the Recipient must submit updated
  current and pending disclosure statements within thirty (30) days of the change. The
  Recipient must ensure all Pis and senior/key personnel at the recipient and subrecipient
  level, are aware of the requirement to submit updated current and pending support
  disclosure statements to DOE.

  If there has been a change that would prompt the submission of a new or updated current
  and pending support disclosure, the instructions to complete the new or updated disclosure
  is listed below.

  Current and pending support is intended to allow the identification of potential duplication,
  overcommitment, potential conflicts of interest or commitment, and all other sources of
  support. All Pis and senior/key personnel at the recipient and subrecipient level must
  provide a list of all sponsored activities, awards, and appointments, whether paid or unpaid;
  provided as a gift with terms or conditions or provided as a gift without terms or conditions;
  full-time, part-time, or voluntary; faculty, visiting, adjunct, or honorary; cash or in-kind;
  foreign or domestic; governmental or private-sector; directly supporting the individual's
  research or indirectly supporting the individual by supporting students, research staff,
  space, equipment, or other research expenses. All foreign government-sponsored talent
  recruitment programs must be identified in current and pending support.

  For every activity, list the following items:
  • The sponsor of the activity or the source of funding.
  • The award or other identifying number.
  • The title of the award or activity. If the title of the award or activity is not descriptive,
      add a brief description of the research being performed that would identify any overlaps
      or synergies with the proposed research.
  • The total cost or value of the award or activity, including direct and indirect costs and
      cost share. For pending proposals, provide the total amount of requested funding.
  • The award period (start date - end date).
  • The person-months of effort per year being dedicated to the award or activity.
  • Identify any overlap, duplication of effort, or synergistic efforts, with a description of the
      other award or activity to the current and pending support.




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   •     Details of any obligations, contractual or otherwise, to any program, entity, or
         organization sponsored by a foreign government must be provided to DOE.

   All Pis and senior/key personnel must provide a separate disclosure statement listing the
   required information above regarding current and pending support. The individual must
   sign and date their respective disclosure statement and include the following certification
   statement:

         I, [Full Name and Title], certify to the best of my knowledge and belief that the
         information contained in this Current and Pending Support Disclosure Statement
         is true, complete and accurate. I understand that any false, fictitious, or
         fraudulent information, misrepresentations, half-truths, or omissions of any
         material fact, may subject me to criminal, civil or administrative penalties for
         fraud, false statements, false claims or otherwise. (18 U.S.C. §§ 1001 and 287,
         and 31 U.S.C. 3729-3730 and 3801-3812). I further understand and agree that (1)
         the statements and representations made herein are material to DOE's funding
         decision, and (2) I have a responsibility to update the disclosures during the
         period of performance of the award should circumstances change which impact
         the responses provided above.

   The information may be provided in the format approved by the National Science
   Foundation (NSF), which may be generated by the Science Experts Network Curriculum Vita
   (SciENcv), a cooperative venture maintained at https:ljwww.ncbi.nlm .nih.gov/sciencv/, and
   is also available at https://www.nsf.gov/bfa/dias/policy/nsfapprovedformats/cps.pdf. The
   use of a format required by another agency is intended to reduce the administrative burden
   to researchers by promoting the use of common formats. If the NSF format is used, the
   individual must still include a signature, date, and a certification statement using the
   language included in the paragraph above.

B. Demographic Reporting

       Submit to:   htt~s:LL~age.energy.gov
       Submission   Within 30 days after issuance of award
       deadline:


   DEMOGRAPHIC INFORMATION FOR SIGNIFICANT CONTRIBUTORS

   Demographic data (i.e., gender, ethnicity, race, and disability status) should be provided
   directly by the Principal Investigator and Business Contact with the understanding that the
   submission of this report is mandatory for awards made after 03/01/2022. There are no
   adverse consequences for responding "Do not wish to provide" in any question. Principal
   Investigators and Business Contacts of awards made prior to 03/01/2022 are encouraged,
   but not required, to submit demographic reporting. Confidentiality of demographic data will
   be in accordance with agency's policy and practices for complying with the requirements of




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   the Privacy Act. Demographic Reporting is submitted via PAGE document library in a
   document created by the awardee and includes the questions outlined below.

       Gender:
          o Male
          o Female
          o Do not wish to provide

       Ethnicity:
          o Hispanic or Latina/o
          o Not-Hispanic or not-Latina/o
          o Do not wish to provide

       Race (select one or more):
          o American Indian or Alaska Native
          o Asian
          o Black or African American
          o Native Hawaiian or other Pacific Islander
          o White
          o Do not wish to provide

       Disability Status:

           o     Yes (check yes if any of the following apply to you)
                     ■  Deaf or serious difficulty hearing
                     ■  Blind or serious difficulty seeing even when wearing glasses
                     ■  Serious difficulty walking or climbing stairs
                     ■  Other serious disability related to a physical, mental, or emotional
                        condition.
           o     No
           o     Do not wish to provide

       This measure is designed as a binary measure; it encompasses all self-reported
       disabilities. Please do not use it to report the number of individuals who have different
       types of disabilities (e.g., hearing impairments).

       Note: This construct is not designed to be used at an individual-level (i.e., it should not
       be used for determining accommodation needs or disability status for particular
       individuals associated with the project).

C. Financial Conflict of Interest Report
    Submit to:       htt~s:LLwww.~age.energ~.gov
    Submission       Within 180 days of the date of the award and within thirty (30) calendar days
    deadline:        only when there is a change




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   Prior to award, the Recipient was required to : 1) ensure all Investigators on this Award
   completed their significant financial disclosures; 2) review the disclosures; 3) determine
   whether a FCOI exists; 4) develop and implement a management plan for FCOls; and 5)
   provide DOE with an initial FCOI report that includes all FCOls (i.e., managed and
   unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient must
   be in full compliance with the other requirements set forth in DOE's interim COi Policy
   https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-
   reguirements-financial-assistance . Further, the recipient must submit updated reports
   within 30 days of a change.

   The DOE interim Conflict of Interest Policy for Financial Assistance (COi Policy) is applicable
   to all non-Federal entities applying for, or that receive, DOE funding by means of a financial
   assistance award (e.g., a grant, cooperative agreement, or technology investment
   agreement) and, through the implementation of this policy by the entity, to each
   Investigator who is planning to participate in, or is participating in, the project funded
   wholly or in part under this Award. The term "Investigator" means the Pl and any other
   person, regardless of title or position, who is responsible for the purpose, design, conduct,
   or reporting of a project funded by DOE or proposed for funding by DOE. The Recipient
   must flow down the requirements of the interim COi Policy to any sub recipient non-Federal
   entities, with the exception of DOE National Laboratories. Further, the Recipient must
   identify all financial conflicts of interests (FCOI), i.e., managed and unmanaged/
   unmanageable, in its initial and ongoing FCOI reports.



D. Tangible Personal Property Report - Annual Property Report (SF-428 & SF-428A)

    Submit to:    htt12s:LLwww.12age.energt.gov
    Submission    Within 90 calendar days after the end of the annual reporting period
    deadline:


   The prime recipient must submit an annual inventory of federally-owned property
   (government-furnished) where the award specifies that title to the property vests with the
   federal government, whether it is in the possession of the prime recipient or
   subrecipient(s). The prime recipient must complete an SF-428 and SF-428A, available at
   Post-Award Reporting Forms I GRANTS.GOV.

E. Tangible Personal Property Report - Disposition Request/Report (SF-428 & SF-428C)

    Submit to:    htt12s:LL12age.energt.gov
    Submission    Within 5 calendar days of the event or as specified
    deadline:


   The prime recipient must request disposition instructions for or report disposition of
   federally-owned property or equipment acquired with project funds, whether the property
   or equipment is/was in the possession of the prime recipient or subrecipient(s). Recipients



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     may also be required to provide compensation to the awarding agency when acquired
     equipment is sold or retained for use on activities not sponsored by the federal
     government. Any equipment with an acquisition cost above $5,000 must be included in the
     inventory.

     If disposition occurs at any time other than award closeout (i.e., at any time throughout the
     life of the project or after project completion and closeout as long as the federal
     government retains an interest in the item), the prime recipient must complete an SF-428
     and SF-428C, available at Post-Award Reporting Forms I GRANTS.GOV

     If disposition instructions are requested at the time of award closeout, the prime recipient
     must submit the SF-428 and SF-428B (see Ill. Closeout Reporting).

     Only the DOE Contracting Officer has authority to approve disposition requests and issue
     disposition instructions.

F.   Uniform Commercial Code (UCC) Financing Statements

      Submit to:    htti;1s:LLi;1age.energ:i.gov
      Submission    Within five (5) calendar days after the event, or as specified.
      deadline:


     If a for-profit recipient or subrecipient desires to purchase a piece of equipment for their
     project, and the per-unit dollar value of said equipment is $5,000 or more, and the federal
     share of the financial assistance agreement is more than $1M, the recipient or subrecipient
     must file a UCC financing statement.

     A UCC financing statement provides public notice that the federal government has an
     undivided reversionary interest in the equipment, and as such the equipment cannot be
     sold or used as collateral for a loan (encumbered).

     The for-profit recipient or subrecipient must file the UCC financing statement(s) with the
     Secretary of State where the equipment will be physically located and must pay any
     associated costs for such filings.

     The initial UCC financing statement may also be referred to as a UCCl. For additional pieces
     of equipment not specified in the award budget, TBD equipment, or equipment needed in
     future tranches, the recipient can file an amendment to the original UCCl financing
     statement, by submitting the UCC3 financing statement amendment.

     Each UCC financing statement or amendment is to be filed with the appropriate Secretary
     of State office, where the equipment will be physically located.




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   Note: All costs associated with filing UCC financing statements, UCC financing statement
   amendments, and UCC financing statement terminations, are allowable and allocable costs
   which can be charged to the federal award.

   At a minimum, the recipient must have stated in their UCC financing statement in block 4.
   (collateral) the following:

   o   "Title to all equipment (not real property) purchased with federal funds under this
       financial assistance agreement is conditional pursuant to the terms of 2 CFR 910.360,
       and the federal government retains an undivided reversionary interest in the equipment
       at the federal cost-share proportion specified in the award terms and conditions."

   o   Federal Award Identification Number (e.g., DE-EE000XXXX)

G. Federal Subaward Reporting System (FSRS)

    Submit to:    htt1;1s:LL1;1age.energy.gov
    Submission    The prime recipient is required to file a FFATA sub-award report by the end of
    deadline:     the month following the month in which the prime recipient awards any sub-
                  grant greater than or equal to $30,000.


   The Federal Subaward Reporting System (FSRS) is the reporting tool prime recipients use to
   capture and report subaward and executive compensation data regarding their first-tier
   subrecipients to meet the FFATA reporting requirements. Prime recipients will report
   against subrecipients' awards. The subrecipient information entered in FSRS will then be
   displayed on USASpending.gov associated with the prime recipient's award furthering
   federal spending transparency.

   The prime recipient is required to file a FFATA sub-award report by the end of the month
   following the month in which the prime recipient awards any sub-award greater than or
   equal to $30,000.

H. Annual Incurred Cost Proposals

    Submit to:    If DOE is the Cognizant Federal Agency, send the Annual Incurred Cost
                  Proposal to one of the following offices:
                  •    CostPrice@ee.doe.gov (if the Golden Field Office is Cognizant);
                       OR
                  •    lndirectRates@hq.doe.gov (if OCED is Cognizant)


                  •   PricingGrou1;1@netl.doe.gov (if NETL is Cognizant)

                  Otherwise, submit the proposal to the Recipient's appropriate Cognizant Federal
                  Agency office.
    Submission    Within 180 calendar days after the close of the recipient's fiscal year*
    deadline:




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                       *The end of the period of the performance, or closure of an award, does not
                       dismiss this reporting requirement.


     Prime recipients must submit a certified annual Incurred Cost Proposal (ICP), reconciled to
     its financial records, in order to finalize and reconcile billing rates incurred and billed to the
     Government.

     An ICP submission is required unless one of the following conditions apply to the DOE
     award:
     •     Recipient elected to apply the 10% de minimis rate as allowed under 2 CFR 200.414(f); or
     •     Recipient has a pre-determined Negotiated Indirect Cost Rate Agreement (NICRA).


I.   DOE For-Profit Compliance Audit

         Submit to:    Email a copy of the annual DOE For-Profit Compliance Audit to:
                           •    DOE-Audit-Submission@hg.doe.gov and
                           •    The DOE Contracting Officer
                           •    For awards administered by OCED, also email a copy to
                                RecipientAudits@hq.doe.gov
                           •    For awards administered by the DOE NETL Office, also email a copy to
                                PricingG rou p@netl .doe.gov

         Submission    Within the earlier of 30 days after receipt of the auditor's report(s) or 9 months
         deadline:     after the end of the audit period (recipient's fiscal year-end)*
                       *The end of the period of the performance, or closure of an award, does not
                       dismiss this reporting requirement.


     As required by 2 CFR 910, Subpart F, a For-Profit entity which expends $750,000 or more
     during the non-federal entity's fiscal year in DOE awards must have a compliance audit
     conducted for that year.

     The DOE For-Profit Compliance Audit must be conducted in accordance with the regulations
     at 2 CFR 910.500-521 and must refer to the appropriate regulations used by the auditor in
     their examination.

     The compliance audit report must be submitted, along with audited financial statements, if
     required and available.

J.   Single Audit: States, Local Government, Tribal Governments, Institution of Higher
     Education (IHE), or Non-Profit Organization

     Submit to:           Federal Audit Clearinghouse -
                          https://harvester.census.gov/facweb/Default.aspx

                                                                 and
                          https://page.energy.gov/




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   Submission        Within the earlier of 30 days after receipt of the auditor's report(s) or 9 months
   deadline:         after the end of the audit period (recipient's fiscal year-end)*
                     *The end of the period of the performance, or closure of an award, does not
                     dismiss this reporting requirement.


   As required by 2 CFR 200 Subpart F, non-federal entities that expend $750,000 or more
   during the non-federal entity's fiscal year in federal awards must have a single or program-
   specific audit conducted. The single audit must be conducted in accordance with §200.514
   Scope of audit, except when it elects to have a program-specific audit conducted.

   For most single audits, the requirement is for annual single audits. However, there are
   occasions where a single audit is not required annually. Per 2 CFR 200.504 - Frequency of
   audits, a state, local government, or Indian tribe that is required by constitution or statute
   to undergo its audits less frequently than annually, is permitted to undergo its audits
   biennially. Also, any nonprofit organization that had biennial audits for all biennial periods
   ending between July 1, 1992, and January 1, 1995, is permitted to undergo its single audits
   biennially.

   For a program-specific audit, when a recipient expends federal award funds under only one
   federal program (excluding R&D) and the federal program's statutes, regulations, or the
   terms and conditions of the federal award do not require a financial statement audit of the
   auditee, the auditee may elect to have a program-specific audit conducted. A program-
   specific audit may not be elected for R&D unless all of the federal awards expended were
   received from the same federal agency, or the same federal agency and the same pass-
   through entity, and that federal agency, or pass-through entity in the case of a subrecipient,
   approves in advance a program-specific audit.

   The single audit report shall include audited financial statements.

Ill. Closeout Reporting

A. Final Summary Report

    Submit to:    DOE Energy Link System (E-Link) available at http://www.osti.gov/elink-2413 and
                  https://page.energ~.gov/
    Submission    Within 120 calendar days after expiration or termination of the award
    deadline:


   The prime recipient must submit a Final Scientific/Technical Report to DOE for all projects.

   The scientific/technical report is intended to increase the diffusion of knowledge gained by
   DOE-funded research, and all requirements shall be interpreted in that light.




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  Content: Research findings and other significant scientific and technical information (STI)
  resulting from the DOE-sponsored projects shall be included in the final scientific/technical
  report, subject to the following provisions:

     1. The scientific/technical report is to cover the entire period of performance. For
        Small Business Innovation Research (SBIR) and Small Business Technology Transfer
        (STTR) awards, a final scientific/technical report must be submitted after the
        completion of each phase, e.g., Phase I, Phase II, and sequential Phase II, as
        described in the Special Instructions.

     2. STI that is publicly accessible need not be duplicated in the report if a citation with a
        link to where the information may be found is included in the report. For example,
        articles found in PAGES (i.e., DOE's Public Access Gateway for Energy and Science,
        http://www.osti.gov/pages/) are accessible to the public.

     3. Provide identifying information: the DOE award number; sponsoring program office;
        name of recipient; project title; name of project director/principal investigator; and
        consortium/team members.

     4. Include the DOE acknowledgement and legal disclaimer language as described in the
        Special Terms and Conditions.

     5. Include any limitations on public release of the report, if authorized by the award
        agreement. If the document being submitted contains patentable material or
        protected data (i.e., data first produced in the performance of the award that is
        protected from public release for a period of time by terms of the award agreement)
        as set forth in the award agreement, then (1) prominently display on the cover of
        the report any authorized distribution limitation notices, such as patentable material
        or protected data and (2) clearly identify patentable or protected data on each page
        of the report. Reports delivered without such notices or with restrictive notices not
        authorized by the award agreement may be deemed to have been furnished with
        unlimited rights, and the Government assumes no liability for the disclosure, use or
        reproduction of such reports. Any restrictive markings must also be noted in the
        distribution limitation section ofthe Announcement Notice (AN) 241.3. No
        protected PII should be included.

     6. Provide an abstract or executive summary, which should be a minimum of one
        paragraph and written in terms understandable by an educated layperson. (Refer to
        http://www.osti.gov/stip/standards for ANSI/NISO guidance as needed.) The
        abstract included in an application may serve as a model for this.

     7. Summarize project activities for the entire period of funding, including original
        hypotheses, approaches used, and findings. Include, if applicable, facts, figures,
        analyses, and assumptions used during the life of the project to support the results



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         in a manner that conveys to the scientific community the STI created during the
         project. To minimize duplication, the report may reference STI, including journal
         articles, that is publicly accessible. See also #2.

     8. For guidance offered by the National Information Standards Organization on typical
        attributes and content of a technical report, if needed, refer to ANSI/NISO 239.18-
        2005 (R2010), Scientific and Technical Reports - Preparation, Presentation, and
        Preservation (see http://www.osti.gov/stip/standards).

  Electronic Submission Process: The final scientific/technical report must be submitted via
  the DOE Energy Link System (E-Link) with a completed electronic version of DOE
  Announcement Notice (AN) 241.3, "U.S. Department of Energy (DOE), Announcement of
  Scientific and Technical Information (STI)." The recipient can complete, upload, and submit
  the DOE AN 241.3 online via E-Link (https://www.osti.gov/elink-2413 ).

  The recipient must mark the appropriate block in the "Intellectual Property/Distribution
  Limitations" Section of the DOE AN 241.3. Reports that are electronically uploaded must not
  contain any limited rights data (proprietary data), classified information, protected PII,
  information subject to export control classification, or other information not subject to
  release. During the upload process, the recipient must self-certify that no content of this
  nature is being submitted. For assistance with reports containing such content, contact the
  Contracting Officer.




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B. Invention Certification (DOE F 2050.11)

    Submit to:     htti:2s:LLi:2age.energy.gov

    Submission    Within 120 calendar days after expiration or termination of the award
    deadline:


   The prime recipient is required to submit an Invention Certification DOE F 2050.11. The
   Invention Certification form is available at htti:2:LLenergy.govLeereLfundingLeere-funding-
   ai:2i:2lication-and-management-forms.

   The Invention Certification must include a list of all subcontracts at any tier containing a
   patent rights clause (or state that there were none).

C. Tangible Personal Property Report- Final Report (SF-428 & SF-428B)

    Submit to:    htt12s:LL12age.energ:i.gov
    Submission    Within 120 calendar days after expiration or termination of the award
    deadline:


   The prime recipient must submit a final inventory of and request disposition instructions for
   any federally-owned property and/or property or equipment acquired with project funds
   with an acquisition cost above $5,000, whether the property is/was in the possession of the
   prime recipient or subrecipients.

   The prime recipient must complete an SF-428 and SF-428B, available at Post-Award
   Rei:2orting Forms ! GRANTS.GOV.

   If disposition occurs at any time other than award closeout, the prime recipient must
   complete an SF-428 and SF-428C (see IV. Other Reporting H. Property Disposition
   Request/Report).

   Only the DOE Contracting Officer has authority to approve disposition requests and issue
   disposition instructions.




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D. Verification of Receipt of Accepted Manuscripts
   Recipients are required to submit Accepted Manuscripts of Journal Articles resulting in
   whole or in part from a DOE-funded project to E-Link (See section l.C.l. Accepted
   Manuscript of Journal Article).

   As part of the closeout process, DOE will verify that all accepted manuscripts have been
   submitted. Recipients are required to submit all missing accepted manuscript before
   closeout is finalized.

E. Other (see Special Instructions)

    Submit to:     htt12s:LL12age.energ~.gov
    Submission     Within 120 calendar days after expiration or termination of the award
    deadline:



IV. Post-Project Reporting

A. Scientific and Technical Reporting
   Scientific and Technical Reporting requirements as outlined in I.C. Scientific and Technical
   Reporting remain applicable after the award ends. If the recipient has created Scientific and
   Technical Information (STI) such as publications, conference products, technical reports,
   book chapters, etc. which include information/data produced under the award, they are
   required to submit this document to htt12s:LLwww.osti.govLelinkLforms.js(2 . Recipients must
   continue to include proper DOE Acknowledgement and Legal Disclaimer language in all STI.
   Please see section I.C. Scientific and Technical Reporting for additional information on
   submissions.

   Note that after the project ends, recipients are no longer required to submit notification of
   STI directly to DOE.

B. Intellectual Property Reporting
   Intellectual Property Reporting requirements as outlined in I.D. Intellectual Property
   Reporting remain applicable after the award ends.

   Recipients are required to continue submitting intellectual property reports, as applicable,
   to iEdison htt12s:LL12ublic.era.nih.govLiedison .

   Note that after the project ends, recipients are no longer required to submit notification of
   intellectual property directly to DOE.

V. IRA Reporting




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A. Community Benefits Report
    Submit to:     htt-g_s:LLwww.-g_age.energy.govL
    Submission     As Specified, within 30 calendar days after the end of the first quarterly
    deadline:      reporting period; Yearly; within 90 calendar days after the end of the federal
                   fiscal year and Final; within 120 calendar days after expiration or termination of
                   the award.
   The Recipient must meet the stated objectives and milestones set forth in its
   Community Benefits Outcomes and Objectives, which is incorporated into the
   Award. A report on the Recipient' s progress towards meeting the objectives and
   milestones must be reported annually. A Community Benefits Reporting Template is
   available https://www.energy.gov/infrastructure/reporting-checklists with the
   intent to reduce the administrative burden by promoting the use of common
   formats.

B. Boosting Domestic Manufacturing
    Submit to:  https :/Lpage. energy.gov
    Submission  As Specified, within 30 calendar days after the end of the first quarterly
    deadline:   reporting period; Yearly; within 90 calendar days after the end of the federal
                fiscal year and Final; within 120 calendar days after expiration or termination of
                the award.

    1. Domestic Manufacturing & Critical Materials and Rare Earth Element Mining,
       Processing, Production & Recycling Capacity
       This report applies to projects that support (i.e., construct, establish, retool, re-equip, or
       retrofit) manufacturing capacity as well as projects that support the mining, processing,
       production, or recycling of critical minerals or rare earth materials and elements.
       Recipients of such projects are required to report on direct domestic manufacturing
       capacity as well as critical materials and rare earth element mining, processing,
       production, or recycling capacity.

    2. GHG Emissions & Air Pollutants
       This report documents the increases and decreases in pollutants across the effective
       useful life ofthe project as well as GHG emissions created through mining, processing,
       production, or recycling operations projects and indirect changes in GHG emissions
       resulting from projects.

    3. Equipment
       Recipients must provide a list of all equipment in mining, processing, production or
       recycling facilities projects that emit pollutants or GHGs onsite in facilities listed in the
       mining processing & production or recycling tab.

C. Quality Job Creation

    1. Direct Jobs
   I Submit to:     I Consult DOE Project Team for URL


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  I. Subm~ssion I Weekly
     deadline:  .
  This award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All laborers
  and mechanics employed by the recipient, subrecipients, contractors or subcontractors in
  the performance of construction, alteration, or repair work in excess of $2000 on an award
  funded directly by or assisted in whole or in part by funds made available under this award
  shall be paid wages at rates not less than those prevailing on similar projects in the locality,
  as determined by the Secretary of Labor in accordance with subchapter IV of chapter 31 of
  title 40, United States Code commonly referred to as the "Davis-Bacon Act" (DBA).

  The Recipient must ensure the timely electronic submission of weekly certified payrolls to a
  third-party DBA electronic payroll compliance software application unless a waiver is
  granted to a particular contractor or subcontractor because they are unable or limited in
  their ability to use or access the software.

  2. Trainin2 Outcomes
   Submit to:     htt12s :LL12 age. en ergl'. .gov
   Submission    As Specified, within 30 calendar days after the end of the first quarterly
   deadline:     reporting period; Yearly; within 90 calendar days after the end of the federal
                 fiscal year and Final; within 120 calendar days after expiration or termination of
                 the award.
  This report on training and training outcomes is required for all projects requiring DBA
  compliance, those that discuss workforce development or training in statute, as well as any
  projects where recipients utilize a portion of their BIL funding on workforce development.
  Only career-track training that focuses on skill development or pathways into career-track
  training such as pre-apprenticeship should be tracked for this metric. Career-track training
  leads to an appropriate industry-recognized credential, professional qualification, or license.
  It teaches broad occupational knowledge and skills that can be applied across a range of
  technologies, leading to several different career paths. Continuing education allowing
  incumbent workers to keep up with the latest technology and practices, and to advance in
  their careers, is another important element of career-track training. This report will also
  track the number of workforce partnerships involving employers, community-based
  organizations (CBOs), or labor unions, including partnerships specified in community
  benefits agreements and project labor agreements, or similar.

  Training Outcomes reporting shall be submitted in the form provided by the DOE Project
  Team.

  3. Good Jobs Outcomes
   Submit to:     htt12s :LL12 age. en ergl'. .gov
   Submission    As Specified, within 30 calendar days after the end of the first quarterly
   deadline:     reporting period; Yearly; within 90 calendar days after the end of the federal
                 fiscal year and Final; within 120 calendar days after expiration or termination of
                 the award.




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   This report if required of all recipients of BIL funding. To assess activities contributing to
   growing American jobs, improving the quality of energy jobs, and facilitating equitable
   access to good jobs and training opportunities, all BIL recipients must report annually on
   good jobs outcomes.

   Good Jobs Outcomes reporting shall be submitted in the form provided by the DOE Project
   Team.

   4. Permanent Jobs
    Submit to:     httQS :LL12 age. en ergl'. .gov
    Submission     Quarterly; within 30 calendar days after the end of the federal fiscal year quarter
    deadline:
   All BIL funding recipients who are creating ongoing operations, maintenance, and
   production jobs should report the number of hires for each reporting period and associated
   demographic information.

   Permanent Jobs reporting shall be submitted in the form provided by the DOE Project Team

D. Equity and Justice
    Submit to:     httQS :LL12 age. en ergl'. .gov
    Submission     Quarterly; within 30 calendar days after the end of the federal fiscal year quarter
    deadline:
   There are three reports associated with Equity and Justice. All three reports are included on
   the same form provided by the DOE Project Team. While the reports are included on the
   same form, some recipients may not need to complete all three. Refer to the checklist at
   the beginning of this document for applicability.

   Equity and Justice reporting shall be submitted in the form provided by the DOE Project
   Team.

   1. Community Engagement Process
      This report applies to all projects that include building, expanding, or retrofitting a
      facility. Recipients should report on engagement activities such as participatory
      research, citizen advisory committees, open planning forums, etc. and the outputs of
      those activities such as memorandums of understanding, letters of support, etc.
      Information in this tab should reflect the objectives outlined in the Community Benefits
      Plan.

   2. Engagement Events and Technical Assistance
      This report applies to all projects that hold stakeholder engagement events as outlined
      in their Community Benefits Plan. Recipients are required to report on stakeholders
      engaged and from what, if any, communities of interest.

   3. Community Ownership




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        This report applies to all projects that build or install new clean energy or climate assets.
        Recipients should report whether any or all their project will be community owned, as
        well as the compensation the community will receive.

E. Pathways to Net Zero
    Submit to:  htt12s :LL12 age. en ergl'. .gov
     Submission      As Specified, within 30 calendar days after the end of the first quarterly
     deadline:       reporting period; Yearly; within 90 calendar days after the end of the federal
                     fiscal year and Final; within 120 calendar days after expiration or termination of
                     the award.
    There are four reports associated with Pathways to Net Zero. While all four reports are
    included on the same form, all four reports are not applicable to each project. Refer to the
    checklist at the beginning of this document for applicability.

    Pathways to Net Zero reporting shall be submitted in the form provided by the DOE Project
    Team.

    1. Infrastructure Supported
       This report applies to projects that build, retrofit, retool, repurpose, or otherwise
       support the construction or continued operation of energy generation, energy storage,
       or other clean energy infrastructure. Projects that fund infrastructure planning should
       also report.

        Recipients are required to report on planned values, annual actual values for the life of
        project, and values at closeout. This report is structured by technology type, recipients
        need only complete the technology type applicable to their project as indicated by the
        DOE project team.

    2. Hydrogen Production
        This report applies to projects that build, retrofit, retool, repurpose, or otherwise
        support the construction or continued operation of hydrogen fuel production. Hydrogen
        can be utilized across sectors to generate electricity, replace existing feedstock or fuel in
        the industrial sector, provide residential and commercial heating, or fuel transportation

        Recipients are required to report on planned values, annual actual values for the life of
        project, and values at closeout.

    3. Carbon Capture, Removal, Storage
        This report applies to projects that build, or otherwise support the construction or
        continued operation of carbon capture, carbon removal, carbon storage, or carbon
        dioxide transport.

        Recipients are required to report on planned values, annual actual values for the life of
        project, and values at closeout. This report is structured by technology type, recipients




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       need only complete the technology type applicable to their project as indicated by the
       DOE project team.

   4. Energy Saved
       This report applies to all projects that include energy efficiency upgrades or fuel
       switching, water conservation upgrades that save energy, or distributed energy
       resources. Recipients are required to report on interventions completed as well as
       planned and actual energy savings.

VI. Appendix A: Notice To Recipients {Prime Recipients And Subrecipients)
    Regarding Protected Data, Limited Rights Data And Protected Personally
    Identifiable Information

I. PROTECTED DATA AND LIMITED RIGHTS DATA

The recipient is required to mark protected data and limited rights data in accordance with the
IP clause set of the award agreement. Failure to properly mark data may result in its public
disclosure under the Freedom of Information Act (FOIA, 5 U.S.C. § 552) or otherwise.

   A. Protected Data - Technical Data or Commercial or Financial Data First Produced in the
      Performance of the Award

The U.S. Government normally retains unlimited rights in any technical data or commercial or
financial data produced in performance of Government financial assistance awards, including
the right to distribute to the public.

However, under certain DOE awards, the recipient may mark certain categories of data
produced under the award as protected from public disclosure for a period oftime ("Protected
Data").[ql!J]lf the award agreement provides for protected data and the recipient wants the data
to be protected, the recipient must properly mark any documents containing Protected Data.
The recipient should review the IP clause set of the award agreement to determine the
applicability of protected data, the maximum length of period of time for data protection and
the required markings that must be used to invoke data protection for the award.

   B. Limited Rights Data - Data Produced Outside of the Award at Private Expense

Limited Rights Data is data (other than computer software) developed at private expense
outside any Government financial assistance award or contract that embody trade secrets or
are commercial or financial and confidential or privileged. Prior to including any Limited Rights
Data in any documents to DOE, the recipient should review the award agreement. In most DOE
awards, the recipient should not deliver any limited rights data to DOE if the recipient wants to
protect the Limited Rights Data. If the DOE award does allow and require the delivery of
limited rights data, then the recipient must properly mark any documents containing Limited
Rights Data as set forth in the IP clause of the award agreement.



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II. PROTECTED PERSONALLY IDENTIFIABLE INFORMATION

The recipient should not include any Protected Personally Identifiable Information (Protected
PII) in their submissions to DOE. Protected PII is defined as any data that, if compromised,
could cause harm to an individual such as identify theft. Protected PII includes, but is not
limited to:

   •   Social Security Numbers in any form;
   •   Place of Birth associated with an individual;
   •   Date of Birth associated with an individual;
   •   Mother's maiden name associated with an individual;
   •   Biometric record associated with an individual;
   •   Fingerprint;
   •   Iris Scan;
   •   DNA;
   •   Medical history information associated with an individual;
   •   Medical conditions, including history of disease;
   •   Metric information, e.g., weight, height, blood pressure;
   •   Criminal history associated with an individual;
   •   Ratings;
   •   Disciplinary actions;
   •   Passport number;
   •   Educational transcripts;
   •   Financial information associated with an individual;
   •   Credit card numbers; and
   •   Security clearance history or related information (not including actual clearances held).




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                                                                                                                                  of 351
                                                                    PageID #: 2949                                                   


                                         

                                
                                                              

                                        
                              
                                                                                                      


                                                           
                                                                       
                     
                                                                                       
                                                                                                                             
                                                                                                 

 

 

 

                                                                                             


                                                       

                                                                                   

                                                                                                                                  

                                                                                                                  

                                                                                                            

                                                                                                                            

                                                                                                                                      

                                                                                                                                       

                                                                                                               

                                                                                                                                   

                                                                                                                             

                                                                                                   

                                                                                                             

                                                                                                                 

                                                                                                                                 




                                                                         
                                                                                                                               
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                                                       


                                               

                                        




    
                                                             
                         
                                                                     
                                                                     
                                                                     
                        
                                           
                                                                     
                                                                     
                                                                     
                                                                     
                                                                     
                                                  
                                                                     
                                                                     
                             
                                                                     
                                                                     
                                                                     
                              
                                                                     
                                                                     
                                
                                                                     
                                                                     
                                                                     
                                                                     
                                                       
                                                                     


    

                                                                                                                  
                                                                      
                                                                   
                                                                                        
                                                                                             
                                                                        
                                                                         
                                                                             
                                                                                                   

                                                                                                                      




                                                                                                                                      
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
                                                                     PageID #: 2951                                                                  



 

         
           
          
          
          
          
          


         
           
           
           
           


     
                                                                                                                                
                                                                                      
                                                                                    
                                                                                                        
                                                                                                              
                                                                                         
                                                                                         
                                                                                             
                                                                                                                   
                                                                                                                               



         
           

                                                                                                                 
                                                                                                                       







         
                                                                      




                                                                                                                                                 
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
                                                                PageID #: 2952                                                               



         
           
           
           
           







         
           
           

                                                          




         
           







                              
                                                                               
                                                                                             
                                                                                             
                                                                                             
                                                                                             
                                                                                             
                                                                                             
                                                                                             
                                                                                             
                                                                                             
                                                                                             
                                                 

     




         

                                                           




         
           




                                                                                                                                       
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
                                                                   PageID #: 2953                                                                  





        
           
           
           

        
           
           

   
                                                                           

       
                                                                                   
                                                                                     
                                                                                                                




                                                                                                                                           
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                                                                              Attachment 4
                                                                              DE-SE00000S0.0000
                         Intellectual Property Provisions (NRD-821)
                                Nonresearch and Development



Intellectual property rights are subject to 2 CFR 200.315 (e.g. institution of higher education or
nonprofit organizations) or 2 CFR 910.362 (e.g. for-profit).
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               PM  1:25-cv-00039-JJM-PAS           Document
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                                    .S.. DEPARTMENT OF ENERGY
    , 1.DH.O!Ull
                      OFFICE OF ENERGY EFFJCIE CY AND "RENE\VABL~ - ERGY
                                          EPA DETERMINATI0_
    RECIPIENT: State Energy Office in all 50 states, The District of Columbia, 5 U.S. Territories                  STATE: Mult

    PROJECT TITLE Inflation Reduction Act (IRA) of 2022 - Section 50121 and 50122 Home Energy Rebates: Home
                  Efficiency Rebates & Home Electrification and Appliance Rebates

                                                        Procurement Instrument                                                      CID
         Funding Opportunity Announcement Number                                    NEPA Control Number
                                                                Number                                                             Number
    IRA 50121 and 50122 - H;~:0Energy Rebate Programs GFO-IRA 50121 and 50122 _001 GFO-IRA 50ci~d and 50122-

    Based on my review of the information concerning the proposed action, as NEPA Compliance Officer (authorized under DOE
    Policy 451.1), I have made the following determination:

    ex, EA, EIS APPENDIX AND NUMBER:
    Description:
         A 1 Routine DOE business Routine actions necessary to support the normal conduct of DOE business limited to
         actions                  administrative, financial, and personnel actions.

    Rationale for determination:

           Sections 50121 and 50122 of the Inflation Reduction Act authorize the Department of Energy to administer Home
           Energy Rebates. The funds must be used for rebates, statutorily required incentives, and costs directly attributable to
           delivery of the rebate to state and territory energy offices. The Inflation Reduction Act of 2022 Home Energy Rebates:
           Home Efficiency Rebates & Home Electrification and Appliance Rebates Administrative and Legal Requirements
           Document (ALRD) is applicable to both Section 50121 and 50122. Because the statutory authority for the
           appropriation does not allow DOE discretion to direct states' and territories' manner of use of these funds for their
           rebate programs, DOE's action is administration of the funding to the states and territories. Therefore, this NEPA
           review is only for the potential impacts of funding administration and will not include any review of potential impacts
           associated with the rebate programs.

           Based on the administration activity listed above, DOE does not anticipate any impacts to resources of concern.


    NEPA PROVISION

         DOE has made a final NEPA determination.


         Notes:

         Office of State and Community Energy Programs - Partnerships
         (Whole Homes and Appliance Rebate Program)
         NEPA review completed by Diana Heyder, 11/29/2023

    FOR CATEGORICAL EXCLUSION DETERMINATIONS

       The proposed action (or the part of the proposal defined in the Rationale above) fits within a class of actions that is listed in
       Appendix A or B to 10 CFR Part 1021, Subpart D. To fit within the classes ofactions listed in 10 CFR Part 1021, Subpart D,
       Appendix B, a proposal must be one that would not: (1) threaten a violation of applicable statutory, regulatory, or permit
       requirements for environment, safety, and health, or similar requirements of DOE or Executive Orders; (2) require siting and
       construction or major expansion of waste storage, disposal, recovery, or treatment facilities (including incinerators), but the proposal
       may include categorically excluded waste storage, disposal, recovery, or treatment actions or facilities; (3) disturb hazardous
       substances, pollutants, contaminants, or CERCLA-excluded petroleum and natural gas products that preexist in the environment such
       that there would be uncontrolled or unpermitted releases; (4) have the potential to cause significant impacts on environmentally
       sensitive resources, including, but not limited to, those listed in paragraph B(4) of 10 CFR Part 1021, Subpart D, Appendix B; (5)
       involve genetically engineered organisms, synthetic biology, governmentally designated noxious weeds, or invasive species, unless
       the proposed activity would be contained or confined in a manner designed and operated to prevent unauthorized release into the
       environment and conducted in accordance with applicable requirements, such as those listed in paragraph B(5) of 10 CFR Part 1021,
       Subpart D, Appendix B.


https://eere-pmc-hq.ee.doe.gov/GONEPA/ND_form_V2.aspx?key=25897                                                                                   1/2
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        There are no extraordinary circumstances related to thePageID    #: 2956
                                                                proposed action that may affect the significance of the environmental effects
        of the proposal.
        The proposed action has not been segmented to meet the definition of a categorical exclusion. This proposal is not connected to other
        actions with potentially significant impacts (40 CFR 1508.25(a)(l)), is not related to other actions with individually insignificant but
        cumulatively significant impacts (40 CFR 1508.27(b)(7)), and is not precluded by 40 CFR 1506.1 or 10 CFR 1021.211 concerning
        limitations on actions during preparation of an environmental impact statement.

        The proposed action is categorically excluded from further NEPA review.


    SIGNATURE OF THIS MEMORANDUM CONSTITUTES A RECORD OF THIS DECISION.

                                                              B5clronb,'
    NEPA Compliance Officer Signature:                          s,grz11 er: Casey Strickland                      Date:       11/29/2023
                                                               NEPA Compliance Officer

    FIELD OFFICE MANAGER DETERMINATION

    @     Field Office Manager review not required
    D     Field Office Manager review required

    BASED ON MY REVIEW I CONCUR WITH THE DETERMINATION OF THE NCO :

    Field Office Manager's Signature:                                                                             Date:
                                        ---------------------- Field Office Manager
                                                                                                                          --------




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                         Inflation Reduction Act (IRA)
                         Special Terms and Conditions
The Grantee (“Recipient”), which is identified in Block 5 of the Assistance Agreement, and the
Office of State and Community Energy Programs (“SCEP”) an office within the United States
Department of Energy (“DOE”), enter into this Award, referenced above, to achieve the project
objectives and the technical milestones and deliverables stated in Attachment 1 to this Award.

This Award consists of the following documents, including all terms and conditions therein:

                              Assistance Agreement
                              Special Terms and Conditions
            Attachment 1      Narrative
            Attachment 2      Federal Assistance Reporting Checklist and
                              Instructions
            Attachment 3      Budget Information SF-424A
            Attachment 4      Intellectual Property Provisions
            Attachment 5      NEPA Determination


The following are incorporated into this Award by reference:
        DOE Assistance Regulations, 2 CFR part 200 as supplemented by 2 CFR part 910 at
        http://www.eCFR.gov.
        National Policy Requirements (November 12, 2020) at
        http://www.nsf.gov/awards/managing/rtc.jsp.
        Public Law 117-169, also known as the Inflation Reduction Act (IRA).
        The Recipient’s application/proposal as approved by SCEP.
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Subpart A.         General Provisions

Term 1.        Legal Authority and Effect
A DOE financial assistance award is valid only if it is in writing and is signed, either in writing or
electronically, by a DOE Contracting Officer.

The Recipient may accept or reject the Award. A request to draw down DOE funds or
acknowledgement of award documents by the Recipient’s authorized representative through
electronic systems used by DOE, specifically FedConnect, constitutes the Recipient's acceptance
of the terms and conditions of this Award. Acknowledgement via FedConnect by the
Recipient’s authorized representative constitutes the Recipient's electronic signature.

Term 2.        Reserved

Term 3.        Flow Down Requirement
The Recipient agrees to apply the terms and conditions of this Award, as applicable, including
the Intellectual Property Provisions, to all subrecipients (and subcontractors, as appropriate), as
required by 2 CFR 200.101, and to require their strict compliance therewith. Further, the
Recipient must apply the Award terms as required by 2 CFR 200.327 to all subrecipients (and
subcontractors, as appropriate), and to require their strict compliance therewith.

Term 4.        Compliance with Federal, State, and Municipal Law
The Recipient is required to comply with applicable Federal, state, and local laws and
regulations for all work performed under this Award. The Recipient is required to obtain all
necessary Federal, state, and local permits, authorizations, and approvals for all work
performed under this Award.

Term 5.        Inconsistency with Federal Law
Any apparent inconsistency between Federal statutes and regulations and the terms and
conditions contained in this Award must be referred to the DOE Award Administrator for
guidance.

Term 6.        Federal Stewardship
SCEP will exercise normal Federal stewardship in overseeing the project activities performed
under this Award. Stewardship activities include, but are not limited to, conducting site visits;
reviewing performance and financial reports; providing technical assistance and/or temporary
intervention in unusual circumstances to address deficiencies that develop during the project;
assuring compliance with terms and conditions; and reviewing technical performance after
project completion to ensure that the project objectives have been accomplished.




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Term 7.      Federal Involvement

     A. Review Meetings
        The Recipient, including but not limited to, the principal investigator (or, if
        applicable, co-principal investigators), is required to participate in periodic review
        meetings with SCEP. Review meetings enable SCEP to assess the work performed
        under this Award and determine whether the Recipient has timely achieved the
        milestones and deliverables stated in Attachment 1 to this Award.

          SCEP shall determine the frequency of review meetings and select the day, time, and
          location of each review meeting and shall do so in a reasonable and good faith
          manner. SCEP will provide the Recipient with reasonable notice of the review
          meetings.

          For each review meeting, the Recipient is required to provide a comprehensive
          overview of the project, including:
                 The Recipient’s progress compared to the Narrative Document in Attachment
                 1 to this Award.
                 The Recipient’s actual expenditures compared to the approved budget in
                 Attachment 3 to this Award.
                 Other subject matter specified by the DOE Project Officer.

     B. Project Meetings
        The Recipient is required to notify SCEP in advance of scheduled tests and internal
        project meetings that would entail discussion of topics that could result in major
        changes to the baseline project scope/approach, cost, or schedule. Upon request by
        SCEP, the Recipient is required to provide SCEP with reasonable access (by
        telephone, webinar, or otherwise) to the tests and project meetings. The Recipient
        is not expected to delay any work under this Award for the purpose of government
        insight.

     C. Site Visits
        SCEP's authorized representatives have the right to make site visits at reasonable
        times to review project accomplishments and management control systems and to
        provide technical assistance, if required. The Recipient must provide, and must
        require subrecipients to provide, reasonable access to facilities, office space,
        resources, and assistance for the safety and convenience of the government
        representatives in the performance of their duties. All site visits and evaluations
        must be performed in a manner that does not unduly interfere with or delay the
        work.




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     D. Tranche Continuation Decisions
        The Administrative and Legal Requirements Document (ALRD) for this Award
        establishes funding tranches. The Recipient’s approved use of funds is only for the
        tranche that DOE has approved the recipient for. The Recipient is not approved to
        use funds in other tranches beyond those it is approved for. If the Recipient uses
        funds beyond what it has been approved to use, SCEP reserves the right to take
        appropriate action up to and including those listed below.

        For each funding tranche, SCEP must determine whether the Recipient has fully and
        satisfactorily completed the work described in the ALRD, Program Requirements,
        award attachments, award terms and conditions as well as DOE approved plans for
        this Award. The holistic performance of the award is taken into consideration during
        the continuation review. As a result of the continuation review, in its discretion,
        SCEP may take one of the following actions:
            Continue to fund the project, contingent upon the availability of funds
        appropriated by Congress for the purpose of this program;
            Place a hold on additional federal funding for the project, pending sufficient
        progress against performance targets, milestones and deliverables, further
        supporting data or funding; or
            Discontinue funding the project because of insufficient progress, change in
        strategic direction, or lack of funding.

        If routine data reviews demonstrate the Recipient is not meeting Plan terms, DOE
        reserves the right to put a hold on the funds the Recipient can draw down under the
        Automated Standard Application for Payments (ASAP) System.

     E. Performance Targets, Milestones, and Deliverables
        The Administrative and Legal Requirements Document (ALRD) and Program
        Requirements for this Award establishes performance targets, milestones, and
        deliverables required to continue into a new tranche of funding. If the Recipient
        fails to meet the established performance targets, milestones and/or deliverables,
        the Recipient must provide an improvement plan in its continuation application for
        how it will improve program performance to meet the next tranche’s targets. DOE
        approval is required in order to move to the next tranche and for funds to be
        released.

     F. SCEP Access
        The Recipient must provide any information, documents, site access, or other
        assistance requested by SCEP for the purpose of its Federal stewardship or
        substantial involvement.




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Term 8.        NEPA Requirements
DOE must comply with the National Environmental Policy Act (NEPA) prior to authorizing the
use of federal funds. Based on all information provided by the Recipient, EERE has made a NEPA
determination by issuing a categorical exclusion (CX) for all activities listed in the Statement of
Project Objectives (SOPO) approved by the Contracting Officer and the DOE NEPA
Determination. The Recipient is thereby authorized to use federal funds for the defined project
activities, except where such activity is subject to a restriction set forth elsewhere in this
Award.

This authorization is specific to the project activities and locations as described in the SOPO
approved by the Contracting Officer and the DOE NEPA Determination.

If the Recipient later intends to add to or modify the activities or locations as described in the
approved SOPO and the DOE NEPA Determination, those new activities/locations or modified
activities/locations are subject to additional NEPA review and are not authorized for federal
funding until the Contracting Officer provides written authorization on those additions or
modifications. Should the Recipient elect to undertake activities or change locations prior to
written authorization from the Contracting Officer, the Recipient does so at risk of not receiving
federal funding for those activities, and such costs may not be recognized as allowable cost
share.

Term 9.         Historic Preservation

   A. Authorization

DOE must comply with the requirements of Section 106 of the National Historic Preservation
Act (NHPA) prior to authorizing the use of Federal funds. Section 106 applies to historic
properties that are listed in or eligible for listing in the National Register of Historic Places. DOE
does not anticipate any impacts to resources of concern.

Term 10.       Performance of Work in United States

       A. Requirement
          All work performed under this Award must be performed in the United States unless
          the Contracting Officer provides a waiver. This requirement does not apply to the
          purchase of supplies and equipment; however, the Recipient should make every
          effort to purchase supplies and equipment within the United States. The Recipient
          must flow down this requirement to its subrecipients and subcontractors.

       B. Failure to Comply
          If the Recipient fails to comply with the Performance of Work in the United States
          requirement, the Contracting Officer may deny reimbursement for the work
          conducted outside the United States and such costs may not be recognized as

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           allowable Recipient cost share regardless if the work is performed by the Recipient,
           subrecipients, vendors or other project partners.

       C. Waiver for Work Outside the U.S.
          All work performed under this Award must be performed in the United States.
          However, the Contracting Officer may approve the Recipient to perform a portion of
          the work outside the United States under limited circumstances. The Recipient must
          obtain a waiver from the Contracting Officer prior to conducting any work outside
          the U.S. To request a waiver, the Recipient must submit a written waiver request to
          the Contracting Officer, which includes the following information:
                 The rationale for performing the work outside the U.S.;
                 A description of the work proposed to be performed outside the U.S.;
                 Proposed budget of work to be performed; and
                 The countries in which the work is proposed to be performed.

           For the rationale, the Recipient must demonstrate to the satisfaction of the
           Contracting Officer that the performance of work outside the United States would
           further the purposes of the ALRD or Program that the Award was selected under and
           is in the economic interests of the United States. The Contracting Officer may
           require additional information before considering such request.

Term 11.       Foreign National Involvement

The Recipient and project participants (including subrecipients and contractors) who anticipate
involving foreign nationals in the performance of an award, may be required to provide DOE
with specific information about each foreign national to satisfy requirements for foreign
national participation. A foreign national is defined as any person who is not a U.S. citizen by
birth or naturalization. The volume and type of information collected may depend on various
factors associated with the award.

Term 12.       Foreign National Participation
A “foreign national” is defined as any person who is not a U.S. citizen by birth or naturalization.

If the Recipient (including any of its subrecipients and contractors) anticipates involving foreign
nationals in the performance of the Award, the Recipient must, upon DOE’s request, provide
DOE with specific information about each foreign national to ensure compliance with the
requirements for participation and access approval. The volume and type of information
required may depend on various factors associated with the Award. The DOE Contracting
Officer will notify the Recipient if this information is required.

DOE may elect to deny a foreign national’s participation in the Award. Likewise, DOE may elect
to deny a foreign national’s access to a DOE sites, information, technologies, equipment,
programs, or personnel. DOE’s determination to deny participation or access is not appealable.

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Term 13.      Post-Award Due Diligence Reviews
During the period of performance of the Award, DOE may conduct ongoing due diligence
reviews, through Government resources, to identify potential risks of undue foreign influence.
In the event a risk is identified, DOE may require risk mitigation measures, including but not
limited to, requiring an individual or entity not participate in the Award.

Term 14.      Notice Regarding the Purchase of American-Made Equipment and
              Products – Sense of Congress
It is the sense of the Congress that, to the greatest extent practicable, all equipment and
products purchased with funds made available under this Award should be American-made.

Term 15.      Reporting Requirements

       A. Requirements
          The reporting requirements for this Award are identified on the Federal Assistance
          Reporting Checklist, attached to this Award. Failure to comply with these reporting
          requirements is considered a material noncompliance with the terms of the Award.
          Noncompliance may result in withholding of future payments, suspension, or
          termination of the current award, and withholding of future awards. A willful failure
          to perform, a history of failure to perform, or unsatisfactory performance of this
          and/or other financial assistance awards, may also result in a debarment action to
          preclude future awards by Federal agencies.

       B. Dissemination of Scientific and Technical Information
          Scientific and Technical Information (STI) generated under this Award will be
          submitted to DOE via the Office of Scientific and Technical Information’s Energy Link
          (E-Link) system. STI submitted under this Award will be disseminated via DOE’s
          OSTI.gov website subject to approved access limitations. Citations for journal articles
          produced under the Award will appear on the DOE PAGES website.

       C. Restrictions
          Scientific and Technical Information submitted to E-Link must not contain any
          Protected Personal Identifiable Information (PII), limited rights data (proprietary
          data), classified information, information subject to export control classification, or
          other information not subject to release.

Term 16.      Lobbying
By accepting funds under this Award, the Recipient agrees that none of the funds obligated on
the Award shall be expended, directly or indirectly, to influence congressional action on any
legislation or appropriation matters pending before Congress, other than to communicate to
Members of Congress as described in 18 U.S.C. 1913. This restriction is in addition to those
prescribed elsewhere in statute and regulation.

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Term 17.       Publications
The Recipient is required to include the following acknowledgement in publications arising out
of, or relating to, work performed under this Award, whether copyrighted or not:

       Acknowledgment: “This material is based upon work supported by the U.S. Department
       of Energy’s Office of State and Community Energy Programs (SCEP) under the IRA Home
       Energy Rebates Award Number DE-SE0000080.”

       Full Legal Disclaimer: “This report was prepared as an account of work sponsored by an
       agency of the United States Government. Neither the United States Government nor
       any agency thereof, nor any of their employees, makes any warranty, express or
       implied, or assumes any legal liability or responsibility for the accuracy, completeness,
       or usefulness of any information, apparatus, product, or process disclosed, or
       represents that its use would not infringe privately owned rights. Reference herein to
       any specific commercial product, process, or service by trade name, trademark,
       manufacturer, or otherwise does not necessarily constitute or imply its endorsement,
       recommendation, or favoring by the United States Government or any agency thereof.
       The views and opinions of authors expressed herein do not necessarily state or reflect
       those of the United States Government or any agency thereof.”

       Abridged Legal Disclaimer: “The views expressed herein do not necessarily represent
       the views of the U.S. Department of Energy or the United States Government.”

       Recipients should make every effort to include the full Legal Disclaimer. However, in the
       event that recipients are constrained by formatting and/or page limitations set by the
       publisher, the abridged Legal Disclaimer is an acceptable alternative.

Term 18.       No-Cost Extension
As provided in 2 CFR 200.308, the Recipient must provide the Contracting Officer with notice in
advance if it intends to utilize a one-time, no-cost extension of this Award. The notification
must include the supporting reasons and the revised period of performance. The Recipient
must submit this notification in writing to the Contracting Officer and DOE Technology
Manager/ Project Officer at least 30 days before the end of the current budget period.

Any no-cost extension will not alter the project scope, milestones, deliverables, or budget of
this Award.

Term 19.       Property Standards
The complete text of the Property Standards can be found at 2 CFR 200.310 through 200.316.
Also see 2 CFR 910.360 for additional requirements for real property and equipment for For-
Profit recipients.



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Term 20.      Insurance Coverage
See 2 CFR 200.310 for insurance requirements for real property and equipment acquired or
improved with Federal funds. Also see 2 CFR 910.360(d) for additional requirements for real
property and equipment for For-Profit recipients.

Term 21.      Real Property
Subject to the conditions set forth in 2 CFR 200.311, title to real property acquired or improved
under a Federal award will conditionally vest upon acquisition in the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.311 before disposing of the property.

Except as otherwise provided by Federal statutes or by the Federal awarding agency, real
property will be used for the originally authorized purpose as long as needed for that purpose.
When real property is no longer needed for the originally authorized purpose, the non-Federal
entity must obtain disposition instructions from DOE or pass-through entity. The instructions
must provide for one of the following alternatives: (1) retain title after compensating DOE as
described in 2 CFR 200.311(c)(1); (2) Sell the property and compensate DOE as specified in 2
CFR 200.311(c)(2); or (3) transfer title to DOE or to a third party designated/approved by DOE
as specified in 2 CFR 200.311(c)(3).

See 2 CFR 200.311 for additional requirements pertaining to real property acquired or
improved under a Federal award. Also see 2 CFR 910.360 for additional requirements for real
property for For-Profit recipients.

Term 22.      Equipment
Subject to the conditions provided in 2 CFR 200.313, title to equipment (property) acquired
under a Federal award will conditionally vest upon acquisition with the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.313 before disposing of the property.

A state must use equipment acquired under a Federal award by the state in accordance with
state laws and procedures.

Equipment must be used by the non-Federal entity in the program or project for which it was
acquired as long as it is needed, whether or not the project or program continues to be
supported by the Federal award. When no longer needed for the originally authorized purpose,
the equipment may be used by programs supported by DOE in the priority order specified in 2
CFR 200.313(c)(1)(i) and (ii).

Management requirements, including inventory and control systems, for equipment are
provided in 2 CFR 200.313(d).
When equipment acquired under a Federal award is no longer needed, the non-Federal entity
must obtain disposition instructions from DOE or pass-through entity.

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Disposition will be made as follows: (1) items of equipment with a current fair market value of
$5,000 or less may be retained, sold, or otherwise disposed of with no further obligation to
DOE; (2) Non-Federal entity may retain title or sell the equipment after compensating DOE as
described in 2 CFR 200.313(e)(2); or (3) transfer title to DOE or to an eligible third party as
specified in 2 CFR 200.313(e)(3).

See 2 CFR 200.313 for additional requirements pertaining to equipment acquired under a
Federal award. Also see 2 CFR 910.360 for additional requirements for equipment for For-Profit
recipients. See also 2 CFR 200.439 Equipment and other capital expenditures.

Term 23.       Supplies
See 2 CFR 200.314 for requirements pertaining to supplies acquired under a Federal award. See
also 2 CFR 200.453 Materials and supplies costs, including costs of computing devices.

Term 24.       Property Trust Relationship
Real property, equipment, and intangible property, that are acquired or improved with a
Federal award must be held in trust by the non-Federal entity as trustee for the beneficiaries of
the project or program under which the property was acquired or improved. See 2 CFR
200.316 for additional requirements pertaining to real property, equipment, and intangible
property acquired or improved under a Federal award.

Term 25.       Record Retention
Consistent with 2 CFR 200.334 through 200.338, the Recipient is required to retain records
relating to this Award.

Term 26.       Audits

       A. Government-Initiated Audits
          The Recipient must provide any information, documents, site access, or other
          assistance requested by SCEP, DOE or Federal auditing agencies (e.g., DOE Inspector
          General, Government Accountability Office) for the purpose of audits and
          investigations. Such assistance may include, but is not limited to, reasonable access
          to the Recipient’s records relating to this Award.

           Consistent with 2 CFR part 200 as amended by 2 CFR part 910, DOE may audit the
           Recipient’s financial records or administrative records relating to this Award at any
           time. Audits or reviews may be performed to determine if the Recipient has an
           adequate financial management system to estimate, bill, and record federal
           government expenditures in accordance with the criteria in 2 CFR 200.302, Generally
           Accepted Accounting Principles (GAAP), Generally Accepted Government Accounting
           Standards (GAGAS), and Standard Form 1408.Government-initiated audits are
           generally paid for by DOE.


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           DOE may conduct a final audit at the end of the project period (or the termination of
           the Award, if applicable). Upon completion of the audit, the Recipient is required to
           refund to DOE any payments for costs that were determined to be unallowable. If
           the audit has not been performed or completed prior to the closeout of the award,
           DOE retains the right to recover an appropriate amount after fully considering the
           recommendations on disallowed costs resulting from the final audit.

           DOE will provide reasonable advance notice of audits and will minimize interference
           with ongoing work, to the maximum extent practicable.

       B. Annual Independent Audits (Single Audit or Compliance Audit)
          The Recipient must comply with the annual independent audit requirements in 2
          CFR 200.500 through .521 for institutions of higher education, nonprofit
          organizations, and state and local governments (Single audit), and 2 CFR 910.500
          through .521 for for-profit entities (Compliance audit).

           The annual independent audits are separate from Government-initiated audits
           discussed in part A. of this Term, and must be paid for by the Recipient. To minimize
           expense, the Recipient may have a Compliance audit in conjunction with its annual
           audit of financial statements. The financial statement audit is not a substitute for
           the Compliance audit. If the audit (Single audit or Compliance audit, depending on
           Recipient entity type) has not been performed or completed prior to the closeout of
           the award, DOE may impose one or more of the actions outlined in 2 CFR 200.339,
           Remedies for Noncompliance.

Term 27.       Site Visits and Recipient Administrative Organizational Reviews
SCEP’s authorized representatives have the right to make site visits and conduct Recipient
Administrative Organizational Reviews to review the project and management control systems
and to provide technical assistance, as appropriate. The Recipient must provide, and must
require its subrecipients and contractors to provide, reasonable access to facilities, office space,
resources, and assistance for the safety and convenience of the government representatives in
the performance of their duties. SCEP will make reasonable efforts to ensure these site visits do
not interfere with or unduly delay project work.

Term 28.       Indemnity
The Recipient shall indemnify DOE and its officers, agents, or employees for any and all liability,
including litigation expenses and attorneys' fees, arising from suits, actions, or claims of any
character for death, bodily injury, or loss of or damage to property or to the environment,
resulting from the project, except to the extent that such liability results from the direct fault or
negligence of DOE officers, agents or employees, or to the extent such liability may be covered
by applicable allowable costs provisions.




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Subpart B. Financial Provisions

Term 29.       Maximum Obligation
The maximum obligation of DOE for this Award is the total “Funds Obligated” as stated in Block
13 of the Assistance Agreement to this Award. Additional Federal funding is contingent upon:
(1) Recipient’s demonstrated substantial progress towards meeting the objectives of the
Award; (2) availability of Federal funds appropriated by Congress for the purpose of this
program; and (3) the availability of future-year budget authority.

Term 30.       Funding of Tranches
SCEP has obligated funding as shown in Block 13 of the Assistance Agreement for completion of
the Project. However, only the federal share of costs associated with the current funding
tranche is available for work performed by the Recipient. Tranches are associated with specific
project milestones, which are outlined in the Administrative and Legal Requirements Document
(ALRD), associated with this program. The federal share of costs is shown on Attachment 3.

The remainder of funding is contingent upon: (1) the availability of funds appropriated by
Congress for the purpose of this program; (2) the availability of future-year budget authority;
(3) Recipient’s satisfactory progress towards meeting the objectives of the Home Energy
Rebates Program; (4) Recipient’s submittal of required reports; (5) Recipient’s compliance with
the terms and conditions of the Award; (6) the Recipient’s submission of a continuation
application; and (7) written approval of the continuation application by the Contracting Officer.

In the event that the Recipient does not submit a continuation application for subsequent
tranches, or SCEP disapproves a continuation application for subsequent tranches, the
maximum SCEP liability to the Recipient is the funds that are available for the current approved
tranche. In such event, SCEP reserves the right to deobligate any remaining federal funds.

Term 31.       Continuation Application and Funding

       A. Continuation Application
          A continuation application is a non-competitive application to enter into a new
          funding tranche. The continuation application shall be submitted to SCEP in
          accordance with the tranche table in the ALRD that is issued.

       B. Continuation Funding
          Continuation funding is contingent on (1) the availability of funds appropriated by
          Congress for the purpose of this program; (2) the availability of future-year budget
          authority; (3) Recipient’s satisfactory progress towards meeting the objectives of the
          Home Energy Rebates Program; (4) Recipient’s submittal of required reports; (5)
          Recipient’s compliance with the terms and conditions of the Award; (6) the
          Recipient’s submission of a continuation application; and (7) written approval of the

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           continuation application by the Contracting Officer. The holistic performance of the
           award is taken into consideration during the continuation review.

       C. Continuation Review
          The Administrative and Legal Requirements Document (ALRD) outlines expected
          performance targets and deliverables required to continue into a new tranche of
          funding. In addition, DOE will take the full performance of the award into
          consideration when making a continuation decision. If a Recipient’s overall
          performance is assessed by DOE to be inadequate, DOE reserves the right to
          disapprove a continuation into a new tranche of funding.

Term 32.       Refund Obligation
The Recipient must refund any excess payments received from SCEP, including any costs
determined unallowable by the Contracting Officer. Upon the end of the project period (or the
termination of the Award, if applicable), the Recipient must refund to SCEP the difference
between (1) the total payments received from SCEP, and (2) the Federal share of the costs
incurred. Refund obligations under this Term do not supersede the annual reconciliation or true
up process if specified under the Indirect Cost Term.

Term 33.       Allowable Costs
DOE determines the allowability of costs through reference to 2 CFR part 200 as amended by 2
CFR part 910. All project costs must be allowable, allocable, and reasonable. The Recipient
must document and maintain records of all project costs, including, but not limited to, the costs
paid by Federal funds, costs claimed by its subrecipients and project costs that the Recipient
claims as cost sharing, including in-kind contributions. The Recipient is responsible for
maintaining records adequate to demonstrate that costs claimed have been incurred, are
reasonable, allowable and allocable, and comply with the cost principles. Upon request, the
Recipient is required to provide such records to DOE. Such records are subject to audit. Failure
to provide DOE adequate supporting documentation may result in a determination by the
Contracting Officer that those costs are unallowable.

The Recipient is required to obtain the prior written approval of the Contracting Officer for any
foreign travel costs.

Term 34.       Indirect Costs

       A. Indirect Cost Allocation:
          The Recipient has a current and approved Predetermined or Fixed Negotiated
          Indirect Cost Rate Agreement (NICRA) and it applies uniformly across all federal
          awards through the Recipient’s fiscal year end 2024. An updated rate proposal or
          NICRA is required within 180 days prior to the identified expiration if the Recipient is
          to continue to bill predetermined indirect cost billing rates on the DOE award.


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       B. Fringe Cost Allocation:
          Fringe benefit costs have been allocated to this award under a segregated fringe
          billing rate. The fringe costs were found to be reasonable, allocable, and allowable
          as reflected in the budget. Fringe elements apply to both direct and indirect labor.
          Under a segregated cost pool, the fringe billing rate shall be treated as an indirect
          cost expenditure and must be reconciled annually.

       C. Subrecipient Indirect Costs (If Applicable):
          The Recipient must ensure its subrecipient’s indirect costs are appropriately
          managed, have been found to be allowable, and comply with the requirements of
          this Award and 2 CFR Part 200 as amended by 2 CFR Part 910.

       D. Indirect Cost Stipulations:

             i.   Modification to Indirect Cost Billing Rates
                  EERE will not modify this Award solely to provide additional funds to cover
                  increases in the Recipient’s indirect cost billing rate(s). Adjustments to the
                  indirect cost billing rates must be approved by the Recipient’s Cognizant
                  Agency or Cognizant Federal Agency Official.

                  The Recipient must provide a copy of an updated NICRA or indirect rate
                  proposal to the DOE Award Administrator in order to increase indirect cost
                  billing rates. If the Contracting Officer provides prior written approval, the
                  Recipient may incur an increase in the indirect cost billing rates.
                  Reimbursement will be limited by the budgeted dollar amount for indirect
                  costs for each budget period as shown in Attachment 3 to this Award.

            ii.   Award Closeout
                  The closeout of the DOE award does not affect (1) the right of the DOE to
                  disallow costs and recover funds on the basis of a later audit or other review;
                  (2) the requirement for the Recipient to return any funds due as a result of
                  later refunds, corrections or other transactions including final indirect cost
                  billing rate adjustments; and (3) the ability of the DOE to make financial
                  adjustments to a previously closed award resolving indirect cost payments
                  and making final payments.

Term 35.      Decontamination and/or Decommissioning (D&D) Costs
Notwithstanding any other provisions of this Award, the Government shall not be responsible
for or have any obligation to the Recipient for (1) Decontamination and/or Decommissioning
(D&D) of any of the Recipient’s facilities, or (2) any costs which may be incurred by the
Recipient in connection with the D&D of any of its facilities due to the performance of the work
under this Award, whether said work was performed prior to or subsequent to the effective


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date of the Award.

Term 36.      Use of Program Income
If the Recipient earns program income during the project period as a result of this Award, the
Recipient must add the program income to the funds committed to the Award and used to
further eligible project objectives.

Term 37.      Payment Procedures

       A. Method of Payment
          Payment will be made by advances through the Department of Treasury’s ASAP
          system.

       B. Requesting Advances
          Requests for advances must be made through the ASAP system. The Recipient may
          submit requests as frequently as required to meet its needs to disburse funds for the
          Federal share of project costs. If feasible, the Recipient should time each request so
          that the Recipient receives payment on the same day that the Recipient disburses
          funds for direct project costs and the proportionate share of any allowable indirect
          costs. If same-day transfers are not feasible, advance payments must be as close to
          actual disbursements as administratively feasible.

       C. Adjusting Payment Requests for Available Cash
          The Recipient must disburse any funds that are available from repayments to and
          interest earned on a revolving fund, program income, rebates, refunds, contract
          settlements, audit recoveries, credits, discounts, and interest earned on any of those
          funds before requesting additional cash payments from SCEP.

       D. Payments
          All payments are made by electronic funds transfer to the bank account identified
          on the Bank Information Form that the Recipient filed with the U.S. Department of
          Treasury.

       E. Unauthorized Drawdown of Federal Funds
          For each budget period, the Recipient may not spend more than the Federal share
          authorized to that particular budget period, without specific written approval from
          the Contracting Officer. The Recipient must immediately refund SCEP any amounts
          spent or drawn down in excess of the authorized amount for a budget period. The
          Recipient and subrecipients shall promptly, but at least quarterly, remit to DOE
          interest earned on advances drawn in excess of disbursement needs, and shall
          comply with the procedure for remitting interest earned to the Federal government
          per 2 CFR 200.305, as applicable.


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     F. Supporting Documents for Agency Approval of Payments
        DOE may require Agency pre-approval of payments. If the Agency approval
        requirement is in effect for the Recipient’s Award, the ASAP system will indicate that
        Agency approval is required when the Recipient submits a request for payment.

           The Recipient must notify the DOE Technical Project Officer and DOE Award
           Administrator identified on the Assistance Agreement that a payment request has
           been submitted.

           The following items are required to be submitted to the DOE Technical Project
           Officer and DOE Award Administrator identified on the Assistance Agreement:
               Summary cost data, for the billing period and cumulative cost data, showing all
               categories listed in the SF-424A and identifying Federal, non-Federal, and total
               amounts.
               SF-270.
               If there are unauthorized phases and/or tasks for the current budget period in
               the NEPA Requirements term in these Special Terms and Conditions, a statement
               affirming that no invoiced costs are related to tasks or activities prohibited by
               the NEPA Requirements term.

              Applicable to for-profit recipients and subrecipients UCC filing proof for all
              equipment acquired with project funds (i.e., Federal share or Recipient share)
              and equipment offered as cost share.

           The DOE payment authorizing official may request additional information from the
           Recipient to support the payment requests prior to release of funds, as deemed
           necessary. The Recipient is required to comply with these requests. Supporting
           documents include invoices, copies of contracts, vendor quotes, and other
           expenditure explanations that justify the payment requests.

Term 38.      Budget Changes

     A. Budget Changes Generally
        The Contracting Officer has reviewed and approved the SF-424A in Attachment 3 to
        this Award.

           Any increase in the total project cost, whether DOE share or Cost Share, which is
           stated as “Total” in Block 12 to the Assistance Agreement of this Award, must be
           approved in advance and in writing by the Contracting Officer.

           Any change that alters the program design, project scope, milestones or deliverables
           requires prior written approval of the Contracting Officer. SCEP may deny
           reimbursement for any failure to comply with the requirements in this term.

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       B. Transfers of Funds Among Direct Cost Categories
          The Recipient is required to obtain the prior written approval of the Contracting
          Officer for any transfer of funds among direct cost categories where the cumulative
          amount of such transfers exceeds or is expected to exceed 10 percent of the total
          project cost, which is stated as “Total” in Block 12 to the Assistance Agreement of
          this Award.

           The Recipient is required to notify the DOE /Project Officer of any transfer of funds
           among direct cost categories where the cumulative amount of such transfers is
           equal to or below 10 percent of the total project cost, which is stated as “Total” in
           Block 12 to the Assistance Agreement of this Award.

       C. Transfer of Funds Between Direct and Indirect Cost Categories
          The Recipient is required to obtain the prior written approval of the Contracting
          Officer for any transfer of funds between direct and indirect cost categories. If the
          Recipient’s actual allowable indirect costs are less than those budgeted in
          Attachment 3 to this Award, the Recipient may use the difference to pay additional
          allowable direct costs during the project period so long as the total difference is less
          than 10% of total project costs and the difference is reflected in actual requests for
          reimbursement to DOE.

Subpart C.       Miscellaneous Provisions

Term 39.      Insolvency, Bankruptcy or Receivership
The Recipient shall immediately, but no later than five days, notify EERE of the occurrence of
any of the following events: (1) the Recipient or the Recipient’s parent’s filing of a voluntary
case seeking liquidation or reorganization under the Bankruptcy Act; (2) the Recipient’s consent
to the institution of an involuntary case under the Bankruptcy Act against the Recipient or the
Recipient’s parent; (3) the filing of any similar proceeding for or against the Recipient or the
Recipient’s parent, or the Recipient’s consent to the dissolution, winding-up or readjustment of
its debts, appointment of a receiver, conservator, trustee, or other officer with similar powers
over the Recipient, under any other applicable state or federal law; or (4) the Recipient’s
insolvency due to its inability to pay debts generally as they become due.

Such notification shall be in writing and shall: (1) specifically set out the details of the
occurrence of an event referenced in paragraph A; (2) provide the facts surrounding that event;
and (3) provide the impact such event will have on the project being funded by this Award.

Upon the occurrence of any of the four events described in paragraph A. of this term, EERE
reserves the right to conduct a review of the Recipient’s Award to determine the Recipient’s
compliance with the required elements of the Award (including such items as cost share,
progress towards technical project objectives, and submission of required reports). If the EERE

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review determines that there are significant deficiencies or concerns with the Recipient’s
performance under the Award, EERE reserves the right to impose additional requirements, as
needed, including (1) change of payment method; or (2) institute payment controls.

Failure of the Recipient to comply with this term may be considered a material noncompliance
of this Award by the Contracting Officer.

Term 40.           Reporting Subawards and Executive Compensation

       A. Reporting of first-tier subawards

             i.      Applicability. Unless the Recipient is exempt as provided in paragraph D. of
                     this award term, the Recipient must report each action that equals or
                     exceeds $30,000 in Federal funds for a subaward to an entity (see definitions
                     in paragraph E. of this award term).

            ii.      Where and when to report.

                        1. The Recipient must report each obligating action described in
                           paragraph A.i. of this award term to https://www.fsrs.gov.

                        2. For subaward information, report no later than the end of the month
                           following the month in which the obligation was made. (For example,
                           if the obligation was made on November 7, 2010, the obligation must
                           be reported no later than December 31, 2010.)

            iii.     What to report. The Recipient must report the information about each
                     obligating action that the submission instructions posted at
                     https://www.fsrs.gov specify.

       B. Reporting Total Compensation of Recipient Executives

             i.      Applicability and what to report. The Recipient must report total
                     compensation for each of its five most highly compensated executives for the
                     preceding completed fiscal year, if:

                        1. The total Federal funding authorized to date under this Award equals
                           or exceeds $30,000 as defined in 2 CFR 170.320;

                        2. In the preceding fiscal year, the Recipient received;

                                a. 80 percent or more of the Recipient’s annual gross revenues
                                   from Federal procurement contracts (and subcontracts) and

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                               Federal financial assistance subject to the Transparency Act,
                               as defined at 2 CFR 170.320 (and subawards); and

                           b. $25,000,000 or more in annual gross revenues from Federal
                              procurement contracts (and subcontracts) and Federal
                              financial assistance subject to the Transparency Act, as
                              defined at 2 CFR 170.320 (and subawards)

                   3. The public does not have access to information about the
                      compensation of the executives through periodic reports filed under
                      section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                      U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                      of 1986. (To determine if the public has access to the compensation
                      information, see the U.S. Security and Exchange Commission total
                      compensation filings at http://www.sec.gov/answers/execomp.htm).

          ii.   Where and when to report. The Recipient must report executive total
                compensation described in paragraph B.i. of this award term:

                   1. As part of the Recipient’s registration profile at https://www.sam.gov.

                   2. By the end of the month following the month in which this award is
                      made, and annually thereafter.

     C. Reporting of Total Compensation of Subrecipient Executives

          i.    Applicability and what to report. Unless the Recipient is exempt as provided
                in paragraph D. of this award term, for each first-tier subrecipient under this
                award, the Recipient shall report the names and total compensation of each
                of the subrecipient's five most highly compensated executives for the
                subrecipient's preceding completed fiscal year, if:

                   1. In the subrecipient's preceding fiscal year, the subrecipient received:

                           a. 80 percent or more of its annual gross revenues from Federal
                              procurement contracts (and subcontracts) and Federal
                              financial assistance subject to the Transparency Act, as
                              defined at 2 CFR 170.320 (and subawards); and

                           b. $25,000,000 or more in annual gross revenues from Federal
                              procurement contracts (and subcontracts), and Federal
                              financial assistance subject to the Transparency Act (and
                              subawards)

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                    2. The public does not have access to information about the
                       compensation of the executives through periodic reports filed under
                       section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                       U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                       of 1986. (To determine if the public has access to the compensation
                       information, see the U.S. Security and Exchange Commission total
                       compensation filings at http://www.sec.gov/answers/execomp.htm).

          ii.   Where and when to report. The Recipient must report subrecipient executive
                total compensation described in paragraph C.i. of this award term:

                    1. To the recipient.

                    2. By the end of the month following the month during which the
                       Recipient makes the subaward. For example, if a subaward is
                       obligated on any date during the month of October of a given year
                       (i.e., between October 1 and 31), the Recipient must report any
                       required compensation information of the subrecipient by November
                       30 of that year.

     D. Exemptions
        If, in the previous tax year, the Recipient had gross income, from all sources, under
        $300,000, it is exempt from the requirements to report:

           i.   Subawards; and

          ii.   The total compensation of the five most highly compensated executives of
                any subrecipient.

     E. Definitions
        For purposes of this Award term:

           i.   Entity means all of the following, as defined in 2 CFR Part 25:

                    1. A Governmental organization, which is a State, local government, or
                       Indian tribe.
                    2. A foreign public entity.
                    3. A domestic or foreign nonprofit organization.
                    4. A domestic or foreign for-profit organization.
                    5. A Federal agency, but only as a subrecipient under an award or
                       subaward to a non-Federal entity.



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         ii.    Executive means officers, managing partners, or any other employees in
                management positions.

         iii.   Subaward:

                   1. This term means a legal instrument to provide support for the
                      performance of any portion of the substantive project or program for
                      which the Recipient received this award and that the recipient awards
                      to an eligible subrecipient.

                   2. The term does not include the Recipient’s procurement of property
                      and services needed to carry out the project or program (for further
                      explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                      and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                      Subrecipients and Contractors).

                   3. A subaward may be provided through any legal agreement, including
                      an agreement that the Recipient or a subrecipient considers a
                      contract.

         iv.    Subrecipient means an entity that:

                   1. Receives a subaward from the Recipient under this award; and

                   2. Is accountable to the Recipient for the use of the Federal funds
                      provided by the subaward.


          v.    Total compensation means the cash and noncash dollar value earned by the
                executive during the recipient's or subrecipient's preceding fiscal year and
                includes the following (for more information see 17 CFR 229.402(c)(2)):

                   1. Salary and bonus.

                   2. Awards of stock, stock options, and stock appreciation rights. Use the
                      dollar amount recognized for financial statement reporting purposes
                      with respect to the fiscal year in accordance with the Statement of
                      Financial Accounting Standards No. 123 (Revised 2004) (FAS 123R),
                      Shared Based Payments.

                   3. Earnings for services under non-equity incentive plans. This does not
                      include group life, health, hospitalization or medical reimbursement
                      plans that do not discriminate in favor of executives, and are available

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                         generally to all salaried employees.

                     4. Change in pension value. This is the change in present value of
                        defined benefit and actuarial pension plans.

                     5. Above-market earnings on deferred compensation which is not tax-
                        qualified.

                     6. Other compensation, if the aggregate value of all such other
                        compensation (e.g. severance, termination payments, value of life
                        insurance paid on behalf of the employee, perquisites or property) for
                        the executive exceeds $10,000.

Term 41.      System for Award Management and Universal Identifier
              Requirements

     A. Requirement for Registration in the System for Award Management (SAM)
        Unless the Recipient is exempted from this requirement under 2 CFR 25.110, the
        Recipient must maintain the currency of its information in SAM until the Recipient
        submits the final financial report required under this Award or receive the final
        payment, whichever is later. This requires that the Recipient reviews and updates
        the information at least annually after the initial registration, and more frequently if
        required by changes in its information or another award term.

     B. Unique Entity Identifier (UEI)
        SAM automatically assigns a UEI to all active SAM.gov registered entities. Entities no
        longer have to go to a third-party website to obtain their identifier. This information
        is displayed on SAM.gov.

           If the Recipient is authorized to make subawards under this Award, the Recipient:

       i.     Must notify potential subrecipients that no entity (see definition in paragraph C
              of this award term) may receive a subaward from the Recipient unless the entity
              has provided its UEI number to the Recipient.

       ii.    May not make a subaward to an entity unless the entity has provided its UEI
              number to the Recipient.

     C. Definitions
        For purposes of this award term:

             i.   System for Award Management (SAM) means the Federal repository into
                  which an entity must provide information required for the conduct of

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                    business as a recipient. Additional information about registration procedures
                    may be found at the SAM Internet site (currently at https://www.sam.gov).

           ii.      Unique Entity Identifier (UEI) is the 12-character, alpha-numeric identifier
                    that will be assigned by SAM.gov upon registration.

           iii.     Entity, as it is used in this award term, means all of the following, as defined
                    at 2 CFR Part 25, subpart C:

                       1. A Governmental organization, which is a State, local government, or
                          Indian Tribe.
                       2. A foreign public entity.
                       3. A domestic or foreign nonprofit organization.
                       4. A domestic or foreign for-profit organization.
                       5. A Federal agency, but only as a subrecipient under an award or
                          subaward to a non-Federal entity.

           iv.      Subaward:

                       1. This term means a legal instrument to provide support for the
                          performance of any portion of the substantive project or program for
                          which the Recipient received this Award and that the Recipient
                          awards to an eligible subrecipient.

                       2. The term does not include the Recipient’s procurement of property
                          and services needed to carry out the project or program (for further
                          explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                          and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                          Subrecipients and Contractors).

                       3. A subaward may be provided through any legal agreement, including
                          an agreement that the Recipient considers a contract.

            v.      Subrecipient means an entity that:

                       1. Receives a subaward from the Recipient under this Award; and
                       2. Is accountable to the Recipient for the use of the Federal funds
                          provided by the subaward.

Term 42.          Nondisclosure and Confidentiality Agreements Assurances
     A. By entering into this agreement, the Recipient attests that it does not and will not
        require its employees or contractors to sign internal nondisclosure or confidentiality

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           agreements or statements prohibiting or otherwise restricting its employees or
           contactors from lawfully reporting waste, fraud, or abuse to a designated
           investigative or law enforcement representative of a Federal department or agency
           authorized to receive such information.

       B. The Recipient further attests that it does not and will not use any Federal funds to
          implement or enforce any nondisclosure and/or confidentiality policy, form, or
          agreement it uses unless it contains the following provisions:

             i.     ‘‘These provisions are consistent with and do not supersede, conflict with, or
                    otherwise alter the employee obligations, rights, or liabilities created by
                    existing statute or Executive order relating to (1) classified information, (2)
                    communications to Congress, (3) the reporting to an Inspector General of a
                    violation of any law, rule, or regulation, or mismanagement, a gross waste of
                    funds, an abuse of authority, or a substantial and specific danger to public
                    health or safety, or (4) any other whistleblower protection. The definitions,
                    requirements, obligations, rights, sanctions, and liabilities created by
                    controlling Executive orders and statutory provisions are incorporated into
                    this agreement and are controlling.’’
            ii.     The limitation above shall not contravene requirements applicable to
                    Standard Form 312, Form 4414, or any other form issued by a Federal
                    department or agency governing the nondisclosure of classified information.

            iii.    Notwithstanding provision listed in paragraph (a), a nondisclosure or
                    confidentiality policy form or agreement that is to be executed by a person
                    connected with the conduct of an intelligence or intelligence-related activity,
                    other than an employee or officer of the United States Government, may
                    contain provisions appropriate to the particular activity for which such
                    document is to be used. Such form or agreement shall, at a minimum,
                    require that the person will not disclose any classified information received
                    in the course of such activity unless specifically authorized to do so by the
                    United States Government. Such nondisclosure or confidentiality forms shall
                    also make it clear that they do not bar disclosures to Congress, or to an
                    authorized official of an executive agency or the Department of Justice, that
                    are essential to reporting a substantial violation of law.

Term 43.          Subrecipient and Subcontractor Change Notification
Except for subrecipients and/or subcontractors specifically proposed as part of the Recipient’s
Application for award, the Recipient must notify the Contracting Officer and Project Officer in
writing 30 days prior to the execution of new or modified subrecipient and/or subcontractor
agreements, including naming any To Be Determined subrecipients and/or subcontractors. This
notification does not constitute a waiver of the prior approval requirements outlined in 2 CFR


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part 200 as amended by 2 CFR part 910, nor does it relieve the Recipient from its obligation to
comply with applicable Federal statutes, regulations, and executive orders.

In order to satisfy this notification requirement, the Recipient documentation must, as a
minimum, include the following:

         A description of the research to be performed, the service to be provided, or the
         equipment to be purchased.
         Cost share commitment letter if the subrecipient and/or subcontractor is providing cost
         share to the Award.
         An assurance that the process undertaken by the Recipient to solicit the subrecipient
         and/or subcontractor complies with their written procurement procedures as outlined
         in 2 CFR 200.317 through 200.327.
         An assurance that no planned, actual or apparent conflict of interest exists between the
         Recipient and the selected subrecipient and/or subcontractor and that the Recipient’s
         written standards of conduct were followed.1
         A completed Environmental Questionnaire, if applicable.
         An assurance that the subrecipient and/or subcontractor is not a debarred or suspended
         entity.
         An assurance that all required award provisions will be flowed down in the resulting
         subrecipient and/or subcontractor agreement.

The Recipient is responsible for making a final determination to award or modify subrecipient
and/or subcontractor agreements under this agreement, but the Recipient may not proceed
with the subrecipient and/or subcontractor agreement until the Contracting Officer
determines, and provides the Recipient written notification, that the information provided is
adequate.

Should the Recipient not receive a written notification of adequacy from the Contracting Officer
within 30 days of the submission of the subrecipient and/or subcontractor documentation
stipulated above, the Recipient may proceed to award or modify the proposed subrecipient
agreement.

Term 44.           Conference Spending
The Recipient shall not expend any funds on a conference not directly and programmatically
related to the purpose for which the grant or cooperative agreement was awarded that would

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  It is DOE’s position that the existence of a “covered relationship” as defined in 5 CFR 2635.502(a)&(b) between a member of
the Recipient’s owners or senior management and a member of a subrecipient’s owners or senior management creates at a
minimum an apparent conflict of interest that would require the Recipient to notify the Contracting Officer and provide
detailed information and justification (including, for example, mitigation measures) as to why the subrecipient agreement does
not create an actual conflict of interest. The Recipient must also notify the Contracting Officer of any new subrecipient
agreement with: (1) an entity that is owned or otherwise controlled by the Recipient; or (2) an entity that is owned or
otherwise controlled by another entity that also owns or otherwise controls the Recipient, as it is DOE’s position that these
situations also create at a minimum an apparent conflict of interest.

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defray the cost to the United States Government of a conference held by any Executive branch
department, agency, board, commission, or office for which the cost to the United States
Government would otherwise exceed $20,000, thereby circumventing the required notification
by the head of any such Executive Branch department, agency, board, commission, or office to
the Inspector General (or senior ethics official for any entity without an Inspector General), of
the date, location, and number of employees attending such conference.

Term 45.       Recipient Integrity and Performance Matters

       A. General Reporting Requirement
          If the total value of the Recipient’s currently active Financial Assistance awards,
          cooperative agreements, and procurement contracts from all Federal awarding
          agencies exceeds $10,000,000 for any period of time during the period of
          performance of this Federal award, then you as the recipient during that period of
          time must maintain the currency of information reported to the System for Award
          Management (SAM) that is made available in the designated integrity and
          performance system (currently the Federal Awardee Performance and Integrity
          Information System (FAPIIS)) about civil, criminal, or administrative proceedings
          described in paragraph 2 of this term. This is a statutory requirement under section
          872 of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section
          3010 of Public Law 111-212, all information posted in the designated integrity and
          performance system on or after April 15, 2011, except past performance reviews
          required for Federal procurement contracts, will be publicly available.

       B. Proceedings About Which You Must Report
          Submit the information required about each proceeding that:
             i. Is in connection with the award or performance of a Financial Assistance,
                 cooperative agreement, or procurement contract from the Federal
                 Government;
            ii. Reached its final disposition during the most recent five-year period; and
           iii. Is one of the following:
                     1. A criminal proceeding that resulted in a conviction, as defined in
                        paragraph E of this award term and condition;
                     2. A civil proceeding that resulted in a finding of fault and liability and
                        payment of a monetary fine, penalty, reimbursement, restitution, or
                        damages of $5,000 or more;
                     3. An administrative proceeding, as defined in paragraph E of this term,
                        that resulted in a finding of fault and liability and your payment of
                        either a monetary fine or penalty of $5,000 or more or
                        reimbursement, restitution, or damages in excess of $100,000; or
                     4. Any other criminal, civil, or administrative proceeding if:
                            a. It could have led to an outcome described in paragraph B.iii.1,
                                 2, or 3 of this term;

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                            b. It had a different disposition arrived at by consent or
                               compromise with an acknowledgment of fault on your part;
                               and
                            c. The requirement in this term to disclose information about
                               the proceeding does not conflict with applicable laws and
                               regulations.

     C. Reporting Procedures
        Enter in the SAM Entity Management area the information that SAM requires about
        each proceeding described in paragraph B of this term. You do not need to submit
        the information a second time under assistance awards that you received if you
        already provided the information through SAM because you were required to do so
        under Federal procurement contracts that you were awarded.

     D. Reporting Frequency
        During any period of time when you are subject to the requirement in paragraph A
        of this term, you must report proceedings information through SAM for the most
        recent five-year period, either to report new information about any proceeding(s)
        that you have not reported previously or affirm that there is no new information to
        report. Recipients that have Federal contract, Financial Assistance awards, (including
        cooperative agreement awards) with a cumulative total value greater than
        $10,000,000, must disclose semiannually any information about the criminal, civil,
        and administrative proceedings.

     E. Definitions
        For purposes of this term:
           i. Administrative proceeding means a non-judicial process that is adjudicatory
                in nature in order to make a determination of fault or liability (e.g., Securities
                and Exchange Commission Administrative proceedings, Civilian Board of
                Contract Appeals proceedings, and Armed Services Board of Contract
                Appeals proceedings). This includes proceedings at the Federal and State
                level but only in connection with performance of a Federal contract or
                Financial Assistance awards. It does not include audits, site visits, corrective
                plans, or inspection of deliverables.
          ii. Conviction means a judgment or conviction of a criminal offense by any court
                of competent jurisdiction, whether entered upon a verdict or a plea, and
                includes a conviction entered upon a plea of nolo contendere.
         iii. Total value of currently active Financial Assistance awards, cooperative
                agreements and procurement contracts includes—
                    1. Only the Federal share of the funding under any Federal award with a
                        recipient cost share or match; and
                    2. The value of all expected funding increments under a Federal award and
                        options, even if not yet exercised.


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Term 46.       Export Control
The United States government regulates the transfer of information, commodities, technology,
and software considered to be strategically important to the U.S. to protect national security,
foreign policy, and economic interests without imposing undue regulatory burdens on
legitimate international trade. There is a network of Federal agencies and regulations that
govern exports that are collectively referred to as “Export Controls.” The Recipient is
responsible for ensuring compliance with all applicable United States Export Control laws and
regulations relating to any work performed under a resulting award.

The Recipient must immediately report to DOE any export control violations related to the
project funded under this award, at the recipient or subrecipient level, and provide the
corrective action(s) to prevent future violations.

Term 47.       Prohibition on Certain Telecommunications and Video Surveillance
               Services or Equipment
As set forth in 2 CFR 200.116, recipients and subrecipients are prohibited from obligating or
expending project funds (Federal funds and recipient cost share) to:

    (1) Procure or obtain;

    (2) Extend or renew a contract to procure or obtain; or

    (3) Enter into a contract (or extend or renew a contract) to procure or obtain equipment,
    services, or systems that uses covered telecommunications equipment or services as a
    substantial or essential component of any system, or as critical technology as part of any
    system. As described in Public Law 115-232, section 889, covered telecommunications
    equipment is telecommunications equipment produced by Huawei Technologies Company
    or ZTE Corporation (or any subsidiary or affiliate of such entities).

          (i) For the purpose of public safety, security of government facilities, physical security
          surveillance of critical infrastructure, and other national security purposes, video
          surveillance and telecommunications equipment produced by Hytera
          Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
          Dahua Technology Company (or any subsidiary or affiliate of such entities).

          (ii) Telecommunications or video surveillance services provided by such entities or
          using such equipment.

          (iii) Telecommunications or video surveillance equipment or services produced or
          provided by an entity that the Secretary of Defense, in consultation with the Director
          of the National Intelligence or the Director of the Federal Bureau of Investigation,


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           reasonably believes to be an entity owned or controlled by, or otherwise connected
           to, the government of a covered foreign country.

See Public Law 115-232, section 889 for additional information.

Term 48.       Fraud, Waste and Abuse
The mission of the DOE Office of Inspector General (OIG) is to strengthen the integrity,
economy and efficiency of DOE’s programs and operations including deterring and detecting
fraud, waste, abuse, and mismanagement. The OIG accomplishes this mission primarily through
investigations, audits, and inspections of Department of Energy activities to include grants,
cooperative agreements, loans, and contracts. The OIG maintains a Hotline for reporting
allegations of fraud, waste, abuse, or mismanagement. To report such allegations, please visit
https://www.energy.gov/ig/ig-hotline.

Additionally, the Recipient must be cognizant of the requirements of 2 CFR 200.113 Mandatory
disclosures, which states:

               The non-Federal entity or applicant for a Federal award must disclose, in a timely
               manner, in writing to the Federal awarding agency or pass-through entity all
               violations of Federal criminal law involving fraud, bribery, or gratuity violations
               potentially affecting the Federal award. Non-Federal entities that have received
               a Federal award including the term and condition outlined in appendix XII of 2
               CFR Part 200 are required to report certain civil, criminal, or administrative
               proceedings to SAM (currently FAPIIS). Failure to make required disclosures can
               result in any of the remedies described in 200.339. (See also 2 CFR part 180, 31
               U.S.C. § 3321, and 41 U.S.C. § 2313.)

Term 49.       Interim Conflict of Interest Policy for Financial Assistance Policy
The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) can be found at
https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-
requirements-financial-assistance. This policy is applicable to all non-Federal entities applying
for, or that receive, DOE funding by means of a financial assistance award (e.g., a grant,
cooperative agreement, or technology investment agreement) and, through the
implementation of this policy by the entity, to each Investigator who is planning to participate
in, or is participating in, the project funded wholly or in part under this Award. The term
“Investigator” means the PI and any other person, regardless of title or position, who is
responsible for the purpose, design, conduct, or reporting of a project funded by DOE or
proposed for funding by DOE. The Recipient must flow down the requirements of the interim
COI Policy to any subrecipient non-Federal entities, with the exception of DOE National
Laboratories. Further, the Recipient must identify all financial conflicts of interests (FCOI), i.e.,
managed and unmanaged/unmanageable, in its initial and ongoing FCOI reports.
Prior to award, the Recipient was required to: 1) ensure all Investigators on this Award
completed their significant financial disclosures; 2) review the disclosures; 3) determine

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whether a FCOI exists; 4) develop and implement a management plan for FCOIs; and 5) provide
DOE with an initial FCOI report that includes all FCOIs (i.e., managed and
unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient must be
in full compliance with the other requirements set forth in DOE’s interim COI Policy.

Term 50.       Organizational Conflict of Interest
Organizational conflicts of interest are those where, because of relationships with a parent
company, affiliate, or subsidiary organization, the Recipient is unable or appears to be unable to
be impartial in conducting procurement action involving a related organization (2 CFR
200.318(c)(2)).

The Recipient must disclose in writing any potential or actual organizational conflict of interest
to the DOE Contracting Officer. The Recipient must provide the disclosure prior to engaging in a
procurement or transaction using project funds with a parent, affiliate, or subsidiary
organization that is not a state, local government, or Indian tribe. For a list of the information
that must be included the disclosure, see Section VI. of the DOE interim Conflict of Interest
Policy for Financial Assistance at https://www.energy.gov/management/department-energy-
interim-conflict-interest-policy-requirements-financial-assistance.

If the effects of the potential or actual organizational conflict of interest cannot be avoided,
neutralized, or mitigated, the Recipient must procure goods and services from other sources
when using project funds. Otherwise, DOE may terminate the Award in accordance with 2 CFR
200.340 unless continued performance is determined to be in the best interest of the federal
government.

The Recipient must flow down the requirements of the interim COI Policy to any subrecipient
non-federal entities, with the exception of DOE National Laboratories. The Recipient is
responsible for ensuring subrecipient compliance with this term.

If the Recipient has a parent, affiliate, or subsidiary organization that is not a state, local
government, or Indian tribe, the Recipient must maintain written standards of conduct covering
organizational conflicts of interest.

Term 51.       Participants and Other Collaborating Organizations
Prior to award, the Recipient was required to provide the following information on participants
and other collaborating organizations. If there are any changes to Participants and
Collaborating Organizations information previously submitted to DOE, the Recipient must
submit updated information within thirty (30) calendar days after the end of the quarterly
reporting period in which the change occurred:

   A. What individuals have worked on the project
      Provide the following information for individuals at the prime recipient and subrecipient
      level: (1) all senior and key personnel; and (2) each person who has worked or is

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       expected to work at least one person month per year on the project regardless of the
       source of compensation (a person month equals approximately 160 hours of effort).

           i.   Name
          ii.   Organization
        iii.    Job Title
         iv.    Role in the project
          v.    Start and end date (month and year) working on the project
         vi.    State, U.S. territory, and/or country of residence
        vii.    Whether this person collaborated with an individual or entity located in a foreign
                country in connection with the scope of this Award, and
       viii.    If yes to vii, whether the person traveled to the foreign country as part of that
                collaboration, and, if so, where and what the duration of stay was.

   B. Organizations
      Identify all subrecipients, contractors, U.S. National Laboratories, partners, and
      collaborating organizations. Recipients must also include all foreign collaborators as
      outlined in the Foreign Collaboration Considerations term of the award Terms and
      Conditions. For each, provide name, UEI, zip code or latitude/longitude, role in the
      project, contribution to the project, and start and end date.

Term 52. Community Benefits Outcomes and Objectives
The recipient must meet the stated objectives and milestones set forth in its Community
Benefits Outcomes and Objectives, which is incorporated into the Award per Term 56. A
report on the recipient’s progress toward meeting the objectives and milestones set
forth in the Community Benefits Outcomes and Objectives must be included in the
continuation application.


Term 53.        Human Subjects Research
Research involving human subjects, biospecimens, or identifiable private information
conducted with Department of Energy (DOE) funding is subject to the requirements of DOE
Order 443.1C, Protection of Human Research Subjects, 45 CFR Part 46, Protection of Human
Subjects (subpart A which is referred to as the “Common Rule”), and 10 CFR Part 745, Protection
of Human Subjects.

Federal regulation and the DOE Order require review by an Institutional Review Board (IRB) of
all proposed human subjects research projects. The IRB is an interdisciplinary ethics board
responsible for ensuring that the proposed research is sound and justifies the use of human
subjects or their data; the potential risks to human subjects have been minimized; participation
is voluntary; and clear and accurate information about the study, the benefits and risks of
participating, and how individuals’ data/specimens will be protected/used, is provided to
potential participants for their use in determining whether or not to participate.

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The Recipient shall provide the Federal Wide Assurance number identified in item 1 below and
the certification identified in item 2 below to DOE prior to initiation of any project that will
involve interactions with humans in some way (e.g., through surveys); analysis of their
identifiable data (e.g., demographic data and energy use over time); asking individuals to test
devices, products, or materials developed through research; and/or testing of commercially
available devices in buildings/homes in which humans will be present. Note: This list of
examples is illustrative and not all inclusive.

No DOE funded research activity involving human subjects, biospecimens, or identifiable
private information shall be conducted without:

    1) A registration and a Federal Wide Assurance of compliance accepted by the Office of
        Human Research Protection (OHRP) in the Department of Health and Human Services;
        and
    2) Certification that the research has been reviewed and approved by an Institutional
        Review Board (IRB) provided for in the assurance. IRB review may be accomplished by
        the awardee’s institutional IRB; by the Central DOE IRB; or if collaborating with one of
        the DOE national laboratories, by the DOE national laboratory IRB.
The Recipient is responsible for ensuring all subrecipients comply and for reporting information
on the project annually to the DOE Human Subjects Research Database (HSRD) at
https://science.osti.gov/HumanSubjects/Human-Subjects-Database/home. Note: If a DOE IRB
is used, no end of year reporting will be needed.

Additional information on the DOE Human Subjects Research Program can be found at:
https://science.osti.gov/ber/human-subjects.


Term 54.       Affirmative Action and Pay Transparency Requirements
All federally assisted construction contracts exceeding $10,000 annually will be subject to the
requirements of Executive Order 11246:

       (1)    Recipients, subrecipients, and contractors are prohibited from discriminating in
       employment decisions on the basis of race, color, religion, sex, sexual orientation,
       gender identity or national origin.

       (2)    Recipients and Contractors are required to take affirmative action to ensure that
       equal opportunity is provided in all aspects of their employment. This includes flowing
       down the appropriate language to all subrecipients, contractors and subcontractors.

       (3)     Recipients, subrecipients, contractors and subcontractors are prohibited from
       taking adverse employment actions against applicants and employees for asking about,


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       discussing, or sharing information about their pay or, under certain circumstances, the
       pay of their co-workers.

The Department of Labor’s (DOL) Office of Federal Contractor Compliance Programs (OFCCP)
uses a neutral process to schedule contractors for compliance evaluations. OFCCP’s Technical
Assistance Guide should be consulted to gain an understanding of the requirements and
possible actions the recipients, subrecipients, contractors, and subcontractors must take. See
OFCCP’s Technical Assistance Guide at:
https://www.dol.gov/sites/dolgov/files/ofccp/Construction/files/ConstructionTAG.pdf?msclkid
=9e397d68c4b111ec9d8e6fecb6c710ec.

Term 55.       Potentially Duplicative Funding Notice
If the Recipient or subrecipients have or receive any other award of federal funds for activities
that potentially overlap with the activities funded under this Award, the Recipient must
promptly notify DOE in writing of the potential overlap and state whether project funds (i.e.,
recipient cost share and federal funds) from any of those other federal awards have been, are
being, or are to be used (in whole or in part) for one or more of the identical cost items under
this Award. If there are identical cost items, the Recipient must promptly notify the DOE
Contracting Officer in writing of the potential duplication and eliminate any inappropriate
duplication of funding.

Subpart D. Inflation Reduction Act (IRA) Specific Requirements

Term 56.       Program Launch Approval
The Recipient must not disburse rebate funds nor accept rebate claims until it receives DOE
approval to proceed with program launch. The Recipient must address and comply with all
program requirements to receive Federal funding and to launch State programs. If the Recipient
launches the rebate program(s) or disburses rebate funds prior to DOE approval, DOE reserves
the right to take appropriate action.

Term 57.       Implementation Blueprint Submission
The Recipient must submit a complete State Implementation Blueprint and related plans within
a minimum of 60 days prior to planned program launch. Any application requirements that
were deferred to the State Implementation Blueprint must also be addressed. States must
receive DOE approval on the State Implementation Blueprint and related plans before
launching their program. Once DOE approval is received, the State Implementation Blueprint
and supporting plans become immediately binding to the award and will be enforceable. The
State Implementation Blueprint and supporting plans will be incorporated into the award Terms
& Conditions by reference and will be incorporated formally in the next award modification,
following approval by DOE.




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Term 58.      Reporting Tracking and Segregation of Incurred Costs
IRA funds may be used in conjunction with other funding, as necessary to complete projects,
but tracking and reporting must be separate. The Recipient must keep separate records for IRA
funds and must ensure those records comply with the requirements of the IRA.




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                    EXHIBITB
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                                                                       PageID #: 2994
                                                                    

                                                                        
                                                                                                     
                                                                                                            
                                      
                                                                                                                                               
                                                                                                  
                                                                                                                                   
                                                                           

                                                                           




                                                                            
                                                                                    
               
     

                                                                                    
                                                             

                                                                                              


                                                                             



                                                             
                                                                                             
                                                                                         
                                                                                                            
                                                                                                            
                                                                                                            


                                                                                  
                                                                                   
                                      











                                                                                             
                                          



                                                                                            
                                                                                                                                     
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                                                                          
                                                                                       


                                                               
                                                                                                 


















































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                                                                               
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                                    Recipient:
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                                 U.S. Department of Energy



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                                    Recipient:
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                                 U.S. Department of Energy



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                                    Recipient:
                                                                                                                           Attachment 2
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                                                                                                                               DE-SE0000299.0000
                                                            PageID #: 3000
               U.S . DEPARTMENT OF
                                                                 Federal Assistance Reporting Checklist
               ENERGY
                                                                                                                                      Attachment 2
1. Award Number: DE-SE0000299.0000                                         2. Program/Project Title: EECBG

3. Recipient: State of California

4. Reporting Requirements (see also the Special Instructions)              Frequency                               Addresses

I.       PROJECT MANAGEMENT REPORTING
[81 A. Performance Report                                                      Q        A. https://www.page.energy.gov
        1.   Status and Milestones
        2.   Quantitative
        3.   Narrative
[81 B. Financial Report (SF-425)                                               Q        B. https:ljwww.page.energy.gov
D C. Other (see Special Instructions)                                         AS        C. See Special Instructions



II.      AWARD MANAGEMENT REPORTING
[81 A. Tangible Personal Property Report - Annual Property Report (SF-         y        A. Send Email to DOE Project Officer
428 & SF-428A)
[81 B. Tangible Personal Property Report - Disposition Request/Report         AS        B. https:ljwww.page.energy.gov
         (SF-428 & SF-428C)
[]I C. Uniform Commercial Code (UCC) Financing Statements                     AS        C. https:llwww.page.energy.gov
[81 D. Federal Subaward Reporting System (FSRS)                               AS        D. See section II. D. for instructions and due dates
D E. Annual Incurred Cost Proposal                                            AS        E. FSRS
[81 F. Single Audit: States, Locals, Tribal Governments, and Non-Profits     Y180       F. See section II. F. for instructions and due dates
                                                                               0        G. See section II. G. for instructions and due dates
[81 G. Other
                                                                               y        Gl. Email to project officer & EECBG .NEPA@ee.doe.gov
     1. Annual Historic Preservation Report
[81 H. Davis Bacon
         1. Semi-Annual Davis Bacon                                           s         Hl. https:llwww.page.energy.gov
         2. Weekly Payroll report                                             w         H2. https:llwww.page.energy.gov




Ill.     CLOSEOUT REPORTING
[81A. Tangible Personal Property Report - Final Report (SF-428 & SF-           F        A. https://www.page.energy.gov
          428B)
DB. Other (see Special Instructions)                                           F        B. See Special Instructions




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             U.S . DEPARTMENT OF
                                                                     Federal Assistance Reporting Checklist
             ENERGY
4. Reporting Requirements (see also the Special Instructions)                     Frequency                           Addresses

IV. Bipartisan Infrastructure law Reporting
C8] A. Quality Job Creation
                                                                                     AS        A.l.See Section V.D.I for instructions and due dates
       C8] 1. Direct Jobs
                                                                                         Y     A.2. https:ljwww.page.energy.gov
       C8] 2. Good Jobs
                                                                                         y
C8] B. Equity and Justice
       C8] 1. Community Engagement Process
                                                                                               B. https:ljwww.page.energy.gov
       C8] 2. Engagement Events and Technical Assistance
C8] C. Pathway to Net-Zero
                                                                                               C. https:ljwww.page.energy.gov
       C8] 1. Infrastructure Supported
       C8] 2. Energy Saved
                                                                                         1     D. https://www.page.energy.gov
C8] D. One-Time Location Report




FREQUENCY CODES AND DUE DATES:

AS -As Specified or within five (SI calendar days after the event.

F - Final; within 120 calendar days after expiration or termination of the award.

O - Other: See instructions for further details.

P - Post-project (after the period of performance); within five (SI calendar days after the event, or as specified.

Q - Quarterly; within 30 calendar days after the end of the federal fiscal year quarter.

S - Semiannually; within 30 days after end of the reporting period .

Y - Yearly; within 90 calendar days after the end of the federal fiscal year.

Y180- Yearly; within 180 calendar days after the close of the recipient's fiscal year.

W - Weekly; within 7 days of the payroll

1- One time report

FULL URLS:

OSTI E-Link: http:ljwww.osti.gov/elink-2413
OSTI E-Link Datasets: https:ljwww.osti.gov/elink/2416-submission .jsp
DOE CODE: https:ljwww.osti.gov/doecode/
iEdison: http:ljwww.iedison.gov
EERE PMC: https:ljwww.eere-pmc.energy.gov/SubmitReports.aspx
FSRS: https:ljwww.fsrs.gov
PAGE: https://www.page.energy.gov

Special Instructions:




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                                         Reporting Instructions



***
           Throughout the performance of the project, it is important that you mark
           Protected Data/Limited Rights Data as described in Appendix A. It is equally
           important that you not submit Protected Personally Identifiable Information
                                                                                                           ***
           {Protected Pl/} to DOE. See Appendix A for guidance on Protected Pl/.



 I. Project Management Reporting

      A. Performance Report

       Submit to:       htt12s:LLwww.12age.energ~.gov
       Submission       Within 30 calendar days after the end of the quarterly reporting period (January
       deadline:        30, April 30, July 30, and October 30)


      Quarterly, the prime recipient is required to submit a Performance Report for the project.
      This report summarizes the entirety of work performed by the prime recipient,
      subrecipients, and contractors. The Performance Report contains qualitative information on
      the project progress, and captures quantitative information on the project progress. The PR
      must include the following information. Your DOE project team will provide a form for
      submission .

             1. Organizations
                    Identify all subrecipients, contractors, U.S. National Laboratories, partners, and
                    collaborating organizations. Recipients must also include all foreign collaborators
                    as outlined in the Foreign Collaboration Considerations term of the award Terms
                    and Conditions. For each, provide name, UEI, zip code or latitude/longitude, role
                    in the project, contribution to the project, and start and end date. This is
                    information can be included in the qualitative section of the report.

             2. Tasks and Milestones
                    Enter all tasks and milestones identified in your activity file . Each reporting
                    period, update the status of the task/milestone. More milestones can be added
                    as relevant to your project.

             3. Outlays
                    Using your approved budget, enter all of the expenditures incurred each
                    reporting period. Also include recipient cost share.




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        4. Metrics
            Report on your primary process metric selected in the application and any
            additional metrics that are applicable to your project. Please refer to the EECBG
            Program Process Metrics, EECBG-BIL-Reporting-Guidance.pdf (energy.gov), and
            the Eligible Activity Areas and their Recommended Process Metrics (energy.gov)
            per your activity.

        5. Products
            Can be uploaded as an attachment to the PAGE performance report.

            What has the project produced?

            In the qualitative section of this report, list any products resulting from the
            project during the reporting period. Examples of products include: publications,
            conference papers, and presentations; website(s); technologies or techniques; ;
            and other products, such as data or databases, physical collections, audio or
            video products, software or NetWare, models, educational aids or curricula,
            instruments or equipment, research material, interventions (e.g., clinical or
            educational), new business creation or any other public release of information
            related to the project.

                 a. Publications, conference papers, and presentations
                    Report the publication(s) resulting from the work under this award.

                     Please note: Recipients must use the DOE acknowledgement and legal
                     disclaimer language as described in the Special Terms and Conditions.

                     The recipient is reminded that all data produced under the award
                     should comply with the award's data management plan (DMP). The
                     DMP provides a plan for making all research data displayed in
                     publications resulting from the proposed work digitally accessible at
                     the time of publication. At a minimum, the DMP (1) describes how
                     data sharing and preservation will enable validation of the results from
                     the proposed work, how the results could be validated if data are not
                     shared or preserved and (2) has a plan for making all research data
                     displayed in publications resulting from the proposed work digitally
                     accessible at the time of publications.

                       i.   Publications, conference papers and presentations
                            Identify any other publications, conference papers and/or
                            presentations not reported above. Specify the status of the
                            publication as noted above.

                 b. Website(s)



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                     List the URL for any Internet site(s) that disseminates the results of the
                     research activities. A short description of each site should be provided.
                     It is not necessary to include the publications already specified above in
                     this section.

                 c. Other products
                    Identify any other significant products that were developed under this
                    project. Describe the product and how it is being shared. Examples of
                    other products are: Data or databases; Physical collections; Audio or
                    video products; Software or NetWare; Models; Educational aids or
                    curricula; Instruments or equipment; Research material (e.g.,
                    germplasm, cell lines, DNA probes, animal models); Interventions (e.g.
                    clinical, educational); new business creation; and Other.

        6. Participants
            The following information on participants (individuals) was provided during
            award negotiations. This can be updated in the awards contacts section in
            https://www.page.energy.gov. On a (quarterly/semi-annual/annual) basis,
            provide updates as needed. For most projects, recipients must identify and
            provide specific information for the following individuals at the prime and
            subrecipient level: (1) all senior and key personnel (including project
            director(s)/principal investigator(s)); and (2) each person who has worked or is
            expected to work at least 160 hours on the project at least one person month
            per year on the project regardless of the source of compensation (a person
            month equals approximately 160 hours of effort). In limited circumstances,
            typically large-scale construction projects, recipients are only required to report
            on (1) senior and key personnel for the prime recipient and subrecipients. Please
            refer to the Participants and Other Collaborating Organizations Term in your
            award Terms and Conditions to determine what level of reporting is required for
            your specific award.

                 a. What individuals have worked on the project?
                    Provide the following information for individuals at the prime recipient
                    and subrecipient level: (1) all senior and key personnel; and (2) each
                    person who has worked or is expected to work at least one person
                    month per year on the project regardless of the source of
                    compensation (a person month equals approximately 160 hours of
                    effort). This information can be added as an attachment in the
                    https://www.page.energy.gov document library.
                       i.    Name
                      ii.    Organization
                     iii.    Job Title
                     iv.     Role in the project
                      v.     Start and end date (month and year) working on the project


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                             vi.   State, U.S. territory, and/or country of residence
                            vii.   Whether this person collaborated with an individual or entity
                                   located in a foreign country in connection with the scope of this
                                   Award, and
                           viii.   If yes to a.vii, whether the person traveled to the foreign
                                   country as part of that collaboration, and, if so, where and what
                                   the duration of stay was.

          7. Special Reporting Requirements
                 Respond to any special reporting requirements specified in the award terms and
                 conditions, as well as any award specific reporting requirements.

         8. Qualitative reporting requirements
                 In this section, provide any additional description about the project. Can be used
                 to elaborate on information requested above and can include on impact,
                 changes or issues, achievements, or more.

  B. Financial Report SF-425 Federal Financial Report

    Submit to:        htt12s:LLwww.12age.energJ'..gov
    Submission        Within 30 calendar days after the end of the quarterly reporting period (January 30,
    deadline:         April 30, July 30 and October 30) and within 120 calendar days after expiration or
                      termination of the award


  Semi-annually the prime recipient is required to submit a completed SF-425 for the project
  to DOE, covering the entirety of work performed by the prime recipient, sub recipients, and
  contractors - to DOE.

  C. Other (see Special Instructions)

   Submit to:        htt12s:LLwww.12age.energJ'..gov
   Submission        Within five (5) calendar days after the event, or as specified
   deadline:




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II. Award Management Reporting

  A. Tangible Personal Property Report-Annual Property Report (SF-428 & SF-428A)

   Submit to:     Send Email to DOE Project Officer
   Submission     Within 90 calendar days after the end of the annual reporting period when
   deadline:      applicable


  The prime recipient must submit an annual inventory of federally-owned property
  (government-furnished) where the award specifies that title to the property vests with the
  federal government, whether it is in the possession of the prime recipient or
  subrecipient(s). The prime recipient must complete an SF-428 and SF-428A, available at
  Post-Award Reporting Forms l GRANTS.GOV.

  B. Tangible Personal Property Report - Disposition Request/Report (SF-428 & SF-
     428C)

   Submit to:     https:LLwww.page.energ~.gov
   Submission     Within 5 calendar days of the event or as specified when applicable
   deadline:


  The prime recipient must request disposition instructions for or report disposition of
  federally-owned property or equipment acquired with project funds, whether the property
  or equipment is/was in the possession of the prime recipient or subrecipient(s). Recipients
  may also be required to provide compensation to the awarding agency when acquired
  equipment is sold or retained for use on activities not sponsored by the federal
  government. Any equipment with an acquisition cost above $5,000 must be included in the
  inventory.

  If disposition occurs at any time other than award closeout (i.e., at any time throughout the
  life of the project or after project completion and closeout as long as the federal
  government retains an interest in the item), the prime recipient must complete an SF-428
  and SF-428C, available at Post-Award Reporting Forms l GRANTS.GOV

  If disposition instructions are requested at the time of award closeout, the prime recipient
  must submit the SF-428 and SF-428B (see Ill. Closeout Reporting).

  Only the DOE Contracting Officer has authority to approve disposition requests and issue
  disposition instructions.

  C. Uniform Commercial Code (UCC) Financing Statements

  I Submit to:   I Send Email to DOE Project Officer


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                 Within five (5) calendar days after the event, or as specified.



  If a for-profit recipient or subrecipient desires to purchase a piece of equipment for their
  project, and the per-unit dollar value of said equipment is $5,000 or more, and the federal
  share of the financial assistance agreement is more than $1M, the recipient or subrecipient
  must file a UCC financing statement.

  A UCC financing statement provides public notice that the federal government has an
  undivided reversionary interest in the equipment, and as such the equipment cannot be
  sold or used as collateral for a loan (encumbered).

  The for-profit recipient or subrecipient must file the UCC financing statement(s) with the
  Secretary of State where the equipment will be physically located and must pay any
  associated costs for such filings.

  The initial UCC financing statement may also be referred to as a UCCl. For additional pieces
  of equipment not specified in the award budget, TBD equipment, or equipment needed in
  future budget periods, the recipient can file an amendment to the original UCCl financing
  statement, by submitting the UCC3 financing statement amendment.

  Each UCC financing statement or amendment is to be filed with the appropriate Secretary
  of State office, where the equipment will be physically located.

  Note: All costs associated with filing UCC financing statements, UCC financing statement
  amendments, and UCC financing statement terminations, are allowable and allocable costs
  which can be charged to the federal award.

  At a minimum, the recipient must have stated in their UCC financing statement in block 4.
  (collateral) the following:

  o   "Title to all equipment (not real property) purchased with federal funds under this
      financial assistance agreement is conditional pursuant to the terms of 2 CFR 910.360,
      and the federal government retains an undivided reversionary interest in the equipment
      at the federal cost-share proportion specified in the award terms and conditions."
  o   Federal Award Identification Number (e.g., DE-EE000XXXX)

  D. Federal Subaward Reporting System (FSRS)

   Submit to:    htti;1s:LLwww.fsrs.govL
   Submission    The prime recipient is required to file a FFATA sub-award report by the end of
   deadline:     the month following the month in which the prime recipient awards any sub-
                 grant greater than or equal to $30,000.




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  The Federal Subaward Reporting System (FSRS) is the reporting tool prime recipients use to
  capture and report subaward and executive compensation data regarding their first-tier
  subrecipients to meet the FFATA reporting requirements. Prime recipients will report
  against subrecipients' awards. The subrecipient information entered in FSRS will then be
  displayed on USASpending.gov associated with the prime recipient's award furthering
  federal spending transparency.

  The prime recipient is required to file a FFATA sub-award report by the end of the month
  following the month in which the prime recipient awards any sub-award greater than or
  equal to $30,000.

  E. Annual Incurred Cost Proposals

   Submit to:     If DOE is the Cognizant Federal Agency, send the Annual Incurred Cost
                  Proposal to one of the following offices:
                  • CostPrice@ee.doe.gov (if the Golden Field Office is Cognizant);
                       OR
                  •    lndirectRates@hq.doe.gov (if OCED is Cognizant)

                  •    PricingGroup@netl.doe.gov (if NETL is Cognizant)

                  Otherwise, submit the proposal to the Recipient's appropriate Cognizant Federal
                  Agency office.
   Submission     Within 180 calendar days after the close of the recipient's fiscal year*
   deadline:      *The end of the period of the performance, or closure of an award, does not
                  dismiss this reporting requirement.

  Prime recipients must submit a certified annual Incurred Cost Proposal (ICP), reconciled to
  its financial records, in order to finalize and reconcile billing rates incurred and billed to the
  Government.

  An ICP submission is required unless one of the following conditions apply to the DOE
  award:
  • Recipient elected to apply the 10% de minimis rate as allowed under 2 CFR 200.414(f); or
  • Recipient has a pre-determined Negotiated Indirect Cost Rate Agreement (NICRA) .

  F. Single Audit: States, Local Government, Tribal Governments, Institution of Higher
     Education (IHE), or Non-Profit Organization

  Submit to:          Federal Audit Clearinghouse -
                      https :LLh arvester .census.govLfacwebL Defa u It. aspx

  Submission          Within the earlier of 30 days after receipt of the auditor's report(s) or 9 months
  deadline:           after the end of the audit period (recipient's fiscal year-end)*
                      *The end of the period of the performance, or closure of an award, does not
                      dismiss this reporting requirement.




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  As required by 2 CFR 200 Subpart F, non-federal entities that expend $750,000 or more
  during the non-federal entity's fiscal year in federal awards must have a single or program-
  specific audit conducted. The single audit must be conducted in accordance with §200.514
  Scope of audit, except when it elects to have a program-specific audit conducted.

  For most single audits, the requirement is for annual single audits. However, there are
  occasions where a single audit is not required annually. Per 2 CFR 200.504 - Frequency of
  audits, a state, local government, or Indian tribe that is required by constitution or statute
  to undergo its audits less frequently than annually, is permitted to undergo its audits
  biennially. Also, any nonprofit organization that had biennial audits for all biennial periods
  ending between July 1, 1992, and January 1, 1995, is permitted to undergo its single audits
  biennially.

  For a program-specific audit, when a recipient expends federal award funds under only one
  federal program (excluding R&D) and the federal program's statutes, regulations, or the
  terms and conditions of the federal award do not require a financial statement audit of the
  auditee, the auditee may elect to have a program-specific audit conducted. A program-
  specific audit may not be elected for R&D unless all of the federal awards expended were
  received from the same federal agency, or the same federal agency and the same pass-
  through entity, and that federal agency, or pass-through entity in the case of a subrecipient,
  approves in advance a program-specific audit.

  The single audit report shall include audited financial statements.

  G. National Environmental Policy Act (NEPA) Reporting

  Submit to:        Historic Preservation report: https:LLwww.page.energy.gov


  Submission        Historic Preservation reports: September 15 of each year
  deadline:


  Activities utilizing the Historic Preservation Programmatic Agreements must indicate this on
  the annually required Historic Preservation report. Reports are due September 15 of each
  year. Forms can be found on and submitted through the DOE PAGE platform found at
  www.page.energy.gov/. The Historic Preservation report must be submitted for all activities
  including activities conducted by the sub-recipient. A full list of Programmatic Agreements
  can be found at Historic Preservation - Executed Programmatic Agreements I Department
  of Energy

  H. Davis Bacon Reporting

  I Submit to:   I https://www.page.energy.gov


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                Within 7 days of each pay period and Semi-annually when applicable



        a. The DBA applies to contractors and subcontractors of the recipient or sub-
           recipients for contracts more than $2,000 for the construction, alteration, and/or
           repair of public buildings or public works, including painting and decorating,
           where the United States or the District of Columbia is a direct party to the
           contract. Contractors and subcontractors funded in whole or in part under this
           Award shall pay their laborers and mechanics wages at rates not less than those
           prevailing on similar projects in the locality, as determined by the Secretary of
           Labor in accordance with subchapter IV of chapter 31 of title 40, United States
           Code commonly referred to as the Davis-Bacon Act (DBA).
        b. EECBG Program formula grant recipients will also be required to undergo DBA
           compliance training and maintain competency in DBA compliance. The
           Contracting Officer will notify the recipient of any DOEsponsored DBA
           compliance trainings. DOL offers free Prevailing Wage Seminars several times a
           year that meet this requirement, at:
           https ://www.doI.gov/agencies/whd/govern m entcontracts/construction/seminar
           s/events
        c. Weekly Payroll Report
                i. EECBG prime recipients (grantees) must maintain an accurate record of
                    hours worked and wages paid, including fringe benefit contributions, and
                    submit certified payrolls on a weekly basis to DOE. Grantees are also
                    responsible for tracking and maintain DBA records for all subcontractors
                    and sub-recipients. Examples of labor compliance platforms available to
                    help grantees streamline DBA reporting by contractors and
                    subcontractors include: LCPtracker, eMARS, Elation Systems, and other
                    third-party systems
               ii. EECBG Program recipients must ensure the timely electronic submission
                    of weekly certified payrolls through the DOE-provided DBA software
                    application as part of its compliance with the Davis-Bacon Act unless a
                    waiver is granted to a particular contractor or subcontractor because it is
                    unable or limited in its ability to use or access. Applicants should indicate
                    if they will seek a waiver.
        d. Semi-Annual Compliance and Enforcement Report
                i. EECBG grantees must submit semi-annual reports on compliance with
                    the enforcement of the labor standards provision of the Davis-Bacon Act
                    and its related acts covering the periods of October 1 through March 31
                    and April 1 through September 30
               ii. Examples of labor compliance platforms available to help grantees
                    streamline DBA reporting by contractors and subcontractors include:
                    LCPtracker, eMARS, Elation Systems, and other third-party systems For
                    more information about labor laws to include Davis Bacon Act and Build
                    American Buy American contact BILLabor@hq.doe.gov.



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Ill. Closeout Reporting

   A. Tangible Personal Property Report - Final Report (SF-428 & SF-428B)

    Submit to:       httg_s:LLwww .g_age.energ~.gov
    Submission       Within 120 calendar days after expiration or termination of the award
    deadline:


   The prime recipient must submit a final inventory of and request disposition instructions for
   any federally-owned property and/or property or equipment acquired with project funds
   with an acquisition cost above $5,000, whether the property is/was in the possession of the
   prime recipient or subrecipients.

   The prime recipient must complete an SF-428 and SF-428B, available at Post-Award
   Reg_orting Forms l GRANTS.GOV.

   If disposition occurs at any time other than award closeout, the prime recipient must
   complete an SF-428 and SF-428C (see IV. Other Reporting H. Property Disposition
   Request/Report).

   Only the DOE Contracting Officer has authority to approve disposition requests and issue
   disposition instructions.

   B. Other (see Special Instructions)

    Submit to:      httg_s:LLwww.g_age.energ~.gov
    Submission      Within 120 calendar days after expiration or termination of the award
    deadline:




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IV. BIL Reporting

   A. Quality Job Creation

          1. Direct Jobs
    Submit to:     Consult DOE Project team for the announcement of the Davis Bacon
                   Rei;;!orting Tool

    Submission     Weekly
    deadline:


   This award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All laborers
   and mechanics employed by the recipient, subrecipients, contractors or subcontractors in
   the performance of construction, alteration, or repair work in excess of $2000 on an award
   funded directly by or assisted in whole or in part by funds made available under this award
   shall be paid wages at rates not less than those prevailing on similar projects in the locality,
   as determined by the Secretary of Labor in accordance with subchapter IV of chapter 31 of
   title 40, United States Code commonly referred to as the "Davis-Bacon Act" (OBA).

   The Recipient must ensure the timely electronic submission of weekly certified payrolls to a
   third-party OBA electronic payroll compliance software application unless a waiver is
   granted to a particular contractor or subcontractor because they are unable or limited in
   their ability to use or access the software. Please refer to section 11.H. for information on
   Davis Bacon Act Reporting.

          2. Good Jobs
    Submit to:     htti;;!s:LLwww.E;!age.energ~.gov
    Submission     Yearly; within 30 calendar days after the end of the federal fiscal year
    deadline:


   Recipients must complete and upload the jobs template (coming soon) that will be available
   for download from the PAGE site or the EECBG formula application hub on an annual basis.
   Once available, the report will be uploaded to the PAGE document library. The report
   focuses on good jobs provided to employees through EECBG Program funds.

   B. Equity and Justice

    Submit to:     https://www.page.energy.gov
    Submission     Quarterly within 30 calendar days after the end of the federal fiscal year
    deadline:      quarter


   The Equity and Justice reports are imbedded in the EECBG Program Process Metrics as part
   of the performance report. Please report on EECBG process metrics 9d. (Organizations




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  Receiving TA) and lla. (Community and Stakeholder Engagement) when applicable to #1
  and #2 below.

            A. Community Engagement Process
                 This report applies to all projects that include building, expanding, or
                 retrofitting a facility. Recipients should report on engagement activities such as
                 participatory research, citizen advisory committees, open planning forums, etc.
                 and the outputs of those activities such as memorandums of understanding,
                 letters of support, etc. Information in this tab should reflect the objectives.

            B. Engagement Events and Technical Assistance
                 This report applies to all projects that hold stakeholder engagement events.
                 Recipients are required to report on stakeholders engaged and from what, if
                 any, communities of interest.

  C. Pathways to Net Zero

   Submit to:       https://www.page.energy.gov
   Submission       As Specified, within 30 calendar days after the end of the first quarterly
   deadline:        reporting period; Yearly; within 90 calendar days after the end of the federal
                    fiscal year and Final; within 120 calendar days after expiration or termination of
                    the award.


  Pathways to Net Zero Reports will be imbedded in the EECBG Program Process Metrics as
  part of the performance reports. Please report on EECBG process metric areas 1 (Retrofits),
  3 {Equipment Purchased), and 5 {Renewable Energy) when applicable.

          1. Infrastructure Supported
                This report applies to projects that build, retrofit, retool, repurpose, or otherwise
                support the construction or continued operation of energy generation, energy
                storage, or other clean energy infrastructure. Projects that fund infrastructure
                planning should also report.

                Recipients are required to report on planned values, annual actual values for the
                life of project, and values at closeout. This report is structured by technology
                type, recipients need only complete the technology type applicable to their
                project as indicated by the DOE project team.

         2. Energy Saved
                This report applies to all projects that include energy efficiency upgrades or fuel
                switching, water conservation upgrades that save energy, or distributed energy
                resources. Recipients are required to report on interventions completed as well
                as planned and actual energy savings.




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   D. One Time Location Report

   Submit to:   https://www.page.energy.gov
   Submission   One time
   deadline:


     In addition to the reporting of metrics, there is a one-time special status report
     requirement for recipients with projects that take place in specific physical locations.
     The eligible activities that would be most applicable to the One-time Location Report
     are noted in Attachment 2. This report is required for all EECBG Program formula
     recipients pursuing activities mapped to this report, including projects benefitting
     disadvantaged communities. This report would be best completed during the first year
     of the award.




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      ENERGY
V. Appendix A: Notice To Recipients {Prime Recipients And Subrecipients)
   Regarding Protected Data, Limited Rights Data And Protected Personally
   Identifiable Information

I. PROTECTED DATA AND LIMITED RIGHTS DATA

The recipient is required to mark protected data and limited rights data in accordance with the
IP clause set of the award agreement. Failure to properly mark data may result in its public
disclosure under the Freedom of Information Act (FOIA, 5 U.S.C. § 552) or otherwise.

   A. Protected Data - Technical Data or Commercial or Financial Data First Produced in the
      Performance of the Award

The U.S. Government normally retains unlimited rights in any technical data or commercial or
financial data produced in performance of Government financial assistance awards, including
the right to distribute to the public.

However, under certain DOE awards, the recipient may mark certain categories of data
produced under the award as protected from public disclosure for a period of time ("Protected
Data").[ql!J]lf the award agreement provides for protected data and the recipient wants the data
to be protected, the recipient must properly mark any documents containing Protected Data.
The recipient should review the IP clause set of the award agreement to determine the
applicability of protected data, the maximum length of period of time for data protection and
the required markings that must be used to invoke data protection for the award.

   B. Limited Rights Data - Data Produced Outside of the Award at Private Expense

Limited Rights Data is data (other than computer software) developed at private expense
outside any Government financial assistance award or contract that embody trade secrets or
are commercial or financial and confidential or privileged. Prior to including any Limited Rights
Data in any documents to DOE, the recipient should review the award agreement. In most DOE
awards, the recipient should not deliver any limited rights data to DOE if the recipient wants to
protect the Limited Rights Data. If the DOE award does allow and require the delivery of
limited rights data, then the recipient must properly mark any documents containing Limited
Rights Data as set forth in the IP clause of the award agreement.

II. PROTECTED PERSONALLY IDENTIFIABLE INFORMATION

The recipient should not include any Protected Personally Identifiable Information (Protected
PII) in their submissions to DOE. Protected PII is defined as any data that, if compromised,
could cause harm to an individual such as identify theft. Protected PII includes, but is not
limited to:




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  •   Social Security Numbers in any form;
  •   Place of Birth associated with an individual;
  •   Date of Birth associated with an individual;
  •   Mother's maiden name associated with an individual;
  •   Biometric record associated with an individual;
  •   Fingerprint;
  •   Iris Scan;
  •   DNA;
  •   Medical history information associated with an individual;
  •   Medical conditions, including history of disease;
  •   Metric information, e.g., weight, height, blood pressure;
  •   Criminal history associated with an individual;
  •   Ratings;
  •   Disciplinary actions;
  •   Passport number;
  •   Educational transcripts;
  •   Financial information associated with an individual;
  •   Credit card numbers; and
  •   Security clearance history or related information (not including actual clearances held).




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                                                                                                                                       
                                                                                       


                                  
                                                              
                                                                       
                                                                                            
                              
                                                                                                           


                                                           
                                                                         
                     
                                                                                            
                                                                                                                                  
                                                                                                            

 

 

 

                                                                                                        


                                                       

                                                                                       

                                                                                                                                      

                                                                                                                            

                                                                                                                      

                                                                                                                                    

                                                                                                                                           

                                                                                                                                            

                                                                                                                        

                                                                                                                                        

                                                                                                                                  

                                                                                                            

                                                                                                                       

                                                                                                                          

                                                                                                                                      




                                                                           
                                                                                                                                 
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                                                                                    Attachment 4
                                                                              DE-SE0000299 .0000

                         Intellectual Property Provisions (NRD-821)
                                Nonresearch and Development



Intellectual property rights are subject to 2 CFR 200.315 (e.g. institution of higher education or
nonprofit organizations) or 2 CFR 910.362 (e.g. for-profit).
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  u s DEPARTMENT o•   I Energy Efficiency &                                      Special Terms and Conditions
  ENERGY               Renewable Energy             Award No. DE-SE000299.0000 With State of California Energy Commission




                                    Special Terms and Conditions
State of California Energy Commission ("Recipient"), which is identified in Block 5 of the
Assistance Agreement, and the Office of State and Community Energy Programs ("SCEP"), and
Energy Efficiency and Conservation Block Grant Program ("EECBG"), an office within the United
States Department of Energy ("DOE"), enter into this Award, referenced above, to achieve the
project objectives and the technical milestones and deliverables stated in Attachment 1 to this
Award.

This Award consists of the following documents, including all terms and conditions therein:

                                              Assistance Agreement
                                              Special Terms and Conditions
                  Attachment 1                Activity File
                  Attachment 2                Federal Assistance Reporting Checklist and
                                              Instructions
                  Attachment 3                Budget Information SF-424A
                  Attachment 4                Intellectual Property Provisions
                  Attachment 5                Energy Efficiency and Conservation Strategy



The following are incorporated into this Award by reference:
   • DOE Assistance Regulations, 2 CFR part 200 as amended by 2 CFR part 910 at
        http://www.eCFR.gov.
   • National Policy Requirements (November 12, 2020) at
        http://www.nsf.gov/awards/managing/rtc.jsp.
   • The Recipient's application/proposal as approved by SCEP.
   • Public Law 117-58, also known as the Bipartisan Infrastructure Law (BIL).




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         Subpart A.          General Provisions

         Term 1.          Legal Authority and Effect
         A DOE financial assistance award is valid only if it is in writing and is signed, either in writing or
         electronically, by a DOE Contracting Officer.

         The Recipient may accept or reject the Award. A request to draw down DOE funds or
         acknowledgement of award documents by the Recipient's authorized representative through
         electronic systems used by DOE, specifically FedConnect, constitutes the Recipient's acceptance
         of the terms and conditions of this Award. Acknowledgement via Fed Connect by the
         Recipient's authorized representative constitutes the Recipient's electronic signature.

         Term 2.          Flow Down Requirement
         The Recipient agrees to apply the terms and conditions of this Award, as applicable, including
         the Intellectual Property Provisions, to all subrecipients (and subcontractors, as appropriate), as
         required by 2 CFR 200.101, and to require their strict compliance therewith. Further, the
         Recipient must apply the Award terms as required by 2 CFR 200.327 to all subrecipients (and
         subcontractors, as appropriate), and to require their strict compliance therewith.

         Term 3.          Compliance with Federal, State, and Municipal Law
         The Recipient is required to comply with applicable Federal, state, and local laws and
         regulations for all work performed under this Award. The Recipient is required to obtain all
         necessary Federal, state, and local permits, authorizations, and approvals for all work
         performed under this Award.

         Term 4.          Inconsistency with Federal Law
         Any apparent inconsistency between Federal statutes and regulations and the terms and
         conditions contained in this Award must be referred to the DOE Award Administrator for
         guidance.

         Term 5.          Federal Stewardship
         SCEP will exercise normal Federal stewardship in overseeing the project activities performed
         under this Award. Stewardship activities include, but are not limited to, conducting site visits;
         reviewing performance and financial reports; providing technical assistance and/or temporary
         intervention in unusual circumstances to address deficiencies that develop during the project;
         assuring compliance with terms and conditions; and reviewing technical performance after
         project completion to ensure that the project objectives have been accomplished.




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         Term 6.          NEPA Requirements

         DOE must comply with the National Environmental Policy Act {NEPA) prior to authorizing the
         use of Federal funds. Based on all information provided by the Recipient, SCEP has made a
         NEPA determination by issuing a categorical exclusion {CX) for all activities listed in the Activity
         File approved by the Contracting Officer and the DOE NEPA Determination. The Recipient is
         thereby authorized to use Federal funds for the defined project activities, subject the
         Recipient's compliance with the conditions stated below and except where such activity is
         subject to a restriction set forth elsewhere in this Award.

         Condition(s):
            1. This NEPA Determination only applies to activities funded by the Administrative and
                Legal Requirements Document{ALRD) for the EECBG Program Formula Infrastructure
                Investment and Jobs Act {EECBG Formula - IIJA) awarded to non-tribal recipients
                proposing non-ground disturbing activities within states that have a DOE executed
                Historic Preservation Programmatic Agreement.
            2. Activities not listed under "Blueprints and additional activities" within this NEPA
                determination are subject to additional NEPA review and approval by DOE. For activities
                requiring additional NEPA review, Recipients must complete the environmental
                questionnaire {EQ-1) found at https://www.eere-pmc.energy.gov/NEPA.aspx and
                receive notification from DOE that the NEPA review has been completed and approved
                by the Contracting Officer prior to initiating the project or activities.
            3. Activities proposed on tribal lands or tribal properties would be restricted to
                homes/buildings less than forty-five {45) years old and without ground disturbance.
                Recipients must contact the DOE Project Officer for a Historic Preservation Worksheet
                to request a review of activities that are listed below on tribal homes/buildings forty-
                five {45) years and olderand/or ground disturbing activities. The DOE NEPA team must
                review the Historic Preservation Worksheet and notifythe Recipient's DOE Project
                Officer before activities listed on the Historic Preservation Worksheet may begin.
            4. This authorization does not include activities where the following elements exist:
                extraordinary circumstances; cumulative impacts or connected actions that may lead to
                significant effects on the human environment; or anyinconsistency with the "integral
                elements" {as contained in 10 CFR Part 1021, Appendix B) as they relate to a particular
                project.
            5. The Recipient must identify and promptly notify DOE of extraordinary circumstances,
                cumulative impacts or connected actions that may lead to significant effects on the
                human environment, or any inconsistency with the "integral elements" {as contained in
                10 CFR Part 1021, Appendix B) as they relate to project activities.
            6. Recipients must have a DOE executed Historic Preservation Programmatic Agreement
                and adhere to the terms andrestrictions of its DOE executed Historic Preservation
                Programmatic Agreement. DOE executed Historic Preservation Programmatic
                Agreements are available at https://www.energy.gov/node/812599.                                          5
            7. Recipients are responsible for reviewing the online NEPA and Historic preservation
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                   training at www.energy.gov/node/4816816 and contacting EECBG.NEPA@ee.doe.gov
                   with any EECBG NEPA or historic preservation questions.
               8. Recipients are required to submit an annual Historic Preservation Report in the
                   Performance and Accountability forGrants in Energy system (PAGE) at
                   https://www.page.energy.gov/default.aspx.
               9. Most activities listed under "Blueprints and additional activities" within this NEPA
                   determination are more restrictive than the Categorical Exclusion. The restrictions
                   included in the "Blueprints and additional activities" must be followed.
               10. This authorization excludes any activities that are otherwise subject to a restriction set
                   forth elsewhere in the award.

         This authorization is specific to the project activities and locations as described in the Activity
         File approved by the Contracting Officer and the DOE NEPA Determination.

         If the Recipient later intends to add to or modify the activities or locations as described in the
         approved Activity File and the DOE NEPA Determination, those new activities/locations or
         modified activities/locations are subject to additional NEPA review and are not authorized for
         Federal funding until the Contracting Officer provides written authorization on those additions
         or modifications. Should the Recipient elect to undertake activities or change locations prior to
         written authorization from the Contracting Officer, the Recipient does so at risk of not receiving
         Federal funding for those activities, and such costs may not be recognized as allowable cost
         share.

         Term 7.          Notice Regarding the Purchase of American-Made Equipment and
                          Products - Sense of Congress
          It is the sense of the Congress that, to the greatest extent practicable, all equipment and
          products purchased with funds made available under this Award should be American-made.

         Term 8.          Reporting Requirements

         The reporting requirements for this Award are identified on the Federal Assistance Reporting
         Checklist, attached to this Award. Failure to comply with these reporting requirements is
         considered a material noncompliance with the terms of the Award. Noncompliance may result
         in withholding of future payments, suspension, or termination of the current award, and
         withholding of future awards. A willful failure to perform, a history of failure to perform, or
         unsatisfactory performance of this and/or other financial assistance awards, may also result in a
         debarment action to preclude future awards by Federal agencies.

         Term 9.          Lobbying
         By accepting funds under this Award, the Recipient agrees that none of the funds obligated on
         the Award shall be expended, directly or indirectly, to influence congressional action on any
         legislation or appropriation matters pending before Congress, other than to communicate to                       6
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          Members of Congress as described in 18 U.S.C. § 1913. This restriction is in addition to those
          prescribed elsewhere in statute and regulation.

         Term 10.            Publications
         The Recipient is required to include the following acknowledgement in publications arising out
         of, or relating to, work performed under this Award, whether copyrighted or not:

               •      Acknowledgment: "This material is based upon work supported by the U.S. Department
                      of Energy's Office of State and Community Energy Programs (SCEP) under the Energy
                      Efficiency and Conservation Block Grant Program (EECBG) Award Number DE-
                      SE000299."

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                      the views of the U.S. Department of Energy or the United States Government."

                      Recipients should make every effort to include the full Legal Disclaimer. However, in the
                      event that recipients are constrained by formatting and/or page limitations set by the
                      publisher, the abridged Legal Disclaimer is an acceptable alternative.



         Term 11.            No-Cost Extension
         As provided in 2 CFR 200.308, the Recipient must provide the Contracting Officer with notice in
         advance if it intends to utilize a one-time, no-cost extension of this Award. The notification
         must include the supporting reasons and the revised period of performance. The Recipient
         must submit this notification in writing to the Contracting Officer and DOE Technology
         Manager/ Project Officer at least 30 days before the end of the current budget period.

         Any no-cost extension will not alter the project scope, milestones, deliverables, or budget of
         this Award.
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         Term 12.         Property Standards
         The complete text of the Property Standards can be found at 2 CFR 200.310 through 200.316.
         Also see 2 CFR 910.360 for additional requirements for real property and equipment for For-
         Profit recipients.

         Term 13.         Insurance Coverage
         See 2 CFR 200.310 for insurance requirements for real property and equipment acquired or
         improved with Federal funds. Also see 2 CFR 910.360(d) for additional requirements for real
         property and equipment for For-Profit recipients.

         Term 14.         Real Property
         Subject to the conditions set forth in 2 CFR 200.311, title to real property acquired or improved
         under a Federal award will conditionally vest upon acquisition in the non-Federal entity. The
         non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
         200.311 before disposing of the property.

         Except as otherwise provided by Federal statutes or by the Federal awarding agency, real
         property will be used for the originally authorized purpose as long as needed for that purpose.
         When real property is no longer needed for the originally authorized purpose, the non-Federal
         entity must obtain disposition instructions from DOE or pass-through entity. The instructions
         must provide for one of the following alternatives: (1) retain title after compensating DOE as
         described in 2 CFR 200.311(c)(l); (2) Sell the property and compensate DOE as specified in 2
         CFR 200.311(c)(2); or (3) transfer title to DOE or to a third party designated/approved by DOE
         as specified in 2 CFR 200.311(c)(3).

         See 2 CFR 200.311 for additional requirements pertaining to real property acquired or improved
         under a Federal award. Also see 2 CFR 910.360 for additional requirements for real property
         for For-Profit recipients.

         Term 15.         Equipment
         Subject to the conditions provided in 2 CFR 200.313, title to equipment (property) acquired
         under a Federal award will conditionally vest upon acquisition with the non-Federal entity. The
         non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
         200.313 before disposing of the property.

         A state must use equipment acquired under a Federal award by the state in accordance with
         state laws and procedures.

         Equipment must be used by the non-Federal entity in the program or project for which it was
         acquired as long as it is needed, whether or not the project or program continues to be
         supported by the Federal award. When no longer needed for the originally authorized purpose,
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         the equipment may be used by programs supported by DOE in the priority order specified in 2
         CFR 200.313(c)(l)(i) and (ii).

          Management requirements, including inventory and control systems, for equipment are
          provided in 2 CFR 200.313(d).

         When equipment acquired under a Federal award is no longer needed, the non-Federal entity
         must obtain disposition instructions from DOE or pass-through entity.

         Disposition will be made as follows: (1) items of equipment with a current fair market value of
         $5,000 or less may be retained, sold, or otherwise disposed of with no further obligation to
         DOE; (2) Non-Federal entity may retain title or sell the equipment after compensating DOE as
         described in 2 CFR 200.313(e)(2); or (3) transfer title to DOE or to an eligible third party as
         specified in 2 CFR 200.313(e)(3).

         See 2 CFR 200.313 for additional requirements pertaining to equipment acquired under a
         Federal award. Also see 2 CFR 910.360 for additional requirements for equipment for For-Profit
         recipients. See also 2 CFR 200.439 Equipment and other capital expenditures.

         Term 16.            Supplies
         See 2 CFR 200.314 for requirements pertaining to supplies acquired under a Federal award. See
         also 2 CFR 200.453 Materials and supplies costs, including costs of computing devices.

         Term 17.            Property Trust Relationship
         Real property, equipment, and intangible property, that are acquired or improved with a
         Federal award must be held in trust by the non-Federal entity as trustee for the beneficiaries of
         the project or program under which the property was acquired or improved. See 2 CFR 200.316
         for additional requirements pertaining to real property, equipment, and intangible property
         acquired or improved under a Federal award.

         Term 18.            Record Retention
         Consistent with 2 CFR 200.334 through 200.338, the Recipient is required to retain records
         relating to this Award.

         Term 19.            Audits

                      A. Government-Initiated Audits
                         The Recipient must provide any information, documents, site access, or other
                         assistance requested by SCEP, DOE or Federal auditing agencies (e.g., DOE Inspector
                         General, Government Accountability Office) for the purpose of audits and
                         investigations. Such assistance may include, but is not limited to, reasonable access
                         to the Recipient's records relating to this Award.                                                9
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                         Consistent with 2 CFR part 200 as amended by 2 CFR part 910, DOE may audit the
                         Recipient's financial records or administrative records relating to this Award at any
                         time. Government-initiated audits are generally paid for by DOE.

                         DOE may conduct a final audit at the end of the project period (or the termination of
                         the Award, if applicable). Upon completion of the audit, the Recipient is required to
                         refund to DOE any payments for costs that were determined to be unallowable. If
                         the audit has not been performed or completed prior to the closeout of the award,
                         DOE retains the right to recover an appropriate amount after fully considering the
                         recommendations on disallowed costs resulting from the final audit.

                         DOE will provide reasonable advance notice of audits and will minimize interference
                         with ongoing work, to the maximum extent practicable.

                      B. Annual Independent Audits {Single Audit or Compliance Audit)
                         The Recipient must comply with the annual independent audit requirements in 2
                         CFR 200.500 through .521 for institutions of higher education, nonprofit
                         organizations, and state and local governments (Single audit), and 2 CFR 910.500
                         through .521 for for-profit entities (Compliance audit).

                         The annual independent audits are separate from Government-initiated audits
                         discussed in part A. of this Term and must be paid for by the Recipient. To minimize
                         expense, the Recipient may have a Compliance audit in conjunction with its annual
                         audit of financial statements. The financial statement audit is not a substitute for
                         the Compliance audit. If the audit (Single audit or Compliance audit, depending on
                         Recipient entity type) has not been performed or completed prior to the closeout of
                         the award, DOE may impose one or more of the actions outlined in 2 CFR 200.339,
                         Remedies for Noncompliance.

         Term 20.           Indemnity
         The Recipient shall indemnify DOE and its officers, agents, or employees for any and all liability,
         including litigation expenses and attorneys' fees, arising from suits, actions, or claims of any
         character for death, bodily injury, or loss of or damage to property or to the environment,
         resulting from the project, except to the extent that such liability results from the direct fault or
         negligence of DOE officers, agents or employees, or to the extent such liability may be covered
         by applicable allowable costs provisions.

         Term 21.           Foreign National Participation
          If the Recipient (including any of its subrecipients and contractors) anticipates involving foreign
          nationals in the performance of the Award, the Recipient must, upon DOE's request, provide
          DOE with specific information about each foreign national to ensure compliance with the                           10
          requirements for participation and access approval. The volume and type of information
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         required may depend on various factors associated with the Award. The DOE Contracting
         Officer will notify the Recipient if this information is required.

         DOE may elect to deny a foreign national's participation in the Award. Likewise, DOE may elect
         to deny a foreign national's access to a DOE sites, information, technologies, equipment,
         programs or personnel.

         Term 22.         Post-Award Due Diligence Reviews
         During the life of the Award, DOE may conduct ongoing due diligence reviews, through
         Government resources, to identify potential risks of undue foreign influence. In the event, a risk
         is identified, DOE may require risk mitigation measures, including but not limited to, requiring
         an individual or entity not participate in the Award.


         Subpart B.          Financial Provisions

         Term 23.         Maximum Obligation
         The maximum obligation of DOE for this Award is the total "Funds Obligated" stated in Block 13
         of the Assistance Agreement to this Award.

         Term 24.         Refund Obligation
         The Recipient must refund any excess payments received from SCEP, including any costs
         determined unallowable by the Contracting Officer. Upon the end of the project period (or the
         termination of the Award, if applicable), the Recipient must refund to SCEP the difference
         between (1) the total payments received from SCEP, and (2) the Federal share of the costs
         incurred. Refund obligations under this Term do not supersede the annual reconciliation or
         true up process if specified under the Indirect Cost Term.

         Term 25.         Allowable Costs
         SCEP determines the allowability of costs through reference to 2 CFR part 200 as amended by 2
         CFR part 910. All project costs must be allowable, allocable, and reasonable. The Recipient
         must document and maintain records of all project costs, including, but not limited to, the costs
         paid by Federal funds, costs claimed by its subrecipients and project costs that the Recipient
         claims as cost sharing, including in-kind contributions. The Recipient is responsible for
         maintaining records adequate to demonstrate that costs claimed have been incurred, are
         reasonable, allowable and allocable, and comply with the cost principles. Upon request, the
         Recipient is required to provide such records to SCEP. Such records are subject to audit.
         Failure to provide SCEP adequate supporting documentation may result in a determination by
         the Contracting Officer that those costs are unallowable.

         The Recipient is required to obtain the prior written approval of the Contracting Officer for any
         foreign travel costs.                                                                                         11
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         Term 26.                Indirect Costs

                      A. Indirect Cost Allocation:

                         The Recipient has a Federally approved provisional Negotiated Indirect Cost Rate
                         Agreement (NICRA) with a current effective period identified for billing and
                         estimation purposes and it applies uniformly across all Federal awards. These costs
                         shall be reconciled or trued up (actual incurred costs) on an annual basis with the
                         Recipient's cognizant agency. An updated rate proposal or NICRA is required if the
                         Recipient requests to bill the DOE higher billing rates than those listed in the current
                         NICRA.

                      B. Fringe Cost Allocation:
                         Fringe benefit costs have been allocated to this award under a segregated fringe
                         billing rate. The fringe costs were found to be reasonable, allocable, and allowable
                         as reflected in the budget. Fringe elements apply to both direct and indirect
                         labor. Under a segregated cost pool, the fringe billing rate shall be treated as an
                         indirect cost expenditure and must be reconciled annually.

                      C. Subrecipient Indirect Costs (If Applicable):
                         The Recipient must ensure its subrecipient's indirect costs are appropriately
                         managed, have been found to be allowable, and comply with the requirements of
                         this Award and 2 CFR Part 200 as amended by 2 CFR Part 910.

                      D. Indirect Cost Stipulations:

                            i.      Modification to Indirect Cost Billing Rates
                                    SCEP will not modify this Award solely to provide additional funds to cover
                                    increases in the Recipient's indirect cost billing rate(s) . Adjustments to the
                                    indirect cost billing rates must be approved by the Recipient's Cognizant
                                    Agency or Cognizant Federal Agency Official.

                                    The Recipient must provide a copy of an updated NICRA or indirect rate
                                    proposal to the DOE Award Administrator in order to increase indirect cost
                                    billing rates. If the Contracting Officer provides prior written approval, the
                                    Recipient may incur an increase in the indirect cost billing rates.
                                    Reimbursement will be limited by the budgeted dollar amount for indirect
                                    costs for each budget period as shown in Attachment 3 to this Award .

                           ii.      Award Closeout
                                    The closeout of the DOE award does not affect (1) the right of the DOE
                                    to disallow costs and recover funds on the basis of a later audit or other
                                                                                                                                12
                                    review; (2) the requirement for the Recipient to return any funds due
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                                 as a result of later refunds, corrections or other transactions including
                                 final indirect cost billing rate adjustments; and (3) the ability of the DOE
                                 to make financial adjustments to a previously closed award resolving
                                 indirect cost payments and making final payments.

         Term 27.            Decontamination and/or Decommissioning (D&D) Costs
         Notwithstanding any other provisions of this Award, the Government shall not be responsible
         for or have any obligation to the Recipient for (1) Decontamination and/or Decommissioning
         (D&D) of any of the Recipient's facilities, or (2) any costs which may be incurred by the
         Recipient in connection with the D&D of any of its facilities due to the performance of the work
         under this Award, whether said work was performed prior to or subsequent to the effective
         date of the Award.

         Term 28.            Use of Program Income
         If the Recipient earns program income during the project period as a result of this Award, the
         Recipient must add the program income to the funds committed to the Award and used to
         further eligible project objectives.

         Term 29.            Payment Procedures
                      A. Method of Payment
                         Payment will be made by advances through the Department of Treasury' s ASAP
                         system.

                      B. Requesting Advances
                         Requests for advances must be made through the ASAP system. The Recipient may
                         submit requests as frequently as required to meet its needs to disburse funds for the
                         Federal share of project costs. If feasible, the Recipient should time each request so
                         that the Recipient receives payment on the same day that the Recipient disburses
                         funds for direct project costs and the proportionate share of any allowable indirect
                         costs. If same-day transfers are not feasible, advance payments must be as close to
                         actual disbursements as administratively feasible.

                      C. Adjusting Payment Requests for Available Cash
                         The Recipient must disburse any funds that are available from repayments to and
                         interest earned on a revolving fund, program income, rebates, refunds, contract
                         settlements, audit recoveries, credits, discounts, and interest earned on any of those
                         funds before requesting additional cash payments from SCEP.

                      D. Payments
                         All payments are made by electronic funds transfer to the bank account identified
                         on the Bank Information Form that the Recipient filed with the U.S. Department of
                         Treasury.                                                                                           13
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                      E. Unauthorized Drawdown of Federal Funds
                         For each budget period, the Recipient may not spend more than the Federal share
                         authorized to that particular budget period, without specific written approval from
                         the Contracting Officer. The Recipient must immediately refund SCEP any amounts
                         spent or drawn down in excess of the authorized amount for a budget period. The
                         Recipient and subrecipients shall promptly, but at least quarterly, remit to DOE
                         interest earned on advances drawn in excess of disbursement needs, and shall
                         comply with the procedure for remitting interest earned to the Federal government
                         per 2 CFR 200.305, as applicable.

         Term 30.            Budget Changes

                      A. Budget Changes Generally
                         The Contracting Officer has reviewed and approved the SF-424A in Attachment 3 to
                         this Award.

                         Any increase in the total project cost, whether DOE share or Cost Share, which is
                         stated as "Total" in Block 12 to the Assistance Agreement of this Award, must be
                         approved in advance and in writing by the Contracting Officer.

                         Any change that alters the project scope, milestones or deliverables requires prior
                         written approval of the Contracting Officer. SCEP may deny reimbursement for any
                         failure to comply with the requirements in this term .

                      B. Transfers of Funds Among Direct Cost Categories
                         The Recipient is required to obtain the prior written approval of the Contracting
                         Officer for any transfer of funds among direct cost categories where the cumulative
                         amount of such transfers exceeds or is expected to exceed 10 percent of the total
                         project cost, which is stated as "Total" in Block 12 to the Assistance Agreement of
                         this Award.

                         The Recipient is required to notify the DOE Technology Manager/Project Officer of
                         any transfer of funds among direct cost categories where the cumulative amount of
                         such transfers is equal to or below 10 percent of the total project cost, which is
                         stated as "Total" in Block 12 to the Assistance Agreement of this Award.

                      C. Transfer of Funds Between Direct and Indirect Cost Categories
                         The Recipient is required to obtain the prior written approval of the Contracting
                         Officer for any transfer of funds between direct and indirect cost categories. If the
                         Recipient's actual allowable indirect costs are less than those budgeted in
                         Attachment 3 to this Award, the Recipient may use the difference to pay additional
                         allowable direct costs during the project period so long as the total difference is less            14
                         than 10% of total project costs and the difference is reflected in actual requests for
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                              reimbursement to DOE.


         Subpart C.                 Miscellaneous Provisions

         Term 31.                Environmental, Safety and Health Performance of Work at DOE
                                 Facilities
         With respect to the performance of any portion of the work under this Award which is
         performed at a DOE -owned or controlled site, the Recipient agrees to comply with all State and
         Federal Environmental, Safety and Health (ES&H) regulations and with all other ES&H
         requirements of the operator of such site.

         Prior to the performance on any work at a DOE-owned or controlled site, the Recipient shall
         contact the site facility manager for information on DOE and site-specific ES&H requirements.

         The Recipient is required apply this provision to its subrecipients and contractors.

         Term 32.                System for Award Management and Universal Identifier
                                 Requirements

                      A. Requirement for Registration in the System for Award Management (SAM)
                         Unless the Recipient is exempted from this requirement under 2 CFR 25.110, the
                         Recipient must maintain the currency of its information in SAM until the Recipient
                         submits the final financial report required under this Award or receive the final
                         payment, whichever is later. This requires that the Recipient reviews and updates
                         the information at least annually after the initial registration, and more frequently if
                         required by changes in its information or another award term.

                      B. Unique Entity Identifier (UEI)
                         SAM automatically assigns a UEI to all active SAM.gov registered entities. Entities no
                         longer have to go to a third-party website to obtain their identifier. This information
                         is displayed on SAM.gov.

                              If the Recipient is authorized to make subawards under this Award, the Recipient:

                         i.      Must notify potential subrecipients that no entity (see definition in paragraph C
                                 of this award term) may receive a subaward from the Recipient unless the entity
                                 has provided its UEI number to the Recipient.

                        ii.      May not make a subaward to an entity unless the entity has provided its UEI
                                 number to the Recipient .

                                                                                                                               15
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                      C. Definitions
                         For purposes of this award term:

                            i.   System for Award Management (SAM) means the Federal repository into
                                 which an entity must provide information required for the conduct of
                                 business as a recipient. Additional information about registration procedures
                                 may be found at the SAM Internet site (currently at https://www.sam.gov).

                           ii.   Unique Entity Identifier (UEI) is the 12-character, alpha-numeric identifier
                                 that will be assigned by SAM.gov upon registration.

                          iii.   Entity, as it is used in this award term, means all of the following, as defined
                                 at 2 CFR Part 25, subpart C:

                                    1. A Governmental organization, which is a State, local government, or
                                       Indian Tribe.
                                    2. A foreign public entity.
                                    3. A domestic or foreign nonprofit organization.
                                    4. A domestic or foreign for-profit organization.
                                    5. A Federal agency, but only as a subrecipient under an award or
                                       subaward to a non-Federal entity.

                          iv.    Subaward:

                                    1. This term means a legal instrument to provide support for the
                                       performance of any portion of the substantive project or program for
                                       which the Recipient received this Award and that the Recipient
                                       awards to an eligible subrecipient.

                                    2. The term does not include the Recipient's procurement of property
                                       and services needed to carry out the project or program (for further
                                       explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                                       and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                                       Subrecipients and Contractors).

                                    3. A subaward may be provided through any legal agreement, including
                                       an agreement that the Recipient considers a contract.

                           v.    Subrecipient means an entity that:

                                    1. Receives a subaward from the Recipient under this Award; and
                                    2. Is accountable to the Recipient for the use of the Federal funds
                                                                                                                             16
                                       provided by the subaward.
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         Term 33.                 Nondisclosure and Confidentiality Agreements Assurances

                      A. By entering into this agreement, the Recipient attests that it does not and will not
                         require its employees or contractors to sign internal nondisclosure or confidentiality
                         agreements or statements prohibiting or otherwise restricting its employees or
                         contactors from lawfully reporting waste, fraud, or abuse to a designated
                         investigative or law enforcement representative of a Federal department or agency
                         authorized to receive such information.

                      B. The Recipient further attests that it does not and will not use any Federal funds to
                         implement or enforce any nondisclosure and/or confidentiality policy, form, or
                         agreement it uses unless it contains the following provisions:

                             i.      "These provisions are consistent with and do not supersede, conflict with, or
                                     otherwise alter the employee obligations, rights, or liabilities created by
                                     existing statute or Executive order relating to (1) classified information, (2)
                                    communications to Congress, (3) the reporting to an Inspector General of a
                                     violation of any law, rule, or regulation, or mismanagement, a gross waste of
                                    funds, an abuse of authority, or a substantial and specific danger to public
                                    health or safety, or (4) any other whistleblower protection. The definitions,
                                    requirements, obligations, rights, sanctions, and liabilities created by
                                    controlling Executive orders and statutory provisions are incorporated into
                                     this agreement and are controlling.,,

                            ii.     The limitation above shall not contravene requirements applicable to
                                    Standard Form 312, Form 4414, or any other form issued by a Federal
                                    department or agency governing the nondisclosure of classified information.

                           iii.     Notwithstanding provision listed in paragraph (a), a nondisclosure or
                                    confidentiality policy form or agreement that is to be executed by a person
                                    connected with the conduct of an intelligence or intelligence-related activity,
                                    other than an employee or officer of the United States Government, may
                                    contain provisions appropriate to the particular activity for which such
                                    document is to be used. Such form or agreement shall, at a minimum,
                                    require that the person will not disclose any classified information received
                                    in the course of such activity unless specifically authorized to do so by the
                                    United States Government. Such nondisclosure or confidentiality forms shall
                                    also make it clear that they do not bar disclosures to Congress, or to an
                                    authorized official of an executive agency or the Department of Justice, that
                                    are essential to reporting a substantial violation of law.
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         Term 34.            Subrecipient Change Notification
         Except for sub recipients specifically proposed as part of the Recipient's Application for award,
         the Recipient must notify the Contracting Officer and Project Manager in writing 30 days prior
         to the execution of new or modified subrecipient agreements, including naming any To Be
         Determined sub recipients. This notification does not constitute a waiver of the prior approval
         requirements outlined in 2 CFR part 200 as amended by 2 CFR part 910, nor does it relieve the
         Recipient from its obligation to comply with applicable Federal statutes, regulations, and
         executive orders.

          In order to satisfy this notification requirement, the Recipient documentation must, as a
          minimum, include the following:

               •      A description of the research to be performed, the service to be provided, or the
                      equipment to be purchased.
               •      Cost share commitment letter if the subrecipient is providing cost share to the Award.
               •      An assurance that the process undertaken by the Recipient to solicit the subrecipient
                      complies with their written procurement procedures as outlined in 2 CFR 200.317
                      through 200.327.
               •      An assurance that no planned, actual or apparent conflict of interest exists between the
                      Recipient and the selected subrecipient and that the Recipient's written standards of
                      conduct were followed. 1
               •      A completed Environmental Questionnaire, if applicable.
               •      An assurance that the subrecipient is not a debarred or suspended entity.
               •      An assurance that all required award provisions will be flowed down in the resulting
                      subrecipient agreement.

         The Recipient is responsible for making a final determination to award or modify subrecipient
         agreements under this agreement, but the Recipient may not proceed with the sub recipient
         agreement until the Contracting Officer determines, and provides the Recipient written
         notification, that the information provided is adequate.

         Should the Recipient not receive a written notification of adequacy from the Contracting Officer
         within 30 days of the submission of the subrecipient documentation stipulated above, the
         Recipient may proceed to award or modify the proposed subrecipient agreement.




         1 It is DOE's position that the existence of a "covered relationship" as defined in 5 CFR 2635.502(a)&(b) between a member of
         the Recipient's owners or senior management and a member of a subrecipient's owners or senior management creates at a
         minimum an apparent conflict of interest that would require the Recipient to notify the Contracting Officer and provide
         detailed information and justification (including, for example, mitigation measures) as to why the subrecipient agreement does
         not create an actual conflict of interest. The Recipient must also notify the Contracting Officer of any new subrecipient
         agreement with : (1) an entity that is owned or otherwise controlled by the Recipient; or (2) an entity that is owned or         18
         otherwise controlled by another entity that also owns or otherwise controls the Recipient, as it is DOE's position that these
         situations also create at a minimum an apparent conflict of interest.
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         Term 35.            Conference Spending
         The Recipient shall not expend any funds on a conference not directly and programmatically
         related to the purpose for which the grant was awarded that would defray the cost to the
         United States Government of a conference held by any Executive branch department, agency,
         board, commission, or office for which the cost to the United States Government would
         otherwise exceed $20,000, thereby circumventing the required notification by the head of any
         such Executive Branch department, agency, board, commission, or office to the Inspector
         General (or senior ethics official for any entity without an Inspector General), of the date,
         location, and number of employees attending such conference.

         Term 36.            Recipient Integrity and Performance Matters

                      A. General Reporting Requirement
                         If the total value of your currently active Financial Assistance awards, grants, and
                         procurement contracts from all Federal awarding agencies exceeds $10,000,000 for
                         any period of time during the period of performance of this Federal award, then you
                         as the recipient during that period of time must maintain the currency of
                         information reported to the System for Award Management (SAM) that is made
                         available in the designated integrity and performance system (currently the Federal
                         Awardee Performance and Integrity Information System (FAPIIS)) about civil,
                         criminal, or administrative proceedings described in paragraph 2 of this term. This is
                         a statutory requirement under section 872 of Public Law 110-417, as amended (41
                         U.S.C. 2313). As required by section 3010 of Public Law 111-212, all information
                         posted in the designated integrity and performance system on or after April 15,
                         2011, except past performance reviews required for Federal procurement contracts,
                         will be publicly available.

                      B. Proceedings About Which You Must Report
                         Submit the information required about each proceeding that:
                            i.  Is in connection with the award or performance of a Financial Assistance,
                                cooperative agreement, or procurement contract from the Federal
                                Government;
                           ii.  Reached its final disposition during the most recent five-year period; and
                          iii.  Is one of the following:
                                     1. A criminal proceeding that resulted in a conviction, as defined in
                                        paragraph E of this award term and condition;
                                     2. A civil proceeding that resulted in a finding of fault and liability and
                                        payment of a monetary fine, penalty, reimbursement, restitution, or
                                        damages of $5,000 or more;
                                     3. An administrative proceeding, as defined in paragraph E of this term,
                                        that resulted in a finding of fault and liability and your payment of
                                        either a monetary fine or penalty of $5,000 or more or                               19
                                        reimbursement, restitution, or damages in excess of $100,000; or
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                                     4. Any other criminal, civil, or administrative proceeding if:
                                           a. It could have led to an outcome described in paragraph B.iii.1,
                                               2, or 3 of this term;
                                           b. It had a different disposition arrived at by consent or
                                               compromise with an acknowledgment of fault on your part;
                                               and
                                           c. The requirement in this term to disclose information about
                                               the proceeding does not conflict with applicable laws and
                                               regulations.

                      C. Reporting Procedures
                         Enter in the SAM Entity Management area the information that SAM requires about
                         each proceeding described in paragraph B of this term. You do not need to submit
                         the information a second time under assistance awards that you received if you
                         already provided the information through SAM because you were required to do so
                         under Federal procurement contracts that you were awarded.

                      D. Reporting Frequency
                         During any period of time when you are subject to the requirement in paragraph A
                         of this term, you must report proceedings information through SAM for the most
                         recent five-year period, either to report new information about any proceeding(s)
                         that you have not reported previously or affirm that there is no new information to
                         report. Recipients that have Federal contract, Financial Assistance awards,
                         (including cooperative agreement awards) with a cumulative total value greater than
                         $10,000,000, must disclose semiannually any information about the criminal, civil,
                         and administrative proceedings.

                      E. Definitions
                         For purposes of this term:
                            i.   Administrative proceeding means a non-judicial process that is adjudicatory
                                 in nature in order to make a determination of fault or liability (e.g., Securities
                                 and Exchange Commission Administrative proceedings, Civilian Board of
                                 Contract Appeals proceedings, and Armed Services Board of Contract
                                 Appeals proceedings). This includes proceedings at the Federal and State
                                 level but only in connection with performance of a Federal contract or
                                 Financial Assistance awards. It does not include audits, site visits, corrective
                                 plans, or inspection of deliverables.
                           ii.   Conviction means a judgment or conviction of a criminal offense by any court
                                 of competent jurisdiction, whether entered upon a verdict or a plea, and
                                 includes a conviction entered upon a plea of nolo contendere.
                          iii.   Total value of currently active Financial Assistance awards, cooperative
                                 agreements and procurement contracts includes-
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                                  1. Only the Federal share of the funding under any Federal award with a
                                     recipient cost share or match; and
                                  2. The value of all expected funding increments under a Federal award and
                                     options, even if not yet exercised.

         Term 37.         Export Control
         The United States government regulates the transfer of information, commodities, technology,
         and software considered to be strategically important to the U.S. to protect national security,
         foreign policy, and economic interests without imposing undue regulatory burdens on
         legitimate international trade. There is a network of Federal agencies and regulations that
         govern exports that are collectively referred to as "Export Controls." The Recipient is
         responsible for ensuring compliance with all applicable United States Export Control laws and
         regulations relating to any work performed under a resulting award.
         The Recipient must immediately report to DOE any export control violations related to the
         project funded under this award, at the recipient or subrecipient level, and provide the
         corrective action(s) to prevent future violations.

         Term 38.         Interim Conflict of Interest Policy for Financial Assistance
         The DOE interim Conflict of Interest Policy for Financial Assistance (COi Policy) can be found at
         https://www.energy.gov/management/department-energy-interim-conflict-interest-policy-
         reguirements-financial-assistance . This policy is applicable to all non-Federal entities applying
         for, or that receive, DOE funding by means of a financial assistance award (e.g., a grant,
         cooperative agreement, or technology investment agreement) and, through the
         implementation of this policy by the entity, to each Investigator who is planning to participate
         in, or is participating in, the project funded wholly or in part under this Award. The term
         "Investigator" means the Pl and any other person, regardless of title or position, who is
         responsible for the purpose, design, conduct, or reporting of a project funded by DOE or
         proposed for funding by DOE. The Recipient must flow down the requirements of the interim
         COi Policy to any subrecipient non-Federal entities, with the exception of DOE National
         Laboratories. Further, the Recipient must identify all financial conflicts of interests (FCOI), i.e.,
         managed and unmanaged/ unmanageable, in its initial and ongoing FCOI reports.

         Prior to award, the Recipient was required to: 1) ensure all Investigators on this Award
         completed their significant financial disclosures; 2) review the disclosures; 3) determine
         whether a FCOI exists; 4) develop and implement a management plan for FCOls; and 5) provide
         DOE with an initial FCOI report that includes all FCOls (i.e., managed and
         unmanaged/unmanageable). Within 180 days of the date of the Award, the Recipient must be
         in full compliance with the other requirements set forth in DOE's interim COi Policy.

         Term 39.         Organizational Conflict of Interest
         Organizational conflicts of interest are those where, because of relationships with a parent
         company, affiliate, or subsidiary organization, the Recipient is unable or appears to be unable to               21
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          be impartial in conducting procurement action involving a related organization (2 CFR
          200.318(c)(2)).

         The Recipient must disclose in writing any potential or actual organizational conflict of interest
         to the DOE Contracting Officer. The Recipient must provide the disclosure prior to engaging in
         a procurement or transaction using project funds with a parent, affiliate, or subsidiary
         organization that is not a state, local government, or Indian tribe. For a list of the information
         that must be included the disclosure, see Section VI. of the DOE interim Conflict of Interest
         Policy for Financial Assistance at https:ljwww.energy.gov/management/department-energy-
         interim-conflict-interest-policy-requirements-financial-assistance.

         If the effects of the potential or actual organizational conflict of interest cannot be avoided,
         neutralized, or mitigated, the Recipient must procure goods and services from other sources
         when using project funds. Otherwise, DOE may terminate the Award in accordance with 2 CFR
         200.340 unless continued performance is determined to be in the best interest of the Federal
         government.

         The Recipient must flow down the requirements of the interim COi Policy to any subrecipient
         non-Federal entities, with the exception of DOE National Laboratories. The Recipient is
         responsible for ensuring subrecipient compliance with this term.

         If the Recipient has a parent, affiliate, or subsidiary organization that is not a state, local
         government, or Indian tribe, the Recipient must maintain written standards of conduct covering
         organizational conflicts of interest.

         Term 40.         Prohibition on Certain Telecommunications and Video Surveillance
                          Services or Equipment
         As set forth in 2 CFR 200.216, recipients and subrecipients are prohibited from obligating or
         expending project funds (Federal and non-Federal funds) to :

                (1) Procure or obtain;

                (2) Extend or renew a contract to procure or obtain; or

                (3) Enter into a contract (or extend or renew a contract) to procure or obtain equipment,
                services, or systems that uses covered telecommunications equipment or services as a
                substantial or essential component of any system, or as critical technology as part of any
                system. As described in Public Law 115-232, section 889, covered telecommunications
                equipment is telecommunications equipment produced by Huawei Technologies Company
                or ZTE Corporation (or any subsidiary or affiliate of such entities).

                      (i) For the purpose of public safety, security of government facilities, physical security           22
                      surveillance of critical infrastructure, and other national security purposes, video
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                      surveillance and telecommunications equipment produced by Hytera
                      Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
                      Dahua Technology Company (or any subsidiary or affiliate of such entities).

                      (ii) Telecommunications or video surveillance services provided by such entities or
                      using such equipment.

                      (iii) Telecommunications or video surveillance equipment or services produced or
                      provided by an entity that the Secretary of Defense, in consultation with the Director
                      of the National Intelligence or the Director of the Federal Bureau of Investigation,
                      reasonably believes to be an entity owned or controlled by, or otherwise connected
                      to, the government of a covered foreign country.

         See Public Law 115-232, section 889 for additional information.

         Term 41.         HumanSu~ec~Re~a~h
         Research involving human subjects, biospecimens, or identifiable private information
         conducted with Department of Energy (DOE) funding is subject to the requirements of DOE
         Order 443.lC, Protection of Human Research Subjects, 45 CFR Part 46, Protection of Human
         Subjects (subpart A which is referred to as the "Common Rule"), and 10 CFR Part 745, Protection
         of Human Subjects.

         Federal regulation and the DOE Order require review by an Institutional Review Board (IRB) of
         all proposed human subjects research projects. The IRB is an interdisciplinary ethics board
         responsible for ensuring that the proposed research is sound and justifies the use of human
         subjects or their data; the potential risks to human subjects have been minimized; participation
         is voluntary; and clear and accurate information about the study, the benefits and risks of
         participating, and how individuals' data/specimens will be protected/used, is provided to
         potential participants for their use in determining whether or not to participate.

         The Recipient shall provide the Federal Wide Assurance number identified in item 1 below and
         the certification identified in item 2 below to DOE prior to initiation of any project that will
         involve interactions with humans in some way (e.g., through surveys); analysis of their
         identifiable data (e.g., demographic data and energy use over time); asking individuals to test
         devices, products, or materials developed through research; and/or testing of commercially
         available devices in buildings/homes in which humans will be present. Note: This list of
         examples is illustrative and not all inclusive.

          No DOE funded research activity involving human subjects, biospecimens, or identifiable
          private information shall be conducted without:


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               1) A registration and a Federal Wide Assurance of compliance accepted by the Office of
                  Human Research Protection (OHRP) in the Department of Health and Human Services;
                  and
               2) Certification that the research has been reviewed and approved by an Institutional
                  Review Board (IRB) provided for in the assurance. IRB review may be accomplished by
                  the awardee's institutional IRB; by the Central DOE IRB; or if collaborating with one of
                      the DOE national laboratories, by the DOE national laboratory IRB.

         The Recipient is responsible for ensuring all subrecipients comply and for reporting information
         on the project annually to the DOE Human Subjects Research Database (HSRD) at
         https://science.osti.gov/HumanSubjects/Human-Subjects-Database/home. Note: If a DOE IRB
         is used, no end of year reporting will be needed.

         Additional information on the DOE Human Subjects Research Program can be found at:
         https://science.osti.gov/ber/human-subjects

         Term 42.             Fraud, Waste and Abuse
         The mission of the DOE Office of Inspector General (OIG) is to strengthen the integrity,
         economy and efficiency of DOE's programs and operations including deterring and detecting
         fraud, waste, abuse and mismanagement. The OIG accomplishes this mission primarily through
         investigations, audits, and inspections of Department of Energy activities to include grants,
         cooperative agreements, loans, and contracts. The OIG maintains a Hotline for reporting
         allegations of fraud, waste, abuse, or mismanagement. To report such allegations, please visit
         https://www.energy.gov/ig/ig-hotline.

         Additionally, the Recipient must be cognizant of the requirements of 2 CFR § 200.113
         Mandatory disclosures, which states:

                      The non-Federal entity or applicant for a Federal award must disclose, in a
                      timely manner, in writing to the Federal awarding agency or pass-through
                      entity all violations of Federal criminal law involving fraud, bribery, or gratuity
                      violations potentially affecting the Federal award. Non-Federal entities that
                      have received a Federal award including the term and condition outlined in
                      appendix XII of 2 CFR Part 200 are required to report certain civil, criminal, or
                      administrative proceedings to SAM (currently FAPIIS). Failure to make
                      required disclosures can result in any of the remedies described in § 200.339.
                      (See also 2 CFR part 180, 31 U.S.C. 3321, and 41 U.S.C. 2313.)



         Subpart D. Bipartisan Infrastructure Law (BIL)-specific requirements
                                                                                                                              24
         Term 43.             Reporting, Tracking and Segregation of Incurred Costs
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         BIL funds can be used in conjunction with other funding, as necessary to complete projects, but
         tracking and reporting must be separate to meet the reporting requirements of the BIL and
         related Office of Management and Budget (0MB) Guidance. The Recipient must keep separate
         records for BIL funds and must ensure those records comply with the requirements of the BIL.
         Funding provided through the BIL that is supplemental to an existing grant or cooperative
         agreement is one-time funding.

         Term 44.         Davis-Bacon Requirements
         This award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All laborers
         and mechanics employed by the recipient, sub recipients, contractors or subcontractors in the
         performance of construction, alteration, or repair work in excess of $2000 on an award funded
         directly by or assisted in whole or in part by funds made available under this award shall be
         paid wages at rates not less than those prevailing on similar projects in the locality, as
         determined by the Secretary of Labor in accordance with subchapter IV of chapter 31 of title
         40, United States Code commonly referred to as the "Davis-Bacon Act" (DBA).

         Recipients shall provide written assurance acknowledging the DBA requirements for the award
         or project and confirming that all of the laborers and mechanics performing construction,
         alteration, or repair, through funding under the award are paid or will be paid wages at rates
         not less than those prevailing on projects of a character similar in the locality as determined by
         Subchapter IV of Chapter 31 of Title 40, United States Code (Davis-Bacon Act).

         The Recipient must comply with all of the Davis-Bacon Act requirements, including but not
         limited to:
                          (1) ensuring that the wage determination(s) and appropriate Davis-Bacon clauses
                          and requirements are flowed down to and incorporated into any applicable
                          subcontracts or subrecipient awards.
                          (2) being responsible for compliance by any subcontractor or subrecipient with
                          the Davis-Bacon labor standards.
                          (3) receiving and reviewing certified weekly payrolls submitted by all
                          subcontractors and subrecipients for accuracy and to identify potential
                          compliance issues.
                          (4) maintaining original certified weekly payrolls for 3 years after the completion
                          of the project and must make those payrolls available to the DOE or the
                          Department of Labor upon request, as required by 29 CFR 5.6(a)(2).
                          (5) conducting payroll and job-site reviews for construction work, including
                          interviews with employees, with such frequency as may be necessary to assure
                          compliance by its subcontractors and subrecipients and as requested or directed
                          by the DOE.
                                                                                                                         25
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                          (6) cooperating with any authorized representative of the Department of Labor
                          in their inspection of records, interviews with employees, and other actions
                          undertaken as part of a Department of Labor investigation.
                          (7) posting in a prominent and accessible place the wage determination(s) and
                          Department of Labor Publication: WH-1321, Notice to Employees Working on
                          Federal or Federally Assisted Construction Projects.
                          (8) notifying the Contracting Officer of all labor standards issues, including all
                          complaints regarding incorrect payment of prevailing wages and/or fringe
                          benefits, received from the recipient, subrecipient, contractor, or subcontractor
                          employees; significant labor standards violations, as defined in 29 CFR 5.7;
                          disputes concerning labor standards pursuant to 29 CFR parts 4, 6, and 8 and as
                          defined in FAR 52.222-14; disputed labor standards determinations; Department
                          of Labor investigations; or legal or judicial proceedings related to the labor
                          standards under this Contract, a subcontract, or subrecipient award.
                          (9) preparing and submitting to the Contracting Officer, the Office of
                          Management and Budget Control Number 1910-5165, Davis Bacon Semi-Annual
                          Labor Compliance Report, by April 21 and October 21 of each year. Form
                          submittal will be administered through the iBenefits system
                          (https://doeibenefits2.energy.gov) or its successor system.

         The Recipient must undergo Davis-Bacon Act compliance training and must maintain
         competency in Davis-Bacon Act compliance. The Contracting Officer will notify the Recipient of
         any DOE sponsored Davis-Bacon Act compliance trainings. The Department of Labor offers free
         Prevailing Wage Seminars several times a year that meet this requirement, at
         https://www.dol.gov/agencies/whd/government-contracts/construction/seminars/events .

         The Department of Energy has contracted with, a third-party OBA electronic payroll compliance
         software application. The Recipient must ensure the timely electronic submission of weekly
         certified payrolls as part of its compliance with the Davis-Bacon Act unless a waiver is granted
         to a particular contractor or subcontractor because they are unable or limited in their ability to
         use or access the software.

         Davis Bacon Act Electronic Certified Payroll Submission Waiver
         A waiver must be granted before the award starts. The applicant does not have the right to
         appeal SCEP's decision concerning a waiver request.

         For additional guidance on how to comply with the Davis-Bacon provisions and clauses, see
         https://www.dol.gov/agencies/whd/government-contracts/construction and
         https://www.dol.gov/agencies/whd/government-contracts/protections-for-workers-in-
         construction .
                                                                                                                        26
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         Term 45.              Buy American Requirement for Infrastructure Projects

                      A.       Definitions

                               Components are defined as the articles, materials, or supplies
                               incorporated directly into the end manufactured product(s).

                               Construction Materials are an article, material, or supply-other than
                               an item primarily of iron or steel; a manufactured product; cement
                               and cementitious materials; aggregates such as stone, sand, or gravel;
                               or aggregate binding agents or additives-that is used in an
                               infrastructure project and is or consists primarily of non-ferrous
                               metals, plastic and polymer-based products (including
                               polyvinylchloride, composite building materials, and polymers used in
                               fiber optic cables), glass (including optic glass), lumber, drywall,
                               coatings (paints and stains), optical fiber, clay brick; composite
                               building materials; or engineered wood products.

                               Domestic Content Procurement Preference Requirement- means a
                               requirement that no amounts made available through a program for
                               federal financial assistance may be obligated for an infrastructure
                               project unless-
                               (A) all iron and steel used in the project are produced in the United
                               States;
                               (B) the manufactured products used in the project are produced in the
                               United States; or
                               (C) the construction materials used in the project are produced in the
                               United States.
                               Also referred to as the Buy America Requirement.

                               Infrastructure includes, at a minimum, the structures, facilities, and
                               equipment located in the United States, for: roads, highways, and
                               bridges; public transportation; dams, ports, harbors, and other
                               maritime facilities; intercity passenger and freight railroads; freight
                               and intermodal facilities; airports; water systems, including drinking
                               water and wastewater systems; electrical transmission facilities and
                               systems; utilities; broadband infrastructure; and buildings and real
                               property; and generation, transportation, and distribution of energy -
                               including electric vehicle (EV) charging.
                                                                                                                              27
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                               The term "infrastructure" should be interpreted broadly, and the
                               definition provided above should be considered as illustrative and not
                               exhaustive.

                               Manufactured Products are items used for an infrastructure project
                               made up of components that are not primarily of iron or steel;
                               construction materials; cement and cementitious materials'
                               aggregates such as stone, sand, or gravel; or aggregate binding agents
                               or additives.

                               Primarily of iron or steel means greater than 50% iron or steel,
                               measured by cost.

                               Project- means the construction, alteration, maintenance, or repair of
                               infrastructure in the United States.

                               Public- The Buy America Requirement does not apply to non-public
                               infrastructure. For purposes of this guidance, infrastructure should be
                               considered "public" if it is: {1) publicly owned or (2) privately owned
                               but utilized primarily for a public purpose. Infrastructure should be
                               considered to be "utilized primarily for a public purpose" if it is
                               privately operated on behalf of the public or is a place of public
                               accommodation.

                      B.       Buy America Requirement

                               None of the funds provided under this award (federal share or
                               recipient cost-share) may be used for a project for infrastructure
                               unless:
                                       1. All iron and steel used in the project is produced in the
                                          United States-this means all manufacturing processes,
                                          from the initial melting stage through the application of
                                          coatings, occurred in the United States;

                                       2. All manufactured products used in the project are
                                          produced in the United States-this means the
                                          manufactured product was manufactured in the United
                                          States; and the cost of the components of the
                                          manufactured product that are mined, produced, or
                                          manufactured in the United States is greater than 55
                                          percent of the total cost of all components of the
                                          manufactured product, unless another standard for
                                                                                                                             28
                                          determining the minimum amount of domestic content of
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                                           the manufactured product has been established under
                                           applicable law or regulation; and

                                       3. All construction materials are manufactured in the United
                                          States-this means that all manufacturing processes for the
                                          construction material occurred in the United States.

                               The Buy America Requirement only applies to articles, materials, and
                               supplies that are consumed in, incorporated into, or permanently
                               affixed to an infrastructure project. As such, it does not apply to tools,
                               equipment, and supplies, such as temporary scaffolding, brought into
                               the construction site and removed at or before the completion of the
                               infrastructure project. Nor does a Buy America Requirement apply to
                               equipment and furnishings, such as movable chairs, desks, and
                               portable computer equipment, that are used at or within the finished
                               infrastructure project but are not an integral part of the structure or
                               permanently affixed to the infrastructure project.

                               Recipients are responsible for administering their award in accordance
                               with the terms and conditions, including the Buy America
                               Requirement. The recipient must ensure that the Buy America
                               Requirement flows down to all subawards and that the subawardees
                               and subrecipients comply with the Buy America Requirement. The
                               Buy America Requirement term and condition must be included all
                               sub-awards, contracts, subcontracts, and purchase orders for work
                               performed under the infrastructure project.

                      C.       Certification of Compliance

                               The Recipient must certify or provide equivalent documentation for
                               proof of compliance that a good faith effort was made to solicit bids
                               for domestic products used in the infrastructure project under this
                               Award.

                               The Recipient must also maintain certifications or equivalent
                               documentation for proof of compliance that those articles, materials,
                               and supplies that are consumed in, incorporated into, affixed to, or
                               otherwise used in the infrastructure project, not covered by a waiver
                               or exemption, are produced in the United States. The certification or
                               proof of compliance must be provided by the suppliers or
                               manufacturers of the iron, steel, manufactured products and
                               construction materials and flow up from all subawardees, contractors
                                                                                                                               29
                               and vendors to the Recipient. The Recipient must keep these
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                               certifications with the award/project files and be able to produce
                               them upon request from DOE, auditors or Office of Inspector General.

                      D.       Waivers

                               When necessary, the Recipient may apply for, and DOE may grant, a
                               waiver from the Buy America Requirement. Requests to waive the
                               application of the Buy America Requirement must be in writing to the
                               Contracting Officer. Waiver requests are subject to review by DOE and
                               the Office of Management and Budget, as well as a public comment
                               period of no less than 15 calendar days.

                               Waivers must be based on one of the following justifications:
                               1.     Public Interest- Applying the Buy America Requirement would
                                      be inconsistent with the public interest;

                               2.      Non-Availability- The types of iron, steel, manufactured
                                       products, or construction materials are not produced in the
                                       United States in sufficient and reasonably available quantities
                                       or of a satisfactory quality; or

                               3.      Unreasonable Cost- The inclusion of iron, steel, manufactured
                                       products, or construction materials produced in the United
                                       States will increase the cost of the overall project by more than
                                       25 percent.

                               Requests to waive the Buy America Requirement must include the
                               following:

                               •       Waiver type (Public Interest, Non-Availability, or Unreasonable
                                       Cost);
                               •       Recipient name and Unique Entity Identifier (UEI);
                               •       Award information (Federal Award Identification Number,
                                       Assistance Listing number);
                               •       A brief description of the project, its location, and the specific
                                       infrastructure involved;
                               •       Total estimated project cost, with estimated federal share and
                                       recipient cost share breakdowns;
                               •       Total estimated infrastructure costs, with estimated federal
                                       share and recipient cost share breakdowns;
                               •       List and description of iron or steel item(s), manufactured
                                       goods, and/or construction material(s) the recipient seeks to
                                                                                                                               30
                                       waive from the Buy America Preference, including name, cost,
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                                  quantity(ies), country(ies) of origin, and relevant Product
                                  Service Codes (PSC) and North American Industry Classification
                                  System (NAICS) codes for each;
                          •       A detailed justification as to how the non-domestic item(s)
                                  is/are essential the project;
                          •       A certification that the recipient made a good faith effort to
                                  solicit bids for domestic products supported by terms included
                                  in requests for proposals, contracts, and non-proprietary
                                  communications with potential suppliers;
                          •       A justification statement-based on one of the applicable
                                  justifications outlined above-as to why the listed items
                                  cannot be procured domestically, including the due diligence
                                  performed (e.g., market research, industry outreach, cost
                                  analysis, cost-benefit analysis) by the recipient to attempt to
                                  avoid the need for a waiver. This justification may cite, if
                                  applicable, the absence of any Buy America-compliant bids
                                  received for domestic products in response to a solicitation;
                                  and
                          •       Anticipated impact to the project if no waiver is issued.

                          The Recipient should consider using the following principles as
                          minimum requirements contained in their waiver request:

                          •       Time-limited: Consider a waiver constrained principally by a
                                  length of time, rather than by the specific project/award to
                                  which it applies. Waivers of this type may be appropriate, for
                                  example, when an item that is "non-available" is widely used in
                                  the project. When requesting such a waiver, the Recipient
                                  should identify a reasonable, definite time frame (e.g., no more
                                  than one to two years) designed so that the waiver is reviewed
                                  to ensure the condition for the waiver ("non-availability") has
                                  not changed (e.g., domestic supplies have become more
                                  available).

                          •       Targeted: Waiver requests should apply only to the item(s),
                                  product(s), or material(s) or category(ies) of item(s),
                                  product(s), or material(s) as necessary and justified. Waivers
                                  should not be overly broad as this will undermine domestic
                                  preference policies.

                          •       Conditional: The Recipient may request a waiver with specific
                                  conditions that support the policies of IIJA/BABA and Executive
                                                                                                                         31
                                  Order 14017.
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                          DOE may request, and the Recipient must provide, additional
                          information for consideration of this wavier. DOE may reject or grant
                          waivers in whole or in part depending on its review, analysis, and/or
                          feedback from 0MB or the public. DOEs final determination regarding
                          approval or rejection of the waiver request may not be appealed.
                          Waiver requests may take up to 90 calendar days to process.


         Term 46.         Affirmative Action and Pay Transparency Requirements
         All federally assisted construction contracts exceeding $10,000 annually will be subject to the
         requirements of Executive Order 11246:

                               (1) Recipients, subrecipients, and contractors are prohibited from
                               discriminating in employment decisions on the basis of race, color, religion,
                               sex, sexual orientation, gender identity or national origin.

                               (2) Recipients and Contractors are required to take affirmative action to
                               ensure that equal opportunity is provided in all aspects of their
                               employment. This includes flowing down the appropriate language to all
                               subrecipients, contractors and subcontractors.

                               (3) Recipients, subrecipients, contractors and subcontractors are prohibited
                               from taking adverse employment actions against applicants and employees
                               for asking about, discussing, or sharing information about their pay or,
                               under certain circumstances, the pay of their co-workers.

         The Department of Labor's (DOL) Office of Federal Contractor Compliance Programs (OFCCP)
         uses a neutral process to schedule contractors for compliance evaluations. OFCCP's Technical
         Assistance Guide 2 should be consulted to gain an understanding of the requirements and
         possible actions the recipients, subrecipients, contractors and subcontractors must take.

         Term 47.         Potentially Duplicative Funding Notice
         If the Recipient or subrecipients have or receive any other award of federal funds for activities
         that potentially overlap with the activities funded under this Award, the Recipient must
         promptly notify DOE in writing of the potential overlap and state whether project funds (i.e.,
         recipient cost share and federal funds) from any of those other federal awards have been, are
         being, or are to be used (in whole or in part) for one or more of the identical cost items under
         this Award. If there are identical cost items, the Recipient must promptly notify the DOE



         2 See OFCCP's Technical Assistance Guide at:
                                                                                                                               32
         https://www.dol.gov/sites/dolgov/files/ofccp/Construction/files/ConstructionTAG .pdf?msclkid=9e397 d68c4b 111 ec
         9d8e6fecb6c710ec Also see the National Policy Assurances http://www.nsf.gov/awards/managing/rtc.jsp
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         Contracting Officer in writing of the potential duplication and eliminate any inappropriate
         duplication of funding.


         Term 48.              Transparency of Foreign Connections
         During the term of the Award, the Recipient must notify the DOE Contracting Officer within
         fifteen (15) business days of learning of the following circumstances in relation to the Recipient
         or subrecipients:

                      1. The existence of any joint venture or subsidiary that is based in, funded by, or has a
                         foreign affiliation with any foreign country of risk;
                      2. Any current or pending contractual or financial obligation or other agreement
                         specific to a business arrangement, or joint venture-like arrangement with an
                         enterprise owned by a country of risk or foreign entity based in a country of risk;
                      3. Any current or pending change in ownership structure of the Recipient or
                         subrecipients that increases foreign ownership related to a country of risk;
                      4. Any current or pending venture capital or institutional investment by an entity that
                         has a general partner or individual holding a leadership role in such entity who has a
                         foreign affiliation with any foreign country of risk;
                      5. Any current or pending technology licensing or intellectual property sales to a
                         foreign country of risk; and
                      6. Any current or pending foreign business entity, offshore entity, or entity outside the
                         United States related to the Recipient or subrecipient.


         Term 49.              Foreign Collaboration Considerations

                      a. Consideration of new collaborations with foreign organizations and governments.
                         The Recipient must provide DOE with advanced written notification of any potential
                         collaboration with foreign entities, organizations or governments in connection with
                         its DOE-funded award scope. The Recipient must await further guidance from DOE
                         prior to contacting the proposed foreign entity, organization or government
                         regarding the potential collaboration or negotiating the terms of any potential
                         agreement.

                      b. Existing collaborations with foreign entities, organizations and governments. The
                         Recipient must provide DOE with a written list of all existing foreign collaborations in
                         which has entered in connection with its DOE-funded award scope.

                      c.   Description of collaborations that should be reported : In general, a collaboration will
                           involve some provision of a thing of value to, or from, the Recipient. A thing of value
                           includes but may not be limited to all resources made available to, or from, the
                           recipient in support of and/or related to the Award, regardless of whether or not
                                                                                                                              33
                           they have monetary value. Things of value also may include in-kind contributions
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                      (such as office/laboratory space, data, equipment, supplies, employees, students).
                      In-kind contributions not intended for direct use on the Award but resulting in
                      provision of a thing of value from or to the Award must also be reported.
                      Collaborations do not include routine workshops, conferences, use of the Recipient's
                      services and facilities by foreign investigators resulting from its standard published
                      process for evaluating requests for access, or the routine use of foreign facilities by
                      awardee staff in accordance with the Recipient's standard policies and procedures.




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                    EXHIBIT C
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                                                                          #: 3059
                                                                     PageID
                                                                 

                                                                          
                                                                                                
                                                                                                            
                            
                                                                                                                                          
                                                                                                                  
                                                                                                                              
                                                                        

                                                                        
                                                                        


                                                                             
                                                            
              
     

                                                                                     
                                                 
                                                                                                    
                                                                                          
                                                                                                     
                                                                                       



                                                              
                                                                                           
                                                                                       
                                                                                                        
                                                                                                        
                                                                                                        


                                                                                   
                                                                                          
                                    
                                                              
                                                              
                                                              


 


 



                                                                                         
                                          



                                                                                              
                                                                                                                            



                                                                               
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                                                                          
                                                                                       


                                                               
                                                                                                 





















































                                                                
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                                                                          
                                                                                       


                                                               
                                                                                                 























                                                                
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  Grant: EE0010060; Recipient: Conservation and Development Commission Energy Resources; Program Year: 2022
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                                     STATE ENERGY PROGRAM (SEP)
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  Grant: EE0010060; Recipient: Conservation and Development Commission Energy Resources; Program Year: 2022
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                                                          STATE ENERGY PROGRAM (SEP)
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                 Grant: EE0010060; Recipient: Conservation and Development Commission Energy Resources; Program Year: 2022



SEO title : Building Standards Compliance
Revision status: Active (pending add)
1. Activity
   Economic Development                    Education and Outreach                                                 Energy Security
   Funding and/or Financing                Policy, Planning, and/or Program Development                           Program Management
   Technical Assistance                    Training and/or Workforce Development                                  Technology Action Group (TAG)


2. State: CA


3. Sector

    Agriculture / Agricultural                    Institutional                                       Not Applicable
    Buildings                                     Landlord / Tenant                                   Private Sector
    Commercial                                    Local Government                                    Residential
    Federal Government                            Low / Limited Income                                Rural
    General Public                                Manufacturing                                       State or Territory Government
    K-12 Schools                                  Multi-state Collaboration                           Transportation
    Higher Education                              Non-building Infrastructure                         Tribal / Native American
    Industrial                                    Non-profits                                         Utilities




4. Technology and/or Topic Areas

    Alternative Fuels and Advanced Vehicle Technologies                                 Environmental Justice
    Appliance Efficiency or Standards                                                   Fuel Cell and Hydrogen Technologies
    Audits and Assessments (Energy, Water, and Process)                                 Geothermal
    Benchmarking                                                                        Grid Modernization
    Biofuels                                                                            Hydropower / Hydrokinetic Power
    Biomass                                                                             Natural Gas
    Building Energy Codes or Standards                                                  Not Applicable
    Carbon Capture, Utilization and Storage                                             Propane
    Clean Energy / Clean Energy Technologies                                            Renewable Energy
    Combined Heat and Power                                                             Resiliency
    Cybersecurity                                                                       Smart Grid
    Distributed Energy Resources                                                        STEM Education
    Electric Vehicles and Infrastructure                                                Solar
    Energy Affordability                                                                Storage
    Energy Certification Programs                                                       U.S. DOE Accelerators
    Energy Conservation                                                                 U.S. DOE Clean Cities
    Energy Efficiency                                                                   Waste to Energy / Solid Waste Minimization
    Energy Equity                                                                       Water Nexus
    Energy Management                                                                   Weatherization
    Energy Savings Performance Contracting                                              Wind
    ENERGY STAR




5. Estimated annual energy savings: 0


6. Description (executive summary of goals and objectives)*
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The CEC was born out of the energy crisis that affected the U.S. in the early 1970s. To address energy demand, the CEC was to design energy
policy that reduced use through better efficiencies. As CA s energy policy agency, the Building Standards Branch is mandated to update the
Building Energy Efficiency Standards (CA Energy Code) every three years to increase the energy efficiency of new and existing buildings. Today,
homes and businesses use nearly 70 percent of California s electricity and are responsible for a quarter of CA s greenhouse gas (GHG) emissions.

The core focus of the CA Energy Code has been efficiency, but the 2019 Energy Code ventured into onsite generation by requiring solar
photovoltaic (PV) on new homes, providing significant GHG savings. The 2022 Energy Code update builds off this progress with expanded solar
standards and the move to onsite energy storage that will help Californians save on utility bills while bolstering the grid. The CA Energy Code must
be cost-effective and technically feasible to be adopted so that implementation is affordable while helping CA manage energy demand and advance
the state s climate and clean air goals. The Energy Code impacts individual households in California because more energy efficiency in buildings
reduces utility bills, improves indoor air quality, improves comfort inside buildings, and increases the market value of properties by making them more
affordable to operate.

The 2022 Energy Code update, which takes effect January 1, 2023, focuses on four key areas in new residential and commercial construction:
encourages electric heat pump technology and use, establishes electric-ready requirements when natural gas is installed, expands solar PV system
and battery storage standards, and strengthens ventilation standards to improve indoor air quality.




7. Program year milestones


8. Program year metrics
a. Specific metric activity (required)**
 Metric area:
 10. Training and Education/ Technical Assistance

  Metric:
  10a. Education and outreach conducted

                                             Number of contacts reached via webinars, site visits, fact sheets, or other (count)               2,500
                                                              Number of workshops, training, and education sessions held (count)                  75
                                                  Number of people attending workshops, training, and education sessions (count)               2,500


  Metric:
  10b. Technical assistance provided

                                                                                                   Number of participants (count)                250




b. User specified metrics (optional)*
  No records found



9. Program year funds by source
a. SEP grant (all funds in the approved budget)
 Fund Source                                                                                                                          Planned Amount
 Federal
                                                                                                                                       $9,485,766.18
 Fund Source Type: Federal

 Total                                                                                                                                 $9,485,766.18


b. Leveraged funds anticipated (outside approved budget)
 Fund Source                                                                                                                          Planned Amount

 No records found

 Total                                                                                                                                          $0.00
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*Please use additional pages if more space is needed.
**Mandatory requirement
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                 Grant: EE0010060; Recipient: Conservation and Development Commission Energy Resources; Program Year: 2022



SEO title : Buildings Energy Efficiency Standards
Revision status: Active (pending add)
1. Activity
   Economic Development                    Education and Outreach                                                   Energy Security
   Funding and/or Financing                Policy, Planning, and/or Program Development                             Program Management
   Technical Assistance                    Training and/or Workforce Development                                    Technology Action Group (TAG)


2. State: CA


3. Sector

    Agriculture / Agricultural                      Institutional                                       Not Applicable
    Buildings                                       Landlord / Tenant                                   Private Sector
    Commercial                                      Local Government                                    Residential
    Federal Government                              Low / Limited Income                                Rural
    General Public                                  Manufacturing                                       State or Territory Government
    K-12 Schools                                    Multi-state Collaboration                           Transportation
    Higher Education                                Non-building Infrastructure                         Tribal / Native American
    Industrial                                      Non-profits                                         Utilities




4. Technology and/or Topic Areas

    Alternative Fuels and Advanced Vehicle Technologies                                   Environmental Justice
    Appliance Efficiency or Standards                                                     Fuel Cell and Hydrogen Technologies
    Audits and Assessments (Energy, Water, and Process)                                   Geothermal
    Benchmarking                                                                          Grid Modernization
    Biofuels                                                                              Hydropower / Hydrokinetic Power
    Biomass                                                                               Natural Gas
    Building Energy Codes or Standards                                                    Not Applicable
    Carbon Capture, Utilization and Storage                                               Propane
    Clean Energy / Clean Energy Technologies                                              Renewable Energy
    Combined Heat and Power                                                               Resiliency
    Cybersecurity                                                                         Smart Grid
    Distributed Energy Resources                                                          STEM Education
    Electric Vehicles and Infrastructure                                                  Solar
    Energy Affordability                                                                  Storage
    Energy Certification Programs                                                         U.S. DOE Accelerators
    Energy Conservation                                                                   U.S. DOE Clean Cities
    Energy Efficiency                                                                     Waste to Energy / Solid Waste Minimization
    Energy Equity                                                                         Water Nexus
    Energy Management                                                                     Weatherization
    Energy Savings Performance Contracting                                                Wind
    ENERGY STAR




5. Estimated annual energy savings: 3,815,376


6. Description (executive summary of goals and objectives)*
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The California Energy Commission (Energy Commission) publishes and updates the Building Energy Efficiency Standards


(Standards) every three years. Two State energy policy goals drive the design of the Standards: first, Loading Order,


which directs meeting growing demand first, with costeffective

energy efficiency improvements and demand response

followed by renewable generation; and achieving Zero Net Energy (ZNE) in residential buildings by 2020 and

nonresidential buildings by 2030. To achieve this goal newly constructed residential and nonresidential buildings must

use a combination of improved energy efficiency and distributed renewable generation to meet 100 percent of their

annual energy needs.

The Energy Commission is required by law to adopt Standards that are costeffective

for buildingowners

over the 30year

life of the buildings. Staff works closely with stakeholders through a variety of mechanisms, including public

meetings and workshops to facilitate the development of the Standards. This process allows all stakeholders to

participate in an open and transparent public process.




7. Program year milestones


8. Program year metrics
a. Specific metric activity (required)**
 Metric area:
 10. Training and Education/ Technical Assistance

   Metric:
   10a. Education and outreach conducted

                                                        Number of contacts reached via webinars, site visits, fact sheets, or other (count)            2,500
                                                                           Number of workshops, training, and education sessions held (count)             75
                                                           Number of people attending workshops, training, and education sessions (count)              2,500




b. User specified metrics (optional)*
  No records found



9. Program year funds by source
a. SEP grant (all funds in the approved budget)
 Fund Source                                                                                                                                    Planned Amount
 Federal
                                                                                                                                                 $8,815,786.23
 Fund Source Type: Federal

 Total                                                                                                                                           $8,815,786.23


b. Leveraged funds anticipated (outside approved budget)
 Fund Source                                                                                                                                    Planned Amount
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                                                              U.S. Department of Energy
                                                           STATE ENERGY PROGRAM (SEP)
                                                        NARRATIVE INFORMATION WORKSHEET

                   Grant: EE0010060; Recipient: Conservation and Development Commission Energy Resources; Program Year: 2022


  No records found

  Total                                                                                                                        $0.00




*Please use additional pages if more space is needed.
**Mandatory requirement
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      us NoePEARTRMEN
      E
                    GT
                         0
                             y'     I Energy Efficiency &                                 Federal Assistance Reporting Checklist
                                     Renewable Energy
                                                                                                                                              (FARC)
                                                            •
                                                                                                                                         Attachment 2
1. Award Number:                  DE-EE00 l 0060/0000                        12. Program/Project Title: BIL: SEP - State of California


3. Recipient: State of California



4. Reporting Requirements (see also the EERE Special Instructions)           Frequency                                 Addresses
          Detailed instructions included after the Table of Contents

I.        PROJECT MANAGEMENT REPORTING
[8J A SEP Progress Report                                                        Q         A. https://www.page.energy.gov
[8J B. Financial Report (SF-425)                                                F, Q       B. https:ljwww.page.energy.gov
D C. Scientific and Technical Reporting
          D 1. Accepted Manuscript of Journal Article(s)                                   C.l. OSTI E-Link
          D 2. Conference Product(s)                                                       C.2. OSTI E-Link
          D 3. Technical Report(s)                                                         C.3. OSTI E-Link
          D 4. Software & Manual(s)                                                        C.4. DOE CODE
          D 5. Dataset(s)                                                                  C.5. OSTI E-Link Datasets
          D 6. Other STI ( Dissertation / Thesis, etc.)                                    C.6. OSTI E-Link
D D. Intellectual Property Reporting
         D 1. Intellectual Property Reporting                                              D.l. iEdison
         D 2. Invention Utilization Report                                                 D.2. iEdison
D E Project Management Plan (PMP)                                                          E. EERE PMC
[8J F. Special Status Report                                                     AS        F. Submit to DOE Project Officer
D G. Continuation Application                                                              G. https:ljwww.page.energy.gov
D H. Other (see Special Instructions)                                                      H. See Special Instructions


II.       AWARD MANAGEMENT REPORTING
D A. Participants and Collaborating Organizations                                          A. EERE PMC
D B. Current and Pending Support                                                           B. EERE PMC
[8J C. Demographic Reporting                                                     AS        C. https:ljwww.page.energy.gov
D D. Tangible Personal Property Report - Annual Property Report (SF-428                    D. EERE PMC
     & SF-428A)
[8J E. Tangible Personal Property Report - Disposition Request/Report (SF-       AS        E. Submit to DOE Project Officer
          428 & SF-428()
[8J F. Uniform Commercial Code (UCC) Financing Statements                        AS        F. See section II. F. for instructions and due dates
[8J G. Federal Subaward Reporting System (FSRS)                                  AS        G. FSRS
[8J H. Annual Incurred Cost Proposal                                            Y180       H. See section II. H. for instructions and due dates
D I. DOE For-Profit Compliance Audit                                                       I.   See section II. I. for instructions and due dates
[8J J. Single Audit: States, Locals, Tribal Governments, and Non-Profits         0         J.   See section II. J. for instructions and due dates
[8J K. Other (see Special Instructions)                                                    K. See Special Instructions
          K.1 Annual Historic Preservation Report                                AS        K.1 https://www.page.energy.gov
          K.2 Annual Summary                                                               K.2 Submit to DOE Project Officer
          K.3 Financial Programs Report (Applicable to Grantee continuing                  K.3 https://www.page.energy.gov
          financing programs initiated with SEP Recovery Act Funds)
          K.4 National Environmental Policy Act (NEPA) Logs                      Q         K.4 Email to GONEPA@ee.doe.gov
          K.5 BIL Supplemental Annual Data Report                                AS
                                                                                           K.S https:ljwww.page.energy.gov


Ill.      CLOSEOUT REPORTING
DA. Final Scientific/Technical Report                                                      A. OSTI E-Link
D B. Invention Certification (DOE F 2050.11)                                               B. EERE PMC
[8J C. Tangible Personal Property Report - Final Report (SF-428 & SF-             F        C. Submit to DOE Project Officer
          428B)
D D. Verification of Receipt of Accepted Manuscripts                                       D. See section 111.D. for instructions and due dates
D E. Other (see Special Instructions)                                                      E. See Special Instructions




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  ENERGY Renewable Energy                                                                                                    (FARC)
                                                        .
IV. POST-PROJECT REPORTING
D A. Scientific and Technical Reporting                                                        A. OSTI E-Link
D B. Intellectual Property Reporting                                                           B. iEdison


FREQUENCY CODES AND DUE DATES:
AS -As Specified or within five (SI calendar days after the event.

F - Final; within 120 calendar days after expiration or termination of the award.
0 - Other: See instructions for further details.
P - Post-project {after the period of performance); within five (5) calendar days after the event, or as specified.
Q - Quarterly; within 30 calendar days after the end of the federal fiscal year quarter.
S - Semiannually; within 30 days after end of the reporting period.
Y - Yearly; within 90 calendar days after the end of the federal fiscal year.
Y180- Yearly; within 180 calendar days after the close of the recipient's fiscal year.


FULL URLS:
OSTI E-Link: http:ljwww.osti.gov/elink-2413
OSTI E-Link Datasets: https:llwww.osti.gov/elink/2416-submission.jsp
DOE CODE: https:ljwww.osti.gov/doecode/
iEdison: http:ljwww.iedison.gov
EERE PMC: https:llwww.eere-pmc.energy.gov/SubmitReports.aspx
FSRS: https:ljwww.fsrs.gov
PAGE: https://www.page.energy.gov




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ENERGY Renewable Energy                                                                                                 (FARC)

  5.   EERE Special Instructions:



       K.1 Annual Historic Preservation Report
       •    Located in each state's Program Year award record in PAGE. The Annual Histaric Preservatian report should summarize all SEP
            funding saurces

       The recipient shall submit the Annual Historic Preservation Report on September 15th via https://www.page.energy.gov/. The Report shall
       cover the reporting period from September 1st through August 31st .




       K.4 National Environmental Policy Act (NEPA) Logs
       All activities must be documented (e.g., a NEPA log) to ensure compliance with the restrictions of the Bounded Categories. The
       documentation must be available for DOE review upon request and emailed on a quarterly basis to GONEPA@ee.doe.gov. A sample template
       NEPA log is available at www .energy.gov/node/4816816.


       K.5 Bipartisan Infrastructure Law (Bill Supplemental Annual Data Report
       The BIL Supplemental Annual Data Report form will be used to uniformly collect data on the outputs and outcomes of BIL-funded activities.
       The BIL Supplemental Annual Data Report shall be submitted annually within 90 days of the end of each BIL Program Year. Grantees should
       only complete the portions of the form that correspond to the grantee's activities. A template report will be provided to grantee's by the DOE
       Project Officer.




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us DEPARTMENT oF       I Energy Efficiency &                                              Federal Assistance Reporting Checklist
ENERGY Renewable Energy                                                                                                  (FARC)
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       F.   Special Status Reports ......................................................................................................... 7
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       E.   Tangible Personal Property Report - Disposition Request/Report (SF-428 & SF-428C) .. 10
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Appendix A: Notice To Recipients (Prime Recipients And Subrecipients) Regarding Protected
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 ENERGY Renewable Energy                                                                         (FARC)
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                                      EERE Reporting Instructions


            Throughout the performance of the project, it is important that you mark


***
            Protected Data/Limited Rights Data as described in Appendix A. It is equally
            important that you not submit Protected Personally Identifiable Information
            (Protected Pl/) to EERE. See Appendix A for guidance on Protected Pl/.
                                                                                                  ***
            Report Templates Link: http://energy.gov/eere/funding/eere-funding-application-and-
                                   management-forms


 I. Project Management Reporting

 A. SEP Progress Report

             Submit to:       htt12s:LL12age.energl'..gov
             Submission       Within 30 calendar days after the end of the quarterly reporting
             deadline:        period (January 30, April 30, July 30, October 30)

          The recipient must provide a concise narrative assessment of the status of work and
          include the following information and any other information identified under Special
          Instructions on the Federal Assistance Reporting Checklist:

          The funding for this Award is made available under the BIL and is subject to the
          applicable requirements included in the BIL. Additional BIL requirements and metrics
          may be added to the SEP Progress Report, as they become available.

      1. Cover Page

               a. The DOE Award Number (as it appears on the award face page)
               b. Recipient Name (as it appears on the award face page)
               c. Project Title
               d. Project Director/ Principal Investigator (PD/Pl) Name, Title and Contact
                  Information (e-mail address and phone number)
               e. Name of Submitting Official, Title, and Contact Information (e-mail address and
                  phone number), if other than PD/Pl
               f. Project Period (Start Date, End Date)
               g. Report Submission Date
               h. Reporting Period Start and End Date

      2. Project Overview




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us DEPARTMENT oF   I Energy Efficiency &                          Federal Assistance Reporting Checklist
ENERGY Renewable Energy                                                                          (FARC)
                                           .
              A written comparison of the actual project accomplishments with the project goals
              and objectives established for the reporting period; if goals and/or objectives for the
              reporting period were not met, a detailed description of the variance shall be
              provided.



    3. Accomplishments
          A discussion of what was accomplished under these goals and objectives established
          for this reporting period, including major activities, significant results, major findings
          or conclusions, key outcomes, or other achievements. This section should not
          contain any proprietary data or other information not subject to public release. If
          such information is important to reporting progress, do not include the information,
          but include a note in the report advising the reader to contact the Principal
          Investigator or the Project Director for further information.

    4. Budgetary Information
          A comparison of the approved budget by budget period and the actual costs
          incurred during the reporting period shall be provided. If cost sharing is required,
          the cost breakdown shall show the DOE share, recipient share, and total costs.

    5. Schedule Status
          List milestones, anticipated completion dates and actual completion dates. If you
          submitted a project management plan with your application, you must use this plan
          to report schedule and budget variances. You may use your own project
          management system to provide this information.

    6. Changes/Problems
          Describe any changes during the reporting period in project approach and the
          reasons for these changes. Remember, significant changes to the project objectives
          and scope require prior approval by the Contracting Officer. Describe any actual or
          anticipated problems or delays and any actions taken or planned to resolve them.

    7. Participants & Other Collaborating Organizations
          Describe any absence or changes of key personnel or changes in
          consortium/teaming arrangement during the reporting period.

    8. Products
          List and describe any product produced or technology transfer activities
          accomplished during this reporting period, such as:

              a. Publications, conference papers, and presentations. List peer-reviewed articles
                   or papers that have been submitted for publication in scientific, technical, or
                   professional journals. Include any papers submitted for peer-reviewed
                   publication in the periodically published proceedings of a scientific society, a



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                                            .
                    conference, or the like. A publication in the proceedings of a one-time
                    conference, not part of a series, should be reported under "Books or other non-
                    periodical, one-time publications."

                    Identify for each publication: Author(s); title; journal; volume: year; page
                    numbers; status of publication (published; accepted, awaiting publication;
                    submitted, under review; other); acknowledgement of federal support (yes/no);
                    legal disclaimer language (yes/no). Also see instructions under II.
                    Scientific/Technical Reporting regarding the submission of AM and other STI as
                    appropriate.

Please note: Recipient must use the EERE acknowledgement and legal disclaimer language as
described in the Special Terms and Conditions (additional information can be found at the EERE
Communications Standards website:
https://www.energy.gov/eere/communicationstandards/eere-branded-publications-
developed-third-parties).

              a. Website(s) (list the URL) that reflect the results of this project.

              b. Networks or collaborations fostered.

              c. Technologies or techniques (Identify and Describe).

              d. Other products, such as data or databases, physical collections, audio or video,
                 software or NetWare, models, education aid or curricula, instruments or
                 equipment {Identify and Describe).

B. Financial Report SF-425 Federal Financial Report

       Submit to:        htt12s:LL12age.energy.gov
       Submission        Within 30 calendar days after the end of the quarterly reporting period (January 30,
       deadline:         April 30, July 30, October 30) and within 120 calendar days after expiration or
                         termination of the award


    Every quarter, the prime recipient is required to submit a completed SF-425 for the project
    to EERE, covering the entirety of work performed by the prime recipient, sub recipients, and
    contractors - to EERE. A fillable version of the SF-425 is available at
    htt12s:LLwww.energy.govLeereLfundingLeere-funding-a1212lication-and-management-forms .



F. Special Status Reports

    I Submit to:      I Submit to DOE Project Officer


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ENERGY Renewable Energy                                                                                    (FARC)

       Submission          Within five (5) calendar days after the event, or as specified
       deadline:


      Problems, delays, or adverse conditions which materially impair the recipient's ability to
      meet the objectives of the award or which may require DOE to respond to questions
      relating to such events from the public. The recipient must report any of the following
      incidents and include the anticipated impact and remedial action to be taken to correct or
      resolve the problem/condition.

     The prime recipient is required to report the following events to EERE:

      1. Any notices or claims of patent or copyright infringement arising out of or relating to the
         performance of the EERE award;

      2. Refusal of a subrecipient to accept flow down requirements in the Special Terms and
         Conditions and/or any Attachment to the EERE award;

      3. Potential or actual violations of federal, state, and municipal laws arising out of or
         relating to work under the award;

     4. Any improper claims or excess payments arising out of or relating to work under the
        award;

      5. Potential or actual violations of the cost share requirements under the award;

      6. Potential or actual noncompliance with EERE or DOE reporting requirements under the
         award;

      7. Potential or actual violations of the lobbying restrictions in the award;

      8. Potential or actual bankruptcy/insolvency of the prime recipient or subrecipient;

      9. Potential or actual violation of U.S. export control laws and regulations arising out of or
         relating to the work under the award;

      10. Any fatality or injuries requiring hospitalization arising out of or relating to work under
          the award;

      11. Potential or actual violations of environmental, health, or safety laws and regulations,
          any significant environmental permit violation, and any incident which causes a
          significant process or hazard control system failure;

      12. Any event which is anticipated to cause a significant schedule slippage or cost increase;




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ENERGY Renewable Energy                                                                                (FARC)
                                           .
    13. Any damage to Government-owned equipment in excess of $50,000;

    14. Developments that have a significant favorable impact on the project; and,

    15. Any incident arising out of or relating to work under the award that has the potential for
        high visibility in the media.

G. Continuation Application

      Submit to:       htt12s:LLwww.12age.energt.gov
      Submission       Within five (5) calendar days after the event, or as specified
      deadline:


    A continuation application is a non-competitive application for an additional budget period
    within a previously approved period of performance. The continuation application should
    be submitted at least ninety (90) calendar days before the end of each budget period, or as
    specified in the Special Terms and Conditions of the award.



II. Award Management Reporting


C. Demographic Reporting

      Submit to:       htt12s:LLwww.12age.energt.gov
      Submission       Within 30 days after issuance of award
      deadline:


    DEMOGRAPHIC INFORMATION FOR SIGNIFICANT CONTRIBUTORS
    (SEP Progress Report, Appendix)

    Demographic data (i.e., gender, ethnicity, race, and disability status) should be provided
    directly by the Principal Investigator and Business Contact with the understanding that the
    submission of this report is mandatory for awards made after 03/01/2022. There are no
    adverse consequences for responding "Do not wish to provide" in any question. Principal
    Investigators and Business Contacts of awards made prior to 03/01/2022 are encouraged,
    but not required, to submit demographic reporting. Confidentiality of demographic data will
    be in accordance with agency's policy and practices for complying with the requirements of
    the Privacy Act.

         Gender:
            o Male
            o Female
            o Do not wish to provide



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ENERGY Renewable Energy                                                                                (FARC)
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         Ethnicity:
            o Hispanic or Latina/o
            o Not-Hispanic or not-Latina/o
            o Do not wish to provide

         Race (select one or more):
            o American Indian or Alaska Native
            o Asian
            o Black or African American
            o Native Hawaiian or other Pacific Islander
            o White
            o Do not wish to provide

         Disability Status:

              o    Yes (check yes if any of the following apply to you)
                       • Deaf or serious difficulty hearing
                       • Blind or serious difficulty seeing even when wearing glasses
                       • Serious difficulty walking or climbing stairs
                       • Other serious disability related to a physical, mental, or emotional
                          condition.
              o    No
              o    Do not wish to provide

         This measure is designed as a binary measure; it encompasses all self-reported
         disabilities. Please do not use it to report the number of individuals who have different
         types of disabilities (e.g., hearing impairments).

         Note: This construct is not designed to be used at an individual-level (i.e., it should not
         be used for determining accommodation needs or disability status for particular
         individuals associated with the project).

E. Tangible Personal Property Report - Disposition Request/Report (SF-428 & SF-428C)

      Submit to:        Email to DOE Project Officer
      Submission        Within 5 calendar days of the event or as specified
      deadline:


    The prime recipient must request disposition instructions for or report disposition of
    federally-owned property or equipment acquired with project funds, whether the property
    or equipment is/was in the possession of the prime recipient or subrecipient(s). Recipients
    may also be required to provide compensation to the awarding agency when acquired
    equipment is sold or retained for use on activities not sponsored by the federal



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ENERGY Renewable Energy                                                                                (FARC)
                                           .
    government. Any equipment with an acquisition cost above $5,000 must be included in the
    inventory.

    If disposition occurs at any time other than award closeout (i.e., at any time throughout the
    life of the project or after project completion and closeout as long as the federal
    government retains an interest in the item), the prime recipient must complete an SF-428
    and SF-428C, available at https://www.energy.gov/eere/funding/eere-funding-application-
    and-management-forms.

    If disposition instructions are requested at the time of award closeout, the prime recipient
    must submit the SF-428 and SF-428B (see Ill. Closeout Reporting).

    Only the EERE Contracting Officer has authority to approve disposition requests and issue
    disposition instructions.

         F. Uniform Commercial Code (UCC) Financing Statements

      Submit to:       Email to DOE Project Officer
      Submission       Within five (5) calendar days after the event, or as specified.
      deadline:


    If a for-profit recipient or subrecipient desires to purchase a piece of equipment for their
    project, and the per-unit dollar value of said equipment is $5,000 or more, and the federal
    share of the financial assistance agreement is more than $1M, the recipient or subrecipient
    must file a UCC financing statement.

    A UCC financing statement provides public notice that the federal government has an
    undivided reversionary interest in the equipment, and as such the equipment cannot be
    sold or used as collateral for a loan (encumbered).

    The for-profit recipient or subrecipient must file the UCC financing statement(s) with the
    Secretary of State where the equipment will be physically located and must pay any
    associated costs for such filings.

    The initial UCC financing statement may also be referred to as a UCCl. For additional pieces
    of equipment not specified in the award budget, TBD equipment, or equipment needed in
    future budget periods, the recipient can file an amendment to the original UCCl financing
    statement, by submitting the UCC3 financing statement amendment.

    Each UCC financing statement or amendment is to be filed with the appropriate Secretary
    of State office, where the equipment will be physically located.




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ENERGY Renewable Energy                                                                              (FARC)
                                           .
    Note: All costs associated with filing UCC financing statements, UCC financing statement
    amendments, and UCC financing statement terminations, are allowable and allocable costs
    which can be charged to the federal award.

    At a minimum, the recipient must have stated in their UCC financing statement in block 4.
    (collateral) the following:

    o    "Title to all equipment (not real property) purchased with federal funds under this
         financial assistance agreement is conditional pursuant to the terms of 2 CFR 910.360,
         and the federal government retains an undivided reversionary interest in the equipment
         at the federal cost-share proportion specified in the award terms and conditions."

    o    Federal Award Identification Number (e.g., DE-EE000XXXX)

         G. Federal Subaward Reporting System (FSRS)

      Submit to:       https:LLwww.fsrs.govL
      Submission       The prime recipient is required to file a FFATA sub-award report by the end of
      deadline:        the month following the month in which the prime recipient awards any sub-
                       grant greater than or equal to $30,000.


    The Federal Subaward Reporting System (FSRS) is the reporting tool prime recipients use to
    capture and report subaward and executive compensation data regarding their first-tier
    subrecipients to meet the FFATA reporting requirements. Prime recipients will report
    against subrecipients' awards. The subrecipient information entered in FSRS will then be
    displayed on USASpending.gov associated with the prime recipient's award furthering
    federal spending transparency.

    The prime recipient is required to file a FFATA sub-award report by the end of the month
    following the month in which the prime recipient awards any sub-award greater than or
    equal to $30,000.

         H. Annual Incurred Cost Proposals

      Submit to:       If DOE is the Cognizant Federal Agency, send the Annual Incurred Cost
                       Proposal to one of the following offices:
                       •    CostPrice@ee.doe.gov (if the Golden Field Office is Cognizant);
                            OR
                       •    PricingGroup@netl.doe.gov (if NETL is Cognizant)

                       Otherwise, submit the proposal to the Recipient's appropriate Cognizant Federal
                       Agency office.
      Submission       Within 180 calendar days after the close of the recipient's fiscal year*
      deadline:        *The end of the period of the performance, or closure of an award, does not
                       dismiss this reporting requirement.




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ENERGY Renewable Energy                                                                               (FARC)
                                           .
     Prime recipients must submit a certified annual Incurred Cost Proposal (ICP), reconciled to
     its financial records, in order to finalize and reconcile billing rates incurred and billed to the
     Government.

     An ICP submission is required unless one of the following conditions apply to the DOE
     award:
     • Recipient elected to apply the 10% de minimis rate as allowed under 2 CFR 200.414(f); or
     • Recipient has a pre-determined Negotiated Indirect Cost Rate Agreement (NICRA).

J.   Single Audit: States, Local Government, Tribal Governments, Institution of Higher
     Education (IHE), or Non-Profit Organization

     Submit to:           Federal Audit Clearinghouse -
                          htt12s :LLh arvester .census.govLfacwebL Defa u It. as12x

     Submission           Within the earlier of 30 days after receipt of the auditor's report(s) or 9 months
     deadline:            after the end of the audit period (recipient's fiscal year-end)*
                          *The end of the period of the performance, or closure of an award, does not
                          dismiss this reporting requirement.

     As required by 2 CFR 200 Subpart F, non-federal entities that expend $750,000 or more
     during the non-federal entity's fiscal year in federal awards must have a single or program-
     specific audit conducted. The single audit must be conducted in accordance with §200.514
     Scope of audit, except when it elects to have a program-specific audit conducted.

     For most single audits, the requirement is for annual single audits. However, there are
     occasions where a single audit is not required annually. Per 2 CFR 200.504 - Frequency of
     audits, a state, local government, or Indian tribe that is required by constitution or statute
     to undergo its audits less frequently than annually, is permitted to undergo its audits
     biennially. Also, any nonprofit organization that had biennial audits for all biennial periods
     ending between July 1, 1992, and January 1, 1995, is permitted to undergo its single audits
     biennially.

     For a program-specific audit, when a recipient expends federal award funds under only one
     federal program (excluding R&D) and the federal program's statutes, regulations, or the
     terms and conditions of the federal award do not require a financial statement audit of the
     auditee, the auditee may elect to have a program-specific audit conducted. A program-
     specific audit may not be elected for R&D unless all of the federal awards expended were
     received from the same federal agency, or the same federal agency and the same pass-
     through entity, and that federal agency, or pass-through entity in the case of a subrecipient,
     approves in advance a program-specific audit.

     The single audit report shall include audited financial statements.




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us DEPARTMENT oF   I Energy Efficiency &                               Federal Assistance Reporting Checklist
ENERGY Renewable Energy                                                                               (FARC)
                                           .
K. Other (see Special Instructions)

      Submit to:       htt12s:LLwww.12age.energt.gov
      Submission       As specified and described in Box 5 EERE Special Instructions.
      deadline:



Ill. Closeout Reporting

C. Tangible Personal Property Report- Final Report (SF-428 & SF-428B)

      Submit to:       Email to DOE Project Officer
      Submission       Within 120 calendar days after expiration or termination of the award
      deadline:


    The prime recipient must submit a final inventory of and request disposition instructions for
    any federally-owned property and/or property or equipment acquired with project funds
    with an acquisition cost above $5,000, whether the property is/was in the possession of the
    prime recipient or subrecipients.

    The prime recipient must complete an SF-428 and SF-428B, available at
    http://energy.gov/eere/funding/eere-funding-application-and-management-forms .

    If disposition occurs at any time other than award closeout, the prime recipient must
    complete an SF-428 and SF-428C (see IV. Other Reporting H. Property Disposition
    Request/Report).

    Only the EERE Contracting Officer has authority to approve disposition requests and issue
    disposition instructions.




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us DEPARTMENT oF   I Energy Efficiency &                         Federal Assistance Reporting Checklist
ENERGY Renewable Energy                                                                         (FARC)
                                           .
    Appendix A: Notice To Recipients {Prime Recipients And Subrecipients)
    Regarding Protected Data, Limited Rights Data And Protected Personally
    Identifiable Information

I. PROTECTED DATA AND LIMITED RIGHTS DATA

The recipient is required to mark protected data and limited rights data in accordance with the
IP clause set of the award agreement. Failure to properly mark data may result in its public
disclosure under the Freedom of Information Act (FOIA, 5 U.S.C. § 552) or otherwise.

    A. Protected Data - Technical Data or Commercial or Financial Data First Produced in the
       Performance of the Award

The U.S. Government normally retains unlimited rights in any technical data or commercial or
financial data produced in performance of Government financial assistance awards, including
the right to distribute to the public.

However, under certain EERE awards, the recipient may mark certain categories of data
produced under the award as protected from public disclosure for up to five years after the
data is produced ("Protected Data"). If the award agreement provides for protected data and
the recipient wants the data to be protected, the recipient must properly mark any documents
containing Protected Data as set forth in the IP clause set of the award agreement.

    B. Limited Rights Data - Data Produced Outside of the Award at Private Expense

Limited Rights Data is data (other than computer software) developed at private expense
outside any Government financial assistance award or contract that embody trade secrets or
are commercial or financial and confidential or privileged. Prior to including any Limited Rights
Data in any documents to EERE, the recipient should review the award agreement. In most
EERE awards, the recipient should not deliver any limited rights data to EERE if the recipient
wants to protect the Limited Rights Data. If the EERE award does allow and require the delivery
of limited rights data, then the recipient must properly mark any documents containing Limited
Rights Data as set forth in the IP clause of the award agreement.




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us DEPARTMENT oF   I Energy Efficiency &                         Federal Assistance Reporting Checklist
ENERGY Renewable Energy                                                                         (FARC)
                                           .
II. PROTECTED PERSONALLY IDENTIFIABLE INFORMATION

The recipient should not include any Protected Personally Identifiable Information (Protected
PII) in their submissions to EERE. Protected PII is defined as any data that, if compromised,
could cause harm to an individual such as identify theft. Protected PII includes, but is not
limited to:

    •    Social Security Numbers in any form;
    •    Place of Birth associated with an individual;
    •    Date of Birth associated with an individual;
    •    Mother's maiden name associated with an individual;
    •    Biometric record associated with an individual;
    •    Fingerprint;
    •    Iris Scan;
    •    DNA;
    •    Medical history information associated with an individual;
    •    Medical conditions, including history of disease;
    •    Metric information, e.g., weight, height, blood pressure;
    •    Criminal history associated with an individual;
    •    Ratings;
    •    Disciplinary actions;
    •    Passport number;
    •    Educational transcripts;
    •    Financial information associated with an individual;
    •    Credit card numbers; and
    •    Security clearance history or related information (not including actual clearances held).




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                                                                                                                              
                                         

                            
                                                          

           
                                                                                                              
                              
                                                                                                 


                                                       
                                                                  
                     
                                                                                   
                                                                                                                         
                                                                                                

 

 

 

                                                                                            


                                                   

                                                                              

                                                                                                                        
                                     
                                         
                                                                                                            

                                                                                                        

                                                                                                                                    

                                                                                                                                 

                                                                                                                                  

                                                                                                                                  

                                                                                                                              

                                                                                                                        

                                                                                                 

                                                                                                         

                                                                                                               

                                                                                                                            




                                                                     
                                                                                                                           
        Case 1:25-cv-00039-JJM-PAS                              Document 68-40 Filed 02/07/25                         Page 275 of 351
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                                                      


                                             

                                           





    
                                                              
                
                                                                      
                                                                      
                                                                      
                                                                      
                                  
                                                                      
                                                                      
                                                                      
               
                                                                      
                                                                      
                                                                      
                                                                      
                 
                                                                      
                                                                      
                                                                      
                                                                      
                                                                      
                                   
                                                                      
                                                                      
                                                                      
                
                                                                      
                                                                      
                                                                      
                                          
                                                                      
                                                                      
                                                                      
                                          
                                                                      
                                                                      
                                                                      
                              
                                                                      
                                                                      
                                               
                                                                      
                                                                      




                                                                                                                                    
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
                                                                   PageID #: 3090                                                           


                 
                                                                       
                                                                       
                                                                       
                                                                       
                                   
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                           
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                           
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                
                                                                       
                                                                       
                                          
                                                                       
                                                                       
                                          
                                                                       
                                                                       
                              
                                                                       
                                                                       
                             
                                                                       
                                                                       
                                 
                                                                       
                                                                       
                                   
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                    
                                                                       
                                                                       
                                                                       




                                                                                                                                         
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
                                                                   PageID #: 3091                                                          


                                
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                               
                                                                       
                                                                       
                                                                       
                                                                       
                                   
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                               
                                                                       
                                                                       
                                                                       
                      
                                                                       
                                                                       
                                                                       


     

                                                                                                                   
                                                           
                                                                             
                                                          
                                                            
                                                                              
                                                           
                                                                                     
                                                                                     
                                                                          
                                                                                           
                                                           
                                                                           
                                                                                      
                                                                                     
                                                                                           
                                                                                     
                                                                                    
                                                                         
                                                                       
                                                                           
                                                                              
                                                                            


                                                                                                                                     
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
                                                                    PageID #: 3092                                                                  


                                                                                     
                                                                                    
                                                                                        
                                                                                    
                                                                           

                                                                                                                               


 

         
           




         
           
           
           
           
           
           
           
           
           


     
                                                                                                                               
                                                                         
                                                                                           
                                                                        
                                                                          
                                                                                            
                                                                         
                                                                                                   
                                                                                                   
                                                                                       
                                                                                                        
                                                                         
                                                                                         
                                                                                                   
                                                                                                   
                                                                                                        
                                                                                                  
                                                                                                  
                                                                                      
                                                                                     
                                                                                         
                                                                                           
                                                                                          
                                                                                        
                                                                                       


                                                                                                                                             
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
                                                              PageID #: 3093                                                          


                                                                            
                                                                        
                                                               

                                                                                                              



        
          

                                                                                                       
                                                                                                       







        
                                                             




        
          
          
          
          







        
          
          

                                                         




        
          







                              


                                                                                                                                 
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
                                                                PageID #: 3094                                                                




     




           

                                                           




          
            




         
            
            
            
            

         
            
            

   
                                                                     

          
                                                                              
                                                                            
                                                                           
                                                                            
                                                                                                         




                                                                                                                                      
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                         Intellectual Property Provisions (NRD-821)
                                Nonresearch and Development



Intellectual property rights are subject to 2 CFR 200.315 (e.g. institution of higher education or
nonprofit organizations) or 2 CFR 910.362 (e.g. for-profit).
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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
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                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                 U.S. Department of Energy
                             STATE ENERGY PROGRAM (SEP)
                        STATE PLAN / MASTER FILE WORKSHEET

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                                    U.S. DEPARTMENT OF ENERGY
(J.[111.0!l. i.;,J
                       OFFICE OF EN .RGV EFFICIE CY AND RENE\VABLE EN .RGV
                                                         PAUETERM               ATIO,
RECIPIENT: State Energy Program - Weatherization and Intergovernmental Programs                                     STATE:
                     Office(WIPO)Recipients with a DOE executed Historic Preservation Programmatic                            CO
                     Agreement

PROJECT TITLE State Energy Program - Program Year 2022 - IIJA Provision 40109 -Administrative and Legal
                          Requirements Document (ALRD)

  Funding Opportunity Announcement Number Procurement Instrument Number                             NEPA Control Number           CID Number
                        SEP-IIJAALRD                            SEP-IIJA-ALRD-2022A              GFO-SEP-IIJA-ALRD-2022A

Based on my review of the information concerning the proposed action, as NEPA Compliance Officer (authorized under DOE
Policy 451.1), I have made the following determination:

ex, EA, EIS APPENDIX AND NUMBER:
Description:
    A9 Information            Information gathering (including, but not limited to, literature surveys, inventories, site visits, and audits),
    gathering,                data analysis (including, but not limited to, computer modeling), document preparation (including, but not
    analysis, and             limited to, conceptual design, feasibility studies, and analytical energy supply and demand studies), and
    dissemination             information dissemination (including, but not limited to, document publication and distribution, and
                              classroom training and informational programs), but not including site characterization or environmental
                              monitoring. (See also 83.1 of appendix 8 to this subpart.)
          A11 Technical
          advice and
                              Technical advice and planning assistance to international, national, state, and local organizations.
          assistance to
          organizations
          82.2 Building       Installation of, or improvements to, building and equipment instrumentation (including, but not limited to,
          and equipment       remote control panels, remote monitoring capability, alarm and surveillance systems, control systems to
          instrumentation     provide automatic shutdown, fire detection and protection systems, water consumption monitors and flow
                              control systems, announcement and emergency warning systems, criticality and radiation monitors and
                              alarms, and safeguards and security equipment).
          85.1 Actions to (a) Actions to conserve energy or water, demonstrate potential energy or water conservation , and promote
          conserve energy energy efficiency that would not have the potential to cause significant changes in the indoor or outdoor
          or water        concentrations of potentially harmful substances. These actions may involve financial and technical
                          assistance to individuals (such as builders, owners, consultants, manufacturers, and designers),
                          organizations (such as utilities), and governments (such as state, local, and tribal). Covered actions
                          include, but are not limited to weatherization (such as insulation and replacing windows and doors);
                          programmed lowering of thermostat settings; placement of timers on hot water heaters; installation or
                          replacement of energy efficient lighting, low-flow plumbing fixtures (such as faucets, toilets, and
                          showerheads), heating, ventilation , and air conditioning systems, and appliances; installation of drip-
                          irrigation systems; improvements in generator efficiency and appliance efficiency ratings; efficiency
                          improvements for vehicles and transportation (such as fleet changeout); power storage (such as flywheels
                          and batteries, generally less than 10 megawatt equivalent); transportation management systems (such as
                          traffic signal control systems, car navigation, speed cameras, and automatic plate number recognition) ;
                          development of energy-efficient manufacturing, industrial, or building practices; and small-scale energy
                          efficiency and conservation research and development and small-scale pilot projects. Covered actions
                          include building renovations or new structures, provided that they occur in a previously disturbed or
                          developed area. Covered actions could involve commercial, residential, agricultural, academic,
                          institutional, or industrial sectors. Covered actions do not include rulemakings, standard-settings, or
                          proposed DOE legislation, except for those actions listed in 85.1(b) of this appendix. (b) Covered actions
                          include rulemakings that establish energy conservation standards for consumer products and industrial
                          equipment, provided that the actions would not: (1) have the potential to cause a significant change in
                          manufacturing infrastructure (such as construction of new manufacturing plants with considerable
                          associated ground disturbance); (2) involve significant unresolved conflicts concerning alternative uses of
                          available resources (such as rare or limited raw materials); (3) have the potential to result in a significant
                          increase in the disposal of materials posing significant risks to human health and the environment (such as
                          RCRA hazardous wastes) ; or (4) have the potential to cause a significant increase in energy consumption
                          in a state or region.
          85.14 Combined Conversion to, replacement of, or modification of combined heat and power or cogeneration systems (the
          heat and power sequential or simultaneous production of multiple forms of energy, such as thermal and electrical energy, in
          or cogeneration a single integrated system) at existing facilities, provided that the conversion , replacement, or modification
          systems
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                         would not have the potential to PageID    #: 3110increase in the quantity or rate of air emissions and
                                                         cause a significant
                         would not have the potential to cause significant impacts to water resources.
     B5.16 Solar         The installation, modification, operation, and removal of commercially available solar photovoltaic systems
     photovoltaic        located on a building or other structure (such as rooftop, parking lot or facility, and mounted to signage,
     systems             lighting, gates, or fences), or if located on land, generally comprising less than 10 acres within a previously
                         disturbed or developed area. Covered actions would be in accordance with applicable requirements (such
                         as local land use and zoning requirements) in the proposed project area and would incorporate appropriate
                         control technologies and best management practices.
     B5.17 Solar     The installation, modification, operation, and removal of commercially available smallscale solar thermal
     thermal systems systems (including, but not limited to, solar hot water systems) located on or contiguous to a building, and
                     if located on land, generally comprising less than 10 acres within a previously disturbed or developed area.
                     Covered actions would be in accordance with applicable requirements (such as local land use and zoning
                     requirements) in the proposed project area and would incorporate appropriate control technologies and
                     best management practices.
     B5.18Wind           The installation, modification, operation, and removal of a small number (generally not more than 2) of
     turbines            commercially available wind turbines, with a total height generally less than 200 feet (measured from the
                         ground to the maximum height of blade rotation) that (1) are located within a previously disturbed or
                         developed area; (2) are located more than 10 nautical miles (about 11 .5 miles) from an airport or aviation
                         navigation aid; (3) are located more than 1.5 nautical miles (about 1.7 miles) from National Weather
                         Service or Federal Aviation Administration Doppler weather radar; (4) would not have the potential to
                         cause significant impacts on bird or bat populations; and (5) are sited or designed such that the project
                         would not have the potential to cause significant impacts to persons (such as from shadow flicker and
                         other visual effects, and noise). Covered actions would be in accordance with applicable requirements
                         (such as local land use and zoning requirements) in the proposed project area and would incorporate
                         appropriate control technologies and best management practices. Covered actions include only those
                         related to wind turbines to be installed on land.
     B5.19 Ground        The installation, modification, operation, and removal of commercially available smallscale ground source
     source heat         heat pumps to support operations in single facilities (such as a school or community center) or contiguous
     pumps               facilities (such as an office complex) (1) only where (a) major associated activities (such as drilling and
                         discharge) are regulated, and (b) appropriate leakage and contaminant control measures would be in
                         place (including for cross-contamination between aquifers); (2) that would not have the potential to cause
                         significant changes in subsurface temperature; and (3) would be located within a previously disturbed or
                         developed area. Covered actions would be in accordance with applicable requirements (such as local land
                         use and zoning requirements) in the proposed project area and would incorporate appropriate control
                         technologies and best management practices.
     B5.20 Biomass       The installation, modification, operation, and removal of small-scale biomass power plants (generally less
     power plants        than 10 megawatts), using commercially available technology (1) intended primarily to support operations
                         in single facilities (such as a school and community center) or contiguous facilities (such as an office
                         complex); (2) that would not affect the air quality attainment status of the area and would not have the
                         potential to cause a significant increase in the quantity or rate of air emissions and would not have the
                         potential to cause significant impacts to water resources; and (3) would be located within a previously
                         disturbed or developed area. Covered actions would be in accordance with applicable requirements (such
                         as local land use and zoning requirements) in the proposed project area and would incorporate appropriate
                         control technologies and best management practices.
     B5.22 Alternative The installation, modification, operation, and removal of alternative fuel vehicle fueling stations (such as for
     fuel vehicle      compressed natural gas, hydrogen, ethanol and other commercially available biofuels) on the site of a
     fueling stations current or former fueling station, or within a previously disturbed or developed area within the boundaries
                       of a facility managed by the owners of a vehicle fleet. Covered actions would be in accordance with
                       applicable requirements (such as local land use and zoning requirements) in the proposed project area
                       and would incorporate appropriate control technologies and best management practices.
     B5.23 Electric   The installation, modification, operation, and removal of electric vehicle charging stations, using
     vehicle charging commercially available technology, within a previously disturbed or developed area. Covered actions are
     stations         limited to areas where access and parking are in accordance with applicable requirements (such as local
                      land use and zoning requirements) in the proposed project area and would incorporate appropriate control
                      technologies and best management practices.

Rationale for determination:

     The U.S. Department of Energy is proposing to provide funding to existing State Energy Program (SEP) Recipients as
     outlined in the SEP Infrastructure Investment and Jobs Act (IIJA) of 2022 SEP-Administrative Legal Requirements
     Document (SEP-IIJA-ALRD-2022), also known as the Bipartisan Infrastructure Law (BIL) to enhance energy security,
     state-led energy initiatives, and to increase energy affordability.

     Under the SEP Formula Awards as outlined in IIJA Provision 40109 Administrative Legal Requirements Document
     (ALRD) Program Year 2022 (SEP-IIJA-ALRD-2022), BIL would provide approximately $500 million to all 50 States,
     Territories, and the District of Columbia.
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                                               PageID
This NEPA determination is specific to the 55 SEP       #: 3111
                                                  Recipients* with a DOE executed Historic Preservation
Programmatic Agreement for activities that are funded by the SEP-IIJA-ALRD-2022.

The SEP Recipient without a DOE executed Historic Preservation Programmatic Agreement has a separate NEPA
determination: GFO-SEP-IIJA-ALRD 2022B.

DOE has determined the following Bounded Categories of activities that are funded by SEP-IIJA-ALRD-2022, are
categorically excluded from further NEPA review, absent extraordinary circumstances, cumulative impacts, or
connected actions that may lead to significant impacts on the environment, or any inconsistency with "integral
elements" (as contained in 10 CFR Part 1021 , Appendix B) as they relate to a particular project.

Bounded Categories:
1. Administrative activities associated with management of the designated state and management of programs and
strategies to encourage energy efficiency and renewable energy, including energy audits.

2. Development of plans including but not limited to Transmission & Distribution plans and state energy conservation
plans that may require feasibility studies, preparation of preliminary project design, outreach, and technical support to
local governments, Indian Tribes and affected stakeholders. All project activities identified and funded from this ALRD
must be listed within the Bounded Categories. Projects not listed within these Bounded Categories would require
submission of an Environmental Questionnaire (EQ-1 ).

3. Development and implementation of programs and strategies to encourage energy efficiency and renewable energy
such as policy development and stakeholder engagement.

4. Development and implementation of classroom training programs.

5. Development and implementation of building codes including inspection services, and associated activities to
support code compliance and promote building energy efficiency.

6. Implementation of financial incentive programs including rebates and energy savings performance contracts for
existing facilities; grants and loans to support energy efficiency, renewable energy and energy/water saving projects.
All project activities funded under a financial incentive program must be listed within the Bounded Categories or would
require submission of an Environmental Questionnaire (EQ-1).

7. Funding commercially available energy or energy/water efficiency or renewable energy upgrades, provided that
projects adhere to the requirements of the respective Recipient's DOE executed Historic Preservation Programmatic
Agreement, are installed in existing buildings, do not require structural reinforcement, no trees are removed, are
appropriately sized and are limited to:
a. Installation of insulation.
b. Installation of energy efficient lighting.
c. HVAC upgrades (to existing systems).
d. Weather sealing.
e. Purchase and installation of energy efficient or energy/water efficient home appliances and equipment (including,
but not limited to, energy or water monitoring and control systems, and thermostats).
f. Retrofit of energy efficient pumps and motors, for such uses as wastewater treatment plants, where it would not alter
the capacity, use, mission or operation of an existing facility.
g. Retrofit and replacement of windows and doors.
h. Installation of Combined Heat and Power System-systems sized appropriately for the buildings in which they are
located, not to exceed peak electrical production at 300kW.

8. Development, implementation, and installation of onsite renewable energy technology from renewable resources,
provided that projects are installed in or on an existing structure or within the boundaries of a facility (defined as an
already disturbed area due to regular ground maintenance), do not require structural reinforcement, no trees are
removed, are appropriately sized, and are limited to:

a. Solar Electricity/Photovoltaic-appropriately sized system or unit not to exceed 60 kW.
b. Battery storage, if applicable, would be attached to a structure (e.g., inside a garage), or within the boundaries of a
facility.
c. Wind Turbine-20 kW or smaller.
d. Solar Thermal (including solar thermal hot water)-system must be 200,000 BTU per hour or smaller.
e. Ground Source Heat Pump-5.5 tons of capacity or smaller, horizontal/vertical, ground, closed-loop system
f. Biomass Thermal-3 MMBTUs per hour or smaller system with appropriate Best Available Control Technologies
(BACT) installed and operated.

9. Installation of fueling pumps and systems for fuels such as compressed natural gas, hydrogen, ethanol and other
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   commercially available biofuels, (but not storage         #: 3112
                                                     tanks) installed on the site of a current fueling station.

   10. Purchase of alternative fuel vehicles.

   11 . Installation of electric vehicle supply equipment (EVSE), including testing measures to assess the safety and
   functionality of the EVSE, restricted to existing footprints and levels of previous ground disturbance, within an existing
   parking facility defined as any building, structure, land, right-of-way, facility, or area used for parking of motor vehicles.
   All activities must use reversible, non-permanent techniques for installation, where appropriate, use the lowest profile
   EVSE reasonably available that provides the necessary charging capacity; place the EVSE in a minimally visibly
   intrusive area; use colors complementary to surrounding environment, where possible, and are limited to the current
   electrical capacity. This applies to Level 1, Level 2, or Level 3 (also known as Direct Current (DC) Fast Charging)
   EVSE. Installation of EVSE on Tribal Lands, or installations of EVSE that may affect historic properties located on
   Tribal Lands, is excluded from this Bounded Category, without first contacting your DOE Project Officer who will
   coordinate with the DOE NEPA Specialist.

   Recipients shall adhere to the restrictions of their DOE executed Historic Preservation Programmatic Agreement. DOE
   executed Historic Preservation Programmatic Agreements are available on the Weatherization and Intergovernmental
   Programs website: https://www.energy.gov/eere/wipo/historic-preservation-executed-programmatic-agreements. The
   restrictions of the Bounded Categories must be followed and documented.

   All activities must be documented (e.g., a NEPA log) to ensure compliance with the restrictions of the Bounded
   Categories. The documentation must be available for DOE review upon request and submitted quarterly as outlined in
   the Federal Assistance Reporting Checklist . Recipients are required to participate in DOE led training on NEPA and
   historic preservation which would include the additional reporting requirements for the above activities prior to
   commencing work on the above activities. The training is available at www.energy.gov/node/4816816. Recipients are
   responsible for contacting NEPA with any NEPA or historic preservation questions at GONEPA@ee.doe.gov.

   The Recipient is responsible for identifying and promptly notifying DOE of extraordinary circumstances, cumulative
   impacts, or connected actions that may lead to significant impacts on the environment, or any inconsistency with the
   "integral elements" (as contained in 10 CFR Part 1021 , Appendix B) relating to any proposed activities. Additionally,
   the Recipient must demonstrate compliance with Section 106 of the National Historic Preservation Act (NHPA) and
   inform DOE of activities in the 100-year floodplain and wetlands.

   DOE is required to consider floodplain management and wetland protection as part of its environmental review
   process (10 CFR 1022). As part of this required review, DOE determined requirements set forth in Subpart B of 10
   CFR 1022 are not applicable to the activities described in Bounded Categories 1-7g above that would occur in the
   100-year floodplain (hereinafter "floodplain") or wetland because the activities would not have short-term or long-term
   adverse impacts to the floodplain or wetland. These activities are administrative or minor modifications of existing
   facilities to improve environmental conditions. All other integral elements and environmental review requirements are
   still applicable. All activities occurring in the floodplain or wetland must be documented. Activities occurring in the
   floodplain or wetland (except those under Bounded Categories 1-7g) are subject to additional NEPA review and
   approval by DOE.

   For activities requiring additional NEPA review, Recipients must complete the environmental questionnaire (found at
   https://www.eere-pmc.energy.gov/NEPA.aspx) for review by DOE.

   Most activities listed under "Bounded Categories" are more restrictive than the Categorical Exclusion. The restrictions
   must be followed for the Bounded Category to be applicable.

   * SEP Recipients with a historic preservation programmatic agreement: AL, AK, AS , AZ, AR, CA, CO, CT, DE, DC,FL,
   GA, HI, ID, IL, IN, IA, KS, KY, LA, ME, MD, MA, MI, MN, MP, MS, MO, MT, NE, NV, NH, NJ, NM, NY, NC, ND, OH,OK,
   OR, PA, PR, RI, SC, SD, TN, TX, UT, VT, VA, WA, WV, WI, WY, and VI.


NEPA PROVISION
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DOE has made a conditional NEPA determination. PageID #: 3113


The NEPA Determination applies to the following Topic Areas, Budget Periods, and/or tasks:

This NEPA Determination only applies to activities funded by the SEP IIJA Provision 40109 Administrative and Legal
Requirements Document., All activities must be documented (e.g., a NEPA log) to ensure compliance with the
restrictions of the Bounded Categories as outlined in the Federal Assistance Reporting Checklist. Recipients must
have a DOE executed Historic Preservation Programmatic Agreement.
The NEPA Determination does not apply to the following Topic Area, Budget Periods, and/or tasks :

This NEPA Determination does NOT apply to activities funded by sources other than the SEP IIJA Provision 40109
Administrative and Legal Requirements Document, activities that do not fit within the restrictions of the Bounded
Categories listed above, or to Recipients that do not have a DOE executed Historic Preservation Programmatic
Agreement.


Include the following condition in the financial assistance agreement:




Activities/projects not listed under "Bounded Categories" are subject to additional NEPA review and approval by DOE.
For activities/projects requiring additional NEPA review, Recipients must complete the environmental questionnaire
(https://www.eere-pmc.energy.gov/NEPA.aspx) and receive notification from DOE that the NEPA review for the
activities/projects has been completed and the Contracting Officer has approved the activities/projects prior to initiating
those activities/projects.

1. This NEPA Determination only applies to activities funded by the SEP IIJA Provision 40109 Administrative and Legal
Requirements Document.

2. All activities must be documented (e.g., a NEPA log) to ensure compliance with the restrictions of the Bounded
Categories. The documentation must be available for DOE review upon request and submitted quarterly as outlined in
the Federal Assistance Reporting Checklist.

3. Activities not listed under "Bounded Categories" including ground disturbing activities outside the boundaries of a
facility (defined as an already disturbed area due to regular ground maintenance), structural improvements to facilities,
and tree removal, are subject to additional NEPA review and approval by DOE. For activities requiring additional NEPA
review, Recipients must complete the environmental questionnaire found at https://www.eere-
pmc.energy.gov/NEPA.aspx and receive notification from DOE that the NEPA review for the activities has been
completed and the Contracting Officer has approved the activities prior to initiating those activities.

4. This authorization does not include activities where the following elements exist: extraordinary circumstances;
cumulative impacts or connected actions that may lead to significant effects on the human environment; or any
inconsistency with the "integral elements" (as contained in 10 CFR Part 1021, Appendix B) as they relate to a particular
project.

5. The Recipient must identify and promptly notify DOE of extraordinary circumstances, cumulative impacts or
connected actions that may lead to significant effects on the human environment, or any inconsistency with the
"integral elements" (as contained in 10 CFR Part 1021, Appendix B) as they relate to project activities.

6. Recipients must have a DOE executed Historic Preservation Programmatic Agreement and adhere to the terms and
restrictions of its DOE executed Historic Preservation Programmatic Agreement. DOE executed Historic Preservation
Programmatic Agreements are available on the Weatherization and Intergovernmental Programs website:
https://www.energy.gov/eere/wipo/historic-preservation-executed-programmatic-agreements.

7. Most activities listed under "Bounded Categories" are more restrictive than the Categorical Exclusion. The
restrictions listed in the "Bounded Categories" must be followed .

8. Recipients are responsible for completing the online NEPA and historic preservation training at
www.energy.gov/node/4816816 and contacting NEPA with any questions GONEPA@ee.doe.gov.

9. This authorization excludes any activities that are otherwise subject to a restriction set forth elsewhere in the Award .
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     Weatherization & Intergovernmental Programs Office - WAP
     This NEPA Determination requires legal review of the tailored NEPA provision.
     NEPA review completed by Alex Colling on 11/15/2022.

FOR CATEGORICAL EXCLUSION DETERMINATIONS

    The proposed action (or the part of the proposal defined in the Rationale above) fits within a class of actions that is listed in
    Appendix A or B to 10 CFR Part 1021, Subpart D. To fit within the classes of actions listed in 10 CFR Part 1021, Subpart D,
    Appendix B, a proposal must be one that would not: ( 1) threaten a violation of applicable statutory, regulatory, or permit
    requirements for environment, safety, and health, or similar requirements of DOE or Executive Orders; (2) require siting and
    construction or major expansion of waste storage, disposal, recovery, or treatment facilities (including incinerators), but the proposal
    may include categorically excluded waste storage, disposal, recovery, or treatment actions or facilities; (3) disturb hazardous
    substances, pollutants, contaminants, or CERCLA-excluded petroleum and natural gas products that preexist in the environment such
    that there would be uncontrolled or unpermitted releases; (4) have the potential to cause significant impacts on environmentally
    sensitive resources, including, but not limited to, those listed in paragraph 8(4) of 10 CFR Part 1021, Subpart D, Appendix B; (5)
    involve genetically engineered organisms, synthetic biology, governmentally designated noxious weeds, or invasive species, unless
    the proposed activity would be contained or confined in a manner designed and operated to prevent unauthorized release into the
    environment and conducted in accordance with applicable requirements, such as those listed in paragraph B( 5) of 10 CFR Part 1021,
    Subpart D, Appendix B.

    There are no extraordinary circumstances related to the proposed action that may affect the significance of the environmental effects
    of the proposal.

    The proposed action has not been segmented to meet the definition of a categorical exclusion. This proposal is not connected to other
    actions with potentially significant impacts (40 CFR l508.25(a)(l)), is not related to other actions with individually insignificant but
    cumulatively significant impacts (40 CFR 1508.27(b)(7)), and is not precluded by 40 CFR 1506.1 or IO CFR 1021.211 concerning
    limitations on actions during preparation of an environmental impact statement.

    A portion of the proposed action is categorically excluded from further NEPA review. The NEPA Provision identifies Topic Areas,
    Budget Periods, tasks, and/or subtasks that are subject to additional NEPA review.


SIGNATURE OF THIS MEMORANDUM CONSTITUTES A RECORD OF THIS DECISION.

                                                          EJ,,clrofi:.-.f¥
NEPA Compliance Officer Signature:                          SiQ....J,,ey: Casey Strickland                    Date:       11/16/2022
                                                           NEPA Compliance Officer

FIELD OFFICE MANAGER DETERMINATION

@     Field Office Manager review not required
D     Field Office Manager review required

BASED ON MY REVIEW I CONCUR WITH THE DETERMINATION OF THE NCO :

Field Office Manager's Signature:                                                                             Date:
                                    ----------------------
                                            Field Office Manager
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                     Bipartisan Infrastructure Law (BIL)
                       Special Terms and Conditions
The Grantee (“Recipient”), which is identified in Block 5 of the Assistance Agreement, and the
Office of Energy Efficiency and Renewable Energy (“EERE”), an office within the United States
Department of Energy (“DOE”), enter into this Award, referenced above, to achieve the project
objectives and the technical milestones and deliverables stated in Attachment 1 to this Award.

This Award consists of the following documents, including all terms and conditions therein:

                              Assistance Agreement
                              Special Terms and Conditions
            Attachment 1      Annual File
            Attachment 2      Federal Assistance Reporting Checklist and
                              Instructions
            Attachment 3      Budget Information SF-424A
            Attachment 4      Intellectual Property Provisions
            Attachment 5      Master File
            Attachment 6      NEPA Determination


  The following are incorporated into this Award by reference:
           Applicable program regulations, including 10 CFR Part 420 – State Energy Program at
           http://eCFR.gov.
           DOE Assistance Regulations, 2 CFR part 200 as amended by 2 CFR part 910 at
           http://www.eCFR.gov.
           Public Law 117-58 Bipartisan Infrastructure Law (BIL)
           National Policy Requirements (November 12, 2020) at
           http://www.nsf.gov/awards/managing/rtc.jsp.
           The Recipient’s application/proposal as approved by EERE.
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Subpart A.         General Provisions

Term 1.        Legal Authority and Effect
A DOE financial assistance award is valid only if it is in writing and is signed, either in writing or
electronically, by a DOE Contracting Officer.

The Recipient may accept or reject the Award. A request to draw down DOE funds or
acknowledgement of award documents by the Recipient’s authorized representative through
electronic systems used by DOE, specifically FedConnect, constitutes the Recipient's acceptance
of the terms and conditions of this Award. Acknowledgement via FedConnect by the
Recipient’s authorized representative constitutes the Recipient's electronic signature.

Term 2.        Flow Down Requirement
The Recipient agrees to apply the terms and conditions of this Award, as applicable, including
the Intellectual Property Provisions, to all subrecipients (and subcontractors, as appropriate), as
required by 2 CFR 200.101, and to require their strict compliance therewith. Further, the
Recipient must apply the Award terms as required by 2 CFR 200.327 to all subrecipients (and
subcontractors, as appropriate), and to require their strict compliance therewith.

Term 3.        Compliance with Federal, State, and Municipal Law
The Recipient is required to comply with applicable Federal, state, and local laws and
regulations for all work performed under this Award. The Recipient is required to obtain all
necessary Federal, state, and local permits, authorizations, and approvals for all work
performed under this Award.

Term 4.        Inconsistency with Federal Law
Any apparent inconsistency between Federal statutes and regulations and the terms and
conditions contained in this Award must be referred to the DOE Award Administrator for
guidance.

Term 5.        Federal Stewardship
EERE will exercise normal Federal stewardship in overseeing the project activities performed
under this Award. Stewardship activities include, but are not limited to, conducting site visits;
reviewing performance and financial reports; providing technical assistance and/or temporary
intervention in unusual circumstances to address deficiencies that develop during the project;
assuring compliance with terms and conditions; and reviewing technical performance after
project completion to ensure that the project objectives have been accomplished.

Term 6.        Federal Involvement

       A. Review Meetings
          The Recipient, including but not limited to, the principal investigator (or, if

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        applicable, co-principal investigators), is required to participate in periodic review
        meetings with EERE. Review meetings enable EERE to assess the work performed
        under this Award and determine whether the Recipient has timely achieved the
        technical milestones and deliverables stated in Attachment 1 to this Award.

        EERE shall determine the frequency of review meetings and select the day, time, and
        location of each review meeting and shall do so in a reasonable and good faith
        manner. EERE will provide the Recipient with reasonable notice of the review
        meetings.

        For each review meeting, the Recipient is required to provide a comprehensive
        overview of the project, including:
               The Recipient’s technical progress compared to the Milestone Summary
               Table stated in Attachment 1 to this Award.
               The Recipient’s actual expenditures compared to the approved budget in
               Attachment 3 to this Award.
               Other subject matter specified by the DOE Technology Manager/Project
               Officer.

     B. Project Meetings
        The Recipient is required to notify EERE in advance of scheduled tests and internal
        project meetings that would entail discussion of topics that could result in major
        changes to the baseline project technical scope/approach, cost, or schedule. Upon
        request by EERE, the Recipient is required to provide EERE with reasonable access
        (by telephone, webinar, or otherwise) to the tests and project meetings. The
        Recipient is not expected to delay any work under this Award for the purpose of
        government insight.

     C. Site Visits
        EERE's authorized representatives have the right to make site visits at reasonable
        times to review project accomplishments and management control systems and to
        provide technical assistance, if required. The Recipient must provide, and must
        require subrecipients to provide, reasonable access to facilities, office space,
        resources, and assistance for the safety and convenience of the government
        representatives in the performance of their duties. All site visits and evaluations
        must be performed in a manner that does not unduly interfere with or delay the
        work.

     D. EERE Access
        The Recipient must provide any information, documents, site access, or other
        assistance requested by EERE for the purpose of its Federal stewardship or
        substantial involvement.



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Term 7.      NEPA Requirements

  A. Authorization
     DOE must comply with the National Environmental Policy Act (NEPA) prior to
     authorizing the use of Federal funds.

     For Recipients with a DOE executed Historic Preservation Programmatic Agreement
     (PA), DOE has determined that the “Bounded Categories” listed in the State Energy
     Program NEPA Determination (Attachment 6) are categorically excluded and require no
     further NEPA review, when the Recipient demonstrates the activities are compliant with
     the restrictions of the “Bounded Categories” and the NEPA logs are available to DOE
     upon request as well as submitted quarterly, per the Federal Assistance Reporting
     Checklist. The Recipient is thereby authorized to use Federal funds for the “Bounded
     Categories” listed in the SEP IIJA Provision 40109 Administrative and Legal Requirements
     Document (SEP-IIJAALRD-2022) NEPA Determination, subject to the Recipient’s
     compliance with paragraphs B. “Conditions” and C. “Future Modifications,” and the
     restrictions listed in Attachment 6.

  B. Conditions

     Activities/projects not listed under "Bounded Categories" are subject to additional NEPA
     review and approval by DOE. For activities/projects requiring additional NEPA review,
     Recipients must complete the environmental questionnaire(https://www.eere-
     pmc.energy.gov/NEPA.aspx) and receive notification from DOE that the NEPA review
     has been completed and approved by the Contracting Officer prior to initiating the
     project or activities.

  1. This NEPA Determination only applies to activities funded by the SEP IIJA Provision
     40109 Administrative and Legal Requirements Document.

  2. All activities must be documented (e.g., a NEPA log) to ensure compliance with the
     restrictions of the Bounded Categories. The documentation must be available for DOE
     review upon request.

  3. Activities not listed under "Bounded Categories" including ground disturbing activities
     outside the boundaries of a facility (defined as an already disturbed area due to regular
     ground maintenance), structural improvements to facilities, and tree removal, are
     subject to additional NEPA review and approval by DOE. For activities requiring
     additional NEPA review, Recipients must complete the environmental questionnaire
     found at https: //www.eere-pmc.energy.gov/NEPA.aspx and receive notification from
     DOE that the NEPA review has been completed and approved by the Contracting Officer
     prior to initiating the project or activities.


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  4. This authorization does not include activities where the following elements exist:
     extraordinary circumstances; cumulative impacts or connected actions that may lead to
     significant effects on the human environment; or any inconsistency with the "integral
     elements" (as contained in 10 CFR Part 1021, Appendix B) as they relate to a particular
     project.

  5. The Recipient must identify and promptly notify DOE of extraordinary circumstances,
     cumulative impacts or connected actions that may lead to significant effects on the
     human environment, or any inconsistency with the “integral elements” (as contained in
     10 CFR Part 1021, Appendix B) as they relate to project activities.

  6. Recipients must have a DOE executed Historic Preservation Programmatic Agreement
     and adhere to the terms and restrictions of its DOE executed Historic Preservation
     Programmatic Agreement. DOE executed historic preservation programmatic
     agreements are available on the Weatherization and Intergovernmental Programs
     website:https://www.energy.gov/eere/wipo/historic-preservation-executed-
     programmatic-agreements.

  7. Most activities listed under "Bounded Categories" are more restrictive than the
     Categorical Exclusion. The restrictions listed in the "Bounded Categories" must be
     followed.

  8. Recipients are responsible for completing the online NEPA and Historic preservation
     training at http://www.energy.gov/node/4816816 and contacting NEPA with any
     questions GONEPA@ee.doe.gov.

  9. This authorization excludes any activities that are otherwise subject to a restriction set
     forth elsewhere in the Award.

  C. Modifications and Activities not covered by the NEPA Determination
     If the Recipient intends to undertake activities or projects that do not fall within the
     NEPA determination, those activities and projects are subject to additional NEPA review
     by DOE and are not authorized for Federal funding unless and until the Contracting
     Officer provides written authorization on those additions or modifications. Should the
     Recipient elect to undertake activities or projects prior to written authorization from the
     Contracting Officer, the Recipient does so at risk of not receiving Federal funding for
     those activities and projects, and such costs may not be recognized as allowable cost
     match.




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Term 8.         Historic Preservation

   A. Authorization

DOE must comply with the requirements of Section 106 of the National Historic Preservation
Act (NHPA) prior to authorizing the use of Federal funds. Section 106 applies to historic
properties that are listed in or eligible for listing in the National Register of Historic Places.
Recipients with a DOE-executed Programmatic Agreement (PA) must comply with the
requirements identified in paragraph B. Conditions below.

   B. Conditions

       Recipients with a DOE executed PA for Historic Preservation:
       (AL, AK, AS, AZ, AR, CA, CO, CT, DE, DC,FL,GA, HI, ID, IL, IN, IA, KS, KY, LA, ME, MD, MA,
       MI, MN, MP, MS, MO, MT, NE, NV, NH, NJ, NM, NY, NC, ND, OH,OK,OR, PA, PR, RI, SC,
       SD, TN, TX, UT, VT, VA, WA, WV, WI, WY, and VI.)

       Recipients with a DOE executed historic preservation Programmatic Agreement (PA)
       must adhere to all the Stipulations of their PA. All DOE executed PAs are available on
       the Weatherization and Intergovernmental Programs website:
       https://www.energy.gov/eere/wipo/historic-preservation-executed-programmatic-
       agreements.

       In addition to the Stipulations in their PAs, Recipients must notify DOE via
       GONEPA@ee.doe.gov whenever:

           Either the Recipient or the State Historic Preservation Office (SHPO)/Tribal Historic
           Preservation Office (THPO) believes that the Criteria of Adverse Effect pursuant to
           36 CFR § 800.5, apply to the proposal under consideration by DOE;
           There is a disagreement between an Applicant, or its authorized representative, and
           the SHPO/THPO about the scope of the area of potential effects, identification and
           evaluation of historic properties and/or the assessment of effects;
           There is an objection from a consulting party or the public regarding their
           involvement in the review process established by 36 CFR Part 800, Section 106
           findings and determinations, or implementation of agreed upon measures; or
           There is the potential for a foreclosure situation or anticipatory demolition as
           defined under 36 CFR §800.9 (b) and 36 CFR § 800.9 (c).




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Term 9.       Performance of Work in United States

       A. Requirement
          All work performed under this Award must be performed in the United States unless
          the Contracting Officer provides a waiver. This requirement does not apply to the
          purchase of supplies and equipment; however, the Recipient should make every
          effort to purchase supplies and equipment within the United States. The Recipient
          must flow down this requirement to its subrecipients.

       B. Failure to Comply
          If the Recipient fails to comply with the Performance of Work in the United States
          requirement, the Contracting Officer may deny reimbursement for the work
          conducted outside the United States and such costs may not be recognized as
          allowable Recipient cost share regardless if the work is performed by the Recipient,
          subrecipients, vendors or other project partners.

       C. Waiver for Work Outside the U.S.
          All work performed under this Award must be performed in the United States.
          However, the Contracting Officer may approve the Recipient to perform a portion of
          the work outside the United States under limited circumstances. The Recipient must
          obtain a waiver from the Contracting Officer prior to conducting any work outside
          the U.S. To request a waiver, the Recipient must submit a written waiver request to
          the Contracting Officer, which includes the following information:
                 The rationale for performing the work outside the U.S.;
                 A description of the work proposed to be performed outside the U.S.;
                 Proposed budget of work to be performed; and
                 The countries in which the work is proposed to be performed.

           For the rationale, the Recipient must demonstrate to the satisfaction of the
           Contracting Officer that the performance of work outside the United States would
           further the purposes of the FOA or Program that the Award was selected under and
           is in the economic interests of the United States. The Contracting Officer may
           require additional information before considering such request.

Term 10.      Foreign National Involvement

The Recipient and project participants (including subrecipients and contractors) who anticipate
involving foreign nationals in the performance of an award, may be required to provide DOE
with specific information about each foreign national to satisfy requirements for foreign
national participation. A foreign national is defined as any person who is not a U.S. citizen by
birth or naturalization. The volume and type of information collected may depend on various
factors associated with the award.


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Term 11.      Reporting Requirements

       A. Requirements
          The reporting requirements for this Award are identified on the Federal Assistance
          Reporting Checklist, attached to this Award. Failure to comply with these reporting
          requirements is considered a material noncompliance with the terms of the Award.
          Noncompliance may result in withholding of future payments, suspension, or
          termination of the current award, and withholding of future awards. A willful failure
          to perform, a history of failure to perform, or unsatisfactory performance of this
          and/or other financial assistance awards, may also result in a debarment action to
          preclude future awards by Federal agencies.

       B. Dissemination of Scientific and Technical Information
          Scientific and Technical Information (STI) generated under this Award will be
          submitted to DOE via the Office of Scientific and Technical Information’s Energy Link
          (E-Link) system. STI submitted under this Award will be disseminated via DOE’s
          OSTI.gov website subject to approved access limitations. Citations for journal articles
          produced under the Award will appear on the DOE PAGES website.

       C. Restrictions
          Scientific and Technical Information submitted to E-Link must not contain any
          Protected Personal Identifiable Information (PII), limited rights data (proprietary
          data), classified information, information subject to export control classification, or
          other information not subject to release.

Term 12.      Lobbying
By accepting funds under this Award, the Recipient agrees that none of the funds obligated on
the Award shall be expended, directly or indirectly, to influence congressional action on any
legislation or appropriation matters pending before Congress, other than to communicate to
Members of Congress as described in 18 U.S.C. 1913. This restriction is in addition to those
prescribed elsewhere in statute and regulation.

Term 13.      Publications
The Recipient is required to include the following acknowledgement in publications arising out
of, or relating to, work performed under this Award, whether copyrighted or not:

       Acknowledgment: “This material is based upon work supported by the U.S. Department
       of Energy’s Office of Energy Efficiency and Renewable Energy (EERE) under the State
       Energy Program Award Number DE-EE0010060.”

       Full Legal Disclaimer: “This report was prepared as an account of work sponsored by an
       agency of the United States Government. Neither the United States Government nor
       any agency thereof, nor any of their employees, makes any warranty, express or

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       implied, or assumes any legal liability or responsibility for the accuracy, completeness,
       or usefulness of any information, apparatus, product, or process disclosed, or
       represents that its use would not infringe privately owned rights. Reference herein to
       any specific commercial product, process, or service by trade name, trademark,
       manufacturer, or otherwise does not necessarily constitute or imply its endorsement,
       recommendation, or favoring by the United States Government or any agency thereof.
       The views and opinions of authors expressed herein do not necessarily state or reflect
       those of the United States Government or any agency thereof.”

       Abridged Legal Disclaimer: “The views expressed herein do not necessarily represent
       the views of the U.S. Department of Energy or the United States Government.”

       Recipients should make every effort to include the full Legal Disclaimer. However, in the
       event that recipients are constrained by formatting and/or page limitations set by the
       publisher, the abridged Legal Disclaimer is an acceptable alternative.

Term 14.       No-Cost Extension
As provided in 2 CFR 200.308, the Recipient must provide the Contracting Officer with notice in
advance if it intends to utilize a one-time, no-cost extension of this Award. The notification
must include the supporting reasons and the revised period of performance. The Recipient
must submit this notification in writing to the Contracting Officer and DOE Technology
Manager/ Project Officer at least 30 days before the end of the current budget period.

Any no-cost extension will not alter the project scope, milestones, deliverables, or budget of
this Award.

Term 15.       Property Standards
The complete text of the Property Standards can be found at 2 CFR 200.310 through 200.316.
Also see 2 CFR 910.360 for additional requirements for real property and equipment for For-
Profit recipients.

Term 16.       Insurance Coverage
See 2 CFR 200.310 for insurance requirements for real property and equipment acquired or
improved with Federal funds. Also see 2 CFR 910.360(d) for additional requirements for real
property and equipment for For-Profit recipients.

Term 17.       Real Property
Subject to the conditions set forth in 2 CFR 200.311, title to real property acquired or improved
under a Federal award will conditionally vest upon acquisition in the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.311 before disposing of the property.



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Except as otherwise provided by Federal statutes or by the Federal awarding agency, real
property will be used for the originally authorized purpose as long as needed for that purpose.
When real property is no longer needed for the originally authorized purpose, the non-Federal
entity must obtain disposition instructions from DOE or pass-through entity. The instructions
must provide for one of the following alternatives: (1) retain title after compensating DOE as
described in 2 CFR 200.311(c)(1); (2) Sell the property and compensate DOE as specified in 2
CFR 200.311(c)(2); or (3) transfer title to DOE or to a third party designated/approved by DOE
as specified in 2 CFR 200.311(c)(3).

See 2 CFR 200.311 for additional requirements pertaining to real property acquired or
improved under a Federal award. Also see 2 CFR 910.360 for additional requirements for real
property for For-Profit recipients.

Term 18.      Equipment
Subject to the conditions provided in 2 CFR 200.313, title to equipment (property) acquired
under a Federal award will conditionally vest upon acquisition with the non-Federal entity. The
non-Federal entity cannot encumber this property and must follow the requirements of 2 CFR
200.313 before disposing of the property.

A state must use equipment acquired under a Federal award by the state in accordance with
state laws and procedures.

Equipment must be used by the non-Federal entity in the program or project for which it was
acquired as long as it is needed, whether or not the project or program continues to be
supported by the Federal award. When no longer needed for the originally authorized purpose,
the equipment may be used by programs supported by DOE in the priority order specified in 2
CFR 200.313(c)(1)(i) and (ii).

Management requirements, including inventory and control systems, for equipment are
provided in 2 CFR 200.313(d).

When equipment acquired under a Federal award is no longer needed, the non-Federal entity
must obtain disposition instructions from DOE or pass-through entity.

Disposition will be made as follows: (1) items of equipment with a current fair market value of
$5,000 or less may be retained, sold, or otherwise disposed of with no further obligation to
DOE; (2) Non-Federal entity may retain title or sell the equipment after compensating DOE as
described in 2 CFR 200.313(e)(2); or (3) transfer title to DOE or to an eligible third party as
specified in 2 CFR 200.313(e)(3).

See 2 CFR 200.313 for additional requirements pertaining to equipment acquired under a
Federal award. Also see 2 CFR 910.360 for additional requirements for equipment for For-Profit
recipients. See also 2 CFR 200.439 Equipment and other capital expenditures.

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Term 19.       Supplies
See 2 CFR 200.314 for requirements pertaining to supplies acquired under a Federal award. See
also 2 CFR 200.453 Materials and supplies costs, including costs of computing devices.

Term 20.       Property Trust Relationship
Real property, equipment, and intangible property, that are acquired or improved with a
Federal award must be held in trust by the non-Federal entity as trustee for the beneficiaries of
the project or program under which the property was acquired or improved. See 2 CFR
200.316 for additional requirements pertaining to real property, equipment, and intangible
property acquired or improved under a Federal award.

Term 21.       Record Retention
Consistent with 2 CFR 200.334 through 200.338, the Recipient is required to retain records
relating to this Award.

Term 22.       Audits

       A. Government-Initiated Audits
          The Recipient must provide any information, documents, site access, or other
          assistance requested by EERE, DOE or Federal auditing agencies (e.g., DOE Inspector
          General, Government Accountability Office) for the purpose of audits and
          investigations. Such assistance may include, but is not limited to, reasonable access
          to the Recipient’s records relating to this Award.

           Consistent with 2 CFR part 200 as amended by 2 CFR part 910, DOE may audit the
           Recipient’s financial records or administrative records relating to this Award at any
           time. Government-initiated audits are generally paid for by DOE.

           DOE may conduct a final audit at the end of the project period (or the termination of
           the Award, if applicable). Upon completion of the audit, the Recipient is required to
           refund to DOE any payments for costs that were determined to be unallowable. If
           the audit has not been performed or completed prior to the closeout of the award,
           DOE retains the right to recover an appropriate amount after fully considering the
           recommendations on disallowed costs resulting from the final audit.

           DOE will provide reasonable advance notice of audits and will minimize interference
           with ongoing work, to the maximum extent practicable.

       B. Annual Independent Audits (Single Audit or Compliance Audit)
          The Recipient must comply with the annual independent audit requirements in 2
          CFR 200.500 through .521 for institutions of higher education, nonprofit
          organizations, and state and local governments (Single audit), and 2 CFR 910.500
          through .521 for for-profit entities (Compliance audit).

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           The annual independent audits are separate from Government-initiated audits
           discussed in part A. of this Term, and must be paid for by the Recipient. To minimize
           expense, the Recipient may have a Compliance audit in conjunction with its annual
           audit of financial statements. The financial statement audit is not a substitute for
           the Compliance audit. If the audit (Single audit or Compliance audit, depending on
           Recipient entity type) has not been performed or completed prior to the closeout of
           the award, DOE may impose one or more of the actions outlined in 2 CFR 200.338,
           Remedies for Noncompliance.

Subpart B. Financial Provisions

Term 23.      Maximum Obligation

The maximum obligation of DOE for this Award is the total “Funds Obligated” stated in Block 13
of the Assistance Agreement to this Award.

Term 24.      Continuation Application and Funding

       A. Continuation Application
          A continuation application is a non-competitive application for an additional budget
          period and extended project period. The continuation application shall be
          submitted to EERE in accordance with the annual Announcement/Grant Guidance
          that is issued.

       B. Continuation Funding
          Continuation funding is contingent on (1) the availability of funds appropriated by
          Congress for the purpose of this program; (2) the availability of future-year budget
          authority; (3) Recipient’s satisfactory progress towards meeting the objectives of the
          State Energy Program; (4) Recipient’s submittal of required reports; (5) Recipient’s
          compliance with the terms and conditions of the Award; (6) the Recipient’s
          submission of a continuation application; and (7) written approval of the
          continuation application by the Contracting Officer.

Term 25.      Refund Obligation
The Recipient must refund any excess payments received from EERE, including any costs
determined unallowable by the Contracting Officer. Upon the end of the project period (or the
termination of the Award, if applicable), the Recipient must refund to EERE the difference
between (1) the total payments received from EERE, and (2) the Federal share of the costs
incurred. Refund obligations under this Term do not supersede the annual reconciliation or true
up process if specified under the Indirect Cost Term.



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Term 26.       Allowable Costs
EERE determines the allowability of costs through reference to 2 CFR part 200 as amended by 2
CFR part 910. All project costs must be allowable, allocable, and reasonable. The Recipient
must document and maintain records of all project costs, including, but not limited to, the costs
paid by Federal funds, costs claimed by its subrecipients and project costs that the Recipient
claims as cost sharing, including in-kind contributions. The Recipient is responsible for
maintaining records adequate to demonstrate that costs claimed have been incurred, are
reasonable, allowable and allocable, and comply with the cost principles. Upon request, the
Recipient is required to provide such records to EERE. Such records are subject to audit. Failure
to provide EERE adequate supporting documentation may result in a determination by the
Contracting Officer that those costs are unallowable.

The Recipient is required to obtain the prior written approval of the Contracting Officer for any
foreign travel costs.

Term 27.       Indirect Costs

       A. Indirect Cost Allocation:
          The Recipient has a current and approved Predetermined or Fixed Negotiated
          Indirect Cost Rate Agreement (NICRA) and it applies uniformly across all Federal
          awards through the Recipients fiscal year end 2023. An updated rate proposal or
          NICRA is required within 180 days prior to the identified expiration if the Recipient is
          to continue to bill predetermined indirect cost billing rates on the DOE award.

       B. Fringe Cost Allocation:
          Fringe benefit costs have been allocated to this award under a segregated fringe
          billing rate. The fringe costs were found to be reasonable, allocable, and allowable
          as reflected in the budget. Fringe elements apply to both direct and indirect
          labor. Under a segregated cost pool, the fringe billing rate shall be treated as an
          indirect cost expenditure and must be reconciled annually.

       C. Subrecipient Indirect Costs (If Applicable):
          The Recipient must ensure its subrecipient’s indirect costs are appropriately
          managed, have been found to be allowable, and comply with the requirements of
          this Award and 2 CFR Part 200 as amended by 2 CFR Part 910.

       D. Indirect Cost Stipulations:

             i.   Modification to Indirect Cost Billing Rates
                  EERE will not modify this Award solely to provide additional funds to cover
                  increases in the Recipient’s indirect cost billing rate(s). Adjustments to the
                  indirect cost billing rates must be approved by the Recipient’s Cognizant
                  Agency or Cognizant Federal Agency Official.

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                   The Recipient must provide a copy of an updated NICRA or indirect rate
                   proposal to the DOE Award Administrator in order to increase indirect cost
                   billing rates. If the Contracting Officer provides prior written approval, the
                   Recipient may incur an increase in the indirect cost billing rates.
                   Reimbursement will be limited by the budgeted dollar amount for indirect
                   costs for each budget period as shown in Attachment 3 to this Award.

             ii.   Award Closeout
                   The closeout of the DOE award does not affect (1) the right of the DOE
                   to disallow costs and recover funds on the basis of a later audit or other
                   review; (2) the requirement for the Recipient to return any funds due
                   as a result of later refunds, corrections or other transactions including
                   final indirect cost billing rate adjustments; and (3) the ability of the DOE
                   to make financial adjustments to a previously closed award resolving
                   indirect cost payments and making final payments.

Term 28.       Decontamination and/or Decommissioning (D&D) Costs
Notwithstanding any other provisions of this Award, the Government shall not be responsible
for or have any obligation to the Recipient for (1) Decontamination and/or Decommissioning
(D&D) of any of the Recipient’s facilities, or (2) any costs which may be incurred by the
Recipient in connection with the D&D of any of its facilities due to the performance of the work
under this Award, whether said work was performed prior to or subsequent to the effective
date of the Award.

Term 29.       Use of Program Income
If the Recipient earns program income during the project period as a result of this Award, the
Recipient must add the program income to the funds committed to the Award and used to
further eligible project objectives.

Term 30.       Payment Procedures

       A. Method of Payment
          Payment will be made by advances through the Department of Treasury’s ASAP
          system.

       B. Requesting Advances
          Requests for advances must be made through the ASAP system. The Recipient may
          submit requests as frequently as required to meet its needs to disburse funds for the
          Federal share of project costs. If feasible, the Recipient should time each request so
          that the Recipient receives payment on the same day that the Recipient disburses
          funds for direct project costs and the proportionate share of any allowable indirect
          costs. If same-day transfers are not feasible, advance payments must be as close to

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        actual disbursements as administratively feasible.

     C. Adjusting Payment Requests for Available Cash
        The Recipient must disburse any funds that are available from repayments to and
        interest earned on a revolving fund, program income, rebates, refunds, contract
        settlements, audit recoveries, credits, discounts, and interest earned on any of those
        funds before requesting additional cash payments from EERE.

     D. Payments
        All payments are made by electronic funds transfer to the bank account identified
        on the Bank Information Form that the Recipient filed with the U.S. Department of
        Treasury.

     E. Unauthorized Drawdown of Federal Funds
        For each budget period, the Recipient may not spend more than the Federal share
        authorized to that particular budget period, without specific written approval from
        the Contracting Officer. The Recipient must immediately refund EERE any amounts
        spent or drawn down in excess of the authorized amount for a budget period. The
        Recipient and subrecipients shall promptly, but at least quarterly, remit to DOE
        interest earned on advances drawn in excess of disbursement needs, and shall
        comply with the procedure for remitting interest earned to the Federal government
        per 2 CFR 200.305, as applicable.

     F. Supporting Documents for Agency Approval of Payments
        DOE may require Agency pre-approval of payments. If the Agency approval
        requirement is in effect for the Recipient’s Award, the ASAP system will indicate that
        Agency approval is required when the Recipient submits a request for payment.

        The Recipient must notify the DOE Technical Project Officer and DOE Award
        Administrator identified on the Assistance Agreement that a payment request has
        been submitted.

        The following items are required to be submitted to the DOE Technical Project
        Officer and DOE Award Administrator identified on the Assistance Agreement:
            Summary cost data, for the billing period and cumulative cost data, showing all
            categories listed in the SF-424A and identifying Federal, non-Federal, and total
            amounts.
            SF-270.
            If there are unauthorized phases and/or tasks for the current budget period in
            the NEPA Requirements term in these Special Terms and Conditions, a statement
            affirming that no invoiced costs are related to tasks or activities prohibited by
            the NEPA Requirements term.
            Applicable to for-profit recipients and subrecipients UCC filing proof for all

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              equipment acquired with project funds (i.e., Federal share or Recipient share)
              and equipment offered as cost share.

           The DOE payment authorizing official may request additional information from the
           Recipient to support the payment requests prior to release of funds, as deemed
           necessary. The Recipient is required to comply with these requests. Supporting
           documents include invoices, copies of contracts, vendor quotes, and other
           expenditure explanations that justify the payment requests.

Term 31.      Budget Changes

     A. Budget Changes Generally
        The Contracting Officer has reviewed and approved the SF-424A in Attachment 3 to
        this Award.

           Any increase in the total project cost, whether DOE share or Cost Share, which is
           stated as “Total” in Block 12 to the Assistance Agreement of this Award, must be
           approved in advance and in writing by the Contracting Officer.

           Any change that alters the project scope, milestones or deliverables requires prior
           written approval of the Contracting Officer. EERE may deny reimbursement for any
           failure to comply with the requirements in this term.

     B. Transfers of Funds Among Direct Cost Categories
        The Recipient is required to submit written notification via email (not in PAGE) to
        the Project Officer identified in the Assistance Agreement of any transfer of funds
        among direct cost categories where the cumulative amount of such transfers
        exceeds or is expected to exceed 10 percent of the total project cost, which is stated
        as “Total” in Block 12 to the Assistance Agreement of this Award.

           Upon receipt of adequate notification documentation by the Project Officer, the
           recipient is hereby authorized to transfer funds among direct cost categories for
           program activities consistent with their approved State/Annual Plan, without prior
           approval by the awarding agency.

           Limitations on supplies and equipment as detailed in the respective year's SEP Grant
           Guidance still apply and are not waived under this provision.

     C. Transfer of Funds Between Direct and Indirect Cost Categories
        The Recipient is required to obtain the prior written approval of the Contracting
        Officer for any transfer of funds between direct and indirect cost categories. If the
        Recipient’s actual allowable indirect costs are less than those budgeted in
        Attachment 3 to this Award, the Recipient may use the difference to pay additional

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           allowable direct costs during the project period so long as the total difference is less
           than 10% of total project costs and the difference is reflected in actual requests for
           reimbursement to DOE.

Term 32.           Carryover of Unobligated Balances
The Recipient is hereby authorized to carry over unobligated balances of Federal and non-
Federal funds from one budget period to a subsequent budget period, for program activities
consistent with their approved State/Annual Plan, without prior approval by the Contracting
Officer. Should the Recipient wish to use carryover funds for activities that are not consistent
with the approved State/Annual Plan, a budget revision application must be submitted for
approval by DOE.

For purposes of this Award, an unobligated balance is the portion of the funds authorized by
DOE that have not been obligated by the Recipient at the end of a budget period. The Recipient
is advised to carefully manage grant funds to minimize unobligated balances each year, but
especially at the end of the grant project period.

Subpart C.           Miscellaneous Provisions

Term 33.           Reporting Subawards and Executive Compensation

       A. Reporting of first-tier subawards

             i.      Applicability. Unless the Recipient is exempt as provided in paragraph D. of
                     this award term, the Recipient must report each action that equals or
                     exceeds $30,000 in Federal funds for a subaward to an entity (see definitions
                     in paragraph E. of this award term).

             ii.     Where and when to report.

                        1. The Recipient must report each obligating action described in
                           paragraph A.i. of this award term to https://www.fsrs.gov.

                        2. For subaward information, report no later than the end of the month
                           following the month in which the obligation was made. (For example,
                           if the obligation was made on November 7, 2010, the obligation must
                           be reported no later than December 31, 2010.)

            iii.     What to report. The Recipient must report the information about each
                     obligating action that the submission instructions posted at
                     https://www.fsrs.gov specify.



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     B. Reporting Total Compensation of Recipient Executives

          i.    Applicability and what to report. The Recipient must report total
                compensation for each of its five most highly compensated executives for the
                preceding completed fiscal year, if:

                   1. The total Federal funding authorized to date under this Award equals
                      or exceeds $30,000 as defined in 2 CFR 170.320;

                   2. In the preceding fiscal year, the Recipient received;

                           a. 80 percent or more of the Recipient’s annual gross revenues
                              from Federal procurement contracts (and subcontracts) and
                              Federal financial assistance subject to the Transparency Act,
                              as defined at 2 CFR 170.320 (and subawards); and

                           b. $25,000,000 or more in annual gross revenues from Federal
                              procurement contracts (and subcontracts) and Federal
                              financial assistance subject to the Transparency Act, as
                              defined at 2 CFR 170.320 (and subawards)

                   3. The public does not have access to information about the
                      compensation of the executives through periodic reports filed under
                      section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                      U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                      of 1986. (To determine if the public has access to the compensation
                      information, see the U.S. Security and Exchange Commission total
                      compensation filings at http://www.sec.gov/answers/execomp.htm).

          ii.   Where and when to report. The Recipient must report executive total
                compensation described in paragraph B.i. of this award term:

                   1. As part of the Recipient’s registration profile at https://www.sam.gov.

                   2. By the end of the month following the month in which this award is
                      made, and annually thereafter.

     C. Reporting of Total Compensation of Subrecipient Executives

          i.    Applicability and what to report. Unless the Recipient is exempt as provided
                in paragraph D. of this award term, for each first-tier subrecipient under this
                award, the Recipient shall report the names and total compensation of each
                of the subrecipient's five most highly compensated executives for the

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                subrecipient's preceding completed fiscal year, if:

                    1. In the subrecipient's preceding fiscal year, the subrecipient received:

                           a. 80 percent or more of its annual gross revenues from Federal
                              procurement contracts (and subcontracts) and Federal
                              financial assistance subject to the Transparency Act, as
                              defined at 2 CFR 170.320 (and subawards); and

                           b. $25,000,000 or more in annual gross revenues from Federal
                              procurement contracts (and subcontracts), and Federal
                              financial assistance subject to the Transparency Act (and
                              subawards)

                    2. The public does not have access to information about the
                       compensation of the executives through periodic reports filed under
                       section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15
                       U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue Code
                       of 1986. (To determine if the public has access to the compensation
                       information, see the U.S. Security and Exchange Commission total
                       compensation filings at http://www.sec.gov/answers/execomp.htm).

          ii.   Where and when to report. The Recipient must report subrecipient executive
                total compensation described in paragraph C.i. of this award term:

                    1. To the recipient.

                    2. By the end of the month following the month during which the
                       Recipient makes the subaward. For example, if a subaward is
                       obligated on any date during the month of October of a given year
                       (i.e., between October 1 and 31), the Recipient must report any
                       required compensation information of the subrecipient by November
                       30 of that year.

     D. Exemptions
        If, in the previous tax year, the Recipient had gross income, from all sources, under
        $300,000, it is exempt from the requirements to report:

           i.   Subawards; and

          ii.   The total compensation of the five most highly compensated executives of
                any subrecipient.



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     E. Definitions
        For purposes of this Award term:

          i.    Entity means all of the following, as defined in 2 CFR Part 25:

                   1. A Governmental organization, which is a State, local government, or
                      Indian tribe.
                   2. A foreign public entity.
                   3. A domestic or foreign nonprofit organization.
                   4. A domestic or foreign for-profit organization.
                   5. A Federal agency, but only as a subrecipient under an award or
                      subaward to a non-Federal entity.

          ii.   Executive means officers, managing partners, or any other employees in
                management positions.

         iii.   Subaward:

                   1. This term means a legal instrument to provide support for the
                      performance of any portion of the substantive project or program for
                      which the Recipient received this award and that the recipient awards
                      to an eligible subrecipient.

                   2. The term does not include the Recipient’s procurement of property
                      and services needed to carry out the project or program (for further
                      explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                      and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                      Subrecipients and Contractors).

                   3. A subaward may be provided through any legal agreement, including
                      an agreement that the Recipient or a subrecipient considers a
                      contract.

         iv.    Subrecipient means an entity that:

                   1. Receives a subaward from the Recipient under this award; and

                   2. Is accountable to the Recipient for the use of the Federal funds
                      provided by the subaward.

          v.    Total compensation means the cash and noncash dollar value earned by the
                executive during the recipient's or subrecipient's preceding fiscal year and
                includes the following (for more information see 17 CFR 229.402(c)(2)):

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                     1. Salary and bonus.

                     2. Awards of stock, stock options, and stock appreciation rights. Use the
                        dollar amount recognized for financial statement reporting purposes
                        with respect to the fiscal year in accordance with the Statement of
                        Financial Accounting Standards No. 123 (Revised 2004) (FAS 123R),
                        Shared Based Payments.

                     3. Earnings for services under non-equity incentive plans. This does not
                        include group life, health, hospitalization or medical reimbursement
                        plans that do not discriminate in favor of executives, and are available
                        generally to all salaried employees.

                     4. Change in pension value. This is the change in present value of
                        defined benefit and actuarial pension plans.

                     5. Above-market earnings on deferred compensation which is not tax-
                        qualified.

                     6. Other compensation, if the aggregate value of all such other
                        compensation (e.g. severance, termination payments, value of life
                        insurance paid on behalf of the employee, perquisites or property) for
                        the executive exceeds $10,000.

Term 34.      System for Award Management and Universal Identifier
              Requirements

     A. Requirement for Registration in the System for Award Management (SAM)
        Unless the Recipient is exempted from this requirement under 2 CFR 25.110, the
        Recipient must maintain the currency of its information in SAM until the Recipient
        submits the final financial report required under this Award or receive the final
        payment, whichever is later. This requires that the Recipient reviews and updates
        the information at least annually after the initial registration, and more frequently if
        required by changes in its information or another award term.

     B. Unique Entity Identifier (UEI)
        SAM automatically assigns a UEI to all active SAM.gov registered entities. Entities no
        longer have to go to a third-party website to obtain their identifier. This information
        is displayed on SAM.gov.

           If the Recipient is authorized to make subawards under this Award, the Recipient:



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       i.       Must notify potential subrecipients that no entity (see definition in paragraph C
                of this award term) may receive a subaward from the Recipient unless the entity
                has provided its UEI number to the Recipient.

       ii.      May not make a subaward to an entity unless the entity has provided its UEI
                number to the Recipient.

     C. Definitions
        For purposes of this award term:

              i.    System for Award Management (SAM) means the Federal repository into
                    which an entity must provide information required for the conduct of
                    business as a recipient. Additional information about registration procedures
                    may be found at the SAM Internet site (currently at https://www.sam.gov).

             ii.    Unique Entity Identifier (UEI) is the 12-character, alpha-numeric identifier
                    that will be assigned by SAM.gov upon registration.

             iii.   Entity, as it is used in this award term, means all of the following, as defined
                    at 2 CFR Part 25, subpart C:

                       1. A Governmental organization, which is a State, local government, or
                          Indian Tribe.
                       2. A foreign public entity.
                       3. A domestic or foreign nonprofit organization.
                       4. A domestic or foreign for-profit organization.
                       5. A Federal agency, but only as a subrecipient under an award or
                          subaward to a non-Federal entity.

             iv.    Subaward:

                       1. This term means a legal instrument to provide support for the
                          performance of any portion of the substantive project or program for
                          which the Recipient received this Award and that the Recipient
                          awards to an eligible subrecipient.

                       2. The term does not include the Recipient’s procurement of property
                          and services needed to carry out the project or program (for further
                          explanation, see 2 CFR 200.501 Audit requirements, (f) Subrecipients
                          and Contractors and/or 2 CFR 910.501 Audit requirements, (f)
                          Subrecipients and Contractors).




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                      3. A subaward may be provided through any legal agreement, including
                         an agreement that the Recipient considers a contract.

           v.      Subrecipient means an entity that:

                      1. Receives a subaward from the Recipient under this Award; and
                      2. Is accountable to the Recipient for the use of the Federal funds
                         provided by the subaward.

Term 35.         Nondisclosure and Confidentiality Agreements Assurances
     A. By entering into this agreement, the Recipient attests that it does not and will not
        require its employees or contractors to sign internal nondisclosure or confidentiality
        agreements or statements prohibiting or otherwise restricting its employees or
        contactors from lawfully reporting waste, fraud, or abuse to a designated
        investigative or law enforcement representative of a Federal department or agency
        authorized to receive such information.

     B. The Recipient further attests that it does not and will not use any Federal funds to
        implement or enforce any nondisclosure and/or confidentiality policy, form, or
        agreement it uses unless it contains the following provisions:

            i.     ‘‘These provisions are consistent with and do not supersede, conflict with, or
                   otherwise alter the employee obligations, rights, or liabilities created by
                   existing statute or Executive order relating to (1) classified information, (2)
                   communications to Congress, (3) the reporting to an Inspector General of a
                   violation of any law, rule, or regulation, or mismanagement, a gross waste of
                   funds, an abuse of authority, or a substantial and specific danger to public
                   health or safety, or (4) any other whistleblower protection. The definitions,
                   requirements, obligations, rights, sanctions, and liabilities created by
                   controlling Executive orders and statutory provisions are incorporated into
                   this agreement and are controlling.’’

           ii.     The limitation above shall not contravene requirements applicable to
                   Standard Form 312, Form 4414, or any other form issued by a Federal
                   department or agency governing the nondisclosure of classified information.

           iii.    Notwithstanding provision listed in paragraph (a), a nondisclosure or
                   confidentiality policy form or agreement that is to be executed by a person
                   connected with the conduct of an intelligence or intelligence-related activity,
                   other than an employee or officer of the United States Government, may
                   contain provisions appropriate to the particular activity for which such
                   document is to be used. Such form or agreement shall, at a minimum,

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                  require that the person will not disclose any classified information received
                  in the course of such activity unless specifically authorized to do so by the
                  United States Government. Such nondisclosure or confidentiality forms shall
                  also make it clear that they do not bar disclosures to Congress, or to an
                  authorized official of an executive agency or the Department of Justice, that
                  are essential to reporting a substantial violation of law.

Term 36.       Conference Spending
The Recipient shall not expend any funds on a conference not directly and programmatically
related to the purpose for which the grant or cooperative agreement was awarded that would
defray the cost to the United States Government of a conference held by any Executive branch
department, agency, board, commission, or office for which the cost to the United States
Government would otherwise exceed $20,000, thereby circumventing the required notification
by the head of any such Executive Branch department, agency, board, commission, or office to
the Inspector General (or senior ethics official for any entity without an Inspector General), of
the date, location, and number of employees attending such conference.

Term 37.       Recipient Integrity and Performance Matters

       A. General Reporting Requirement
          If the total value of the Recipient’s currently active Financial Assistance awards,
          cooperative agreements, and procurement contracts from all Federal awarding
          agencies exceeds $10,000,000 for any period of time during the period of
          performance of this Federal award, then you as the recipient during that period of
          time must maintain the currency of information reported to the System for Award
          Management (SAM) that is made available in the designated integrity and
          performance system (currently the Federal Awardee Performance and Integrity
          Information System (FAPIIS)) about civil, criminal, or administrative proceedings
          described in paragraph 2 of this term. This is a statutory requirement under section
          872 of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section
          3010 of Public Law 111-212, all information posted in the designated integrity and
          performance system on or after April 15, 2011, except past performance reviews
          required for Federal procurement contracts, will be publicly available.

       B. Proceedings About Which You Must Report
          Submit the information required about each proceeding that:
             i. Is in connection with the award or performance of a Financial Assistance,
                 cooperative agreement, or procurement contract from the Federal
                 Government;
            ii. Reached its final disposition during the most recent five-year period; and
           iii. Is one of the following:
                     1. A criminal proceeding that resulted in a conviction, as defined in
                        paragraph E of this award term and condition;

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                    2. A civil proceeding that resulted in a finding of fault and liability and
                       payment of a monetary fine, penalty, reimbursement, restitution, or
                       damages of $5,000 or more;
                    3. An administrative proceeding, as defined in paragraph E of this term,
                       that resulted in a finding of fault and liability and your payment of
                       either a monetary fine or penalty of $5,000 or more or
                       reimbursement, restitution, or damages in excess of $100,000; or
                    4. Any other criminal, civil, or administrative proceeding if:
                           a. It could have led to an outcome described in paragraph B.iii.1,
                                2, or 3 of this term;
                           b. It had a different disposition arrived at by consent or
                                compromise with an acknowledgment of fault on your part;
                                and
                           c. The requirement in this term to disclose information about
                                the proceeding does not conflict with applicable laws and
                                regulations.

     C. Reporting Procedures
        Enter in the SAM Entity Management area the information that SAM requires about
        each proceeding described in paragraph B of this term. You do not need to submit
        the information a second time under assistance awards that you received if you
        already provided the information through SAM because you were required to do so
        under Federal procurement contracts that you were awarded.

     D. Reporting Frequency
        During any period of time when you are subject to the requirement in paragraph A
        of this term, you must report proceedings information through SAM for the most
        recent five-year period, either to report new information about any proceeding(s)
        that you have not reported previously or affirm that there is no new information to
        report. Recipients that have Federal contract, Financial Assistance awards, (including
        cooperative agreement awards) with a cumulative total value greater than
        $10,000,000, must disclose semiannually any information about the criminal, civil,
        and administrative proceedings.

     E. Definitions
        For purposes of this term:
          i. Administrative proceeding means a non-judicial process that is adjudicatory
                in nature in order to make a determination of fault or liability (e.g., Securities
                and Exchange Commission Administrative proceedings, Civilian Board of
                Contract Appeals proceedings, and Armed Services Board of Contract
                Appeals proceedings). This includes proceedings at the Federal and State
                level but only in connection with performance of a Federal contract or



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                      Financial Assistance awards. It does not include audits, site visits, corrective
                      plans, or inspection of deliverables.
             ii.      Conviction means a judgment or conviction of a criminal offense by any court
                      of competent jurisdiction, whether entered upon a verdict or a plea, and
                      includes a conviction entered upon a plea of nolo contendere.
             iii.     Total value of currently active Financial Assistance awards, cooperative
                      agreements and procurement contracts includes—
                          1. Only the Federal share of the funding under any Federal award with a
                              recipient cost share or match; and
                          2. The value of all expected funding increments under a Federal award and
                              options, even if not yet exercised.

Term 38.            Export Control
The U.S. government regulates the transfer of information, commodities, technology, and
software considered to be strategically important to the U.S. to protect national security,
foreign policy, and economic interests without imposing undue regulatory burdens on
legitimate international trade. There is a network of Federal agencies and regulations that
govern exports that are collectively referred to as “Export Controls.” To ensure compliance
with Export Controls, it is the Recipient’s responsibility to determine when its project activities
trigger Export Controls and to ensure compliance.

Certain information, technology or material under an award may be considered export-
controlled items that cannot be released to any foreign entity (organization, company, or
person) without a license. The Recipient, and any subrecipients, must take the appropriate
steps to obtain any required licenses, monitor and control access to restricted information and
material, and safeguard all controlled items to ensure compliance with Export Controls. Under
no circumstances may any foreign entity (organizations, companies, or persons) receive access
to an export-controlled item unless proper export procedures have been satisfied and such
access is authorized pursuant to law or regulation.

The Recipient must immediately report to DOE any export control violations related to the
project funded under this Award, at the recipient or subrecipient level, and provide the
corrective action(s) to prevent future violations.

Term 39.        Prohibition on Certain Telecommunications and Video Surveillance
                Services or Equipment
As set forth in 2 CFR 200.116, recipients and subrecipients are prohibited from obligating or
expending project funds (Federal funds and recipient cost share) to:

    (1) Procure or obtain;

    (2) Extend or renew a contract to procure or obtain; or


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    (3) Enter into a contract (or extend or renew a contract) to procure or obtain equipment,
    services, or systems that uses covered telecommunications equipment or services as a
    substantial or essential component of any system, or as critical technology as part of any
    system. As described in Public Law 115-232, section 889, covered telecommunications
    equipment is telecommunications equipment produced by Huawei Technologies Company
    or ZTE Corporation (or any subsidiary or affiliate of such entities).

          (i) For the purpose of public safety, security of government facilities, physical security
          surveillance of critical infrastructure, and other national security purposes, video
          surveillance and telecommunications equipment produced by Hytera
          Communications Corporation, Hangzhou Hikvision Digital Technology Company, or
          Dahua Technology Company (or any subsidiary or affiliate of such entities).

          (ii) Telecommunications or video surveillance services provided by such entities or
          using such equipment.

          (iii) Telecommunications or video surveillance equipment or services produced or
          provided by an entity that the Secretary of Defense, in consultation with the Director
          of the National Intelligence or the Director of the Federal Bureau of Investigation,
          reasonably believes to be an entity owned or controlled by, or otherwise connected
          to, the government of a covered foreign country.

See Public Law 115-232, section 889 for additional information.

Term 40.      Fraud, Waste and Abuse
The mission of the DOE Office of Inspector General (OIG) is to strengthen the integrity,
economy and efficiency of DOE’s programs and operations including deterring and detecting
fraud, waste, abuse and mismanagement. The OIG accomplishes this mission primarily through
investigations, audits, and inspections of Department of Energy activities to include grants,
cooperative agreements, loans, and contracts.

The OIG maintains a Hotline for reporting allegations of fraud, waste, abuse, or
mismanagement. To report such allegations, please visit
https://www.energy.gov/ig/ig-hotline.

Additionally, the Recipient must be cognizant of the requirements of 2 CFR § 200.113
Mandatory disclosures:, which states:

              The non-Federal entity or applicant for a Federal award must disclose, in a timely
              manner, in writing to the Federal awarding agency or pass-through entity all
              violations of Federal criminal law involving fraud, bribery, or gratuity violations
              potentially affecting the Federal award. Non-Federal entities that have received a
              Federal award including the term and condition outlined in appendix XII to this


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               part are required to report certain civil, criminal, or administrative proceedings to
               SAM (currently FAPIIS). Failure to make required disclosures can result in any of
               the remedies described in § 200.339. (See also 2 CFR part 180, 31 U.S.C. 3321,
               and 41 U.S.C. 2313.) [85 FR 49539, Aug. 13, 2020]

Term 41.       Interim Conflict of Interest Policy for Financial Assistance Policy
The DOE interim Conflict of Interest Policy for Financial Assistance (COI Policy) can be found at
https://www.energy.gov/management/pf-2022-17-department-energy-interim-conflict-
interest-policy-requirements-financial. This policy is applicable to all non-Federal entities
applying for, or that receive, DOE funding by means of a financial assistance award (e.g., a
grant, cooperative agreement, or technology investment agreement) and, through the
implementation of this policy by the entity, to each Investigator who is planning to participate
in, or is participating in, the project funded wholly or in part under the DOE financial assistance
award.

Recipients must flow down the requirements of the interim COI Policy to any subrecipient non-
Federal entities.

It is understood that non-Federal entities and individuals receiving DOE financial assistance
awards will need sufficient time to come into full compliance with DOE’s interim COI Policy. To
provide some flexibility, EERE allows for a staggered implementation. Specifically, prior to
award, the Recipient must ensure all Investigators complete their significant financial
disclosures; review the disclosures; determine whether a FCOI exists; develop and implement a
management plan for FCOIs; and provide DOE with an initial FCOI report that includes any
unmanaged/ unmanageable FCOIs.

To further ease the administrative burden, EERE established a model conflict of interest policy
that WIPO Recipients may adopt and implement. The Recipients has 180 days from the date of
this Award to either adopt and implement the WIPO model conflict of interest policy or ensure
its existing conflict of interest policy aligns with the requirements of the WIPO model COI
policy. The WIPO model COI Policy is available upon request from the Contracting Officer.

Subpart D. Bipartisan Infrastructure Law (BIL)-specific requirements

Term 42.       Recipient Notification of prospective BIL- specific requirements
The funding for this Award is made available under the BIL and is subject to the applicable
requirements included in the BIL. Requirements for this Award are listed in the subsequent
award terms, however the Recipient should be aware that additional terms and modifications
may be included when the Award is modified with the incorporation of the Full Application.
Additional terms that may be incorporated include, but are not limited to:
               1. Publication of Information on the Internet
               2. Certification and Registration
               3. Whistleblowers and False Claims

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Term 43.       Reporting Tracking and Segregation of Incurred Costs
BIL funds may be used in conjunction with other funding, as necessary to complete projects,
but tracking and reporting must be separate. The Recipient must keep separate records for BIL
funds and must ensure those records comply with the requirements of the BIL.

Term 44.       Buy American Requirements for Infrastructure Projects
   A. Definitions
Infrastructure includes, at a minimum, the structures, facilities, and equipment for, in the
United States:
        Roads, highways, and bridges;
        Public transportation;
        Dams, ports, harbors, and other maritime facilities;
        Intercity passenger and freight railroads;
        Freight and intermodal facilities;
        Airports;
        Water systems, including drinking water and wastewater systems;
        Electrical transmission facilities and systems;
        Utilities;
        Broadband infrastructure;
        Buildings and real property; and
        Facilities that generate, transport, and distribute energy.
Further, the “infrastructure” in question must either be publicly owned or serve a public
function; privately owned infrastructure that is not open to the public, such as a personal
residence, is not considered “infrastructure” for purposes of this requirement. In cases where
the “public” nature of the infrastructure is unclear, the recipient is required to consult with the
DOE Grants Officer who will render a determination.

Project means the construction, alteration, maintenance, or repair of infrastructure in the
United States.

Construction Materials includes an article, material, or supply—other than an item of primarily
iron or steel; a manufactured product; cement and cementitious materials; aggregates such as
stone, sand, or gravel; or aggregate binding agents or additives—that is, or consists primarily of:
        Non-ferrous metals;
        Plastic and polymer-based products (including polyvinylchloride, composite building
        materials, and polymers used in fiber optic cables);
        Glass (including optic glass);
        Lumber; or
        Drywall.


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Domestic content procurement preference means and refers to the same thing as “Buy
America Preference.”

   B. Buy America Preference
None of the funds provided under this award may be used for a project for infrastructure
unless:
   1. All iron and steel used in the project are produced in the United States—this means all
        manufacturing processes, from the initial melting stage through the application of
        coatings, occurred in the United States;

   2. All manufactured products used in the project are produced in the United States—this
      means the manufactured product was manufactured in the United States; and the cost
      of the components of the manufactured product that are mined, produced, or
      manufactured in the United States is greater than 55 percent of the total cost of all
      components of the manufactured product, unless another standard for determining the
      minimum amount of domestic content of the manufactured product has been
      established under applicable law or regulation; and

   3. All construction materials are manufactured in the United States—this means that all
      manufacturing processes for the construction material occurred in the United States.
The Buy America Preference only applies to articles, materials, and supplies that are consumed
in, incorporated into, or affixed to an infrastructure project. As such, it does not apply to tools,
equipment, and supplies, such as temporary scaffolding, brought into the construction site and
removed at or before the completion of the infrastructure project. Nor does a Buy America
Preference apply to equipment and furnishings, such as movable chairs, desks, and portable
computer equipment, that are used at or within the finished infrastructure project but are not
an integral part of the structure or permanently affixed to the infrastructure project.

   C. Waivers
When necessary, recipients may apply for, and DOE may grant, a waiver from the Buy America
Preference requirements. Requests to waive the application of the Buy America Preference
must be in writing. Waiver requests are subject to public comment periods of no less than 15
days, as well as review by the Office of Management and Budget.
Waivers must be based on one of the following justifications:
   1. Applying the Buy America Preference would be inconsistent with the public interest
       (Public Interest);
   2. The types of iron, steel, manufactured products, or construction materials are not
       produced in the United States in sufficient and reasonably available quantities or of a
       satisfactory quality (Nonavailability); or


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   3. The inclusion of iron, steel, manufactured products, or construction materials produced
      in the United States will increase the cost of the overall project by more than 25 percent
      (Unreasonable Cost).
Requests to waive the Buy America Preference must include the following:
      Waiver type (Public Interest, Nonavailability, or Unreasonable Cost);
      Recipient name and Unique Entity Identifier (UEI);
      A detailed justification as to how the non-domestic item(s) is/are essential the project;
      A certification that the recipient made a good faith effort to solicit bids for domestic
      products supported by terms included in requests for proposals, contracts, and non-
      proprietary communications with potential suppliers;
      Total estimated project cost, with estimated Federal share and recipient cost share
      breakdowns;
      Total estimated infrastructure costs, with estimated Federal share and recipient cost
      share breakdowns;
      A brief description of the project, its location, and the specific infrastructure involved;
      List and description of iron or steel item(s), manufactured goods, and/or construction
      material(s) the recipient seeks to waive from the Buy America Preference, including
      name, cost, country(ies) of origin, and relevant PSC and NAICS codes for each;
      A justification statement—based on one of the applicable justifications outlined
      above—as to why the items in question cannot be procured domestically, including the
      due diligence performed (e.g., market research, industry outreach) by the recipient to
      attempt to avoid the need for a waiver. This justification may cite, if applicable, the
      absence of any Buy America-compliant bids received for domestic products in response
      to a solicitation; and
      Anticipated impact to the project if no waiver is issued.
               DOE may request, and the recipient must provide, additional information for
               consideration of this wavier. The Agency’s final determination regarding
               approval or rejection of the waiver request may not be appealed.

Term 45.       Davis Bacon Requirements
This Award is funded under Division D of the Bipartisan Infrastructure Law (BIL). All laborers
and mechanics employed by the Recipient, subrecipients, contractors or subcontractors in the
performance of construction, alteration, or repair work in excess of $2000 on an Award funded
directly by or assisted in whole or in part by funds made available under this Award shall be
paid wages at rates not less than those prevailing on similar projects in the locality, as
determined by the Secretary of Labor in accordance with subchapter IV of chapter 31 of title
40, United States Code commonly referred to as the “Davis-Bacon Act” (DBA).

By accepting this Award, the Recipient acknowledges the DBA requirements for the Award and
confirms that all of the laborers and mechanics performing construction, alteration, or repair

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work in excess of $2000 on projects funded directly by or assisted in whole or in part by and
through funding under the Award are paid or will be paid wages at rates not less than those
prevailing on projects of a character similar in the locality as determined by Subchapter IV of
Chapter 31 of Title 40, United States Code (Davis-Bacon Act).

The Recipient must comply with all of the Davis-Bacon Act requirements, including but not
limited to:
              (1) ensuring that the wage determination(s) and appropriate Davis-Bacon clauses
              and requirements are flowed down to and incorporated into any applicable
              subcontracts or subrecipient awards.

               (2) being responsible for compliance by any subcontractor or subrecipient with
               the Davis-Bacon labor standards.

               (3) receiving and reviewing certified weekly payrolls submitted by all
               subcontractors and subrecipients for accuracy and to identify potential
               compliance issues.

               (4) maintaining original certified weekly payrolls for 3 years after the completion
               of the project and must make those payrolls available to the DOE or the
               Department of Labor upon request, as required by 29 CFR 5.6(a)(2).

               (5) conducting payroll and job-site reviews for construction work, including
               interviews with employees, with such frequency as may be necessary to assure
               compliance by its subcontractors and subrecipients and as requested or directed
               by the DOE.

               (6) cooperating with any authorized representative of the Department of Labor
               in their inspection of records, interviews with employees, and other actions
               undertaken as part of a Department of Labor investigation.

               (7) posting in a prominent and accessible place the wage determination(s) and
               Department of Labor Publication: WH-1321, Notice to Employees Working on
               Federal or Federally Assisted Construction Projects.

               (8) notifying the Contracting Officer of all labor standards issues, including all
               complaints regarding incorrect payment of prevailing wages and/or fringe
               benefits, received from the recipient, subrecipient, contractor, or subcontractor
               employees; significant labor standards violations, as defined in 29 CFR 5.7;
               disputes concerning labor standards pursuant to 29 CFR parts 4, 6, and 8 and as
               defined in FAR 52.222-14; disputed labor standards determinations; Department
               of Labor investigations; or legal or judicial proceedings related to the labor
               standards under this Contract, a subcontract, or subrecipient award.

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              (9) preparing and submitting to the Contracting Officer, the Office of
              Management and Budget Control Number 1910-5165, Davis Bacon Semi-Annual
              Labor Compliance Report, by April 21 and October 21 of each year. Form
              submittal will be administered through the iBenefits system
              (https://doeibenefits2.energy.gov) or its successor system.

The Recipient must undergo Davis-Bacon Act compliance training and must maintain
competency in Davis-Bacon Act compliance. The Contracting Officer will notify the Recipient of
any DOE sponsored Davis-Bacon Act compliance trainings. The U.S. Department of Labor
(“DOL”) offers free Prevailing Wage Seminars several times a year that meet this requirement,
at https://www.dol.gov/agencies/whd/government-contracts/construction/seminars/events.

For additional guidance on how to comply with the Davis-Bacon provisions and clauses, see
https://www.dol.gov/agencies/whd/government-contracts/construction and
https://www.dol.gov/agencies/whd/government-contracts/protections-for-workers-in-
construction .




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                    EXHIBITD
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From:            Nelson, Jennifer@Energy
To:              Sandborn, Jeanmarie@Energy; Carrillo, Deana@Energy; Ellis-Pachori, Savi@Energy; Ward, Allan@Energy;
                 Mimnaugh, Damien@Energy
Subject:         FW: Disbursement of HEEHRA award funds to California
Date:            Monday, February 3, 2025 7:31:21 PM
Attachments:     DDC TRO.pdf
                 Rhode Island TRO.pdf
                 USDOJ Notice of Court Order.pdf
Importance:      High


Sent this evening. I will send you a response when I hear back.

Jennifer Nelson (she, her, hers)
Deputy Director
Reliability, Renewable Energy, and Decarbonization Incentives Division

From: Nelson, Jennifer@Energy
Sent: Monday, February 3, 2025 7:30 PM
To: Hartman, Jonathan <jonathan.hartman@hq.doe.gov>; Hubbard, Mary
<mary.hubbard@hq.doe.gov>
Cc: Carrillo, Deana@Energy <deana.carrillo@energy.ca.gov>
Subject: Disbursement of HEEHRA award funds to California
Importance: High


Jonathan and Mary -

Please note that two federal courts have issued temporary restraining orders (attached)
prohibiting federal agencies from implementing recent direction to pause, freeze, impede,
block, cancel, or terminate disbursement of federal financial assistance or otherwise impede
the States’ access to such awards and obligations, except on the basis of the applicable
authorizing statutes, regulations, and terms. And the U.S. Department of Justice has provided
your agency with the attached "Notice of Court Order," which directs, among other things, that
"Federal agencies cannot pause, freeze, impede, block, cancel, or terminate any awards or
obligations on the basis of the OMB Memo [M-25-13, dated Jan. 27, 2025], or on the basis of
the President's recently issued Executive Orders."



As of the afternoon of February 3, 2025, Pacific Time, however, our disbursement that has
been requested but not issued has not yet been received. We request that those funds
immediately be disbursed, consistent with the federal court orders and U.S. DOJ's direction.



Please advise by 12 p.m. Eastern Time (9 a.m. Pacific Time) tomorrow, February 4, as to
whether you have complied with the court's orders, or any reason why you have not
disbursed these funds.
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Thank you,

Jennifer


Jennifer Nelson (she, her, hers)
Deputy Director
Reliability, Renewable Energy, and Decarbonization Incentives Division
(916) 508-8394 (cell/text)

California Energy Commission
Website: www.energy.ca.gov
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                    EXHIBITE
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From:                Nelson, Jennifer@Energy
To:                  Carrillo, Deana@Energy; Sandborn, Jeanmarie@Energy; Mimnaugh, Damien@Energy; Ward, Allan@Energy
Subject:             Fw: Disbursement of HEEHRA award funds to California
Date:                Tuesday, February 4, 2025 8:38:14 AM
Attachments:         image001.png


Response from DOE

Jennifer Nelson
California Energy Commission

From: Hubbard, Mary <mary.hubbard@hq.doe.gov>
Sent: Tuesday, February 4, 2025 4:29:07 AM
To: Nelson, Jennifer@Energy <Jennifer.Nelson@energy.ca.gov>; Hartman, Jonathan
<jonathan.hartman@hq.doe.gov>
Cc: Carrillo, Deana@Energy <deana.carrillo@energy.ca.gov>; Zelmar, Karen
<karen.zelmar@hq.doe.gov>; Volpi, Christina <christina.volpi@hq.doe.gov>
Subject: RE: Disbursement of HEEHRA award funds to California

 CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you
 recognize the sender and know the content is safe.


Hi Jen,
Thank you for reaching out. We've received your email, we'll be back in touch as soon as possible.

Thanks,
Mary


                                         Mary Hubbard
                                         Monitoring and Delivery Team
                                         Supervisor
Follow us on social media
                                         Home Energy Rebates Program
                                         Office of State and Community Energy
                                         Programs (SCEP)
                                         MOBILE 202.262.3522




From: Nelson, Jennifer@Energy <Jennifer.Nelson@energy.ca.gov>
Sent: Monday, February 3, 2025 10:30 PM
To: Hartman, Jonathan <jonathan.hartman@hq.doe.gov>; Hubbard, Mary
<mary.hubbard@hq.doe.gov>
Cc: Carrillo, Deana@Energy <deana.carrillo@energy.ca.gov>
Subject: [EXTERNAL] Disbursement of HEEHRA award funds to California
Importance: High


Jonathan and Mary -
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                                        PageID #: 3155


Please note that two federal courts have issued temporary restraining orders (attached)
prohibiting federal agencies from implementing recent direction to pause, freeze, impede,
block, cancel, or terminate disbursement of federal financial assistance or otherwise impede
the States’ access to such awards and obligations, except on the basis of the applicable
authorizing statutes, regulations, and terms. And the U.S. Department of Justice has provided
your agency with the attached "Notice of Court Order," which directs, among other things, that
"Federal agencies cannot pause, freeze, impede, block, cancel, or terminate any awards or
obligations on the basis of the OMB Memo [M-25-13, dated Jan. 27, 2025], or on the basis of
the President's recently issued Executive Orders."



As of the afternoon of February 3, 2025, Pacific Time, however, our disbursement that has
been requested but not issued has not yet been received. We request that those funds
immediately be disbursed, consistent with the federal court orders and U.S. DOJ's direction.



Please advise by 12 p.m. Eastern Time (9 a.m. Pacific Time) tomorrow, February 4, as to
whether you have complied with the court's orders, or any reason why you have not
disbursed these funds.



Thank you,

Jennifer


Jennifer Nelson (she, her, hers)
Deputy Director
Reliability, Renewable Energy, and Decarbonization Incentives Division
(916) 508-8394 (cell/text)

California Energy Commission
Website: www.energy.ca.gov

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                    EXHIBITF
Case 1:25-cv-00039-JJM-PAS                    Document 68-40 Filed 02/07/25        Page 343 of 351
                                                PageID #: 3157

From:              Kashiwagi, Gordon@Energy
To:                Fowler, Henry
Cc:                Howe, Julie
Subject:           SEP BIL
Attachments:       DDC TRO.pdf
                   Rhode Island TRO.pdf
                   USDOJ Notice of Court Order.pdf



       Hi Henry,

       "Please note that two federal courts have issued temporary restraining orders (attached)
       prohibiting federal agencies from implementing recent direction to pause, freeze, impede,
       block, cancel, or terminate disbursement of federal financial assistance or otherwise impede
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       been requested but not issued has not yet been received. We request that those funds
       immediately be disbursed, consistent with the federal court orders and U.S. DOJ's direction.

       Please advise by 3 p.m. Eastern Time (12 p.m. Pacific Time) tomorrow, February 4,
       as to whether you have complied with the court's orders, or any reason why you have not
       disbursed these funds."


Gordon Kashiwagi
Loans and Invoices Manager
California Energy Commission
www.energy.ca.gov




<!--[if !vml]-->                   <!--[endif]-->
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                    EXHIBIT G
Case 1:25-cv-00039-JJM-PAS                    Document 68-40 Filed 02/07/25                   Page 345 of 351
                                                PageID #: 3159

From:               Fowler, Henry
To:                 Kashiwagi, Gordon@Energy
Cc:                 Howe, Julie; Gerstman, Ari
Subject:            RE: SEP BIL
Date:               Tuesday, February 4, 2025 12:29:35 PM
Attachments:        image001.jpg


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 recognize the sender and know the content is safe.


Thank you for reaching out to the U.S. Department of Energy. We appreciate your inquiry and will
respond to you as soon as possible.

From: Kashiwagi, Gordon@Energy <gordon.kashiwagi@energy.ca.gov>
Sent: Monday, February 3, 2025 9:20 PM
To: Fowler, Henry <henry.fowler@hq.doe.gov>
Cc: Howe, Julie <julie.howe@hq.doe.gov>
Subject: [EXTERNAL] SEP BIL


        Hi Henry,




        "Please note that two federal courts have issued temporary restraining orders (attached)
        prohibiting federal agencies from implementing recent direction to pause, freeze, impede,
        block, cancel, or terminate disbursement of federal financial assistance or otherwise impede
        the States’ access to such awards and obligations, except on the basis of the applicable
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        immediately be disbursed, consistent with the federal court orders and U.S. DOJ's direction.




        Please advise by 3 p.m. Eastern Time (12 p.m. Pacific Time) tomorrow, February 4, as to
        whether you have complied with the court's orders, or any reason why you have not
        disbursed these funds."



Gordon Kashiwagi
Loans and Invoices Manager
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California Energy Commission
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                    EXHIBITH
Case 1:25-cv-00039-JJM-PAS                  Document 68-40 Filed 02/07/25            Page 348 of 351
                                              PageID #: 3162

From:            Durant, Vanessa@Energy
To:              Henry Fowler (henry.fowler@hq.doe.gov)
Cc:              Ward, Allan@Energy
Subject:         Disbursement of EECBG award funds to California Energy Commission
Date:            Tuesday, February 4, 2025 8:37:54 AM
Attachments:     Rhode Island TRO.pdf
                 USDOJ Notice of Court Order.pdf
                 DDC TRO.pdf
                 image001.png


Henry,

Please note that two federal courts have issued temporary restraining orders (attached) prohibiting
federal agencies from implementing recent direction to pause, freeze, impede, block, cancel, or
terminate disbursement of federal financial assistance or otherwise impede the States’ access to
such awards and obligations, except on the basis of the applicable authorizing statutes, regulations,
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disbursed, consistent with the federal court orders and U.S. DOJ's direction.

Please advise by 3 p.m. Eastern Time (12 p.m. Pacific Time) today, February 4, as to whether you
have complied with the court's orders, or any reason why you have not disbursed these funds.

Thank you,
Vanessa

Vanessa Durant (she, her, hers)
Decarbonization Incentives Specialist
Policy & Analysis Unit
Existing Buildings Branch
Efficiency Division
+19162329055

California Energy Commission
Website: www.energy.ca.gov
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                     EXHIBIT I
Case 1:25-cv-00039-JJM-PAS                     Document 68-40 Filed 02/07/25                  Page 350 of 351
                                                 PageID #: 3164

From:               Fowler, Henry
To:                 Durant, Vanessa@Energy
Cc:                 Ward, Allan@Energy; Gerstman, Ari; Howe, Julie
Subject:            RE: Disbursement of EECBG award funds to California Energy Commission
Date:               Tuesday, February 4, 2025 12:28:56 PM
Attachments:        image001.png


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Thank you for reaching out to the U.S. Department of Energy. We appreciate your inquiry and will
respond to you as soon as possible.

From: Durant, Vanessa@Energy <Vanessa.Durant@Energy.ca.gov>
Sent: Tuesday, February 4, 2025 9:38 AM
To: Fowler, Henry <henry.fowler@hq.doe.gov>
Cc: Ward, Allan@Energy <Allan.Ward@energy.ca.gov>
Subject: [EXTERNAL] Disbursement of EECBG award funds to California Energy Commission

Henry,

Please note that two federal courts have issued temporary restraining orders (attached) prohibiting
federal agencies from implementing recent direction to pause, freeze, impede, block, cancel, or
terminate disbursement of federal financial assistance or otherwise impede the States’ access to
such awards and obligations, except on the basis of the applicable authorizing statutes, regulations,
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Thank you,
Vanessa

Vanessa Durant (she, her, hers)
Decarbonization Incentives Specialist
Policy & Analysis Unit
Existing Buildings Branch
Case 1:25-cv-00039-JJM-PAS            Document 68-40 Filed 02/07/25          Page 351 of 351
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Efficiency Division
+19162329055

California Energy Commission
Website: www.energy.ca.gov




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